Case 3:25-cv-00020-LL-SBC   Document 1-2   Filed 01/06/25   PageID.8   Page 1 of
                                    213




                      EXHIBIT 1
Case 3:25-cv-00020-LL-SBC                  Document 1-2              Filed 01/06/25           PageID.9           Page 2 of
                                                   213
                                                                                                         CT Corporation
                                                                                          Service of Process Notification
                                                                                                                  12/05/2024
                                                                                                     CT Log Number 547921070


   Service of Process Transmittal Summary

   TO:     Bryant Cargile, VICE PRESIDENT OF TAX AND INTERNAL AUDIT
           Whiting-Turner Contracting Company
           300 East Joppa Road, Hampton Plaza
           Baltimore, MD 21286-

   RE:     Process Served in California

   FOR:    Whiting-Turner Contracting Company (Domestic State: MD)



   ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

   TITLE OF ACTION:                       G.A. ABELL, INC. dba Precision Electric Company, a California Corporation vs. THE
                                          WHITING-TURNER CONTRACTING COMPANY
   DOCUMENT(S) SERVED:                    Summons, Complaint, Exhibit(s)

   COURT/AGENCY:                          San Diego County - Superior Court, CA
                                          Case # 24CU022713C
   NATURE OF ACTION:                      Breach of the covenant of good faith and fair dealing

   PROCESS SERVED ON:                     C T Corporation System, GLENDALE, CA

   DATE/METHOD OF SERVICE:                By Process Server on 12/05/2024 at 13:24

   JURISDICTION SERVED:                   California

   APPEARANCE OR ANSWER DUE:              Within 30 days after this summons and legal papers are served on you (Document(s)
                                          may contain additional answer dates)
   ATTORNEY(S)/SENDER(S):                 Luke Thompson
                                          Thompson Law & Consultation
                                          9757 Marilla Dr, #248
                                          Lakeside, CA 02040
                                          619-987-3231
   ACTION ITEMS:                          CT has retained the current log, Retain Date: 12/05/2024, Expected Purge Date:
                                          12/10/2024

                                          Image SOP
                                          Email Notification, Meredith Phillips Meredith.Phillips@whiting-turner.com

                                          Email Notification, Bryant Cargile Bryant.Cargile@whiting-turner.com

                                          Email Notification, Dan China dan.china@whiting-turner.com

   REGISTERED AGENT CONTACT:              C T Corporation System
                                          330 N BRAND BLVD
                                          STE 700
                                          GLENDALE, CA 91203
                                          866-401-8252
                                          LargeCorporationTeam@wolterskluwer.com




                                                                                                                       Page 1 of 2
                                          NOTICE OF REMOVAL EXHIBIT 1 p. 1
Case 3:25-cv-00020-LL-SBC                  Document 1-2              Filed 01/06/25            PageID.10           Page 3 of
                                                    213
                                                                                                           CT Corporation
                                                                                            Service of Process Notification
                                                                                                                    12/05/2024
                                                                                                       CT Log Number 547921070


   The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
   and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
   information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
   included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
   disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
   contained therein.




                                                                                                                         Page 2 of 2
                                          NOTICE OF REMOVAL EXHIBIT 1 p. 2
Case 3:25-cv-00020-LL-SBC    Document 1-2           Filed 01/06/25   PageID.11   Page 4 of
                                      213




                                                                      Wolters Kluwer
                  PROCESS SERVER DELIVERY DETAILS



 Date:                                   Thu, Dec 5, 2024
 Server Name:                            Jimmy Lizama




  Entity Served         THE WHITING-TURNER CONTRACTING COMPANY

  Case Number           24CU022713C
  Jurisdiction          CA



                                          Inserts




                             NOTICE OF REMOVAL EXHIBIT 1 p. 3
Case 3:25-cv-00020-LL-SBC                               Document 1-2                  Filed 01/06/25                PageID.12                   Page 5 of
                                                                 213



                                                                                                                                                    SUM-100
                                                   SUMMONS                                                                   FOR COURT USE ONLY
                                                                                                                         (SOLO PAPA USO DE LA CORTE)
                                           (CITACION JUDICIAL)

 NOTICE TO DEFENDANT:                                                                                                    ELECTRONICALLY FILED
(AVISO AL DEMANDADO):                                                                                                    Superior Court of California,
                                                                                                                         County of San Diego
 THE WHITING-TURNER CONTRACTING COMPANY, a Maryland Corporation: and DOES 1                                                   1 1/14/2024 10 1658 AM
 through 20, inclusive
                                                                                                                          Clerk of the Superior Court
YOU ARE BEING SUED BY PLAINTIFF:                                                                                          By Y. Modica          ,Deputy Clerk

(LO ESTA DEMANDANDO EL DEMANDANTE):
G.A. ABELL, INC. dba Precision Electric Company, a California Corporation

 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/seffhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
jAVISOl Lo han demandado. Si no responde dentro de 30 dlas, la code puede decidir en su contra sin escuchar St.! version. Lea la informacion a
 continuacion.
    Tiene 30 DIAS DE CALENDA RIO despues de que le entreguen esta citacion y papeles legates para presen tar una respuesta por escrito en esta
 code y hacer que se entregue una copia al demandante. Una carte o una Ilamada telefOnica no lo protegen. Su respuesta por escrito hone que ester
 en formato legal correcto si desea que procesen su caso on la code. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la code y mas informaciOn en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
 biblioteca de(eyes de su condado o en la code que le quede mas cerca. Si no puede pager cuota de presentaci6n, pida al secretario de la code que
 le d6 un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podra
 guitar su sue/do, dinero y bienes sin mas advertencia.
    Hay otros requisitos legates. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede liamar a un servicio de
 remisiOn a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos pare obtener servicios legates gratuitos de un
 programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifomia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en contacto con la carte o el
 colegio de abogados locales. AVISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperacion de $10,000 6 mas de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la code antes de que la code pueda desechar el caso.
                                                                                    CASE NUMBER:
 The name and address of the court Is:                                             (Nemero del Caso):
(El nombre y direccion de la carte es): San Diego Superior Court, Central Division                                      24CU022713C
 330 West Broadway, Sand Diego, CA 92101

 The name,address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
(El nombre, la direcciOn ye!numero de telefono del abogado del demandante, o del demandante que no (lone abogado, es):
 Luke Thompson - 9757 Marilla Dr, #248, Lakeside, CA 02040 - (619)987-3231 - Ithompson thompsonlawconsultation.com
 DATE: Nwoomomismilaiiailm November 15, 2024                        Clerk, by                                         , Deputy
(Fecha)                                                            (Secretario)           Y. Modica                  (Adjunto)
(For proof ofservice of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010)).
                                 NOTICE TO THE PERSON SERVED: You are served
                                 1. ET as an individual defendant.
                                 2.        as the person sued under the fictitious name of (specify):

                                      3.     Xon behalf of(specify): THE WHITING-TURNER CONTRACTING
                                                                     COMPANY, a Maryland Corporation
                                         under: x CCP 416.10 (corporation)                     CCP 416.60 (minor)
                                              -1   1 CCP 416.20 (defunct corporation)          CCP 416.70 (conservatee)
                                                     CCP 416.40 (association or partnership)   CCP 416.90 (authorized person)
                                                     other (specify):
                                      4. ET by personal delivery on (date):
                                                                                                                                                         Page 1 of 1
 Form Adopted for Mandatory Use                                                                                               Code of Civil Procedure §§ 412.20. 465
   Judicial Council of California
                                                                      SUMMONS
                                                                                                                                                  www.coods.ca.gov
  SUM-100 [Rev. July 1, 20091
 Fcirlyouf,tftotectioliilifid3privacyi.please,presilhiLCIear:
 Thls,forntbutton,afteryou.h.ave,ptined the'form:                 Print this form          Save this form                               Clear this form
                                                    1,r; ••


                                                       NOTICE OF REMOVAL EXHIBIT 1 p. 4
Case 3:25-cv-00020-LL-SBC               Document 1-2         Filed 01/06/25            PageID.13             Page 6 of
                                                 213




      Luke Thompson, Esq (282762)                                      ELECTRONICALLY FILED
      Thompson Law & Consultation                                      Superior Court of California,
      9757 Manilla Dr. #248                                            County of San Diego
      Lakeside, CA 92040                                                    1 1/14/2024 10:16:58 AM
      619.987.3231                                                         Clerk of the Superior Court
      lthompson@thompsonlawconsultation.com                                By Y. Modica          ,Deputy Clerk


      Attorneyfor PlaintiffG.A. ABELL, INC. a California Corporation.

                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
 7
                               IN AND FOR THE COUNTY OF SAN DIEGO
 8

9
         G.A. ABELL,INC. dba Precision                Case No.    24CU0227130
 10      Electric Company, a California
         Corporation,
 11                                                   PLAINTIFF'S COMPLAINT FOR:
                          Plaintiff,
 12             VS.                                      1) BREACH OF CONTRACT AND
 13                                                         ABANDONMENT;
         THE WHIT13•1G-TURNER                            2) REASONABLE VALUE
 14      CONTRACTING COMPANY,a                           3) BREACH OF THE IMPLIED
         Maryland Corporation; and DOES 1                   COVENANT OF GOOD FAITH
 15      through 20, inclusive                              AND FAIR DEALING
 16
                          Defendants.                 UNLIMITED CIVIL ACTION
 17                                                   Claim Amount: Greater than $25,001.00

 18                                                   JURY DEMAND
 19                                                   [IMAGED FILE)
 20

 21

 22

 23

 24 '-

 25   Plaintiff G.A. ABELL,INC. ("Plaintiff'), a California Corporation dba Precision Electric
 26
      Company alleges as follows:
 27
                                        JURISDICTION AND VENUE
 28
                      The causes of action stated below seek a principal amount of more than

 COMPLAINT - BREACH OF CONTRACT
                                                    Page 1



                                        NOTICE OF REMOVAL EXHIBIT 1 p. 5
Case 3:25-cv-00020-LL-SBC                Document 1-2          Filed 01/06/25         PageID.14           Page 7 of
                                                  213




 1     twenty-five thousand dollars ($25,000.00), and are ones in which the above-entitled Court has

       jurisdiction.
 3           2.        This Court has jurisdiction and venue is proper pursuant to California Code of
 4     Civil Procedure §410.10, §395, §395.5, & 392(a)(2) because the subcontract described herein
 5     was entered into and the work of improvement was performed in the County of San Diego, all
 6     actions alleged herein occurred in the County of San Diego, and all relevant known parties
 7     operate or are residents of the County of San Diego.
 8                                                   PARTIES
 9           3.        Plaintiff, G.A. ABELL,INC., is a California Corporation dba Precision Electric
 10    Company ("Precision") that is, and at all times herein discussed was, authorized to do business
 11    in California, licensed by the California Contractors State License Board ("CSLB")and with its
 12    principal place of business at 8137 Winter Gardens Boulevard, Lakeside, California 92040.
 13          4.        Defendant THE WHITING-TURNER CONTRACTING COMPANY
 14   ("Whiting-Turner") is a Maryland Corporation, that was at the time of the actions described
 15    herein doing business in San Diego County, California while purporting to be licensed as a
 16    general contractor with the California State Licence Board License #311107 and which license
 17    expires on July 31, 2025 and is doing work as a general contractor with its principal place of

 18    business for California is purported to be 300 E. Joppa Rd. 8th Floor, Baltimore, MD 21286.

 19          5.        Plaintiff is unaware of the true names, capacities, whether individual, corporate, or

 20    otherwise, or basis for liability of defendants Doe(s) 1 through 20, inclusive, and therefore sue

 21    said defendants by their fictitious names. Plaintiff is informed and believes, and on that basis

 22    alleges, that each of said fictitiously named defendants is liable to Plaintiff on the causes of

 23    herein alleged and/or assets some interest, legal or equitable, in the subject matter of this action,

 24    and therefore Plaintiff sues and said defendants by said fictitious names. Plaintiff will move to

 25    amend this complaint when the true names and capacities of said fictitiously named defendants

 26    have been ascertained.

 27               //

 28                          FACTS COMMON TO ALL CAUSES OF ACTION


 COMPLAINT - BREACH OF CONTRACT
                                                      Page 2




                                        NOTICE OF REMOVAL EXHIBIT 1 p. 6
Case 3:25-cv-00020-LL-SBC                Document 1-2          Filed 01/06/25        PageID.15           Page 8 of
                                                  213




 1                    Plaintiff, for all Causes of Action against Defendant and DOES 1 through 20, alleges
 2     that:
 3             6.      Plaintiff realleges and incorporates by reference paragraphs 1 through 5, above, as
4      though set forth in full.
 5             7.      Prior to entering into a subcontract agreement for electrical work at the Fashion
 6     Valley Mall("FVM"), Whiting-Turner had entered into various construction contracts with
 7     Simon Property Group, Lp (the "Owner")for various phases of improvements at FVM (the

 8     "Project"), located at 7007 Friars Road, San Diego, CA 92108.

 9             8.      Precision is informed and believes that during the course of construction for phase

 10      and phase 2 ofthese projects, Whiting-Turner had entered into at least two separate electrical

 11    subcontract agreements with other electrical subcontractors.

 12            9.      On or around August 12, 2022, Whiting-Turner had requested a bid from Precision

 13    for Phase 3 portion of the Project. Precision provided its firm fixed price bid for the Project

 14    based on plans, specifications and other bid-related documents (collectively,"Bid Documents")

 15    provided to Precision prior to Precision's bid submission to Whiting-Turner on September 16,

 16    2022. Precision bid, a true and correct copy of which is included and incorporated herein as

 17    Exhibit 01, included a defined scope of work("SOW") based on the Bid Documents.

 18            10.      Whiting-Turner issued a subcontract agreement to Precision, which after review

 19    and comments, the parties executed the fixed scope and fixed price, $2,927,990.00, subcontract

 20    agreement on or around October 13, 2022 (the "Subcontract"). A true and correct copy is

 71    included and incorporated herein as Exhibit 02.

 22
               1 1.    Plaintiff is an electrical subcontractor with extensive experience performing

       substantially similar electrical work over the last twenty-five years, including facilities of
 23
       similar size and scope and previous work at the FVM location.
 24
               12.     Plaintiff began work on the Project on or around October 17, 2022, and completed
 25
       or substantially performed and completed all duties and obligations required of Precision under
 26
       the Subcontract, including all contract modifications and additional work as directed by'
 27
       Whiting-Turner.
 78




 COMPLAINT - BREACH OF CONTRACT
                                                      Page 3




                                        NOTICE OF REMOVAL EXHIBIT 1 p. 7
Case 3:25-cv-00020-LL-SBC              Document 1-2           Filed 01/06/25        PageID.16          Page 9 of
                                                213




 1            13.    Plaintiff alleges that it timely performed the SOW in conformity with the
 2      Subcontract and the Project's contract documents and as directed by Whiting-Turner, or that any
 3      such work was delayed by Whiting-Turner and/or the Owner.
 4            14.    Plaintiff is informed and believes and thereon alleges that any and all delays
 5     to the Project are the result of the actions or inactions of Whiting-Turner, the Owner, and/or other
 6     subcontractors or vendors for which Precision was not and is not responsible. To the extent that
 7     the Project was delayed, the causes for the delays to the Project are only partially known to

 8     Precision.

 9            15.    Over the course of Precision's performance on the Project, a substantial number of

 10     changes to the original SOW were issued and/or directed by Whiting-Turner, forcing Precision

 11     to perform almost double the amount of work in Precision's original bid as well as the

 12     Subcontract's original scope of work. This additional work was the direct result of changes

 13     issued and/or directed by Whiting-Turner and the Owner as well as the failure of

 14     Whiting-Turner to properly schedule, sequence, and manage the Project's activities, other

 15     subcontractors, and owner-directed changes.

 16           16.    As a result of the delays and changes to the Project, Precision incurred massive

 17     additional costs during its performance. The additional costs and magnitude of the changes and

 la     delays were not and could not have been known at the time Precision submitted its bid to

 19     Whiting-Turner for the Project.

 20           17.    Over the course of the Project Whiting-Turner issued Precision a total of 17 change

 71     orders, totaling $ 1,895,687.00, consisting of93 Proposed Change Orders("PCOs")from

       Precision related to the Project changes.
 2.2
              18.    At the time of the execution of the Subcontract and pursuant to the Project
 23
        schedule dated J* uly 28, 2022, which was included in the Subcontract, Precision's SOW was to
 24
        begin on October 19, 2022, and be completed by October 30, 2023, for a total of 377 calendar
 25
        days in duration.(See, Exhibit 02, Exhibit G, pus. 69-78).
 26
              19.    The Project's actual start date was on or around October 6, 2023, and was
 27
        completed on or around April 9, 2024, with Precision beginning its work on site on October I 3,
 28


 COMPLAINT - BREACH OF CONTRACT
                                                     Page 4




                                      NOTICE OF REMOVAL EXHIBIT 1 p. 8
Case 3:25-cv-00020-LL-SBC              Document 1-2 Filed 01/06/25                 PageID.17           Page 10
                                              of 213




1     2023 and completing all work required by Whiting-Turner on or around August 7, 2024, or 664
2     days of performance, more than 287 additional calendar days duration than required under the
3     Subcontract.
4          20.       Based on Precision's on-site experience on the Project, Precision is informed and
5     believes that Whiting-Turner either failed to properly include all anticipated electrical work for
6     the Project or failed to properly manage the changes and durations on the Project with respect to
7     the Owner's constant changes. in addition, Whiting-Turner failed to secure the additional time

8     required to complete all the additional work required on the Project.

9          21.       Because of Whiting-Turner failure to properly manage the Project, Precision was

10    forced to perform a massive amount of additional work at the change order rates prescribed by

11    the Subcontract under Section 6(a), which limited Precsion's overhead rate to 10% of the value

12    of the actual material and labor costs incurred on the respective change orders.(Pg. SC3).

13         22.       Making matters worse, Whiting-Turner failed to fulfill its obligations regarding the

14    timely handling of change orders, change order approvals, and payments for the additional

15    work, forcing Precision to incur substantial burdens to Precision's cashflow related to its labor

16    and materials costs, as well as its overhead. The Subcontract did not permit Precision to bill for

17    the change order-related costs in the monthly billing cycle until the change orders were

UI    approved and executed by Whiting-Turner, often months later. (See, Id., Sections 5(d) and 6(a)

1•    pg. SC2-3).

70         23.       As Whiting-Turner was well aware, Precision is not permitted to delay payment to

2,1   its employees, and in many cases, its vendors as well, simply because Precision cannot bill

      Whiting-Turner for the work performed.
22
           24.       The Subcontract further prohibits Precision from refusing to continue its work,
23
      including change order work, while it waits for approved change orders.(See, Id., Section 6(a)
24
      pg. SC3).
25
           25.       As a result of Whiting-Turner's failure to properly manage the project, Precision
26
      suffered significant damages, principally related to the excessive labor overruns as a result of
27
      the excessive change orders and poor scheduling, material price increases due to delays.
28


COMPLAINT - BREACH OF CONTRACT
                                                   Page 5



                                     NOTICE OF REMOVAL EXHIBIT 1 p. 9
Case 3:25-cv-00020-LL-SBC                Document 1-2 Filed 01/06/25                  PageID.18         Page 11
                                                of 213




      additional overhead costs, and cash flow related costs due to the failure to timely provide
2     approved change orders.
3           26.        Whiting-Turner failed to perform its duties to properly provide a complete project
4     scope of work, control changes to the scope of work during construction, timely process change
5     orders, properly schedule and sequence work, and negotiate the changes with Precision in good
6     faith. In doing so, Whiting-Turner radically changed the form, substance, and nature of the
7     Project from the original design, all while forcing Precision to continue its performance at great

8     cost to Precision.

9                 //

10                                        FIRST CAUSE OF ACTION

ii     (BREACH OF CONTRACT AND ABANDONMENT against WHITING-TURNER and

12                                                   Does 1-5)

13          27.        Plaintiff realleges and incorporates by reference paragraphs 1 through 26, above,

14    as though set forth in full at this point.

15          28.        On or around October 30, 2022, Precision signed a fixed scope fixed price

16    subcontract agreement in which Precision agreed to provide certain electrical installation labor,

17    materials, parts, equipment, supplies, and services for a work of improvement known and

18    described as The Fashion Valley Mall Phase 3, Electrical Phase 4 project (the "Project").

19    Whiting-Turner executed the agreement on or around November 2, 2022. Exhibit 02.

/0          29.        In total, Whiting-Turner issued $1,895,687.00 in change orders to Precision over

21    the entire course ofthe Project, bringing the revised Subcontract value to $4,823,677.00, of

      which Precision has received payment totaling $4,761,607.45.
22
            30.        Pursuant to the terms ofthe Subcontract, Precision provided all or substantially all
23
      the electrical labor, materials, supplies, equipment, and services to the Project for the benefit of
24
      Whiting-Turner and the Owner at the direction of Whiting-Turner, excepting those duties or
25
      obligations excused by the action(s) or inaction(s) of Whiting-Turner.
26
            31.        Whiting-Turner breached the Subcontract by failing to exercise due care regarding
27

28


COMPLAINT - BREACH OF CONTRACT
                                                      Page 6




                                       NOTICE OF REMOVAL EXHIBIT 1 p. 10
Case 3:25-cv-00020-LL-SBC                 Document 1-2 Filed 01/06/25                  PageID.19           Page 12
                                                 of 213




1                 a.   providing a complete project scope of work at the time of bid and throughout the
2                      duration of the Project;
3                 b. controlling changes to the scope of work during construction;
4                 c. timely processing Precision's proposed change orders;

                  d. scheduling and sequencing the Project's work and other subcontractors;
6                 e. sequencing and completing construction activities that directly affected Precision's
7                      scope of work; and

8                 f. negotiating in good faith with Precision the changes, including, but not limited to,

9                      changes that were known by Whiting-Turner or should have been known by

10                     Whiting-Turner either at the time of bid or prior to Whiting-Turner directing

11                     Precision to perform the additional work described in the change orders issued.

12          32.        As a direct and proximate result of Whiting-Turner's breach of the Subcontract,

13    Precision has suffered damages in the sum of at least $850,000.00 for labor, materials, supplies,

14    equipment, services, and. administrative costs, along with delay costs, to be determined, at trial,

15    of which $0.00 has been paid.

16          33.        Precision has made several demands to Whiting-Turner for payment related to

17    these damages discussed herein to this action, see, Exhibit 03 and Exhibit 04, and all such

18    demands have been rejected.

19          34.        Plaintiff has retained the law firm of Thompson Law & Consultation to pursue this

      and prosecute this action.

71

22                                      SECOND CAUSE OF ACTION

              (REASONABLE VALUE against Whiting-Turner and DOES I through 10)
23
            35.        Plaintiff realleges and incorporates by reference paragraphs I through 34, above,
24
      as though set forth in full at this point.
25
            36.        Within the last two years, Precision provided electrical labor, materials, parts,
26
      supplies, and services on the Project(the "Work") to Whiting-Turner for the benefit of
27
      Whiting-Turner and the Owner and at the special request of Whiting-Turner.
28


COMPLAINT - BREACH OF CONTRACT
                                                      Page 7




                                       NOTICE OF REMOVAL EXHIBIT 1 p. 11
Case 3:25-cv-00020-LL-SBC               Document 1-2 Filed 01/06/25                 PageID.20        Page 13
                                               of 213




1           37.     The total and reasonable value of Precision's Work, including actual and
2     reasonable overhead and profit, was and is the sum of $6,076,938.00.
3           38.     Only a portion, $4,761,607.45, of the value of Precision's Work has been paid.
4     There is now due, owing, and unpaid $1,315,330.56 to Precision by Whiting-Turner, together
5     with applicable interest thereon at the rate of market rate from July 1, 2024, until paid.
6    //

7                                       THIRD CAUSE OF ACTION

8         (BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING against

9                                  Whiting-Turner, and DOES 1 through 10)

10          39.     Plaintiff realleges and incorporates by reference paragraphs 1 through 38, above,

11    as though set forth in full at this point.

12          40.     During the course of Precision's performance of its Subcontract with

13    Whiting-Turner made representations to Precision recording the Project's scope of work but

14    knowingly failed to timely disclose to Precision the true and substantially different size, amount,

15    and nature of the Project's scope at the time of bid and throughout Precision's performance.

16    Such representations were false and Whiting-Turner knew or should have known they were

17    false at the time the representations were made or the disclosures were not made.

18          41.     Precision is informed and believes and thereon alleges that Whiting-Turner had no

19    intention of compensating Precision for the additional work demanded by Whiting-Turner,

20    which work Precision performed, and thereby received the benefit of Precision's work without

21    proper compensation.

            42.     Precision reasonably relied on said representations and disclosures from
22
      Whiting-Turner and would not have performed the entirety of the additional work had the
23
      complete scope of work been timely disclosed.
24
            43.     Plaintiff has been injured by providing labor, materials, services, and equipment
25
      for which it has not been compensated in the amount of at least $1,315,330.56 or such amount
26
      as may be proven at trial.
27
     //
2g


COMPLAINT - BREACH OF CONTRACT
                                                   Page 8



                                      NOTICE OF REMOVAL EXHIBIT 1 p. 12
Case 3:25-cv-00020-LL-SBC                  Document 1-2 Filed 01/06/25                   PageID.21      Page 14
                                                  of 213




1                                             PRAYER FOR RELIEF
2     WHEREFORE,Plaintiff prays judgment against Defendants, and each of them, as follows:
3     On the Pirst Cause of Action
4         1. Forthe principal sum of $1,315,330.56 or such amount as may be proven at trial;
5         2. For interest thereon at the rate of ten percent(10%)per annum from Slily 1, 2024; and
6         3. Determination by this Court that the original Subcontract as described herein was

7               abandoned by Whiting-Turner;

8    //

9     On the Second Cause of Action

10         1. For the principal sum of$1,315,330.56 plus additional costs incurred to be proven at trial;
          and

12         2. For interest thereon at the rate of ten percent(10%)per annum from July I, 2024.

13   /-

14    On the Third Cause of Action

15                 1. For the principal sum of $1,315 330.56 plus additional costs incurred to be proven at

16        trial.

17   /-

18    On all Causes of Action

19              For such other and further relief as this Court deems just and proper.

20

21   DATED: October 29, 2024                           Thompson Law & Consultation

22

23                                                     By:

24

25

26
                                                       Luke Thompson (SBN 282762)
27                                                     Ithompson@thompsonslawconsultation.com
                                                       Attorney for Plaintiff:
28                                                     G.A. AB.ELL, INC. dba Precision Electric Company


COMPLAINT - BREACH OF CONTRACT
                                                       Page 9




                                         NOTICE OF REMOVAL EXHIBIT 1 p. 13
Case 3:25-cv-00020-LL-SBC    Document 1-2 Filed 01/06/25        PageID.22   Page 15
                                    of 213




                                EXHIBIT 01




                            NOTICE OF REMOVAL EXHIBIT 1 p. 14
Case 3:25-cv-00020-LL-SBC                Document 1-2 Filed 01/06/25                     PageID.23             Page 16
                                                of 213




  PRECISION ELECTRIC COMPANY
                                             BID LINE (619)966-9671
    Page 1 of 3



                                                                                       September 16, 2022

    Project: Fashion Valley Mall Phase 4

      We are pleased to provide our proposal for electrical work for the above referenced project. Our bid
    proposal includes all material, tax, labor, insurance, tools, equipment, submittals, O&M manuals, startup
    and testing. Our bid is based upon electrical drawings dated 7/25/22 and 8/3/22. Specification section 26
    is listed. Items not shown or cross-referenced on the listed drawings or specification are not considered in
    this proposal's scope of work and are not included in the proposal price. We have noted no Addenda.


            DESCRIPTION                                                                AMOUNT
            ELECTRICAL                                                      $               1,189,000.00

             MAIN CONCOURCE SAFE OFF                                        $                      12,000.00

            ESCALATOR SAFE OFF, ROUGH IN AND LIGHTS                         $                     68,000.00

             FOOD COURT RESTROOMS SAFE OFF, ROUGH IN AND LIGHTS             $                     104,000.00

            TEMPORARY POWER                                                 $                      20,000.00

            TEMPORARY LIGHTING                                              $                      10,000.00

             VANS RESTROOM SAFE OFF, ROUGH IN AND LIGHTS                    $                      28,000.00

             LIGHT FIXTURES                                                 $                   1,416,000.00

             RELOCATE AND MODIFY FIRE ALARM                                 $                      28,000.00

             RELOCATE ELECTRICAL ALLOWANCE                                  $                      24,000.00

            CORING ALLOWANCE                                                $                      18,000.00

            TOTAL                                                           $                   2,917,000,00




8137 WINTER.GARDENS BLVD.• LAKESIDE, CALIFORNIA 92040-31 14 •(619) 390-2991 • FAX (619) 390-0623
                                   CA LICENSE A, S. C-7, C-10, C-46 #5341 16




                                      NOTICE OF REMOVAL EXHIBIT 1 p. 15
Case 3:25-cv-00020-LL-SBC                Document 1-2 Filed 01/06/25                    PageID.24           Page 17
                                                of 213




  PRECISION ELECTRIC COMPANY
                                             BID LINE (619)966-9671
     Page 2 of 3


     Clarifications:
        • Bond Rate: 1%, based on total bid price.
        • Trenching is based on normal production rates for equipment & hand digging.
        • Haul off of spoils has been included.
        • We will provide anchor bolts and paper template for your use.
        • Price includes salvage rights on demo electric items.
        • All work is based on Mon.-Thur. 10:00pm - 8:00am.
        • Proposal is contingent upon contract terms and conditions, on a project specific basis, being
             acceptable to PECo.
        • Base Bid includes EMT infrastructure only for Fire Alarm System.
        • A complete Simplex Fire alarm system has been provided for Vans restrooms.
        • It is assumed all circuits shown on floor plans are existing and can be intercepted inside planters.
        • Where circuits are VS be intercepted / extended it is assumed there will be clear and unobstructed
             access to soffits.
        • Temporary power will include (1)200amp panel, spider boxes within 100', lighting per minimum
             OSHA standards,(8)flood lights to move as needed and weekly maintenance.
        • We have included up to (8) mobilizations.
        • We have included cleanup of areas of work to "like new conditions" after each work day.
        • Up to (100) hours for fixture adjustments with owner has been included.
        • Title 24 commissioning reports have been included.
        • We have included labor and material for seismic joint locations.
        • We have included fire stopping for our scope of work.
        • Coring & x-ray has been provided for our scope of work.
        • We have provided any and all lifts to perform our scope of work.
        • New breakers have been provided where required.
        • By listing Precision Electric Company, Contractor accepts and agrees to terms of this proposal.
        • Our bid is based on private rates.

     We exclude the following:
       • Temporary power usage fees, task lighting.
       • All fees. To include, but not limited to, permits, plan check, air pollution, and third-party
           accounting systems such as Textura CPM.
       • Storing / Relocating Kiosk's / Directories.
       • Parking fees.
       • Allowances are not included.
       • Site home run conduits to existing panels.(see home run excavation allowance)
       • Cast-in-Place concrete, rebar, housekeeping pads, concrete wash out requirements.
       • Drilling, light pole / bollard base, plywood templates for anchor bolts and steel pipe bollards.
       • Painting, patching, access panels, and cutting or replacing of ceiling tiles.
       • HVAC control wire, conduit and low voltage devices.



8137 WINTER..GARDENS BLVD,• LAKESIDE, CALIFORNIA 92040-31 14 •(619) 390-2991 • FAX (619) 390-0623
                              CA LICENSE A, 6, C-7. C-10. C-46 #5341 16




                                       NOTICE OF REMOVAL EXHIBIT 1 p. 16
Case 3:25-cv-00020-LL-SBC                 Document 1-2 Filed 01/06/25                       PageID.25   Page 18
                                                 of 213




   PRECISION ELECTRIC COMPANY
                                           BID LINE (619)966-9671
     Page 3 of 3
        • Low voltage subcontractors.
        • Fixture ceiling hanger wires. We will tie off only.
        • Saw cut, breakout, removal, & patch back.
        • Demolition. We will safe off only.
        • VFD's or Combination Starters for Mechanical Equipment.
        • Cord and plugs for owner provided equipment.
        • All carpentry or structural work, including tie off points for safety harness.
        • Dumpster fees or container, including City Recycling fees.
        • Grade staking or site surveying. Landscape Repairs, S.W.P.P's
        • Removal, disposal, handling or abatement of hazardous materials.

     If you should have any questions, please contact us.

     Respectfully submitted: Adam Cox (619) 554-7900

     Estimating Department

                          Note: This proposal may be withdrawn if not accepted within 90 days.




81.3,7,V.V.iNTER,,pARpENss 13L.vo. • LAKESIDE, CALIFORNIA 92040-31 14 •(619) 390-2991 • FAX (619) 390-0623
                                   .CA LiceNsE A, El, C-7, C-10. C-46 #5341 16




                                       NOTICE OF REMOVAL EXHIBIT 1 p. 17
Case 3:25-cv-00020-LL-SBC    Document 1-2 Filed 01/06/25        PageID.26   Page 19
                                    of 213




                               EXHIBIT 02




                            NOTICE OF REMOVAL EXHIBIT 1 p. 18
  Case 3:25-cv-00020-LL-SBC                             Document 1-2 Filed 01/06/25                                   PageID.27                Page 20
                                                               of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                    SUBCONTRAC:T

                                              THE WHITING-TURNER CONTRACTING COMPANY


                 Address Reply to:             THE WHITING-TURNER CONTRACTING COMPANY
                                               3911 Sorrento Valley Blvd Suite 100
                                               San Diego, CA 92121


                 SUBCONTRACT NO.               019777-26B

                 SUBCONTRACT FOR               Phase 4 Electrical



                 SUBCONTRACTOR                 Precision Electric Company
                     Address                   8137 Winter Gardens Blvd.
                                               Lakeside, CA 92040
                                               CA License No. 534116

                       Remittance Address      8137 Winter Gardens Blvd
                                               Lakeside, CA 92040



                 OWNER                         Simon Property Group, Lp
                                               60 Columbia Road Building B, 3rd Floor
                                               Morristown, NJ 07960



                 PROJECT                       Fashion Valley Mall Redevelopment Phase 3
                                               7007 Friars Rd.
                                               San Diego, CA 92108


                           This agreement, made this day of October 13, 2022, by and between Precision Electric Company hereinafter
                 called the Subcontractor, and THE WHITING-TURNER CONTRACTING COMPANY,of Baltimore Maryland. with its
                 principal office located at 300 East Joppa Road, Baltimore, Maryland. a body corporate of the State of Maryland.
                 hereinafter called the Contractor,
                            WITNESSETH, that the Subcontractor and Contractor for the consideration hereinafter named. agree as
                           follows:

                 ARTICLE I. DEFINITIONS--
                      (a) As used herein, the following terms shall have the meanings indicated:
                           "Architect" or "Engineer" means the architect or engineer directing the work as agent of the Owner, or any
                 other person authorized by the General Contract to direct or pass upon any matter or thing connected with the performance
                 of the General Contract.
                           "Contract Documents" means (a) the General Contract,(b) all general. supplementary and other conditions
                 applicable to the Project,(c)the Drawings and Specifications, and (d) all bulletins and addenda issued in connection with
                 the Project.
                           "Drawings and Specifications" means the drawings and specifications described in Article 2 hereof. and all
                 addenda and/or revisions thereto.
                           "General Contract" means the contract executed or to be executed by the Owner and the Contractor in
                 connection with the construction of the Project and any amendments thereto.
                           Where the contract entered into between Owner and Contractor is a Construction Management Agreement, the
                 term "Contractor" shall be deemed to mean "Construction Manager".
                           "Subcontract" means this document and all of the Contract Documents which shall be made a part of this
                 Subcontract and are incorporated herein by reference.
                           (b) Where the term "Contractor" is used in the Specifications, insofar as it has application to the work required
                 to be done by the Subcontractor as provided herein, it shall be deemed for the purposes hereof to refer to the
                 Subcontractor. The term "Contractor" or "General Contractor" when used in the Contract Documents shall be deemed to


                                                                            SC I

                 Rev. 1/2/15                                                                                  Document Generated From CMiC

                                                                        Page 1 of 174




                                                     NOTICE OF REMOVAL EXHIBIT 1 p. 19
  Case 3:25-cv-00020-LL-SBC                             Document 1-2 Filed 01/06/25                                   PageID.28                Page 21
                                                               of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                make reference to the Subcontractor insofar as it has application to the work covered by this Subcontract. The term
                "Subcontractor" may be referred to as "it" whether Subcontractor is incorporated or not.

                 ARTICLE 2. SCOPE OF WORK—The work to be performed and materials to be furnished by the Subcontractor are
                 as specified in Article 3 hereof and in accordance with Drawings and Specifications prepared by Retail Design
                 Collaborative and MG2 dated 07/29/2022 and 08/03/2022 respectively, and as set forth in Exhibit B.

                 ARTICLE 3. PROVISION OF LABOR AND MATERIALS--
                       (a)The Subcontractor agrees to furnish and pay for all labor and supervision, tools, apparatus. supplies. equipment.
                 and services, and also to furnish, deliver, install, and pay for all materials necessary for the performance and completion
                 of the work described under the Scope of Work, free from all claims and liens of materialmen, suppliers, laborers.
                 tnickers, subcontractors, and others making claims through the Subcontractor. All such work shall be done to the
                 satisfaction of the Owner, the Architect and/or Engineer, and the Contractor in accordance with the Contract Documents.
                 Subcontractor agrees to submit daily work reports and monthly progress reports and schedule updates upon request by
                 the Contractor. The Subcontractor agrees that with respect to the Scope of Work hereunder it will stand in the Contractor's
                 shoes with respect to the Contractor's obligations to the Owner under the Contract Documents and will perform all work
                 and obligations as set forth on the Contract Documents to the satisfaction of the Owner. At all times that Subcontractor
                 has personnel at the Project site, it shall also have present an authorized representative of Subcontractor who shall
                 supervise and direct Subcontractor's personnel and be responsible for their actions. Such representative shall be
                 authorized to act on behalf of the Subcontractor and communications to such representative shall be binding upon
                 Subcontractor.
                       (b) In the event any deviations from the Contract Documents are incorporated in any shop drawings of or by the
                 Subcontractor, such deviations and the reasons therefore shall be fully explained in writing by separate letter to the
                 Contractor and Owner at the time the shop drawings are submitted to the Contractor and Owner. Failure to so specify
                 and explain any such deviation will automatically void any inadvertent approval of the same by the Contractor. Architect.
                 Engineer and/or Owner.
                       (c) The Subcontractor represents and warrants that it is an expert in the particular line or lines of work herein
                 contracted to be done and that it is competent to know whether the materials, methods and apparatus specified for this
                 work are sufficient and suitable to secure the results contemplated by the Contract Documents. The Subcontractor shall
                 be responsible for Mfilling the requirements of the Contract Documents. Subcontractor agrees to cooperate in carrying
                 out Contractor's quality assurance program including, but not limited to, furnishing necessary documentation and
                 facilitating inspections and quality checks.
                       (d) In the event that Subcontractor employs union labor the Subcontractor agrees to be bound by the terms and
                 provisions of the agreement establishing the Impartial Jurisdictional Disputes Board. any such successor Board, or any
                 subsequent method agreed to be employers and the unions affiliated with the Building and Construction Trades
                 Department, AFL-CIO, for the settlement ofjurisdictional disputes. The Subcontractor also agrees that any assignments
                 ofdisputed work shall be made in accordance with any agreement of record between the disputing trades, or any published
                 decision of record compiled and published by the Building and Construction Trades Department. AFL-C10 in
                 Agreements and Decisions Rendered affecting the Building Industry.

                 ARTICLE 4. DILIGENT PERFORMANCE--
                       (a) Subcontractor agrees to commence, pursue diligently and complete the work in such sequence and order and
                 according to such schedules as Contractor shall establish from time to time during the course of the work, and shall
                 perform the work so as not to delay any other trades or contractors, time being of the essence of this Subcontract. Any
                 written dates furnished by the Subcontractor and approved by Contractor and Owner for delivery of materials, samples.
                 shop drawings, etc.. shall become a part of this Subcontract. Subcontractor shall furnish information requested by the
                 Contractor in connection with monitoring and updating the Project schedule and shall immediately notify Contractor in
                 writing ofany interruption of the work or late delivery which causes or may cause a delay in Subcontractor's performance.
                 No extension of completion date shall be permitted unless approved in writing by the Contractor and Owner. and
                 Subcontractor shall be responsible for any losses or penalties incurred by Contractor as a result of delays in completing
                 Subcontractor's work. If Contractor determines that the Subcontractor is behind schedule or will not be able to maintain
                 the schedule, Subcontractor shall submit a remedial plan to recover, shall work overtime, shill work,or work in an altered
                 sequence, if deemed necessary, in the judgment of the Contractor to maintain the progress of the work. Any such
                 overtime, acceleration, shift or altered sequence work required to maintain progress or to complete the work on a timely
                 basis shall be at Subcontractor's expense and shall not entitle Subcontractor to an extension of time or additional
                 compensation. Contractor may supplement Subcontractor's forces. at Subcontractor's expense, if deemed necessary by
                 the Contractor to maintain the Project schedule. Subcontractor shall be liable to the Contractor for any delay or damages.
                 including consequential or liquidated damages, threatened or assessed against the Contractor to the extent caused by the
                 Subcontractor.
                      (b)To the fullest extent permitted by applicable law. Contractor shall have the right at any time to delay or suspend
                 the work or any part thereof without incurring liability therefore. An extension of time shall be the sole and exclusive
                 remedy of Subcontractor for any delays or suspensions suffered by Subcontractor. but only to the extent that a time
                 extension is obtained from the Owner, and Subcontractor shall have no right to seek or recover from Contractor any
                 damages or losses, whether direct or indirect, arising from or related to any delay or acceleration to overcome delay.
                 and/or any impact or effect of such delays on the Work.
                       (c) Subcontractor shall cooperate fully with Contractor in providing promptly any information requested by
                 Contractor in connection with preparation of schedules for the Project, including, but not limited to. detailed information
                 concerning the sequence, beginning and ending dates of activities, cost breakdowns related to such activities, and any
                 information requested for Critical Path Method scheduling if used for the Project. The costs of all such activities on the
                 part of Subcontractor are included in the Subcontract Amount.
                       (d) in the event of any dispute under this Subcontract or as to the work to be performed, Subcontractor shall
                 continue to diligently perform the work as directed by Contractor without interruption, deficiency or delay.


                                                                            SC2

                 Rev. 1/2/15                                                                                 Document Generated from CMiC      '   1- 116

                                                                        Page 2 of 174




                                                     NOTICE OF REMOVAL EXHIBIT 1 p. 20
  Case 3:25-cv-00020-LL-SBC                              Document 1-2 Filed 01/06/25                                    PageID.29                Page 22
                                                                of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3



                 ARTICLE 5. PAYMENT—
                       (a) Payment of amounts due under the Subcontract. shall be made as follows: The Contractor shall, pay to the
                 Subcontractor an amount equal to ninety percent (90%)or such higher percentage as required by applicable law of the
                 value of the work performed by the Subcontractor as determined by the Architect and approved by the Contractor during
                 any calendar month within fifteen (15)days after payment therefor has been received by the Contractor from the Owner.
                 or within such shorter period specified by applicable law, statute or regulation. The Contractor shall he under no
                 obligation to make any payment to the Subcontractor except to the extent that the Contractor has received funds from the
                 Owner for the work invoiced by the Subcontractor: that is to say. the Subcontractor shall not he entitled to payment if for
                 any reason, the Owner fails to pay the Contractor in accordance with the General Contract, such payment from the Owner
                 being a condition precedent to any obligation of Contractor to Subcontractor. Subcontractor expressly assumes the risk
                 of the Owner's non-payment and the subcontract price includes this risk as the Subcontractor understands and
                 acknowledges that it is to be paid exclusively out of a fund the sole source of which is the Owner's payment to the
                 Contractor. The Owner's non-payment to Contractor will result in non-payment to Subcontractor by Contractor.
                 Retainage and any other balance of the Subcontract Amount shall be payable fifteen (15) days or within such shorter
                 period specified by applicable law, after the work under this Subcontract has been completed and accepted by the Owner.
                 Architect, and Contractor and following approval by the Architect of the final application for payment, and settlement
                 of all claims, if any, under this Agreement, provided that Subcontractor has fully performed all of its obligations
                 hereunder. The Contractor is hereby authorized to deduct and offset from any payment an amount equal to any and all
                 sums or obligations owing by the Subcontractor to the Contractor and costs necessary to complete the work to be
                 performed under this Subcontract, and any and all claims liquidated or unliquidated, by the Contractor against the
                 Subcontractor, arising hereunder, under any other contract or agreement between the Subcontractor and the Contractor
                 or from any other liability or obligation of the Subcontractor to the Contractor whether under this Subcontract or
                 otherwise.
                       (b) The Subcontractor agrees to submit to the Contractor applications for payment by the 25th of each month, or
                 at such other time as provided in the Contract Documents so as to enable the Contractor to timely apply to the Owner for
                 payment. As a condition precedent to the payment of any application. the Subcontractor shall (1) produce waivers of
                 mechanics lien rights and claim releases in the form required by Contractor by Subcontractor and all persons supplying
                 labor or materials to the Subcontractor on the Project through the period covered by the application. or (2) exhibit such
                 other evidence as the Contractor may require that charges for all labor and material have been paid. Any payments made
                 by Contractor to Subcontractor are to be held in trust by Subcontractor for the payment of any lower tier Subcontractor
                 or supplier. The Contractor shall have the right to contact Subcontractor's suppliers and subcontractors of any tier, direct
                 or indirect, to determine the current status of indebtedness and Subcontractor authorizes them to provide such
                 information. Contractor in its discretion may make checks payable jointly to Subcontractor and the supplier or
                 subcontractor or directly to the supplier or subcontractor for the account of the Subcontractor.
                     (c) Payment by the Contractor to the Subcontractor or for its account shall not be deemed to he an admission or
                 approval by the Contractor of the sufficiency and adequacy of the work covered by the payment.
                      (d) Notwithstanding any other provisions of this Agreement, Contractor shall be under no obligation to make any
                 payment to the Subcontractor under any provision hereof except to the extent that Contractor has received funds from
                 Owner, payment by Owner being a condition precedent to payment of the Subcontractor. Subcontractor expressly
                 assumes the risk of the Owner's non-payment and the subcontract price includes this risk as the Subcontractor
                 understands and acknowledges that it is to be paid exclusively out of a fund the sole source of which is the Owner's
                 payment to the Contractor. The Owner's non-payment to Contractor will result in non-payment to Subcontractor by
                 Contractor. Notwithstanding the foregoing, nothing in this Subcontract shall be construed to prohibit Subcontractor from
                 pursuing its rights, if any, to a mechanic's lien or statutoty bond claim in the event that non-payment of the Subcontractor
                 was caused by the failure of the Owner to pay Contractor amounts legally due. Subcontractor further agrees that. prior
                 to exercising its rights or filing any claims, if any, against the Contractor or any surety for non-payment caused by the
                 failure of the Owner to pay Contractor amounts legally due. Subcontractor shall first timely exercise and exhaust any
                 rights and remedies that may exist with respect to enforcing a mechanic's lien on the Project.
                      (e) Contractor may apply any payments otherwise due Subcontractor hereunder to any other indebtedness. liability
                 or obligation of Subcontractor to Contractor whether under this Subcontract or any other agreement or circumstance.

                 ARTICLE 6. ADDITIONAL OR OMITTED 1VORK--
                        (a) In the event that the Contractor directs Subcontractor to perform additional work, Subcontractor agrees that it
                 will promptly perform and diligently complete such work whether or not Contractor and Subcontractor have agreed on
                 the cost of such work. Subcontractor shall submit to Contractor a lump sum proposal for such work, which proposal shall
                 include a detailed cost breakdown for each component of the work, indicating both quantities and unit prices, and such
                 proposal shall be submitted to Contractor not later than 7 days after Contractor directs Subcontractor to perform extra or
                 additional work or such lesser period if required by the Contract between Owner and Contractor. If a lump sum price or
                 unit price for the additional work cannot be agreed upon. or Subcontractor fails to submit such proposal within 7 clays
                 after Contractor directs Subcontractor to perform extra or additional work, Subcontractor agrees to do the work on the
                 basis of its actual cost plus percentage fees for overhead and profit as set forth in Article 10. The Contractor shall not be
                 liable for payment for any additional work performed by the Subcontractor unless such work is first expressly authorized
                 by the Contractor in writing and payment is made by the Owner to the Contractor for such extra work, payment by Owner
                 to Contractor being a condition precedent for Contractor to pay Subcontractor for such work. Both authorization in
                 writing by the Contractor and actual payment by the Owner to the Contractor for such extra work shall be conditions
                 precedent to Contractor's obligation to pay Subcontractor for such additional work. Any additional compensation or time
                 to be given to Subcontractor shall be set forth in a Subcontract supplement and shall constitute a full and final equitable
                 adjustment of compensation, time or any other alleged entitlement, known or unknown, arising in connection with the
                 facts and circumstances described in and which gave rise to such contract supplement and Subcontractor waives all
                 damages, direct. indirect and consequential, relating to such facts and circumstances, including, but not limited to. impact.
                 reduced productivity, interference by other trades, lack of coordination of the work by Contractor, inefficiencies.
                 acceleration, delays, extended overhead, diminished bonding capacity or lost profits.
                       (b)in the event that the Subcontractor performs any such authorized additional work on an actual cost plus basis.
                 it shall furnish each day to the representative of the Contractor, duplicate payroll sheets, timesheets. material tickets.

                                                                             SC3

                 Rev. 1/2/15                                                                                   Document Generated from CM iC     IA PC
                                                                         Page 3 of 174




                                                      NOTICE OF REMOVAL EXHIBIT 1 p. 21
  Case 3:25-cv-00020-LL-SBC                              Document 1-2 Filed 01/06/25                                     PageID.30                Page 23
                                                                of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                 equipment charges, and a statement or slips for all other charges, retaining a copy of each thereof, and securing on each
                 thereof the signature of the duly accredited representative of the Contractor. Such signed copies of payroll sheets.
                 timesheets, material tickets, statements and slips shall accompany the application for payment.
                       (c) Should the Contractor during the execution of this Contract require the Subcontractor to omit any work
                 embraced within the terms of this Subcontract, said omission being for the account of the Owner, the Contractor, or any
                 other subcontractor on the work. the Subcontractor agrees to omit such work, and the Contractor will deduct from any
                 monies due the Subcontractor the value ofsuch omitted work as reasonably determined by Contractor.
                       (d) In the event of any dispute, controversy, or claim for additional compensation or time extensions, except for
                 payment for extra or additional work expressly directed by Contractor in accordance with Section 6 (a) of this
                 Subcontract, the compensation for which shall be fully and finally governed by Section 6(a) of this Subcontract and for
                 which no further claim can or shall be made, notice in writing shall be given to the Contractor no later than seven (7)
                 days following the occurrence on which such claim is based, unless the notice provision in the General Contract between
                 the Owner and Contractor is less than seven(7)days, in which case. Subcontractor shall give notice to Contractor within
                 2 days less than the time required for Contractor to give notice to the Owner according to the notice provision in the
                 General Contract. Such notice shall describe the dispute. controversy or claim in detail so as to allow Contractor to
                 review its merits. Such notice shall also provide detailed information to substantiate such claim including supporting
                 documentation and calculations, and including any information requested by Contractor. Any claim not presented within
                 such time period shall be deemed waived by Subcontractor.
                       (e)If the Subcontractor shall make any claim against the Contractor for extra work or additional compensation for
                 which the Owner or its agents may be liable. the Contractor may present such claim or claims to the Architect and/or
                 Owner for determination and decision provided (1) such claim is not, in the judgment of the Contractor, made in bad
                 faith,(2)Subcontractor has given notice in accordance with Article 6(d)and in the form required by the General Contract.
                 and has presented the claim to Contractor within the time required by Article 6(d).(3) Subcontractor has both requested
                 in writing that Contractor present the claim and has agreed in writing, on terms satisfactory to Contractor, to pay all costs
                 of Contractor in presenting and pursuing such claim. Further. if Contractor requires that Subcontractor execute a
                 liquidating agreement or similar agreement on terms satisfactory to Contractor further memorializing the understanding
                 of the parties in connection with the presentation of such claims, Subcontractor shall execute such agreement as a
                 precondition for Contractor to submit such claim. Presentation of the claim by Contractor shall not be construed as an
                 acknowledgment of the validity thereof, or a waiver of any right of the Contractor. and such action shall be without
                 prejudice to its rights. If the claim is presented by the Contractor to the Architect and the Owner, the decision of the
                 Architect and/or Owner shall be final and binding upon the Subcontractor to the same extent and purpose that it is final
                 and binding on the Contractor.
                       (f) No additional time or compensation will be allowed for weather delays or difficulties or inconveniences arising
                 from mud, dust, water, ice, snow, wind, heat or cold or similar natural or physical conditions unless permitted under the
                 General Contract and a claim therefore is made as set forth in Section 6(e). Contractor assumes no responsibility for
                 material received. unloaded or stored for or by Subcontractor. Materials, tools, supplies, equipment. etc.. belonging to or
                 leased to Subcontractor are its responsibility and no claim for missing or stolen property will be allowed. Contractor shall
                 not be required to provide hoisting facilities or temporary power, water or heat unless otherwise provided herein.
                       (g) Contractor may direct Subcontractor to work overtime or premium time and Subcontractor shall comply with
                 such direction. If approved in advance in writing by Contractor's authorized representative. Subcontractor may be
                 reimbursed for such work but only for the difference between regular time and overtime for direct payroll cost and the
                 related payroll taxes, insurance, and benefits, and shall not be entitled to any additional compensation for overhead or
                 profit or for inefficiencies or declines in productivity or other impacts. Subcontractor shall be responsible for the costs of
                 overtime work caused by failure of Subcontractor to provide sufficient manpower, maintain the progress of the Work, or
                 otherwise meet its obligations hereunder.

                 ARTICLE 7. DEFAULT—
                       (a)In the event the Subcontractor shall. in the judgment of the Contractor,(I) become unable to fulfill its financial
                 obligation, become insolvent, or file or have filed against it any petition in bankruptcy, make an assignment for the benefit
                 of creditors, or commence or have commenced against it or enter into any other proceeding or arrangement for relief of
                 debtors, reorganization or deferral or discharge of debts.(2) fail to pay, when due, for materials, supplies, labor, taxes.
                 or other items purchased or used in connection with the work, (3) fail to pursue the work in accordance with this
                 Subcontract and the schedules established by the Contractor, (4) fail to supply a sufficiency of properly skilled
                 supervisors, workmen, or of materials, tools, equipment, or supplies of the proper quality (including failure occasioned
                 by a strike, picketing, boycott, or other cessation of work by Subcontractor's employees).(5) interfere with or disrupt. or
                 threaten to interfere with or disrupt the operations of the Contractor, the Owner, or any other laborer. materialmen.
                 supplier, subcontractor, or other person working on the job. whether by reason of any labor dispute. picketing. boycotting,
                 or by any other reason,(6) violate any applicable federal, state, or local laws or regulations. (7) advise Contractor or
                 demonstrate to Contractor that Subcontractor will be unable to timely and adequately perform any of its obligations
                 under this Subcontract, or(8) commit any other breach of this Subcontract, then any such event shall immediately with
                 no further action or notice required on the part of the Contractor, constitute a default by the Subcontractor under this
                 Subcontract, and any such event shall be deemed to be a breach of this Subcontract. The Contractor will give the
                 Subcontractor written notice of default. Upon receipt of such notice. Subcontractor shall have two (2) days in which to
                 cure any such default provided, however, that if, in the judgment of the Contractor, such default cannot be cured within
                 a two (2)day period after such notice. or Subcontractor has advised Contractor or Contactor has otherwise determined
                 that Subcontractor is unable to cure or remedy said default. the Contractor will notify the Subcontractor of default but
                 the Subcontractor will not have any right to cure such defliult and the Subcontractor may be terminated immediately. In
                 the event of a default for which there is no right to cure as provided hereinabove, or in the event of the expiration of the
                 2-day cure period set forth hereinabove without all such defaults having been fully cured, the Contractor may terminate
                 this Subcontract, take possession of all or any materials, fabricated items wherever located, supplies, equipment and
                 tools pertaining to the Project whether on the Project site, in the Subcontractor's premises or in transit, and may make
                 independent arrangements for completion of the work.Subcontractor grants to Contractor a right of entry into any
                 premises owned or leased by Subcontractor for the foregoing purposes. The amount of completion cost. as well as any
                 other costs, damages, or expenses, including Contractor's legal fees and expense. incurred as a result of such default shall

                                                                             SC4

                 Rev. 1/2/15                                                                                   Document Generated from CMiC          t
                                                                         Page 4 of 174




                                                      NOTICE OF REMOVAL EXHIBIT 1 p. 22
  Case 3:25-cv-00020-LL-SBC                              Document 1-2 Filed 01/06/25                                    PageID.31                Page 24
                                                                of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                 be charged against any unpaid balance due to the Subcontractor under this Agreement or under any other agreement
                 between Contractor and Subcontractor; and, if said total costs, damages or expenses shall exceed the balance due. the
                 Subcontractor agrees to pay the amount of said excess immediately upon demand of the Contractor. The materials.
                 supplies, equipment and tools taken by the Contractor may be used in completing the Project and may be incorporated
                 into the improvements being constructed. With respect to any of such items incorporated into the Project, or consumed
                 in the job, the net reasonable value of the same as of the date of taking shall be taken into account in the calculation of
                 the aforesaid total completion costs, damages, and expenses. With respect to any such items which are not so incorporated
                 or consumed, or which have a salvage value, the Contractor may. at its option (I) assume title to the same or any part of
                 the same, as of the date of default and take into account the net reasonable value thereof as of the date of taking in the
                 calculation of the total completion cost, damages, and expenses or (2) retum the same to Subcontractor and take into
                 account the net reasonable value of the use thereof by Contractor in the calculation of the said total completion cost.
                 damages, and expenses
                      (b) In addition to, and not in substitution of, the remedies herein above specified. Contractor may immediately, in
                 the event of default or failure ofSubcontractor to perform its obligations hereunder, provide or arrange for such workmen
                 and materials necessary to continue and complete the work contracted for hereunder for the account of the Subcontractor
                 and at Subcontractor's cost and expense, and apply any and all funds due or to become due to the Subcontractor thereto,
                 all without terminating, rescinding or voiding this Subcontract or releasing the Subcontractor from any liability hereunder
                 or from any damages caused by Subcontractor's failure to perform.
                      (c) In the event of a default by the Subcontractor under this Subcontract, all sums and obligations owing to the
                 Contractor by the Subcontractor in any right or capacity, whether under this Subcontract or otherwise, immediately shall
                 become due and payable to the Contractor.
                      (d) In the event the Contractor does not terminate this Subcontract, but assents to delayed completion of the work
                 b y the Subcontractor, such assent shall not be construed as a waiver of the Subcontractor's obligation to reimburse the
                 Contractor for any costs, damages, or expenses incurred as a result of such delay; and all such costs, damages, and
                 expenses shall be paid or reimbursed to Contractor upon demand.
                      (e) In the event that Contractor wrongfully exercises any of its rights under this Article 7. Subcontractor's sole and
                 exclusive remedy shall be payment of the Subcontract Amount for the portion of the Subcontract performed by
                 Subcontractor, and Subcontractor hereby waives any and all other rights, claims and remedies under this Subcontract
                 and/or at law.

                 ARTICLE S. RELEASES OF CLAIMS AND WAIVER OF LIENS--
                 Subcontractor agrees to provide to Contractor, and to provide and obtain from its subcontractors and suppliers of all tiers,
                 executed releases of claims and/or waivers of liens and lien rights in the form required by Contractor and at such times
                 as may be requested by Contractor. Subcontractor shall hold all monies paid by Contractor in trust for the payment of
                 lower tier subcontractors and suppliers, promptly apply all payments made hereunder to Subcontractor's cost for labor
                 and materials for the Project, and shall further take any and all necessary actions to keep the Project free and clear of all
                 claims for liens and any and all claims against Contractor or Owner or any bonds posted by either of them in connection
                 with the Project. In the event that any person furnishing labor or materials to the Subcontractor files a notice of intent to
                 place a lien on the Project or files a lien on the Project or files a notice of claim or makes a claim against the Contractor
                 or Owner or any bonds posted by either of them in connection with the Project, Subcontractor shall promptly but in no
                 event later than any time required for a release bond to be posted under the General Contract take all necessary steps to
                 have such notice or lien or claim withdrawn, including, if requested by Contractor, the posting of a bond. In the event
                 that Subcontractor does not fulfill its obligations under this Article 8. Contractor may take all actions which it deems
                 reasonable or necessary to protect the Project from liens and claims and the costs of any such actions including the cost
                 of posting a release bond and attorney's fees, shall be deducted from amounts payable by Contractor to Subcontractor
                 under this Agreement or any other agreement or circumstance. Subcontractor shall remain liable in the event that monies
                 payable to it are insufficient to pay any damages or expenses arising from such liens.

                 ARTICLE 9. MISCELLANEOUS--
                      (a) The Subcontractor shall not sublet, assign or transfer this Subcontract or any part thereof, or the money clue or
                 to become due under it, without the written consent of Contractor; and any assignment or transfer without such consent
                 shall be void. Subcontractor hereby assigns to Contractor, upon termination of this Subcontract for any reason prior to
                 its complete performance, all ofsubcontractor's rights in and to any agreements or purchase orders for labor or materials.
                 equipment or services related to the Project. as well as any shop drawings. plans. specifications, or other documents
                 prepared by or on behalf of the Subcontractor and such assignment shall create no rights in any other person unless
                 accepted by Contractor. Contractor may assign this Subcontract, including but not limited to the Owner, the Owner's
                 lender, or other entities as required by the Owner, to another contractor upon termination of the General Contract, or to
                 any other persons or entities as required by the General Contract.
                       (b) The Subcontractor shall not cause any unnecessary interference with or delay to the Contractor or to other
                 subcontractors on said Project and shall repair promptly and be responsible for all damage done to the work of the
                 Contractor or other subcontractors by Subcontractor, its agents, employees, subcontractors, or suppliers. Subcontractor
                 shall be directly responsible to the Contractor or other subcontractors whose work is so damaged. The Contractor shall
                 be responsible to the Subcontractor for physical damage to Subcontractor's work only if such damage is directly and
                 proximately caused by the sole negligence of the Contractor.
                      (c) The Subcontractor shall clean up and remove daily from the job site dirt, trash and debris arising from its work
                 as directed by the Contractor. In the event the Subcontractor fails to clean up and remove such dirt, trash and debris, the
                 Contractor may, at its discretion, arrange for the same at Subcontractor's expense.
                      (d) To the fullest extent permitted by applicable law. Subcontractor agrees to defend, indemnify and hold harmless
                 the Contractor and/or Owner, their officers, directors. agents and employees, from and against any and all claims, suits.
                 liens,judgments, damages, losses and expenses, including, but not limited to. attorney's fees, arising in whole or in part
                 and in any manner from the acts or omissions of the Subcontractor, its officers, directors, agents. employees or
                 subcontractors, in the performance of this Contract, regardless of whether such lien. claim. suit. judgment damage. loss
                 or expense is caused in part by a party indemnified hereunder. Nothing herein shall be construed to require Subcontractor
                 to indemnify Contractor and Owner and/or their respective officers. directors, agents and employees from the sole

                                                                             SC5

                 Rev. 1/2/15                                                                                   Document Generated from CMiC         FIC
                                                                         Page 5 of 174




                                                      NOTICE OF REMOVAL EXHIBIT 1 p. 23
  Case 3:25-cv-00020-LL-SBC                             Document 1-2 Filed 01/06/25                                    PageID.32                Page 25
                                                               of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3



                negligence of Contractor or Owner,and/or their respective officers, directors, agents and employees. The Subcontractor
                shall defend and bear all costs of defending any actions or proceedings brought against the Contractor and/or Owner.
                their officers, directors, agents and employees, arising in whole or in part out of any such acts or omissions, provided.
                however, that the Contractor and/or Owner shall have the right to approve counsel to conduct such defense. Nothing
                herein shall be construed to create an indemnity obligation prohibited by applicable law or to waive Subcontractor's rights
                against any other subcontractor or supplier which may have contributed to causing the injury or damage. In claims against
                any person or entity indemnified under this Section by an employee of the Subcontractor or Sub-Subcontractors, anyone
                directly or indirectly employed by any ofthem or anyone for whose acts they may be liable. the indemnification obligation
                under this Section shall not be limited by a limitation in amount or types of damages. compensation or benefits payable
                by or for the Subcontractor or Sub-Subcontractors under workers compensation acts, disability benefits, acts or other
                employee benefit acts.
                    (e) Subcontractor acknowledges that, before executing this Agreement, it has carefully examined this Agreement,
                the Contract Documents and the Project site, has made such investigation of the Work required to be done and the material
                required to be furnished and, based upon such examination and investigation. Subcontractor represents that it fully
                understands and can perform all requirements of the Contract Documents.
                     (f) With regard to the subject matter of this Subcontract: (1) Subcontractor shall have no greater rights and/or
                remedies against Contractor with respect to any matter (including, but not limited to. omissions, alterations, extra work
                and additional compensation) than Contractor has against Owner pursuant to the Contract Documents:(2)Subcontractor
                assutnes all obligations, duties and responsibilities by which Contractor is bound to Owner pursuant to the Contract
                Documents;(3) Subcontractor shall be bound to Contractor to the same extent that Contractor is bound to Owner by all
                of the terms, provisions and conditions set forth in the Contract Documents; and (4) Owner shall have all rights and
                remedies against Subcontractor that Owner has against Contractor pursuant to the Contract Documents.
                     (g) The Contractor shall have the right at any time, and for any or no reason, including for convenience, to terminate
                this Subcontract and require the Subcontractor to cease work thereon. The Subcontractor, in such event, shall be entitled
                to further payment only as provided in Article 5. The Subcontractor agrees to be bound by any and all provisions in the
                General Contract respecting renegotiation as well as termination for any reason.
                     (h) Subcontractor agrees to clearly note on each payment check to. and related invoice of its subcontractors and
                material suppliers which exceed One Thousand Dollars (S1,0(10.00). as being for work or materials provided pursuant to
                this Agreement for this Project, by name, all to be subject to Contractor's inspection upon request. Subcontractor also
                agrees to submit promptly to Contractor, upon request, the name, address and telephone number ofeach subcontractor or
                supplier of any tier, to Subcontractor for labor, materials, or equipment used on this Project. Contractor may contact any
                such subcontractors and suppliers and Subcontractor authorizes them to provide Contractor with any requested
                information
                     (i) The Subcontractor warrants its workmanship and materials furnished against any defects, faults or damages
                arising therefrom during the period of construction and for a period of one year from the date of final completion of the
                Project (or for such longer period of time as may be required herein or by the Contract Documents). The Subcontractor
                shall remedy such defective workmanship. material, or damages at the request of the Contractor, at times convenient to
                the Owner, and to the satisfaction of Owner. Architect and Contractor.
                     (j) Subcontractor shall comply with all applicable federal. state, and local laws and regulations by which it is bound
                and shall perform this Subcontract in strict conformity with applicable laws. codes, ordinances, rules, regulations and
                requirements of Federal, State. County and Municipal authorities and of the National Board of Fire Underwriters and any
                local fire Underwriters and any local fire insurance exchange now or hereafier in effect. In the event of any discrepancy
                between the present requirements of such laws or authorities and the provisions of this Subcontract, the former shall
                govern, and the Subcontractor shall perform the work as required thereby at no extra cost. Should the Subcontractor incur
                additional costs because of any future change in such requirements, additional compensation therefor shall be subject to
                Articles 5 and 6 hereof. If the Subcontractor performs any work or is otherwise in violation of any such laws, codes,
                ordinances, rules, regulations or requirements, it shall bear all costs arising or resulting therefrom. Where applicable.
                this contractor and subcontractor shall abide by the requirements of 41 CFR §§ 60-1.4(a), 60-300.5(a) and 60-741.5(a).
                These regulations prohibit discrimination against qualified individuals based on their status as protected veterans or
                individuals with disabilities, and prohibit discrimination against all individuals based on their race, color, religion. sex.
                sexual orientation, gender identity, or national origin. Moreover, these regulations require that covered prime contractors
                and subcontractors take affirmative action to employ and advance in employment individuals without regard to race.
                color, religion, sex, sexual orientation. gender identity, national origin, protected veteran status or disability.
                     (k) Subcontractor shall be represented on the job site during the course of its work by qualified. full-time supervisors
                acceptable to Contractor. The Contractor shall have the right to require at any or all progress meetings, whether called
                by the Owner, the Contractor, or others, the presence of a representative of the Subcontractor authorized to act in its
                behalf. All work hereunder shall be performed by persons well qualified and experienced in the kind of work to be
                performed and licensed as required by law. Subcontractor shall enforce discipline and good order among its employees.
                suppliers, and subcontractors engaged in the work. Contractor may require Subcontractor to remove from the project any
                such employees, suppliers, or subcontractors or others employed on the work that Contractor may deem incompetent.
                improper, or a hindrance to progress ofany work on the Project, whereupon any such employee, supplier, or subcontractor
                shall be so removed and shall not again be employed on any part of the work without written consent of the Contractor.
                    (1) The Subcontractor agrees that it shall not engage in discriminatory employment practices in violation of any
                Federal, State, or local law, or Owner requirements regarding employment discrimination. including any order or
                regulation of any agency authorized to enforce any such law. To the extent applicable, the Subcontractor agrees to comply
                with Title VII ofthe Civil Rights Act of 1964,Executive Order 11246,and all additional orders, regulations. amendments.
                etc., pertaining thereto, including certification of non-segregated facilities. The Subcontractor agrees to furnish such
                additional information, certifications, and policies as inay be required by the Contract Documents. The Subcontractor
                agrees to comply with all applicable rules, regulations and relevant orders of the Secretary of Labor issued pursuant to
                the Rehabilitation Act of 1973, the Vietnam Era Veterans Readjustment Assistance Act of 1974, and the Americans With
                Disabilities Act of 1990. If applicable to the work under this Subcontract. Subcontractor shall comply with the



                                                                            SC6

                 Rev. 1/2/15                                                                                  Document Generated from CMiC      CIS   F16

                                                                        Page 6 of 174




                                                     NOTICE OF REMOVAL EXHIBIT 1 p. 24
  Case 3:25-cv-00020-LL-SBC                              Document 1-2 Filed 01/06/25                                      PageID.33                Page 26
                                                                of 213


DocuSign Envelope ID: 1738A269-0365-466F-A93C-574C6FE7D8A3



                requirements of Executive Order 13496 and 29 C.F.R. 471, Appendix A, and the employee notice set forth therein is
                incorporated by reference into this Subcontract.
                     (m)Subcontractor shall comply with all applicable federal, state and local laws, regulations and orders relating to
                occupational safety and health, and related procedures established by Contractor and shall, to the extent permitted by
                law, indetnnify and hold Contractor and Owner, their directors, officers, agents and employees, harmless from any and
                all liability, public or private, penalties, contractual or otherwise, losses, damages, costs, attorney's fees, expenses, causes
                of action, claims orjudgments resulting from a claim filed by anyone in connection with the aforementioned acts, or any
                rule, regulation or order promulgated thereunder, arising out of this Agreement or any subcontract hereunder.
                Subcontractor further agrees in the event of a claim of violation of any such laws, regulations, orders or procedures arising
                out of or in any way connected with the performance of this Agreement. Contractor may immediately take whatever
                action is deemed necessary by Contractor to remedy the claim of violation. Any and all costs or expenses paid or incurred
                by Contractor in taking such action shall be borne by Subcontractor, and may be deducted by Contractor from any
                payments due Subcontractor. Subcontractor shall have the primary responsibility to safeguard and protect its employees
                on the Project from injuries as well as any other persons or property which could be affected by Subcontractor's operations
                on the Project. In addition but not in substitution for Subcontractor's primary responsibility for safety. the Subcontractor
                agrees to (1)comply with all safety rules and regulations and work practices and procedures established by the Contractor
                and/or the Owner;(2) take all necessary steps to promote safety and health on the job site;(3)cooperate with Contractor
                and other contractors in preventing and eliminating safety and health hazards;(4) train, instruct and provide adequate
                supervision to assure that its employees are aware of, and comply with, applicable Federal and State safety and health
                laws, standards, regulations and rules, safe and healthful work practices and all applicable safety rules, regulations, and
                work practices and procedures of the Contractor;(5) not create any hazards or expose any of its employees, employees
                of the Contractor or employees of Subcontractors to any hazards;(6) immediately abate all hazards within its control
                regardless of whether it created such hazard; and (7) where the Subcontractor is aware of the existence of a hazard not
                within its control. notify the Contractor of the hazard as well as warn exposed persons to avoid the hazard.
                     (n) In the event of variations, conflicts, ambiguities or inconsistencies between or among the terms. provisions or
                conditions of this Subcontract and any other Contract Documents, the terms, provisions and conditions which grant
                greater rights or remedies to Contractor or impose higher standards with regard to the obligations, responsibilities and
                scope of work of the Subcontractor shall control. Notwithstanding any other provisions of this Subcontract or of the
                Contract Documents, no provision hereof shall be construed to permit Subcontractor to pursue against the Contractor
                rights and remedies available to the Owner against the Contractor in the General Contract unless such rights and remedies
                are specifically and explicitly made available to the Subcontractor herein. In particular, disputes hereunder shall not be
                resolved by arbitration, but rather shall be resolved by litigation unless Contractor directs Subcontractor in writing to
                arbitrate a specific dispute. In the event that arbitration is provided in the General Contract for disputes between Owner
                and Contractor or Contractor otherwise chooses, at its sole discretion to submit a matter to arbitration. Subcontractor
                agrees, upon request of Contractor, to submit any disputes as determined by Contractor in its sole discretion, to arbitration
                and, if necessary, consolidation of said disputes with any arbitration or administrative proceedings between Contractor
                and Owner or any other party.
                     (o)The Subcontractor agrees to provide and furnish prior to commencing work, certificates in duplicate of insurance
                covering its work under this Contract for Worker's Compensation, General Liability Insurance to include Bodily Injury
                and Property Damage Insurance, and other insurance with limits and coverages as set forth in the Contract Documents
                or in Exhibit A attached hereto, whichever is greater. All policies of insurance shall be in "occurrence" form and with
                companies and in amounts acceptable to the Contractor, and shall not be subject to modifications or cancellation during
                the terms of the work hereunder without thirty (30) days prior written notice to the Contractor by certified or registered
                mail. Subcontractor will not change or terminate said policies without the written consent of the Contractor. The
                Subcontractor accepts exclusive liability for contribution tax or premiums for Unemployment Compensation, Social
                Security. Withholding Tax and Worker's Compensation.
                     (p) The Subcontractor agrees to furnish a bond guaranteeing its performance of this Subcontract, and the payment
                of its subcontractors and suppliers, if so requested by the Contractor, in amount and form and with such surety as are
                acceptable to the Contractor. The cost of the bond shall be paid by Subcontractor unless otherwise provided herein.
                Subcontractor shall be deemed not to have provided a bond meeting the requirements of this Subcontract in the event
                that the bond is conditioned upon the payment of monies due Subcontractor hereunder to an escrow agent or other third
                party who will disburse payment to subcontractors, material suppliers or other creditors of the Subcontractor.
                     (q) The Subcontractor understands and agrees that it shall not deal directly with representatives of the Owner, but
                shall handle all matters connected with this Subcontract, the work, or the furnishing of the materials or payment therefor.
                exclusively through the Contractor, unless otherwise directed in writing by the Contractor.
                     (r) This Subcontract shall be governed by the laws of the State of Maryland. without regard to principles of conflict
                of laws. Any action or suit arising hereunder shall be brought in the jurisdiction where Contractor's principal office is
                located without regard to principles of conflict of laws or forum non conveniens. In the event of litigation between them.
                Contractor and Subcontractor waive trial by july. If requested by Contractor. Subcontractor agrees to submit any dispute
                under this Subcontract to arbitration under the Construction Industry Rules of the American Arbitration Association, or
                pursuant to any Arbitration procedure and rules governing the General Contract. if any.
                     (s) Neither party hereto may waive or release any of its rights under this Agreement, except in writing. The waiver
                by either party hereto of any breach of any provision of this Subcontract shall not be construed as, or constitute, a
                continuing waiver, or a waiver of any other breach of any provision of this Subcontract.
                     (t) If any provision of this Agreement is held by a Court of competent jurisdiction or arbitrator(s) to be invalid or
                unenforceable, whether in whole or in part, such provision shall be ineffective only to that extent without invalidating or
                rendering unenforceable any valid portions of the provision and/or any other provision of this Subcontract.
                     (u) The Parties agree that they have both had the opportunity to obtain the assistance of counsel in reviewing the
                terms of this Subcontract prior to execution, and as such this Subcontract shall be construed neither against nor or in
                favor of either party, but shall be construed in a neutral manner.
                     (v) Owner shall be considered a third party beneficiary of all of Contractor's rights under the Subcontract, but not
                the obligations. Subcontractor shall have no rights or claims directly against Owner except to the extent ofany mechanic's
                lien rights available by statute. All other legal or equitable claims by Subcontractor, including claims against Owner of
                q uantum mennt or unjust enrichment., are hereby waived and released. This Subcontract and the exhibits attached hereto

                                                                             SC7

                 Rev. 1/2/15                                                                                    Document Generuted from CM iC      ES Fit"
                                                                         Page 7 of 174




                                                      NOTICE OF REMOVAL EXHIBIT 1 p. 25
  Case 3:25-cv-00020-LL-SBC                             Document 1-2 Filed 01/06/25                                    PageID.34               Page 27
                                                               of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                 and incorporated by reference herein contain the entire agreement of the parties with respect to the subject matter of this
                 Agreement, and supersede all prior negotiations, agreements and understandings with respect thereto. This Subcontract
                 may be amended only in writing signed by both Contractor and Subcontractor.

                 ARTICLE 10. SUBCONTRACT AMOUNT—The Contractor agrees to pay the Subcontractor thr the perthrmance of
                 its work hereunder the following sum or sums, which shall unless otherwise specified, include all taxes, insurance
                 premiums, charges for permits and all other fees and charges, and shall be firm and binding on the Subcontractor for the
                 work and not conditioned upon a firm completion date or on any labor increases or material escalation costs which might
                 occur during the course of construction: Two Million Nine Hundred Twenty Seven Thousand Nine Hundred Ninety
                 Dollars 00/100($2,927,990.00)
                 Percentage fees for overhead and profit for extra work. subject to the provisions of Article 6 hereof, shall be: 10"4 for
                 work performed by Subcontractor's own forces and 5% for work performed by its subcontractors and suppliers. Sub-
                 subcontractor shall likewise be entitled to 10% for work performed by their own forces and 5% for work performed by
                 their subcontractors and suppliers. No fee will be allowed on overtime premiums. Such percentages include all office
                 overhead and supervision above the foreman level.

                ARTICLE 11. CONTRACT ALTERATIONS AND OMISSIONS—Any terms and conditions, to the extent inserted
                or added as part of an exhibit hereto by Contractor into this Subcontract, are hereby acknowledged by both parties to
                form a part of this Subcontract. In the event any terms and conditions are inserted or added as part of an exhibit hereto
                by Subcontractor, such terms and conditions shall only become part of this Subcontract if, and only if, each such term or
                condition is initialed by both Parties. In the event of conflict between any such properly added terms and conditions. and
                the standard terms in this Subcontract, the added terms and conditions shall prevail. In the event any such changes to this
                Subcontract form. including alterations and omissions noted thereon, are inconsistent with the requirements of the second
                sentence of Article 3(a), the requirements of the second sentence of Article 3(a)shall prevail in all respects.

                                                       [SIGNATURES ON FOLLOWING PAGE]




                                                                            SC8

                Rev. 1/2/15                                                                                   Document Generated from ClvliC      E
                                                                        Page 8 of 174




                                                     NOTICE OF REMOVAL EXHIBIT 1 p. 26
  Case 3:25-cv-00020-LL-SBC                           Document 1-2 Filed 01/06/25                                             PageID.35              Page 28
                                                             of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3



                             IN WITNESS WHEREOF, the parties hereto have executed this Agreement the day and year first above
                 written.

             SUBCONTRACTOR:
             Precision Electric Company                                                    CONTRACTOR:
                                                                                           THE WHITING-TURNER CONTRACTING COMPANY

              •BY:    [7!7=                                                                .BY:         Itet
                  sidERYgkr."'                                                                     `14113MAFRURR.

               Adam cox                                                                     A rt Rodriguez
              PRINTED NAME                                                                 PRINTED NAME

                General manager                                                              vice President
              TITLE                                                                        TITLE

                            10/31/2022                                                                    11/2/2022
              DATE:                                                                        DATE:
                               Dominic Taylor         •        —1..../6-                                       Thomas J a kobows k
              WITNESS:                                                                     WITNESS:
                                                      oma.scuaar...)..




                                                                               SC9

                 Rev. 1/2/15                                                                                           Document Generated from CAC

                                                                           Page 9 of 174




                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 27
  Case 3:25-cv-00020-LL-SBC                              Document 1-2 Filed 01/06/25                PageID.36               Page 29
                                                                of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                                                                   usT OF EXHIBITS
                 The Exhibits listed below are hereby incorporated into this Subcontract:

                           Exhibit A — Insurance
                           Exhibit B — Scope of Work
                           Exhibit C — EEO Letter
                           Exhibit D — Contractor/Subcontractor EH&S Manual
                           Exhibit E — Project-Specific Quality Management Plan
                           Exhibit F — Subcontractor Plan for COVID- 19
                           Exhibit G - Proposed Construction Schedule
                           Exhibit H - Document Log
                           Exhibit I - California Addendum
                           Exhibit J - SOV, Labor Rates, & Unit Prices
                           Exhibit K - Discount Billing Program
                           Exhibit L - Construction and Administration Package
                           Exhibit M - Payment Bond
                           Exhibit N - Performance Bond
                           Exhibit 0 - Site Specific Safety Plan




                                                                                                         (Revised I/2119)




                                                                           SCIO

                 Rex'. 1   /2/ 1 5                                                          Document Generated from CMiC
                                                                                                                             G-C   S-C
                                                                       Page 10 of 174




                                                      NOTICE OF REMOVAL EXHIBIT 1 p. 28
  Case 3:25-cv-00020-LL-SBC                             Document 1-2 Filed 01/06/25                                    PageID.37                Page 30
                                                               of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                                                                        EXHIBIT A

                                                                       INSURANCE

                 GENERAL INSURANCE REQUIREMENTS
                      Prior to commencement of any work on the Project, Subcontractor shall, at its own expense, maintain, during the
                 term of this Subcontract and any extensions thereof, the following insurance in the forms and with limits to satisfy both
                 the requirements listed on this Exhibit A and those specified by the Subcontract and/or any other applicable Contract
                 Documents.

                      All insurance policies must be from insurers authorized to conduct business within the state(s) where the project is
                 located. The insurance companies must also have a Best's Rating of at least "A-" and a financial size of "Class VII" or
                 better. Subcontractor shall disclose and shall be responsible for payment of any deductibles or self-insured retention
                 under these policies. No self-insured retentions shall be allowed under any of Subcontractor's policies without prior
                 written consent of Contractor. Failure to adhere to these requirements shall constitute a material breach of the
                 Subcontract.

                     Any limit of insurance listed in this Section shall serve as only a minimum limit requirement of coverage. It is
                 understood and agreed that this Exhibit shall in no way limit Subcontract's liability to any dollar value or insurance
                 coverage limits stated herein.

                 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE
                      This insurance will pay the subcontractor's obligations under appropriate worker's compensation statutes, including
                 federal benefits under the U.S. Longshore and Harbor Workers Compensation Act, the Federal Employers' Liability Act
                 and the Jones Act, covering all employees who perform any of the obligations of the Subcontractor under this
                 Subcontract. The Workers Compensation Insurance shall be carried with statutory limits compliant with the relevant
                 legislation of the state(s) where any of Subcontractors operations or work are being performed for the Project.

                      Employers liability coverage shall provide limits of at least $500,000 each accident for bodily injury and S500.000
                 each employee for disease. The policy limit for disease shall be at least S500.000.

                     For Connecticut projects, Subcontractor hereby agrees that Whiting-Turner is reimbursing Subcontractor a sufficient
                 amount as payment for the Workers Compensation Premium for its workers on this Project.

                 COMMERCIAL GENERAL LIABILITY INSURANCE
                       This insurance must be written on Standard ISO CGL Form CG 00 01 (or any equivalent form) on an "occurrence"
                 basis, responding to claims arising out of occurrences which take place during the policy period. The commercial general
                 liability coverage limits shall be the maximum limits available under the policy, but in no event less than, the following:
                                                      S1,000,000 each occurrence for bodily injury and property damage
                                                      S1,000,000 each incident for personal anti advertising injury
                                                      $2,000,000 products-completed operations aggregate
                                                      S2,000,000 general aggregate
                                                      S100,000 fire legal liability
                                                      $10,000 medical expense

                       The general aggregate limit shall apply separately to each project. The products and completed operations coverage
                 is to be maintained for a period at least equivalent to the period under which the Contractor is potentially liable for work
                 performed whether under the Contract Documents and/or at law, whichever period is greater. The Whiting-Turner
                 Contracting Company is to be included as an additional insured.

                      The contractual liability coverage shall include protection for the Subcontractor from general liability claims arising
                 out of the liability assumed under the indemnification provisions of the Subcontract without exclusion or limitation for
                 work subcontracted by Subcontractor, to any tier. There shall be no exclusion or limitation for liability arising out of
                 explosion, collapse anti underground hazards (XCU) or subsidence, if the scope of subcontractor's work involves
                 digging, excavation, grading, or use of explosives. There shall be no exclusion or limitation for residential work if such
                 work is part of the scope of the Subcontract.

                     If the scope of Subcontractor's work could cause or contribute to water intrusion or the development of "mold".
                "fungi" or "bacteria", including but not limited to work that involves exterior insulated finish systems (EIFS). the
                construction of the building envelope(skin, windows, waterproofing, roofing, flash ings. etc.), fire suppression. plumbing
                systems or HVAC systems,the Subcontractor's general liability policy shall not contain any exclusion for such exposures.
                If Subcontractor's general liability policy excludes such coverage, and this coverage cannot be added by endorsement,
                then Subcontractor is required to cany separate Pollution Liability Insurance with mold specifically included as a
                covered loss.

                      The commercial liability coverage, including any umbrella excess, shall include faulty workmanship as a trigger of
                 occurrence. In any state where faulty workmanship is not considered a trigger of occurrence, including Pennsylvania.
                 Ohio and Kentucky. any insurance policy which provides that it is governed by the laws of such states shall not be
                 acceptable, unless an endorsement is provided that expressly includes faulty workmanship in the definition of occurrence.
                 Umbrella excess must be endorsed with similar language to ensure follow form coverage of primary insurance.

                                                                                                                     (Exhibit Revised 3/2022)



                                                                            SC II

                Rev. 1/2/15
                                                                                                               Document Generated from CAC
                                                                                                                                                       [Ac
                                                                                                                                                 G-C    S•C
                                                                        Page 11 of 174




                                                     NOTICE OF REMOVAL EXHIBIT 1 p. 29
  Case 3:25-cv-00020-LL-SBC                             Document 1-2 Filed 01/06/25                                     PageID.38                Page 31
                                                               of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                 BUSINESS AUTOMOBILE LIABILITY INSURANCE
                      This insurance shall apply to any auto, including all owned, hired and non-owned vehicles, to a combined single
                 limit of at least $1,000,000 each accident. For those subcontractors subject to the Motor Carrier Act of 1980, the Motor
                 Carrier Act endorsement # MCS-90 should be attached to the policy, with a primary limit of at least S1,000,000 each
                 accident.
                      Any statutorily required "No-Fault" benefits and uninsured/underinsured motorists' coverage should be included.
                 Any deductible under this policy must be disclosed and will be fully assumed by the subcontractor.

                 UMBRELLA EXCESS LIABILITY INSURANCE
                      This insurance must provide coverage in excess of the limits of employers' liability, commercial general liability
                 and business automobile liability. The umbrella coverage limits shall be the maximum limits available under the policy
                 which shall be at least $5 000 000 each occurrence and a S5,000,000 aggregate and include coverage as broad as the
                 primary insurance. Umbrella excess must be endorsed with primary non-contribution language to ensure follow form
                 coverage of primary insurance.

                PROOF OF INSURANCE/ENDORSEMENTS/ADDITIONAL INSURED REQUIREMENTS
                     Prior to commencing work and throughout the Subcontract term and any extensions thereof as a material term of
                the Subcontract, Subcontractor shall provide Whiting-Turner with certificates of insurance using the AC:ORD form or its
                equivalent executed by a duly authorized representative of each insurer and with copies of any necessary riders or
                endorsements attached. Such riders and endorsements shall be in a form reasonably acceptable to Whiting-Turner.
                evidencing that Subcontractor's insurance coverage is in compliance with the insurance requirements set forth in this
                Exhibit A and in the Contract Documents.

                      All insurance policies shall be endorsed to provide at least 30 days prior written notice to Whiting-Tumer of
                 cancellation or non-renewal of any insurance provided pursuant to this Exhibit A or at least 10 days notice of cancellation
                 due to non-payment of premiums.

                      Whiting-Turner, the Owner and other entities as required by the Contract Documents or otherwise required by
                Owner or Contractor shall be named as an additional insured under the Commercial General Liability. Auto Liability and
                Umbrella Excess Liability policies of insurance, and special policies listed below if applicable, per standard ISO
                endorsement forms 2010 (10/01) for Ongoing Operations and endorsement form 2037 (10/01) for Products/Completed
                Operations, if available, or otherwise per standard ISO endorsement forms 2010 (07/04) for Ongoing Operations and
                2037 (07/04) for Products/Completed Operations, or equivalent. Coverage's shall be maintained by Subcontractor for
                itselfand for the additional insureds for a period at least equivalent to the period under which the Contractor is potentially
                liable for work performed whether under the Contract Documents and/or at law, whichever period is greater. Such
                insurance shall include cross-liability coverage as provided under standard ISO forms separation of insured clause. It is
                expressly agreed and understood by and between Subcontractor and Whiting-Turner that the insurance afforded the
                additional insureds shall be the primary insurance and that any other insurance carried by Whiting-Tumer shall be excess
                of all other insurance carried by the Subcontractor and shall not contribute with the Subcontractor's insurance.
                Subcontractor further agrees to provide endorsements on its insurance policies as required to comply with these
                requirements. Subcontractor further agrees to include, to the fullest extent permitted by applicable law, the following
                language on its insurance certificate to acknowledge compliance with these requirements: however, Subcontractor's
                failure to provide such endorsements or acknowledgement shall not affect Subcontractor's agreement hereunder:

                       "Whiting-Turner. the Owner,/'insert the names ofadditional insured entities] and other entities as required by the
                 Contract Documents or otherwise required by Owner or Contractor are Additional htsured's under the prinitny and
                 umbrella excess liability insurance policies on a primary and non-contributory basisfor Ongoing Operations and for
                 Completed Operations and such coverage shall comply with the provisions ofstandard ISO endorsementforms. A Waiver
                 ofSubrogation infavor ofthe above listed parties shall apply to the prima).and umbrella excess policies required under
                 this Subcontract. Additional Insured's shall be provided at least 30 da.v. s prior notice ofcancellation or non-renewal, or
                 at least 10 days notice ofcancellation due to non-payment."

                          In the event applicable State law prohibits any of the above language from being included in Certificates of
                Insurance, Subcontractor shall provide a Certificate of Insurance reflecting coverage provided in policies for Additional
                Insured status for ongoing and product completed operations, Waivers of Subrogation. and a 30 day cancellation notice.
                The Certificate of Insurance shall contain wording from the policies and endorsements verifying the foregoing are
                covered by the policies and endorsements. Notwithstanding any other provisions to the contrary herein or in the
                Subcontract, the additional insured obligations herein are independent obligations from any indemnity obligations under
                the Subcontract, such that in the event any or all of the indemnity obligations under the Subcontract are determined to be
                void or otherwise unenforceable, the additional insured obligations shall remain in full force and effect.

                 WAIVER OF SUBROGATION
                      Subcontractor hereby waives all rights of subrogation against Owner, Whiting-Turner, the Architect and its
                 consultants, and any ofSubcontractor's sub-contractors and consultants, and their respective Imstees, directors, officers,
                 employees and agents for recovery of damages to the extent those damages are covered by any insurance policies the
                 Subcontractor is required to maintain as set forth herein. Subcontractor agrees to obtain, at its own cost, and deliver to
                 Whiting-Turner copies of any endorsements necessary to provide such a waiver under the applicable insurance coverage.
                 Umbrella excess must be endorsed with waivers of subrogation language to ensure follow form coverage of primary
                 insurance.

                 SPECIAL COVERAGE — IF APPLICABLE

                                                                            SC12

                 Rev. 1/2/15
                                                                                                               Document Generated From CMiC
                                                                                                                                                 Es FIE
                                                                                                                                                  G-C   S-C
                                                                        Page 12 of 174




                                                     NOTICE OF REMOVAL EXHIBIT 1 p. 30
  Case 3:25-cv-00020-LL-SBC                             Document 1-2 Filed 01/06/25                                    PageID.39               Page 32
                                                               of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                  1. Pollution Liability —If the scope of services or work under this Subcontract could result in a potential environmental
                 hazard, including but not limited to, transportation, handling, storage or abatement of hazardous substances, or involve
                 work such as demolition, earthwork, or utilities that could result in a potential environmental exposure. Subcontractor
                 shall purchase and maintain Pollution Liability Insurance which shall be on an occurrence basis with a limit as required
                 by contractor, which shall be the maximum limits available under the policy, but in no event less than 52,000,000 per
                 claim. The coverage is to be maintained for a period at least equivalent to the period under which the Contractor is
                 potentially liable for work performed whether under the Contract Documents and/or at law, whichever period is greater.
                 If Subcontractor can only provide this insurance on a "claims made" basis, such policy shall include a retroactive date
                 prior to the initiation of any work.and Subcontractor shall continually maintain such policy or shall purchase an "extended
                 reporting period" endorsement providing coverage for at least three (3) years beyond project completion or such longer
                 period of time as specified in the Contract Documents.

                 2. Blasting — If the scope of the Subcontractor's work involves any blasting operations, Subcontractor agrees to provide
                 specific evidence, to the satisfaction of Contractor, that the insurance policy covers such operations.

                 3. Professional Liability— If the scope of Subcontractor's work involves the perIbmiance of any delegated design, design
                 assist, or design services (including but not limited to architecture, engineering, landscape architecture, surveying,
                 construction management. environmental consultine, testing, rigging, shoring or fastening) performed by or on
                 Subcontractor's behalf, Subcontractor and any design subcontractors/consultants/vendors working under the
                 Subcontractor shall each maintain Professional Liability coverage with limits as required by the Contract Documents
                 which shall not be less than 52,000,000 per claim or the value of the Subcontract, whichever is greater. If Professional
                 Liability coverage is provided on a "claims made" basis, the policy shall include a retroactive date prior to commencement
                 of services and Subcontractor shall continually maintain such policy or shall purchase an "extended reporting period"
                 endorsement providing coverage for at least three (3) years beyond project completion or such longer period of time as
                 specified in the Contract Documents.

                4. Aircraft Liability Insurance — If the Subcontractor or any lower tier subcontractor/vendor uses any type of owned,
                leased, chartered or hired "manned" aircraft on the Project, Subcontractor shall provide Aviation insurance with
                minimum limits of 10M per occurrence; Any subcontractor or lower tier Subcontractor/Vendor using Drones on the
                Project shall provide Unmanned Aircraft Liability coverage with minimum limits of1M per occurrence: All such policies
                shall name Contractor as an Additional Insured and provide a Waiver of Subrogation in favor of Contractor.

                5. Cyber Insurance - If the Contract Documents require the Contractor or its Subcontractors to provide Cyber Insurance
                and/or if Subcontractor's scope of work involves Building Information Systems, Security/Access Control Systems or
                Data Systems, Subcontractor shall maintain Cyber Insurance of the types and limits required by the Contract Documents,
                which shall not be less than the following coverage: S2M in Information Security & Privacy Liability. Regulatory Defense
                & Penalties, Media Content Liability (infringement of intellectual property, including but not limited to infringement of
                copyright, trademark, and trade dress, and invasion of privacy violations), Privacy and Breach Notification Costs,
                including credit monitoring services, Extortion & Ransomware. including digital/virtual currency; and SIOOK in Social
                Engineering Fraud.




                                                                           SC 13

                 Rev. 1/2/15
                                                                                                              Document Generated From CMiC
                                                                                                                                               E
                                                                                                                                               ——
                                                                                                                                               G-C
                                                                                                                                                     PE
                                                                                                                                                      S-C
                                                                       Page 13 of 174




                                                     NOTICE OF REMOVAL EXHIBIT 1 p. 31
  Case 3:25-cv-00020-LL-SBC                            Document 1-2 Filed 01/06/25                                  PageID.40               Page 33
                                                              of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                                                                      EXHIBIT B

                                                                  SCOPE OF WORK


                 All Subcontractors that supply and/or install equipment related to Industrial Control Systems(ICS), Supervisor), Control
                 and Data Acquisition(SCADA)systems, Distributed Control Systems (DCS), and other control system configurations
                 such as Programmable Logic Controllers (PLC) shall designate a representative of their company to subscribe to the
                 Industrial Control Systems Cyber Emergency Response Team (ICS-CERT) advisories from the Cybersecurity and
                 Infrastructure Security Agency (CISA). The designated representative shall monitor all advisories to determine if any of
                 the identified cybersecurity vulnerabilities impact the equipment that is being supplied and/or installed under this
                 Subcontract. In coordination with any requirements in the Drawings and Specifications set forth in Exhibit B. the
                 Subcontractor shall ensure that the most recent software patches and cybersecurity updates produced by the equipment
                 manufacturer are applied to the equipment within thirty (30) days of the date of Substantial Completion and prior to
                 turnover of the equipment to the Owner. If the Drawings and Specifications require the Subcontractor to perform
                 equipment maintenance for any duration during the warranty period, the Subcontractor shall continue this requirement
                 throughout the duration of the maintenance period. The Subcontractor shall train the Owner's designated representatives
                 on how to assume these responsibilities prior to the date of Substantial Completion, or prior to the conclusion of any
                 required maintenance period, whichever is later.




                                                                                                                 (Exhibit Revised 9/2021)




                                                                          SC14

                 Rev. 1/2/15
                                                                                                                                            r/S
                                                                                                                                              "    ra
                                                                                                            Document: Genenited from CMiC
                                                                                                                                             G-C    S-C
                                                                      Page 14 of 174




                                                    NOTICE OF REMOVAL EXHIBIT 1 p. 32
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                            PageID.41             Page 34
                                                           of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3


                                             Fashion Valley Mall Redevelopment                                    General Scope of Work



           Item   Description
           1      Subcontractor is responsible for the complete scope of work which shall conform to the Contract Documents
                  and is to include all design services (as applicable), labor, supervision, insurance, bonds (as applicable), taxes,
                  material, fabrication, delivery, installation, tools, trucking, equipment, layout, shop drawings, submittals,
                  unloading, scaffolding, ladders, hoisting, transportation, permits (as applicable), engineering (as applicable),
                  incidentals, maintenance, support functions and other items or services necessary for, related to, and
                  reasonably incidental to the proper execution and completion of the work.

           2      The scope of work shall include General Conditions, General Requirements and the following items as they
                  a pply to the work in this subcontract unless specifically noted otherwise in the specific scope requirements.

          3       Subcontractor has read, understands and agrees to the scope of work in its entirety. Subcontractor
                  understands the following general and specific scopes of work are provided to ensure that subcontractor
                  submits a complete and responsible bid proposal. However, the following is not a "checklist" and
                  subcontractor is ultimately responsible for the complete scope of work outlined in the Contract Documents.

                  Standard Requirements
          4       Subcontractor accepts the Owners Contract terms and conditions as well as the terms and conditions of The
                  Whiting-Turner Contracting Company subcontract. Subcontractor acknowledges that the Owner Contract
                  becomes a part of the Contract Documents.
          5       Subcontractor to perform work in accordance with the Contract Documents.
          6       Subcontractor acknowledges receipt of all documents associated with this subcontract. This is to include; but is
                  not limited to, all Drawings (all sheets listed on drawing logs), Exhibits listed within contract, etc.
          7       In the event that discrepancies arise between the requirements of the Contract Documents and any governing
                  codes, or authorities having jurisdiction, subcontractor shall notify Whiting-Turner immediately. In such event,
                  subcontractor shall be responsible for including the more stringent condition within their base scope. Work
                  installed incorrectly will be repaired at no additional cost to Whiting-Turner and / or the Owner.

          8       Where discrepancies exist between Contract Documents by various trades, the subcontractor is to consult
                  Whiting-Turner before proceeding. Subcontractor understands when discrepancies exist within the Contract
                  Documents, the costlier condition shall aoolv.
          9       Subcontractor has included all the requirements as identified within the project Conditions of Approval
                  included in the Contract Documents.
          10      Subcontractor understands that the intent of the contract documents is to provide complete workable systems
                  as it relates to work under this scope. Items not called for in the contract documents, but normally required, to
                  conform to the intent of the complete workable system shall be included as a part of this subcontract.

          11      In the event that discrepancies arise between the requirements of the Contract Documents and any governing
                  codes, or authorities having jurisdiction, subcontractor shall notify Whiting-Turner immediately. In such event,
                  subcontractor shall be responsible for including the more stringent condition within their base scope. Work
                  installed incorrectly will be repaired at no additional cost to Whiting-Turner and / or the Owner

          12      Subcontractor is aware of the legal and regulatory consequences of knowingly destroying cultural resources or
                  removing artifacts, human remains, bottles, and other significant cultural materials from the site. Significant
                  cultural materials include but are not limited to: aboriginal human remains; chipped stone; ground stone; shell
                  and bone artifacts; concentrations of fire-cracked rock; ash and charcoal; shell; bone; and historic features
                  such as privies or building foundations.
          13      Subcontractor acknowledges that they have visited the site and are fully aware of site conditions, staging area,
                  access, parking restrictions. Furthermore subcontractor assumes all liability associated with taking the site "as
                  is" and assuming all risk for all unforeseen conditions and being provided an "unclassified site".



   The Whiting-Turner Contracting Company
                                                                 Page 15 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 33
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                              PageID.42             Page 35
                                                           of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3


                                             Fashion Valley Mall Redevelopment                                      General Scope of Work



           Item   Description
           14     Subcontractor shall obtain and maintain in good standing all applicable City Business Licenses, including for
                  their tier subs, and trade specific permits.
           15     Prior to the commencement of work or within 10 days of the Notice to Proceed or Contract date, whichever is
                  sooner, subcontractor shall furnish a certificate of insurance naming "The Whiting-Turner Contracting
                  Company" and the owner as additionally insured. The coverages shall meet or exceed those specified in
                  Whiting-Turner's Exhibit A of this subcontract. Additionally insured language shall be modified to be exactly
                  per Whiting-Turner requirements. Subcontractor shall include a Waiver of Subrogation as required per the
                  Contract Documents.
           16     Prior to starting work, subcontractor shall
                          a.     Verify existing conditions and elevations, and then report any discrepancies with the Contract
                  Documents to Whiting-Turner. Subcontractor understands that the start of their work shall constitute
                  acceptance of such conditions.
                          b.    Obtain approval, produce and procure (haul route, traffic control, and noise) permits as required
                  by authorities having jurisdiction.
                         c.     Coordinate and attend preconstruction meeting(s) with Whiting-Turner and the authorities having
                  jurisdiction.
                          d.    Have visited the site and become aware of the existing conditions that are not shown on the plans
                  a nd specified in this scope of work listed herein.
                         e. Notify Dig Alert/C-Below and confirm "Mark Out" of existing underground utilities.
                         f. Have read, understand, and will implement all findings, conclusions, and construction considerations
                  established in the contract documents.
                         g. Have read, understand, and will implement all grades, elevations, slopes, and thicknesses established
                  in the contract document civil, landscape, hardscape, structural, architectural, mechanical, plumbing, electrical
                  drawings, specifications and exhibits.
           17     Subcontractor shall provide qualified and English speaking supervision at all times subcontractor is on project
                  site. Full-time competent on-site supervision is required by all Subcontractors during performance of their own
                  work. In the case of contracts involving Second Tier Subcontractors, the Primary Subcontractor will provide
                  onsite supervision and coordination of their subcontractors and direct hire work. The contractor will be Back-
                  charged for time spent performing such coordination by Whiting-Turner if it does not exist. Should any
                  subcontractor need to use any scaffolding, hoisting services, lift equipment, etc. competent person will be
                  needed to operate and/or sign any indemnifications, insurance and/or waivers required for this equipment.

          18      Subcontractor is responsible to notify Whiting-Turner of any RFI's or submittals that should be included in a
                  bulletin update. Costs related to additional RFI's/Submittals due to a drawing bulletin are to be included in the
                  bulletin pricing. If RFI's or submittals are superseded by a drawing bulletin which causes a conflict,
                  subcontractor to notify Whiting-Turner to clarify the discrepancy within five (5) business days.
           19     Subcontractor includes all surface preparation (including shot blasting or mechanical removal of contaminants)
                  required to complete the scope of work included herein. Subcontractor shall review all areas at least 2 weeks
                  prior to scheduled installation with the Whiting-Turner Superintendent.
          20      Subcontractor includes patching or replacement of all fireproofing, (if applicable), drywall, ceiling tile, finishes,
                  etc. if damaged or removed during the installation of this scope of work.
          21      Subcontractor includes all sleeves, cutting and patching for your work with fire stops or fire-safing as specified
                  and indicated on the Contract Documents and as required by code and the authorities having jurisdiction.

          22      Subcontractor shall supply all access panels in general construction required for access to your work.
                  I nstallation of these access panels will be installed by the framing/drywall subcontractor. Subcontractor shall
                  indicate, as part of their bid, the total number of access panels required. The installation of any additional
                  access panels above and beyond the amount identified will be the responsibility of Subcontractor.

          23      Subcontractor shall furnish, install, and coordinate all future tenant stub-outs per the Contract Documents.
                                                                                                                                    r
   The Whiting-Turner Contracting Company
                                                                                                                                          roF
                                                                  Page 16 of 174




                                                  NOTICE OF REMOVAL EXHIBIT 1 p. 34
  Case 3:25-cv-00020-LL-SBC                          Document 1-2 Filed 01/06/25                            PageID.43             Page 36
                                                            of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


                                              Fashion Valley Mall Redevelopment                                   General Scope of Work



           Item     Description
           24       Subcontractor will meet, as applicable to this scope of work, the specified goals outlined in the Contract
                    Documents to achieve LEED Certification Requirements. This process will include but not limited to the
                    coordination and obligation of certification required regarding materials recycled content, VOC levels, SOS
                    sheets showing conformance with performance requirements, distance from site to sourcing, cost of materials,
                    distance from site to fabrications, etc.
           25       Subcontractor Project Manager and Superintendent/Foreman are required to meet with the Whiting-Turner
                    Superintendent(s) prior to beginning work to review the contractual scope of work, schedule, phasing and
                    schedule durations. Any logistical issue and duration issues encountered after this meeting and/or
                    subcontractor beginning work prior to meeting will be installed at subcontractor's expense.
           26       Subcontractor shall furnish, install, and coordinate all future tenant stub-outs per the Contract Documents.
                .   Subcontractor will meet, as applicable to this scope of work, the specified goals outlined in the Contract
                    Documents to achieve LEED Certification Requirements. This process will include but not limited to the
                    coordination and obligation of certification required regarding materials recycled content, VOC levels, SOS
                    sheets showing conformance with performance requirements, distance from site to sourcing, cost of materials,
                    distance from site to fabrications, etc.
           27           will be the Project Manager, will be the Field Foreman & will be the dedicated QA/QC person for this
                    subcontract during the duration of the project. Subcontractor shall not remove any persons without the prior
                    written consent of Whiting-Turner.
           28       Subcontractor Project Manager and Superintendent/Foreman are required to meet with the Whiting-Turner
                    Superintendent(s) prior to beginning work to review the contractual scope of work, schedule, phasing and
                    schedule durations. Any logistical issue and duration issues encountered after this meeting and/or
                    subcontractor beginning work prior to meeting will be installed at subcontractor's expense.
                    Subcontractor Project Manager and Superintendent/Foreman met on site with                                     of
                    Whiting-Turner on               day of            month during             year. All management positions (field
                    and office) for this subcontractor are subject to the approval of Whiting-Turner and removal and replacement
                    at Whiting-Turner discretion at any time for any reason.
           29       Subcontractor is responsible for all items discussed and reviewed during the scope review meeting held prior
                    to award (Exhibit K)
           30       Subcontractor has reviewed the site logistics plan (Exhibit R) and is fully aware of the site conditions
                    throughout the different phases of the project.
           31       Subcontractor has reviewed, understands, and will abide by the geotechnical report provided by Kleinfelder
                    dated 08/19/2019 (Revised 09/27/2019).
           32       Subcontractor has reviewed, understands, and will abide by the asbestos (ACM) report provided by APEX
                    dated 10/11/2019.
           33       Should any question of union jurisdiction arise with respect to this Contract, the Subcontractor shall
                    i mmediately take steps to settle such disputes and will use such labor as may be determined to have
                    jurisdiction, at no additional cost to Whiting-Turner or the Owner. Should the Subcontractor fail to take
                    expeditious action, they will be responsible for any time lost because of delays arising from such a dispute.

                    Invoice and Change Order Pricing Administration:
           34       Subcontractor shall submit a schedule of values for approval prior to issuance of first invoice. This schedule of
                    values will be used for all progress billings pending Whiting-Turner and Owner approval. Subcontractor agrees
                    to make revisions and provide additional detail and level of breakout as requested by Whiting-Turner.




   The Whiting-Turner Contracting Company
                                                                  Page 17 of 174




                                                  NOTICE OF REMOVAL EXHIBIT 1 p. 35
  Case 3:25-cv-00020-LL-SBC                                    Document 1-2 Filed 01/06/25              PageID.44             Page 37
                                                                      of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                                                     Fashion Valley Mall Redevelopment                         General Scope of Work



           Item   Description
           35     Subcontractor shall provide pencil drafts of the application for payment on the 20th of each month. Final
                  a pproved invoices are to be submitted by the 25th of each month for work completed through the 30th.
                  I nvoices to be submitted on Whiting- Turner's modified AIA G702 and G703 forms as attached (Exhibit L —
                  Construction and Administration Package). No FAX copies will be accepted. Lien Releases are to be provided
                  with each invoice. Subcontractor is aware that all invoices and release of lien forms must be notarized.
                  Subcontractors utilizing union trades shall submit monthly verification of current trust fund payment.
                  Subcontractor shall provide pencil drafts of the application for payment on the 15th of each month, or soonest
                  weekday if 15th falls on a weekend or holiday. Subcontractor agrees to make revisions and provide additional
                  detail and level of breakout as requested by Whiting-Turner.
                      Both pencil drafts and final invoices are to be submitted electronically to Whiting-Turner Project Manager,
                  no paper copies will be accepted.


           36     Subcontractor shall supply certified payroll sheets with their monthly billings.
           37     Subcontractor recognizes they are responsible to keep all existing facilities, new construction, or
                  a ppurtenances that are not to be demolished free from damage. Subcontractor must take every precaution to
                  ensure that existing surfaces remain in their present condition. Subcontractor shall and will respect work done
                  by others. Subcontractor is aware that, if they are working on or near the surface of a finished product, the
                  product must be properly protected against any damage. The protection and maintenance will be the
                  responsibility of the Subcontractor. The cost to fix damaged assemblies, whether finished or rough, will be
                  done at the expense of Subcontractor responsible for damage.
           38     Change Order Pricing and Processing:
                  a.Overhead:
                  Defined as any office labor, management labor, estimating, secretarial, accounting, etc. above a working
                  foreman. Materials considered overhead are items such as, but not limited to, copy machines, fax machines
                  a nd all items associated with office work.
                  b.Profit:
                  Fee for work performed as percentage of cost of work. No fee shall be attributed to overhead.
                  c.Small Tools:(Value less than $500.00)
                  Shall be considered overhead unless specific tasks require equipment / tools be purchased to accomplish such
                  work at which time they will become property of the Owner.
                  dinsurance:
                  Liability insurance, health insurance for office staff, automobile and equipment insurance, theft insurance,
                  shall be considered overhead.
                  e.Mark-Up:
                  Allowable mark-up for change order work shall be governed by the limits set forth within the owner contract.
                  Furthermore, at no time shall the combined total mark up of this subcontractor and its sub-tiers and suppliers
                  civraearl 1nol, e-sf tl-to rrict"f tranrIr




   The Whiting-Turner Contracting Company
                                                                      Page 18 of 174




                                                           NOTICE OF REMOVAL EXHIBIT 1 p. 36
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                             PageID.45              Page 38
                                                           of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


                                             Fashion Valley Mall Redevelopment                                     General Scope of Work



           Item    Description
           39     Per owner contract, if a change in work is requested by contractor and its subcontractors, a preliminary
                  estimate of the change must be received within Seven (7) days of issue arising. Within twenty days of issue or
                  completed T&M ticket, subcontractor must submit actual change order request with itemization of all costs of
                   materials and labor, with extensions listing quantities and total costs, and any claim for extension of time. "If
                   no change order request is submitted by contractor (subcontractors) within such period, it shall be conclusively
                   presumed that the change described in the price request does not call for any change in the work that will
                   result in an increase in the contract sum, the GMP or contract time, and has not caused (and will not cause)
                  damage to contractor (subcontractor), and such change shall be performed by contractor without any such
                   increase, and such price request shall be deemed a fully approved change order." "Failure of the contractor
                  (subcontractors) to so notify the owner shalst of work.subcontractor shall be obligated to complete its
                  activities within the specified duration regardless of the actual start date.e an extension of time to the Project
                  Schedule and direct on site costs attributable to the delay, if any. The foregoing no-damages delay clause shall
                   be included in all sub-tier subcontracts-Turner will only be liable for claims and dollar amounts, approved in
                   writing prior to the commencement of work.
           40     Subcontractor understands that there will be no compensation for extra work done without written
                  authorization from Whiting-Turner. All extra work performed on a Time and Material basis must have Whiting-
                  Turner Time and Material tickets filled out and signed by Whiting-Turner field personnel daily. Time and
                  Material tickets are to have a corresponding Change Request / Authorization or Potential Change Item No.
                  noted on the Time and Material ticket. If tickets are not signed daily by Whiting-Turner and /or do not contain
                  a Change Request Authorization or Potential Change Item No., work will not be compensated for.

           41     Subcontractor understands that all additional work performed must have a Change Request /Authorization
                  (CR/A) or Potential Change Item (PCI) number assigned. Subcontractor further understands that additional
                  work performed without a Change Request/Authorization or Potential Change Item number will be done at no
                  cost to Owner and/or Whiting-Turner. Only a Project Manager or Project Engineer can issue a CR/A or PCI
                   number. Superintendents are not authorized to issue CR/A or PCI numbers.

           42     In the event that subcontractor is unable to provide a proposal for change request within the time frame
                  specified by Article (6), Item (a) of the Whiting- Turner subcontract; Subcontractor shall submit a written
                  request requesting additional time. This request shall be specific as to the additional time required and the
                  date that the proposal will be received by Whiting-Turner. Upon review of said request, Whiting-Turner will
                  determine if additional time is allowable.
           43     Subcontractor understands and agrees that once subcontractor has turned pricing in to Whiting-Turner for
                  submission to the Owner the pricing is final. Subcontractor will not come back and revise / add onto pricing at
                  a later date. This is to ensure that all costs are to be turned in at one time. Pricing is to be provided to Whiting
                  Turner within five (5) days of when the Change Request Authorization or Potential Change Item has been
                  provided.

           44     Subcontractor to furnish detailed unit pricing for adds and deducts as applicable or requested by Whiting-
                  Turner. Subcontractor must have labor and equipment breakdown sheet completed and approved prior to
                  execution of this subcontract. Subcontractor acknowledges all labor and equipment rates are subject to audit
                  by Owner and/or Whiting-Turner. Rates shall remain through the duration of the project.

           45     Subcontractor shall provide additional manpower and materials, upon issuance of a C/RA, required to fully
                  execute any extra work being performed to supplement the labor force already onsite performing work under
                  this contract. Manpower should not be taken from the contracted labor in order to complete C/RA work.

           46     Subcontractor shall only take direction from Whiting-Turner personnel. In the event the subcontractor takes
                  direction from a party other than Whiting- Turner personnel any extra costs incurred will not be compensated.



   The Whiting-Turner Contracting Company
                                                                  Page 19 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 37
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                             PageID.46             Page 39
                                                           of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3


                                             Fashion Valley Mall Redevelopment                                    General Scope of Work



          Item    Description
          47      Should Allowances within the Subcontract or any portion of Allowances not be used it shall be returned to
                  Whiting-Turner in the form of a deductive contract supplement. Subcontractor shall not use any portion of this
                  Allowance within the Subcontract prior to receiving approval from Whiting-Turner in the form of a Change
                  Request / Authorization (CR/A) or Potential Change Item (PCI) and tracked using a Whiting-Turner Time and
                  Material Ticket.
           48     Subcontractor expressly agrees not to make, and hereby waives, except as set forth herein any claim for delay
                  costs, loss of productivity or efficiency, lost profits or extended home office overhead, on account of any delay,
                  obstruction or hindrance for any cause whatsoever, whether or not foreseeable, and whether or not
                  a nticipated including but not limited to the causes from Unavoidable delays including Acts of God (such as
                  earthquake, tornado, flood, hurricane, etc.); unusually severe weather; previously undisclosed hazardous
                  material onsite requiring abatement or removal prior to continuation of work; Owner' s or Architect's (and
                  their respective agents' and employees') acts, omissions to act, or failures to timely act for which the
                  Subcontractor shall advise the General Contractor in a timely manner so as to prevent untimely acts; strikes
                  lockouts or other labor disturbances, riots, insurrections, and civil commotions; embargoes; or sabotage which
                  a reasonably prudent Subcontractor under similar circumstst of work.subcontractor shall be obligated to
                  complete its activities within the specified duration regardless of the actual start date.e an extension of time to
                  the Project Schedule and direct on site costs attributable to the delay, if any. The foregoing no-damages delay
                  clause shall be included in all sub-tier subcontracts

           49     Subcontractor shall provide value engineering and continually assist in providing ideas to reduce the overall
                  cost and schedule of the project.
           50     Subcontractor shall be expected to utilize MBE/WBE/DBE vendors and suppliers where possible and provide a
                  monthly report on actual cost expended.


                  Safety:
           51     Subcontractor shall be responsible for all temporary protection, etc., for work performed under this
                  subcontract. Upon identification of a hazard, subcontractor shall remedy immediately by any practical means
                  necessary. Whiting-Turner will specifically provide perimeter protection to areas of work in which falls can
                  occur. (i.e. building edge, stair openings, elevator shafts and any other open penetrations where a safety
                  hazard could exist). Whiting- Turner shall be responsible to maintain all safety equipment and barricades until
                  such time as created hazard no longer exists. Unauthorized removal of barricades, protection, etc. is grounds
                  for removal from site. Should subcontractor fail to remedy hazard, Whiting-Turner will correct hazard and
                  forward costs to subcontractor. Note: Whiting-Turner will maintain the building perimeter cables.
                  Subcontractors are not to remove/undo cables without authorization from WT.

           52     Any fall hazards created by this subcontractor in the course of their work shall be protected by Subcontractor.
                  This applies also to the labeling of hole covers per WT safety standards. All workers near fall zones must be tied
                  off per CALOSHA/OSHA standards. Safety zones must be approved by WT superintendent. Delineation or
                  barricading of fall hazards created in the course of this scope are included to be erected the same day that the
                  hazard is created, such that the hazard is not left exposed at the end of shift.

           53     Subcontractor has read, understands, and will comply with the Whiting-Turner Site Specific Safety Plan in
                  addition to standard CALOSHA/OSHA Safety Rules. All subcontractors' employees and their subtier employees
                  and vendors performing work onsite will participate in onsite safety orientation reviewing said Whiting-Turner
                  Safety plan prior to starting work.




   The Whiting-Turner Contracting Company
                                                                                                                                  CJS FIE
                                                                 Page 20 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 38
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                            PageID.47              Page 40
                                                           of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3


                                            Fashion Valley Mall Redevelopment                                     General Scope of Work



           Item   Description
           54     Subcontractor must ensure that safety procedures must be implemented per all CalOSHA/OSHA, State, Local,
                  Whiting-Turner and Owner requirements, whichever is more stringent. All personnel onsite to wear Whiting-
                  Turner and OSHA mandated personal protective equipment (PPE). Safety vest to designate at a minimum the
                  primary subcontractor who holds a contract with Whiting-Turner. Hardhats to have both primary
                  subcontractor designation and logo and employee first and last name. All hard hats to bear Whiting-Turner
                  safety orientation stickers in visible location. Subcontractor shall ensure that all subcontractor personnel
                  comply with requirements of Site Specific Safety Program, Safety Orientation, and Subcontractor Safety
                  Manual. If required, subcontractor shall obtain at no cost to Whiting-Turner any and all OSHA, state, and local
                  permits required in the course of it work. Subcontractor to replace any PPE deemed unacceptable
                  i mmediately.
           55     In the event a subcontractor's personnel are observed using equipment in an unsafe manner, subcontractor
                  shall provide (upon request from Whiting-Turner) training documentation, provide retraining, or replace
                  operator/user with qualified personnel. Whiting-Turner will issue a written safety notice to any subcontractor
                  personnel observed committing an unsafe act and in some instances suspend or remove subcontractor
                  employee from site.
           56     Subcontractor shall caution all open excavations, equipment, etc. per CalOSHA/OSHA and/or Whiting-Turner
                  safety requirements.
           57     Subcontractor shall provide qualified flagmen, vehicular/pedestrian control and safety and traffic control
                  personnel for material hauling, hoisting, staging, etc. around the work area, public streets, sidewalks, etc.
                  efficiently and quickly where deemed necessary per requirements of Authority Having Jurisdiction (AH1) and
                  W hiting-Turner.
           58     Subcontractor to notify Dig Alert "USA" Underground Service Alert, or third party private locator (C-Below) for
                  private or public utility mark-out prior to any excavation. Subcontractor to provide Whiting-Turner with utility
                  mark out request/order number with expiration date. In addition, subcontractor to walk site with Whiting-
                  Turner Supervision to become familiar with existing site utilities and hazards prior to any excavation or drilling.
                  Area of work is to be walked and approved by Whiting-Turner Superintendent before any work may
                  commence. Information pertaining to the location of existing utilities, structures or conditions are approximate
                  and not guaranteed. Subcontractor to hand dig (pothole) all known or suspected intersections and change of
                  directions or elevations of underground utilities prior to excavation. Subcontractor to utilize vacuum truck as
                  necessary per Whiting-Turner underground utility standards.
           59     Subcontractor shall notify Whiting-Turner of any personal injury requiring medical treatment of any of
                  subcontractor's employees or others at the Project Site immediately. Subcontractor shall provide copies of all
                  investigation, witness statements, and medical condition/release forms within twenty-four (24) hours of
                  occurrence. Furthermore, subcontractor is responsible to document on the daily report if an employee was
                  injured that day.
           60     Subcontractor shall provide to Whiting-Turner all Site Specific Safety Plans (SSPs), Safety Data Sheets (SOS),
                  Quality Control Management Programs (QCMPs) and Injury Illness Prevention Program (IIPP) electronically as
                  well as organized and tabulated hard copy 3-inch binders prior to starting work onsite, and within 10 days of
                  the Notice to Proceed or Contract date.
           61     Subcontractor shall update SOS binders in WT Trailer as often as new material is brought onto, or removed,
                  from the jobsite to ensure accuracy of the information within. This will occur both electronically and physically

           62     Subcontractor shall hold safety meetings a minimum of once a week. All subcontractors' superintendents,
                  foreman and employees are responsible for attendance. A copy of subcontractors' weekly safety meeting
                  minutes and attendance sheet must be forwarded to Whiting-Turner's field office each week. Subcontractor
                  shall attach copy of completed pre-task hazard evaluations to weekly safety meeting minutes. Failure to
                  provide safety "tailgate" meeting minutes and attendance sheets will result in delays of monthly payments
                  until they are up to date and correct.                                                                 r

   The Whiting-Turner Contracting Company
                                                                 Page 21 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 39
  Case 3:25-cv-00020-LL-SBC                        Document 1-2 Filed 01/06/25                             PageID.48             Page 41
                                                          of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


                                            Fashion Valley Mall Redevelopment                                    General Scope of Work



          Item    Description
          63      All onsite subcontractor employees shall attend and participate in weekly jobsite safety toolbox talks and
                  q uarterly Whiting-Turner Safety Stand Downs.
          64      Subcontractor at no time shall permit public access to the construction areas. Visitors / Vendors are required
                  to check in at the Whiting-Turner field office and shall be escorted onto the project by Whiting-Turner
                  personnel. Any non-project personnel on project site must be immediately directed to Whiting-Turner Trailer.

          65      Should Subcontractor need to remove or relocate any temporary construction fencing or barricades to
                  perform this scope of work, Subcontractor shall first notify Whiting-Turner prior to any removal and agrees to
                  remove and replace all fencing and barricades immediately. Fencing and barricades shall be handled with care
                  a nd will put back in good condition.
          66      Subcontractor shall be responsible for all installation, removal and disposal of safety components caused by
                  their scope of work, or necessary to complete their scope of work in its entirety.

          67      All subcontractor work areas are to have a minimum (1) spill/cleanup kit ready for use at all times by this
                  subcontractor. The cleanup kit shall include mop/buckets as necessary to manage dust/footprints as well as
                  clean sweep and/or water absorbent. Certain trades with large scopes of work or higher potential hazards
                  should provide additional kits suited towards their scope of work. Do not hose down hardscapes in order to
                  clean up spills, use dry clean up methods whenever possible. These materials are to become the property of
                  Whiting-Turner after the project completion by this subcontractor and be delivered to the Whiting-Turner
                  jobsite trailer.
           68     Subcontractor understands that this is an operating and open mall facility, and that protection of the public is
                  of primary concern. Subcontractor includes all coordination and precautions necessary, as caused or
                  necessitated within their scope of work, to protect the public, inclusive of temporary shut-down/fencing of
                  drop hazard zones, visual protection from arc flash, methodology to prevent air-borne particulates or gases
                  from entering public spaces, etc.. If work is to extend beyond Whiting-Turner provided barricades/fencing,
                  spotter and additional delineation is to be provided. Any such activity should be approved in writing in (48)
                  hour minimum advance from Whiting-Turner. Any work occurring outside of the jobsite fence line must be
                  performed/completed and cleared prior to mall operating hours.

           69     A 48-hour notice must be given to the mall office and the engineering department to shut down a fire sprinkler
                  system. This subcontractor must give this notice along with zoned map In writing to Whiting-Turner with
                  sufficient time to coordinate with the mall. Any fees associated with shutdown and cost associated with fire
                  watch are the responsibility of this subcontractor. All system shutdowns are to be conducted in off hours
                  relating to the Mall hours, and the system must be brought back online as soon as possible.

           70     All subcontractor foremen to have "QUICKSTOP Q-COM Talon Fire Sprinkler Head Tool" or similar readily
                  available at all work areas, and at minimum for every ten workers onsite in case of accidental sprinkler head
                  strike. If used, Whiting-Turner to be notified immediately. All subcontractor employees who may come in
                  contact with any electrical work shall carry a voltage tester (hot stick) and utilize to ensure safety.
           71     In the event of any utility strike, public safety concern or incident, or damage to any surface, Whiting-Turner to
                  be notified as soon as safely possible. Subcontractor to call emergency services prior to Whiting-Turner if
                  necessary.
           72     All barricades, delineation, signage must be presentable by mall standards, as in white delineators and danger
                  tape, laminated printed signage, etc.
           73     Direct all public and/or media communication and questions to Whiting-Turner. Do not provide any
                  information at any time to the public or media without Whiting-Turner and owner approval.




   The Whiting-Turner Contracting Company
                                                                                                                                 Es rifF,
                                                                 Page 22 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 40
  Case 3:25-cv-00020-LL-SBC                        Document 1-2 Filed 01/06/25                             PageID.49             Page 42
                                                          of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


                                            Fashion Valley Mall Redevelopment                                    General Scope of Work



          Item    Description
          74      Subcontractor responsible for all dust control as required for their scope of work. While on site the
                  subcontractor shall use any means necessary to prevent dust from becoming a nuisance to the public,
                  neighbors and to other workers. All work that could possibly infiltrate dust or smell into a tenant space shall
                  have appropriate means of control such as fire resistant visqueen, negative air pressure and/or "smoke eater",
                  etc.
           75     Subcontractor shall not stage trucks on public streets, within shopping center vehicular right-of-ways, or
                  parking areas without advanced written approval from Whiting-Turner Superintendent.
           76     CalOSHA/OSHA's updated regulations and remediation requirements for air-borne silica dust are
                  acknowledged and accounted for in this subcontractor's scope.
           77     No cleaning methods which produce airborne particulates like dust should be utilized (as in no leaf blowers or
                  otherwise).
           78     All equipment onsite should at all times have both control box and keys within the unit and usable in case of
                  emergency. Subcontractor to provide additional key to each piece of equipment onsite to Whiting-Turner the
                  same day the eauiornent comes onsite.
           79     Clean off the platform of all lifts or other equipment so that it they free of debris and dust at the end of each
                  working shift. All lifts to have clearly the company name (including the prime subcontractor) and on the
                  dashboard both the prime subcontractor name and foreman cell number and name at all times
          80      Subcontractor to provide contacts for emergencies that occur outside of normal working hours (including
                  weekends, holidays)
           81      Fire watch as required by this subcontract is inclusive of 20Ib fire extinguisher provided by this subcontractor
                  (not WT's general extinguishers), and employee dedicated to fire watch and competent of fire watch in
                  compliance with hot work permit. This employee cannot perform any other work while on fire watch.

          82      Toilet/Handwash facilities will be provided nearby the work areas by Whiting-Turner. It is all subcontractor's
                  responsibility to keep these facilities in general good working order, and notify Whiting-Turner should they not
                  be. Construction personnel shall not use public facilities within the mall or within any tenant space at any time.

                  Schedule:
           83     It is understood that the schedule is of the essence on this project and each subcontractor is responsible for
                  completion of its work in coordination with the work of all other subcontractors within the required sequence
                  and time frame so that the established schedule is met.
          84      Subcontractor understands and agrees to the contract schedule and will adjust manpower and equipment to
                  meet specified durations. Subcontractor understands and agrees to any schedule durations and/or milestones
                  i ndicated in the specific scope of work. The more stringent shall govern.

           85     Schedule dates (durations) are of the essence. Subcontractor agrees to work overtime, shifts, nights and/or
                  weekends as required to meet the schedule. The proposed schedule durations include anticipated impacts due
                  to weather. It is agreed to work additional hours and weekends to makeup for lost time during the week due
                  to weather as necessary to maintain the project schedule as determined by Whiting Turner. This subcontractor
                  shall coordinate directly with all other contractors as necessary to complete and maintain this schedule.
                  Subcontractor recognizes that delays of his work activities directly affecting other trades, contractors and/or
                  project completion date may result in assessment of liquidated/consequential damages. Three-week schedules
                  will be reviewed each week at the progress meetings to analyze progress on the project. These schedules are
                  binding and shall be adhered to under this Subcontract.

          86      Subcontractor agrees to work in multiple areas as required to keep contract schedule and major milestone
                  dates. Subcontractor understands during the execution of work covered by this subcontract the site will be
                  congested by many other trades working closely together. Any required phasing and coordination as required
                  by the overall site schedule is hereby included in this subcontract. Whiting-Turner reserves the right to
                  resequence work at any time to maintain the overall project schedule.


   The Whiting-Turner Contracting Company
                                                                 Page 23 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 41
  Case 3:25-cv-00020-LL-SBC                        Document 1-2 Filed 01/06/25                             PageID.50             Page 43
                                                          of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3


                                            Fashion Valley Mall Redevelopment                                    General Scope of Work



          Item    Description
          87      The schedule includes "estimated" start dates for the construction activities. Subcontractor shall be issued a
                  copy of the proposed construction schedule realizing some activities may be performed in altered sequences,
                  as construction areas deem necessary.
          88      Subcontractor is aware the construction schedule requires multiple move-ins, and has included all associated
                  costs.
          89      Subcontractor has reviewed the master schedule, agrees to, and includes the following:
                  a. Activities may be performed in altered sequences, as construction areas deem necessary.
                  b. Completion of subcontractor activities within the specified duration regardless of the "estimated" actual
                  start date.
                  c. The more stringent date or duration within the specific scope of work and master contract schedule.
                  d. Overtime, shifts, nights and/or weekends as required to meet contractual dates or durations.
                  e. The proposed schedule durations or dates include anticipated impacts due to weather.
                  f. Coordination directly with all other trades as necessary to complete and maintain scheduled dates or
                  d urations
                  g. Delays of subcontractor work activities directly affecting other trades and interim or final project completion
                  dates may result in the assessment of liquidated/consequential damages.
                  h. Coordinated weekly look ahead schedules, noting they become binding and shall be adhered to under this
                  Subcontract.
                  i. It is understood that the subcontractor shall be obligated to complete its activities within the specified
                  d uration regardless of the actual start date.




   The Whiting-Turner Contracting Company
                                                                 Page 24 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 42
  Case 3:25-cv-00020-LL-SBC                        Document 1-2 Filed 01/06/25                             PageID.51             Page 44
                                                          of 213

    Fvhi hit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


                                            Fashion Valley Mall Redevelopment                                    General Scope of Work




           Item   Description
                  Clean Up:
           90     Subcontractor shall perform daily and final clean-up of debris for all work performed under this subcontract.
                  This clean up shall be performed often enough to ensure no other trades are hampered by debris and/or if
                  debris causes a safety situation as determined by Whiting-Turner. Subcontractor includes at a minimum ten
                  total man hours for daily movement of barricades and clean-up of trash generated from the scope of work
                  listed herein. All trash is to be taken to a designated location as directed by Whiting- Turner and placed in the
                  a ppropriate bins as required to comply with the site recycling policy. After the 1st verbal and 2nd written
                  warning, should Subcontractor continue to fail to comply with daily clean-up and barricade requirements,
                  Whiting- Turner will assign man-power to complete the daily clean-up at the expense of this Subcontractor. If
                  we notice excessive lack of responsiveness, Whiting-Turner will clean up any debris utilizing labor and deduct
                  these costs from the contract of the responsible Sst of work.subcontractor shall be obligated to complete its
                  activities within the specified duration regardless of the actual start date.e an extension of time to the Project
                  Schedule and direct on site costs attributable to the


           91     Should subcontractor fail to clean work areas as required a failure to clean notice will be issued to
                  subcontractor. This shall constitute the area will be cleaned by alternate methods forwarding all costs
                  associated back to the subcontractor. Upon receipt of the second failure to clean notice, Whiting-Turner will
                  hire for the duration of subcontractor's scope of work sufficient clean up labor and supervision to clean work
                  trash generated and deduct these costs from the contract of the responsible subcontractor(s). Clean up
                  budgets are required line items in subcontractors SOV, after second notice, total amount will be deducted
                  from Contract. Clean up labor and supervision will be directed solely by Whiting-Turner Superintendent.

           92     Subcontractor shall participate in weekly composite clean up of the project. Subcontractor shall supply 1
                  worker for every 10 employees onsite. (For Example, Sample Subcontractor has 12 employees onsite, Sample
                  Subcontractor shall have two employees report for clean up) Subcontractor understands that employees are to
                  sign in with Whiting-Turner at 10:00 pm sharp the day of at specific location chosen by Whiting-Turner
                  Supervision. Subcontractor understands composite clean shall be performed until Whiting-Turner Supervision
                  determines general project clean up has been achieved. Subcontractor understands employees are required to
                  sign out to record participation. Should subcontractor fail to participate, subcontractor understands they will
                  be back charged one man day per their labor sheets.

           93     All removal of debris/trash from the jobsite to containers, dumpsters or trucks are to be by this subcontractor
                  for this scope of work. This includes all necessary existing finish and hardscape protection, buggies with taped
                  w heels, "sticky pads" to prevent track out of dust or mud on boots and other measures as determined by
                  Whiting-Turner Superintendent. Dumping construction materials or debris in mall trash compactors or
                  d umpsters is prohibited. Covering of dumpsters on a daily basis, regardless of potential rain, is included.

           94     Subcontractor includes all cleaning efforts required to keep the hardscape on and off of the jobsite clear of any
                  traces of dirt or debris that resulted from their scope of work. This includes, but may not be limited to: broom
                  sweeping. tire cleaning, street sweeping.
                  Requests for Information (RFIs) and Submittals:
           95     Subcontractor shall generate and submit RFIs required to complete the work as specified by the Contract
                  Documents. RFIs shall be generated and submitted to allow ample time for review, approval, fabrication and
                  delivery prior to and in accordance with the construction schedule. All RFIs shall be generated and submitted
                  no earlier than (10) days prior to needing response, or sooner as required to maintain the construction
                  schedule. Failure to provide such information in the time frame specified (so that schedule is not delayed)
                  could result in consequential damages and/or defaults. Delay claims due to RFI's not submitted within the
                  allotted time frame to have a response generated as not to affect subcontractor's scope of work progress will
                  be found VOID.



    The Whiting-Turner Contracting Company
                                                                                                                                       E
                                                                 Page 25 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 43
  Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                            PageID.52            Page 45
                                                         of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3


                                            Fashion Valley Mall Redevelopment                                  General Scope of Work



          Item    Description
          96      Subcontractor, if applicable to scope of work, is aware of the design-build and deferred submittal procedures
                  and has included it within their scope of work. Subcontractor includes all deferred submittals as indicated in
                  the contract documents. Subcontractor includes all engineering, calculations, licensed engineer stamps, etc. as
                  required for a complete turnkey design-build deferred submittal. Subcontractor will be responsible for all
                  deferred fees and drawing processing with the city. Subcontractor to provide three (3) hard copies of stamped
                  and approved shop drawings and calculations along with one soft copy transmitted via box.com or external
                  thumb drive. The process for the deferred submittals will be as follows:
                  •Subcontractor will submit deferred submittals through Whiting-Turner to the Design Team
                  •The Design Team will review and stamp deferred submittal package approved for design intent
                  •Subcontractor will then take the stamped deferred submittal package to the City
                  • Subcontractor will be responsible for tracking progress, responding to city comments, resubmissions z
                  necessary, and all associated plan check fees, permits, etc.
                  • Subcontractor, if necessary, can engage a plan expeditor to assist with the process (as required by schedulE
                  All costs associated with the services of the plan expeditor will be paid by Subcontractor.


          97     Subcontractor shall provide submittals, coordination Drawings, shop drawings, pertinent manufacturer's data,
                  mock-ups, samples, as-built, procurement log, etc. required to complete the work as specified by the Contract
                  Documents. Submittals shall be coordinated to allow ample time for review, approval, fabrication and delivery
                  prior to and in accordance with the construction schedule. All submittal data shall be received within (10) days
                 of notice to proceed and/or contract date, whichever is sooner or as specified by the submittal log and as
                  required to maintain the construction schedule. Failure to provide such information in the time frame specified
                 (so that schedule is not delayed) could result in consequential damages and/or defaults.

          98      Submittals that do not comply with the requirements of the Contract Documents or which provide alternates
                  that do not comply with the Contract Documents will not be approved. Additional time necessary to correct
                  submittals rejected by Whiting-Turner, the Architect or their engineers shall be responsibility and cost of the
                  subcontractor.
          99      Subcontractor shall provide all composite wiring diagrams as required per the Contract Documents or as
                  required for the proper installation and coordination of systems.
          100     All submittals transmitted to Whiting-Turner shall be organized by specification section. Each submittal shall
                  reference each specification section with title sheets. All digital submittal files to be saved and named by
                  specification number, bookmarked, and provided unflattened upon request.

           101    As part of submittal packages, subcontractor shall identify all adjacent trades and provide pertinent
                  manufacturers literature to properly coordinate installation of work. Provide written explanation of preferred
                  seauence and practices / Procedures to proPerlv coordinate work.
          102     Whiting-Turner will keep a continuous tracking list of all project submittals broken up by responsibility.
                  Subcontractor understands this list will be a "live" file updated weekly by subcontractor for completion,
                  procurement, status, etc. "Google" Docs, Office 365 or similar are an acceptable means for this.

          103     Subcontractor assumes full responsibility that any submitted alternate items and procedures will meet the
                  Contract Document requirements. Subcontractor is responsible for costs of redesign, modifications or
                  additional scope of work required by use of alternate items furnished under this scope of work.




   The Whiting-Turner Contracting Company
                                                                Page 26 of 174




                                                NOTICE OF REMOVAL EXHIBIT 1 p. 44
  Case 3:25-cv-00020-LL-SBC                        Document 1-2 Filed 01/06/25                             PageID.53             Page 46
                                                          of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


                                            Fashion Valley Mall Redevelopment                                    General Scope of Work



           Item    Description
           104     Prior to submission of first invoice, subcontractor shall provide to Whiting-Turner:
                   a. Complete list of all suppliers, vendors, manufacturers, etc. complete with addresses, phone numbers and
                   contact person.
                   b.Schedule of values for review by Whiting-Turner.
                   c.Qua lity Assurance & Quality Control Program
                   d.Pre-task Management Plan to include the following, but not limited to:
                  'installation protocols and QC inspections
                   iiinspection parties and frequency of inspections
                   iii.Sample of QC field report
                   *** Failure to provide documentation results in the rejection of the first invoice.
           105    Subcontractor to provide Whiting-Turner with all procurement and lead time information as part of product
                  data submittals.
           106    Subcontractor shall prepare, and maintain weekly or more often as required, a material status/ procurement
                  report for all material to be used on the project. The report shall include material item, supplier, purchase
                  order number, telephone number, and a schedule for shop drawings, fabrication, and deliveries. Whiting-
                  Turner reserves the right to check directly with suppliers on all items that are critical to the project schedule.

           107    Subcontractor shall include all closeout documents as required . by Whiting-Turner and the Contract
                  Documents. Subcontractor shall include costs for closeout documents. Subcontractor shall provide six (6) three
                  ring binders with copies of all close out documents including warranties, operations and maintenance manuals,
                  building system commissioning, demonstrations, training, equipment schedules and pertinent manufacturers
                  data per the Contract Documents. Binders shall include table of contents, dividers, etc.

           108    Subcontractor shall provide a minimum 1year warranty for all work performed under this scope of work.
                  Subcontractor understands that all warranties shall be specified commencing on the date of final completion
                  and/or the formal date of the Notice of Completion. All warranties, equipment manuals, and as-built
                  documents shall be provided to Whiting-Turner prior to issuance of retention funds. Warranties must be
                  notarized.
          109     Extended warranties and routine maintenance on base building equipment utilized during the construction
                  period including all costs to recondition the equipment to a new condition in a manner acceptable to the
                  Architect and Owner prior to the issuance of a "Certificate of Substantial Completion" by the Owner.

          110     Subcontractor shall maintain As-Built Drawings daily. Whiting-Turner reserves the right to request As-Built
                  Drawings as a condition precedent for monthly payment. Subcontractor shall be responsible for any additional
                  costs as a result of not Providing current As-Built information.
          111     Subcontractor understands that they are to notify architect in writing, at the time of submission, any
                  deviations in submittals from the requirements of the Contract Documents. Subcontractor's responsibility for
                  deviations in submittals shall not be relieved by Architect's review of the submittals, unless Architect gives
                  written acceptance of specific deviations clearly identified by subcontractor by clouding and the words
                  "CONTRACT DEVIATION" in Bold Face Print. When submittal is revised for resubmission, identify changes made
                  since previous submittal.
          112     No substitutions are included in subcontract scope except as specifically defined herein. Substitutions may be
                  requested at a later date per outline in specifications accompanied with cost impacts for owner/architect
                  review and acooroval.
          113     Subcontractor to submit photos of all utility work that will be concealed underground or overhead with a
                  general picture and an up close picture of the utility in place with a measuring tape showing exact location
                  from a known benchmark (the surface of the ground or soffit, for example) in weekly As-builts

                  Coordination/Logistics:
          114     Subcontractor to procure and any long lead fabrications at no cost to the Whiting-Turner or Owner until the
                  work is ready to commence.                                                                               r
   The Whiting-Turner Contracting Company
                                                                 Page 27 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 45
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                             PageID.54              Page 47
                                                           of 213

    rvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


                                             Fashion Valley Mall Redevelopment                                     General Scope of Work



           Item   Description
           115    Subcontractor understands that if any piece of equipment or materials are not delivered to or installed at the
                  project site in a timely manner as required by the schedule, the subcontractor shall be solely responsible for
                  disassembly, re-assembly, manufacturer's supervision, shoring, general construction modifications, delays,
                  overtime costs, etc. No additional costs or delays shall be incurred by Whiting-Turner or the Owner.

           116    Subcontractor includes taking all steps necessary and modifications to ensure that all materials and equipment
                  can be delivered and installed in sections sufficiently small to fit within construction openings in the building
                  and that the weight and size of all equipment pieces do not exceed the capacity of the construction hoisting
                  and/or elevator system.
           117    Subcontractor includes any out of sequence "comeback work" required as a result of temporary construction
                  provisions. This includes, but is not limited to, temporary openings, tie-ins, block-outs, foundations, leave-out
                  areas, temporary water, temporary power, temporary safety provisions, temporary call boxes, outside hoist
                  openings at the curtain wall, etc.
           118    Subcontractor shall be issued access to electronic documents only. It is the subcontractor's responsibility to
                  reproduce hard copies as needed for their field and office. Subcontractor will provide means of electronic
                  access to documents via Procore software for all field and office personnel at no cost to Whiting-Turner.
                  Drawing sets will be compiled with markups by Whiting-Turner within Procore, but Subcontractor is to verify
                  all sheets, addenda, RFI's, and Submittals for a fully accurate and complete Contract Document package.

           119    Subcontractor understands that no jobsite trailer or storage container is permitted onsite without written
                  consent provided by Whiting-Turner Supervision. Subcontractor understands that due to the location of the
                  jobsite and the jobsite conditions storage and staging of materials on the jobsite is not feasible. This project
                  site will utilize a "Just in Time" Delivery system. Any delivery of material to the jobsite must be installed within
                  48 hours of arrival on the jobsite. It is this subcontractor's responsibility to coordinate deliveries with vendors
                  as necessary to ensure deliveries in this nature. If necessary, Subcontractor agrees to receive material at offsite
                  locations(Not Provided by WT)and delivered to the project site per the 48 hour requirement.

           120    Subcontractor shall provide storage and security for all tools, materials and equipment used or stored on
                  project site. Subcontractor is required to coordinate all storage, staging, with Whiting-Turner Supervision,
                  w hich may be subject to change at any time during the course of construction, at no additional charge to
                  Whiting-Turner. Whiting-Turner is not responsible for theft or damage to tools, materials, installed work,
                  equipment, etc. during construction. Subcontractor shall secure stock piled materials.

          121     Subcontractor is responsible to submit any RFI that affects their scope of work three weeks ahead of time.
                  Delay claims due to RFI's not submitted within the allotted time frame to have a response generated as not to
                  affect subcontractor's scope of work Progress will be found VOID.
          122     Subcontractor shall load and haul away all spoils generated from this scope of work listed herein unless
                  otherwise stated in the specific scope of work. Note: spreading of spoils without written consent is strictly
                  prohibited and all rework will be at subcontractor's expense.
           123    Should Subcontractor need to remove or relocate any temporary construction fencing or barricades to
                  perform this scope of work, Subcontractor shall first notify Whiting-Turner prior to any removal and agrees to
                  remove and replace all fencing and barricades immediately. Fencing and barricades shall be handled with care
                  anri will nut hark in pond condition
           124    Subcontractor understands that the sequence of construction may require multiple mobilizations and have
                  included the cost of those mobilizations in the original contract value.
           125    Subcontractor shall notify all required agencies and authorities having jurisdiction prior to starting the scope of
                  work listed herein.
           126    Subcontractor is aware that temporary power will be provided in project areas for small hand tools only.
                  Generators and equipment necessary for heavy construction, welding, cutting, etc. (including exhaust hoses
                  out of building as needed) will not be available and will be the subcontractor's responsibility to provide.
                                                                                                                                   r-

   The Whiting-Turner Contracting Company
                                                                  Page 28 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 46
  Case 3:25-cv-00020-LL-SBC                        Document 1-2 Filed 01/06/25                            PageID.55             Page 48
                                                          of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3


                                            Fashion Valley Mall Redevelopment                                   General Scope of Work



           Item   Description
           127    Subcontractor shall provide any special condition lighting, task lighting, or spot lights as required to perform
                  subcontractor's scope of work.(General temporary building lighting will be provided by others.)

           128    Subcontractor is aware that other contractors will be working in close proximity. Subcontractor is responsible
                  for cooperating and coordinating the work with other subcontractors to avoid unnecessary conflicts, safety
                  hazards. or delays.
           129    Subcontractor will provide all required hoisting/rigging and certified riggers necessary to complete
                  subcontracted hoisting work.
           130    Subcontractor has included haul routes as approved by the City of San Diego, Cal-Trans and any other
                  Authority Having Jurisdiction (AHJ). Subcontractor acknowledges they are responsible for submitting the
                  proposed haul route to the City of San Diego for aooroval.
           131    On-site parking will not be available. Subcontractor is responsible for providing parking for its own workers at
                  a n off-site location, and shuttling workers to and from the iobsite for each shift.
           132    Subcontractor shall coordinate as necessary with other trades to ensure that no conflicts for layout, etc. will
                  arise during the installation of work under this subcontract.
           133    Subcontractor includes the required field scraping and/or grinding of steel coatings at their welded
                  attachments and touch up of the galvanized or primed finishes as required per contract documents after the
                  weld has been comoleted and/or inspected.
           134    Subcontractor is responsible for their own quality control, layout and field verification based on survey control
                  provided by others. Subcontractor shall verify that the survey staking is in conformance with the latest set of
                  contract documents. Furthermore, Subcontractor agrees to provide caution as it relates to survey staking and
                  any re-staking due to subcontractor negligence will be re-staked at the sole cost of subcontractor.

           135    Subcontractor to refer and verify all documents including but not limited to: Landscaping, Architectural,
                  Structural, Civils and MEPF Drawings for dimensions. This includes edge of slab dimensions, elevations,
                  openings, depressions, curbs. etc.
           136    Subcontractor shall maintain tolerances as set forth in contract documents and industry standards for this
                  scope of work (whichever is more stringent) as well as coordination of tolerances for related trades.

           137    Subcontractor shall submit and have approved by Whiting-Turner all logistics plans regarding necessary
                  barricade modifications, deliveries and access to main work areas, and hoisting a minimum 72 hours prior to
                  work taking Place.
           138    Subcontractor understands all loading restrictions for the existing and new building decks noted on the
                  structural plans, and will ask any relevant questions in a formal RFI with ample time for review/response prior
                  to the mobilization of any equipment/material to elevated decks or platforms should the distribution of weight
                  be in question. Subcontractor will ensure that at no point will the structure be overloaded by its own work or
                  by the contributing factors of its own work and the work of others. Provide all hoisting of equipment
                  associated with this unit of work. This contractor must be aware of the structural capacities of areas to be
                  used for its hoisting, rigging, equipment, scaffold and material storage and shall not exceed rated capacities
                  without taking appropriate steps to compensate for the imposing construction loads with may exceed the
                  design criteria of the existing structure or the capacity of the existing roadways, sidewalks and curbs. Any
                  modifications, temporary or permanent, to the buisible for tracking progress, responding to city comments,
                  resubmissions as necessary, and all associated plan check fees, permits, etc.
                  • Subcontractor, if necessary, can engage a plan expeditor to assist with the process (as required by schedule
                  All costs associated with the services of the plan expeditor will be paid by Subcontractor. only be liable for
                  claims and dollar amounts, approved in writing prior to the commencement of work.onditions due solely to its
                  work. All costs associated with the above requirements are included in the contractor's base bid.


          139     All means of transporting water necessary for this scope of work to the work area shall be by this
                  subcontractor including water buffalos, water lines, pumps, etc.


   The Whiting-Turner Contracting Company
                                                                Page 29 of 174




                                                NOTICE OF REMOVAL EXHIBIT 1 p. 47
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                            PageID.56              Page 49
                                                           of 213

    Fvhi hit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


                                             Fashion Valley Mall Redevelopment                                    General Scope of Work



           Item   Description
           140    Subcontractor responsible for controlling construction water intrusion into existing tenant spaces, which are to
                  remain active during demolition and construction. Subcontractor to regulate dust and debris to ensure tenant
                  storefronts, hardscapes and other finishes are not affected. Any impact to tenant storefronts to be remedied
                  i mmediately by this subcontractor
           141    At all locations where demolition, retrofit or new construction could cause vibrations into adjacent tenant
                  spaces, this subcontractor will take particular care to utilize methods that are minimally disruptive as to
                  vibration, dust disruption, etc. During shifts where this work will occur, this subcontractor will monitor affected
                  tenant spaces and provide pictures to verify no disruption occurred. Any costs associated with cleaning,
                  replacement of product, etc. due to this subcontractor's activities are included.




   The Whiting-Turner Contracting Company
                                                                 Page 30 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 48
  Case 3:25-cv-00020-LL-SBC                        Document 1-2 Filed 01/06/25                             PageID.57             Page 50
                                                          of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


                                            Fashion Valley Mall Redevelopment                                    General Scope of Work



           Item   Description
                  Testing and Inspections:
           142    Subcontractor is responsible to verify with Whiting-Turner Supervision and coordinate all necessary testing and
                  inspections directly with inspection agencies or local authorities. Subcontractor shall provide a designated
                  person assigned to the project to ensure that the QC process is followed. Be advised that any failed inspections
                  of work can result in payment of re-inspection fees by subcontractor. Any lost time or production, as a result of
                  failed inspections will require this subcontractor to apply means and manpower necessary to prevent project
                  delays, at no additional cost to Whiting-Turner. All Inspection and Re-Inspection requests are to be provided to
                  W hiting-Turner Supervision in writing and electronically 48 hours before the inspection is needed.


           143    Subcontractor will provide lifts, gear and safe access as necessary to accommodate inspectors, etc.

           144    Subcontractor is responsible for all cost associated with re-inspections and special inspection overtime.

           145    Subcontractor shall coordinate and comply with all testing and inspection agencies, including all testing
                  required by the specifications and local building codes.
           146    Subcontractor includes overtime inspections as required to complete this scope of work and maintain the
                  schedule.
                  Meetings:
           147    Daily meetings will be held as determined by WT Supervision. All subcontractors are required to attend these
                  meetings to adequately control the flow of work and to discuss/coordinate daily activities and logistics with
                  other subcontractors on the project. Minutes will be issued each week of the previous week. Attendance is
                  mandatory while the subcontractor is on site and three (3) weeks prior to performing work and three (3) week
                  after the completion of this subcontractor's work. Lack of attendance constitutes acceptance of work plan
                  discussed during meeting.
           148    Subcontractor understands that pull planning will be utilized during the entire duration of the project and that
                  participation in pull planning is mandatory. Subcontractor agrees that at least (1) competent supervisor will
                  attend all pull planning activities including but not limited to: daily check-ins and progress updates, weekly re-
                  pull meetings, and any other pull planning meetings as determined by the Whiting-Turner superintendent.
                  Attendance is mandatory while the subcontractor is on site and three (3) weeks prior to performing work and
                  three (3) week after the completion of this subcontractor's work. Lack of attendance constitutes acceptance of
                  work plan discussed during meeting.

                  Permits:
           149    A "General Building Permit" will be supplied by others. All other permits (including noise and/or deferred
                  submittal), licenses, and fees required to execute the scope of work contracted herein is the responsibility of
                  subcontractor.

                  SWPPP/BMP:
           150    Subcontractors will be required to clean and remove any mud, dirt, and/or debris tracked onto private and/or
                  public roadways, curb and gutter or sidewalks during construction operations or deliveries. This shall be
                  accomplished as often as Whiting-Turner Supervision requires and at the end of each workday.

           151    Subcontractor shall comply with the requirements for dust / erosion control as indicated in the Contract
                  Documents.
           152    Prior, during and after weather events subcontractor, at a minimum, is responsible to:
                  a.Cover, secure and remove subcontractor's work area exposed earth with 10 mil visqueen.




   The Whiting-Turner Contracting Company
                                                                 Page 31 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 49
  Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                           PageID.58             Page 51
                                                         of 213

    Fiehihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


                                           Fashion Valley Mall Redevelopment                                   General Scope of Work



           Item   Description
           153    Subcontractor shall abide by all requirements of the Storm Water Pollution Prevention Program. A copy of the
                  current SWPPP is available at the Whiting-Turner field office for review. All subcontractors are required to
                  remove and replace any SWPPP's materials as required to perform their scope of work at no cost. A weekly
                  inspection by others will occur a minimum of once per week. Subcontractor acknowledges that all reports
                  generated from this inspection showing subcontractor negligence and/or implied fault will be addressed or
                  corrected immediately by the end of the work day while being coordinated with Whiting-Turner Supervision.

           154    Subcontractor shall be responsible for providing dust control for subcontracted operations. Water shall be
                  applied and coordinated with Whiting-Turner Supervision in conformance with applicable provisions of the
                  authority having jurisdiction.
           155    Subcontractor shall remove, relocate and/or replace BMP's furnished and installed by others as required to
                  perform subcontractors own work.
           156    Each subcontractor is to have onsite measures of pumping water while working to assist as necessary should
                  inclement weather present flooding into work areas. This includes mobile pump with hose and float and
                  necessary power cabling for use. These materials are to become the property of Whiting-Turner after the
                  project completion by this subcontractor and be delivered to the Whiting-Turner jobsite trailer.

                  Specific Foreman/Superintendent Responsibilities:
           157    Subcontractor shall fill out each day, a "Contractors Daily Work Report" complete with number of
                  tradespeople, names of trades people, classification, hours of work, description of daily activities, areas of
                  work, equipment used, and shall include a description of inspections scheduled for that particular day.
                  These reports are required to be signed by the Subcontractors foreman/superintendent, and provided each
                  day (No Later than 8 am) to the Project Superintendent for Whiting-Turner. Furthermore, subcontractor
                  understands that any delay claim entertained by Whiting-Turner must be documented on individual daily
                  reports with photos and a description otherwise subcontractor claim will be voided. Copies are to be provided
                  in hard copy form and digital form. Failure to provide daily work reports will result in delays of monthly
                  payments until they are up to date and correct.
           158    Prior to 11:30 pm each day subcontractor is onsite, Subcontractor shall mark the daily manpower on the WT
                  Manpower board located in the Superintendent trailer.
           159    Subcontractor shall perform daily pre-task activity hazard analysis (AHA) and provide completed forms to
                  Whiting-Turner Supervision prior to performing the activity.
           160    Subcontractor shall provide weekly updates of a record set of drawings at the Whiting-Turner jobsite office
                  w hile on site. Each record set shall be stamped "As-Built" and shall be signed and dated by the subcontractor.
                  Record sets are to be electronically provided with limits of work and dimensions from job control (gridlines or
                  otherwise)
           161    The subcontractor shall maintain a set of as-built drawings throughout its involvement on the project. This set
                  shall clearly mark all items of work installed by the subcontractor in their actual locations, with survey
                  information such as elevations as required. The subcontractor shall also make this set of as-built drawings
                  available for inspection by Whiting-Turner or the Architect throughout the project. Failure to provide as-built
                  drawings will result in delays of monthly payments until they are up to date and correct.

           162    The subcontractor shall turn in their set of as-built drawings to Whiting-Turner upon completion of the
                  subcontractor's work, but no later than five (5) working days prior to the projected acceptance of the
                  subcontractor's work. Each record set shall be stamped "As-Built" and shall be signed and dated by the
                  subcontractor. Drawing As-builts consist of 2 reproducible/bond sets, and 1 copy on (flash drive). As-builts to
                  be provided in both PDF and CAD.
           163    Whiting-Turner will be conducting periodic quality control checks of subcontractor's work. Subcontractor
                  agrees that any deficiencies will be resolved within 48 hrs. Whiting-Turner will require periodically
                  Subcontractor's Quality Control Inspection Reports.

                                                                                                                                JS   F1F
   The Whiting-Turner Contracting Company
                                                                Page 32 of 174




                                                NOTICE OF REMOVAL EXHIBIT 1 p. 50
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                             PageID.59             Page 52
                                                           of 213

    Fvhihit R
DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


                                             Fashion Valley Mall Redevelopment                                     General Scope of Work



           Item   Description
           164    Three-week schedules shall be reviewed each week at the progress meetings to analyze progress on the
                  project site. These schedules are binding and shall be adhered to under this subcontract. Subcontractor
                  u nderstands that during the execution of work covered by this subcontract the site will be congested by many
                  other trades working closely together. The subcontractor should assume that each item of this subcontractor's
                  work may not be done in one continuous operation. Furthermore, phasing and remobilizations as required by
                  the General Contractor are hereby included in this subcontract. No claims will be accepted for costs incurred
                  due to the delays caused by others.
           165    Subcontractor includes night shift work for the duration of this project. Night shift work will be (4) days (10)hrs
                  per day, Night shifts will be Monday-Thursday Night from 10PM-8AM.




   The Whiting-Turner Contracting Company
                                                                 Page 33 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 51
  Case 3:25-cv-00020-LL-SBC                           Document 1-2 Filed 01/06/25                                PageID.60              Page 53
                                                             of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


                                                Fashion Valley Mall Redevelopment
                                                                                                                           Specific Scope of Work
                                                                                                                   26A - Electrical and Fire Alarm


                                                                      Description
             General
             Subcontractor includes furnishing and installing a complete scope of work for the Electrical, Fire Alarm Systems, Low
       1
             Voltage, Emergency Power Systems, scopes of work outlined in the Contract Documents.
             Subcontractor shall furnish and install all electrical power and fixtures as shown in the contract documents at all locations
       2     including but not limited to, main concourse,food court restrooms, Vans restrooms, escalators, etc.

       3     General MEPF
             Subcontractor shall furnish and perform all penetrations, cutting, sleeves, recessing, patching and sealing (including fire
             caulking, firestopping, and/or fire safing), etc., for work related to this contract scope as specified and indicated on the
      4
             Plans and Specifications and as required by code and the authorities having jurisdiction including State, Local, and/or
             Federal requirements whichever is more stringent. Sawcutting by others.
             Roof penetrations shall not interfere with the operation or servicing of equipment (i.e. not located in front of access
             doors). The locations, configurations, sizes and height of roof penetrations shall be fully compatible with the type of roof
             system and manufacturer's warranty and at minimum 12" above the highest point of the finished roof surface. Each
      5      penetration shall be a minimum of 18" from raised platforms, curbs and adjacent penetrations. Coordination with
             Roofing and Mechanical subcontractors is included with regards to installation of roof penetrations and jacks/flashings.
             Furnish and install all sleepers (or other proper means of support) under conduits and similar horizontally run items on
             the roofs, regardless of if shown on contract documents.

             Subcontractor shall supply all access panels with shop drawings in general construction required for access for this
      6
             work. Installation of these access panels will be by others.
             Subcontractor shall provide all handholes, precast pull/splice boxes, frames, covers, plates, grating, manhole
             covers/frames, grounding devices or other necessary access vaults and accessories for valves, elbows, etc. as required.
      7
             Include final adjustment of these boxes to grade.

             All piping/ducting/conduits etc. should be kept as high and tight as possible in all interior spaces, and jog down or over
      8      only around obstructions, before returning to the maximum height possible in all cases.

             Subcontractor shall protect the roofing membrane and/or waterproof deck coating systems with temporary plywood
             protection during the installation of the subcontractor's work in such areas. Clean up of clippings, screws and metal
      9
             shavings shall be daily at these areas to prevent tracking and staining, furnish and install sleepers under conduits and
             similar items that run horizontally on the roof membrane.
             Subcontractor shall be responsible for all trench compaction and backfill for any SOG/underground operations.
             Subcontractor will return grade to it original state upon completion and documented with Whiting-Turner Supervision.
      10
             Subcontractor agrees to coordinate and phase said installs to achieve contractual milestone dates, and maintain
             aggressive schedule.
             Subcontractor to perform all excavation, shoring and bracing, spoil removal, backfill, compaction and patching required
             for this scope of work and per the Contract Documents. All Spoils generated by the Electrical, Security & Fire Alarm scope
      11
             of work to be removed from the jobsite immediately. Subcontractor includes all recompact ion as required per the
             Contract Documents.

             Subcontractor shall excavate and backfill all trenches as required to install the scope of work listed herein (+/- .10').
      12     Furthermore, subcontractor also includes benching, sloping, stepping, etc. to complete the scope of work listed herein
             per the contract documents. includes all spoil removal from site and backfill to +- .10. includes 90% compaction.

             Subcontractor is to provide all labor, materials, and documentation required by the authorities haying jurisdiction to
      13
             obtain the final "Certificate of Occupancy"(CO).
             Subcontractor includes patching or replacement of all fireproofing (if applicable), drywall, finishes and ceilings if damaged
      14
             or removed during the installation of this scope of work.
             Subcontractor understands that if any piece of equipment or materials are not delivered to or installed at the project site
             in a timely manner as required by the schedule, the subcontractor shall be solely responsible for disassembly, re-
      15     assembly, manufacturer's supervision, general construction modifications, delays, overtime costs, etc. No additional
             costs or delays shall be incurred by Whiting-Turner or the Owner.
                                                                                                                                         r-


                                                                    Page 34 of 174




                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 52
  Case 3:25-cv-00020-LL-SBC                            Document 1-2 Filed 01/06/25                                PageID.61              Page 54
                                                              of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


                                                Fashion Valley Mall Redevelopment
                                                                                                                             Specific Scope of Work
                                                                                                                      26A - Electrical and Fire Alarm


             Subcontractor includes all operating instructions and operator training per the Contract Documents. This includes, but is
             not limited to, providing the services of a factory trained specialist to supervise the commissioning, startup and initial
      16     operation of the respective equipment included herein. Subcontractor shall, in addition to startup services, provide
             factory trained specialists to instruct Owner's operators during a five (5) day operating instruction period.

             Subcontractor shall provide shop drawings for all embed and sleeve locations prior to placement. Subcontractor shall
      17     verify all embed and sleeves are appropriately placed prior to each pour. Subcontractor shall verify embed and sleeve
             placement after each Dour.
             Subcontractor responsible to coordinate and for all items noted to be by the this trade on all drawings, including
             architectural, structural, plumbing, mechanical, fire sprinkler, landscaping, vertical transportation and fixture drawings.
             Subcontractor shall fully coordinate with the Structural, MEPF and Vertical Transportation with regards to line and low
      18     voltage needs for related equipment, fixtures, dampers, etc., whether denoted on the this trade's plans or not. In the
             event that discrepancies arise between these, this subcontractor shall be responsible for the more stringent condition
             within their base scope. Work installed incorrectly will be repaired at no additional cost to Whiting-Turner and / or the

             This subcontractor shall specify and provide an emergency contact for outside of working hours (including weekends)
      19     should any systems fail and need remediation, and take all steps necessary to promptly bring service back online.

             Subcontractor includes all costs associated with coring through existing slab on metal deck in order to provide new
      20     penetrations for this subcontractor's routing, and shall coordinate with structural concrete, demolition and reinforcing
             steel subcontractors.
             Where new work occurs in public areas, all work by this subcontractor shall be concealed to the maximum extent possible
      21
             for permanent aesthetics. No exposed conduits will be allowed.
      22     -
      23     Foundation, Excavation & Backfill
             Subcontractor shall excavate and backfill all trenches as required to install the scope of work listed herein (+/- .10').
      24     Furthermore, subcontractor also includes benching, sloping, stepping, etc. to complete the scope of work listed herein
             oer the contract documents
             Subcontractor will ensure all excavations are received within 1/10' of expected elevation and that it is left within in the
             same tolerance, and removal of all excess spoils immediately from site. Should the conditions not be reviewed with a
      25     Whiting-Turner superintendent 48 hours prior to work taking place, this subcontractor will take responsibility for the
             elevation of the pads and any remediation to bring them back to +/- 1/10' when left for others

             Subcontractor includes haul off of spoils generated by said excavations included herein not used by subcontractor for
      26
             backfills.
      27     Subcontractor shall adequately brace trenches against adjacent loading while working
            Subcontractor to exercise great caution when backfilling and shall notify Whiting-Turner Supervision immediately in the
      28
            event of damaged water proofing or drain board.
            Subcontractor is to rip, flip, flop, and/or process stockpiles as required applying water for moisture control prior to
      29    compaction. Furthermore, subcontractor agrees to furnish, install, secure, and remove plastic coverings on grade and
            ,
            stoc.klailes to prevent rainwater from over saturatine fill material/areas or erosion.
      30    Electrical/Light Fixtures
             The scope of work for this project includes the remodel of existing public areas of the existing mall. The remodel will
             include replacement of existing lighting fixtures in place. Some new lighting fixtures, relocation of existing floor boxes and
      31
             receptacles for kiosks and carts, as well as power and data for some new signage. All this work be fed from existing
             nanpic
             Subcontractor shall replace all burnt out lights of new fixtures within this scope of work prior to final turnover.
      32

      33     Subcontractor shall furnish and install all bracing as required for their scope of work listed herein.
             Subcontractor shall furnish and install all miscellaneous support required for work including lighting fixture supports.
      34

      35     Subcontractor is to provide and install all conduits, pull boxes, vaults and wiring shown on the drawings.
      36     Subcontractor includes safe off and removal of all fixtures called to be demolished.
             Subcontractor shall protect adjacent surfaces while installing retrofit fixtures to ensure no plaster patch or paint is
      37
             required.
                                                                                                                                               CLF
                                                                     Page 35 of 174




                                                    NOTICE OF REMOVAL EXHIBIT 1 p. 53
  Case 3:25-cv-00020-LL-SBC                           Document 1-2 Filed 01/06/25                                 PageID.62              Page 55
                                                             of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3


                                                Fashion Valley Mall Redevelopment
                                                                                                                            Specific Scope of Work
                                                                                                                    26A - Electrical and Fire Alarm


             Subcontractor shall provide and install \power to the new DOAS unit to be installed as part of the Vans restroom scope.
      38

             Subcontractor shall provide and install all power and lights required for escalator construction, including but not limited
      39     to new lights at Bloomingdales, Nordstroms, Mesa Park, and Macy's canopies, new power to the flipped Mesa Park
             escalator.
             Subcontractor includes relocation of power for all (6) new escalators and includes coordination with escalator company
      40
             to ensure requirements are met.
      41     All emergency lighting fixtures shall have a battery backup and be verified prior to turnover.
             Subcontractor shall coordinate with framers and provide layout for all backing required for electrical fixtures.
      42

      43     Subcontractor includes wire pulling for any relocated fixtures.
      44     All exterior fixtures shall be wet rated, whether shown on plans or not.
             All spare or empty conduits and conduit systems are to have pull ropes installed and secured, with identification labels at
      45
             each end. Pull ropes are to be 1/2" nylon per the Contract Documents.
             Subcontractor shall furnish and install all labeling/identification of equipment, panels, conduit, circuits and components
      46
             as required per the Contract Documents.
      47     Subcontractor shall provide all grounding and bonding for electrical systems as required.
      48     Subcontractor shall furnish and install all required circuit breakers.
             Subcontractor responsible for furnishing and installation of emergency lighting and power backup devices as shown on
      49
             project documents.
             Subcontractor shall furnish and install all acoustical, and fire putty wraps around boxes depending on wall type, Fire
      50
             Caulking, Grout Pack, and Acoustical Caulking for all penetrations required for this scope of work.
      51     Subcontractor to furnish and install all conduit and j-boxes for signage, inclusive of labels and pull strings.
             Subcontractor to furnish and install all electrical to kiosk and directory locations per the Contract Documents, including
      52
             data requirements. Coordination with owner/vendors will be required.
             Subcontractor to furnish and install all electrical components, including lights, power outlets, etc., to shade
      53     structures/canopies as shown on all contract documents including landscaping and architectural details. Subcontractor
             includes routine throueh tube steel to be concealed.
             Subcontractor shall furnish and coordinate installation of seatwall bench receptacles with concrete subcontractor.
      54

             Subcontractor shall furnish, install, and coordinate all landscaping electrical requirements with the Landscape
      55
             Subcontractor.
             Subcontractor includes all service connections to utilities as applicable to this scope of work and per the Contract
      56
             Documents.
             Subcontractor is to furnish and install all lighting fixtures, including but not limited to Architectural Lighting Fixtures
      57     specified by the Lighting Consultant for the project and all other lighting contained within the Contract Documents. If
             there are differences between plans, the more stringent is to apply.
             Subcontractor shall furnish and install a complete Lighting Control System for the entire scope of work as indicated in the
      58     Contract Documents. Subcontractor includes an interface between said areas, per the contract drawings.

             All fixtures, equipment and work including installation shall fully comply with current ADA codes. Subcontractor must
      59     request specific written direction before proceeding with any work that is found to be non-compliant.

             Subcontractor to deliver all items in appropriately sized sections to allow proper access and handling given the site
      60     constraints. This includes necessary rigging and handling through the physical space and opening limitations driven by
             selective demolition in an existing, live mall.
      61     -
             Subcontractor shall furnish and install all site lighting lights and poles, including furnishing light pole anchorage bolts and
      62
             bolt templates(by pour schedule)to the concrete subcontractor.
      63     Fire Alarm
             Subcontractor shall provide a complete turn-key design/build fire alarm system as required by governing codes and
             regulations. This shall include but is not limited to all panels, battery back up, devices, fixtures, conduit, cable, phone
      64     lines, horns, strobes, enunciators, switches, accessories, control panels, hangers, etc. Subcontractor understands this is a
             design build system and will include any changes required by city and or governing authorities.



                                                                     Page 36 of 174




                                                    NOTICE OF REMOVAL EXHIBIT 1 p. 54
  Case 3:25-cv-00020-LL-SBC                           Document 1-2 Filed 01/06/25                                PageID.63            Page 56
                                                             of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3


                                                Fashion Valley Mall Redevelopment
                                                                                                                           Specific Scope of Work
                                                                                                                   26A - Electrical and Fire Alarm


             Subcontractor understands that the Vans restroom has no existing fire alarm and must be installed as a brand new
      65
             system.
             Subcontractor to furnish and install all smoke detectors, and supply only detectors at smoke fire dampers (for installation
      66     by Mechanical Subcontractor). Mechanical Subcontractor will be providing non addressable smoke/fire dampers if
             applicable.
             Subcontractor includes applicable coordination with other subcontractors to ensure a complete functioning fire alarm
      67     system is provided.

             Subcontractor to relocate fire alarm devices as required for this project, including all necessary permits to do so.
      68

             Subcontractor shall employ a qualified professional engineer to provide engineering for products and systems including
             attachment to building structure required to meet design intent of Contract Documents, including engineering
             calculations, shop drawings and other submittals signed and sealed by the qualified professional engineer. Deferred
      69     Submittal for fire alarm is included as well as tracking of such submittal on a routine basis for Whiting-Turner
             procurement log. This includes any minor application fees, travel expense, and/or subcontractor's time as needed.
             Deferred submittals will be ready for Architect review (15) days after contract award.

             Subcontractor shall utilize the mall preferred vendor (Simplex Grinnell) for the Fire Alarm scope of work and tying into the
      70
             existing system.
      71     Temporary Power/Lighting
             This subcontractor shall include sufficient labor and material to install and maintain the minimum temporary systems
      72
             outlined herein and as requested by WT.
      73     Subcontractor to provide temporary lights which consists of(8) light carts.
             Subcontractor shall furnish materials and labor to install and maintain temporary power connections, and spider boxes
      74     as needed, but at least every 100 linear feet throughout the project for use by other trades.

             Subcontractor shall furnish materials and labor to provide and maintain temporary power connection off existing mall
      75
             services (located in mall corridors), and lighting at WT auxiliary laydown areas.
             Subcontractor shall furnish and install all temporary construction lighting while existing lighting is demolished, existing
      76
             lights are replaced, and as needed for task lighting for all scopes of work.
             Subcontractor shall include cost for the temporary lighting system lamp and ballast replacement until substantial
      77
             completion and removal of the temporary lighting system.
             Where existing exit lighting and signage is scheduled to demolish, this subcontractor shall provide temporary compliant
      78     exit lighting and signage until permanent fixtures can be installed. If power is not available, then "nuclear" exit signage
             and battery powered lighting with solar sensors are to be used. Subcontractor is responsible to maintain all egress
             liahtina within thp mall
             All temporary power and lighting is to be strung high and tight to overhead rather than laid on the ground where
             possible, set on movable skids to keep out of low lying areas where water can pool, and protected by ADA compliant
      79
             ramps/cord covers where necessary. All maintenance throughout the project of these shall be included.

      80     Coordination:
             Subcontractor Includes all costs associated with participating in coordination meetings, completing documentation, and
      81
             performing the project commissioning per the Contract Documents.
             Subcontractor to coordinate with all other trades including preliminary exploration in order to safe off, drop, reroute, or
      82     remove all existing systems in order for demolition, structural retrofit, and other new work above ceiling and below
             eround work. Lock-out. Tae-out fLOTO) procedures shall be implemented as needed.
             Subcontractor to identify and make safe all existing electrical services as required to facilitate the demolition and/or
      83     retrofit work within the structures and site areas of the Project. Subcontractor will clearly mark all services that require
             demolition and those scheduled to remain_
             Whether or not specifically shown, this subcontractor includes safe off of all A/V equipment that is existing in areas to be
      84     demolished. This includes coordination with Owner's mall management, their subcontractor and Whiting-Turner in order
             to ensure safe off is completed correctly and without damage to the overall system.




                                                                                                                                            E
                                                                    Page 37 of 174




                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 55
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                              PageID.64             Page 57
                                                           of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


                                              Fashion Valley Mall Redevelopment
                                                                                                                       Specific Scope of Work
                                                                                                               26A - Electrical and Fire Alarm


             Subcontractor is to furnish and install light fixtures and all components needed including providing a sample.
             Subcontractor to also provide sealant for where penetrations are made in the Drywall, EIFS, Plaster, and Metal Panel
      85
             systems. Subcontractor to work with Drywall, EIFS, Plaster, and Metal Panel Subcontractors to ensure proper seal and
             correct caulking is being used.
             Subcontractor shall coordinate with Whiting-Turner supervisions and others for the installation of sleeves, boxes,
      86
             conduit, emt, bangers, light fixtures etc. during/prior to reinforcing installation.
             Subcontractor shall coordinate with escalator manufacturer and install electrical components meeting all jurisdictional
             requirements and contract documents to ensure a complete and operational escalator installation. Subcontractor shall
      87     coordinate directly with escalator subcontractor for final locations of all receptacles, conduit routing, light fixtures,
             switches, and disconnects. Furthermore subcontractor will take acknowledgment of the escalator shop drawings and
             review of for plan and/or specification discrepancies prior to any rough in of installation begins.

             Subcontractor shall coordinate with landscaping subcontractor for all lighting to be installed in landscaped areas for
      88
             conduit and final install sequence, as well as the irrigation controller.
             Subcontractor shall coordinate with fire sprinkler and mechanical subcontractors for all necessary aspects of the fire
      89
             alarm tie-in.
             Subcontractor shall coordinate with plumbing and accessories subcontractors for all necessary aspects of the restroom
      90
             sinks, dryers, toilets, etc..
             Subcontractor shall coordinate with mechanical subcontractor for all necessary aspects of the mechanical system.
      91

             Subcontractor includes one wipe down inside all panels and broom sweep of all electrical rooms prior to turn over.
      92

      93     -
      94     Testing:
             Subcontractor acknowledges all excavation, filling, and compaction shall be performed under the direct observation of
             the geotechnical engineer. Any materials placed or improvements constructed in the absence of the geotechnical
      95     engineer's approval shall be presumed defective. This subcontractor is responsible to provide Whiting-Turner
             Supervision a 48-hour written notice if observation and/or testing are needed to perform the scope of work listed herein.




                                                                  Page 38 of 174




                                                  NOTICE OF REMOVAL EXHIBIT 1 p. 56
  Case 3:25-cv-00020-LL-SBC                           Document 1-2 Filed 01/06/25                                 PageID.65              Page 58
                                                             of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-674C6FE708A3


                                                Fashion Valley Mall Redevelopment
                                                                                                                            Specific Scope of Work
                                                                                                                    26A - Electrical and Fire Alarm


             Subcontractor shall coordinate and comply with all testing and inspection agencies, including all testing required by the
             geotechnical engineer. Any materials placed or improvements constructed in the absence of the geotechnical engineer's
      96     approval shall be presumed defective. This subcontractor is responsible to provide Whiting-Turner Supervision a 48-hour
             written notice if observation and/or testing are needed to perform the scope of work listed herein.

      97     Safety:
             Subcontractor shall fill or provide temporary walking surfaces at all open excavations by the end of each working shift.
      98

             Subcontractor is to ensure that all areas are returned to a protected status, prior to crews leaving each shift, in order to
      99     m aintain public safety. This may include but is not limited to: backfill, trench plates, temporary walking surfaces, etc.

             Subcontractor shall furnish, install, maintain, document, and remove perimeter Whiting-Turner specified orange debris
     100
             netting at all trenches.
             All excavations performed by subcontractor shall conform to State of California construction safety orders.
              Subcontractor to obtain a permit from the State of California division of industrial safety when a person is required to
     101     descend more than 5'. This permit and all other required CALOSHA/OSHA permits, for this project, shall be obtained by
             Subcontractor and a copy is to be provided to Whiting-Turner prior to start of construction.

     102     Submittals/RFIs/Warranties/Closeout:
             Subcontractor includes all labor, materials, testing, and documentation required for early occupancy and as necessary to
             obtain the required "Temporary Certificates of Occupancy" (TCO). There may be various areas within this project which
             require early occupancy and activation of the Electrical systems prior to Substantial Completion of the entire project.
             Subcontractor has included performance and acceptance testing of the equipment and systems as required by the
      103    Contract Documents and by the authorities having jurisdiction. Subcontractor includes all costs associated with
             participating in the performance testing of the fire alarm system and associated fire safety ventilation equipment as
             required. This testing may require "off-hour" and weekend testing if required by Project conditions, Project schedule, the
             E ngineer, and/or by the authorities having jurisdiction. Provide all labor, materials, and documentation necessary to
             obtain the required "Temporary Certificates of Occupancy"(TC0).
             Subcontractor shall demonstrate to the Engineer, Owner and Whiting-Turner, prior to final acceptance by the Owner,
      104    that all systems and/or equipment have been adjusted properly per the Contract Documents. This includes off hours
             verification of foot candlPs achieved.
             Subcontractor includes all testing, test equipment, cooperation, coordination, participation, documentation, roles and
             responsibilities, etc. as established in the Commissioning Requirements per the Contract Documents. Electrical
      105    Commissioning Is primarily the responsibility of this Subcontractor, but is led under the guidance and approval of the
             Commissioning Agent. The commissioning process does not diminish the role and obligations of this subcontractor to
             complete all portions of work in a satisfactory and fully operational manner.

      106    Title 24 requirements, as relates to this scope of work, are acknowledged and included.
             Subcontractor shall coordinate for early fixture install at bridge for mockup of "bridge section with rail, lighting, and caps"
      107

      108    Subcontractor shall provide all spare parts and attic stock as indicated in the Contract Documents.
             Subcontractor shall provide an early light fixture mockup of the decorative trellis shade structure (V-shaped louvers).
      109

             Subcontractor shall provide submittals within fifteen 15) days of contract award. Subcontractor shall confirm fixtures and
      110    equipment have been ordered within five (5) days of submittal approval. Subcontractor shall provide weekly updates of
             procurement items along with vendor contact information.
             Subcontractor shall verify existing panels are sufficient within ten (10) days of contract award. Subcontractor shall submitl
      111
             a formal RFI if issues arise.                                                                                               ,
      112    Subcontractor shall follow all electrical notes per the Contract Documents.
                                                                                                                                         ,
             Subcontractor shall furnish and install all electrical components at the Friars Road Improvement areas per the Contract
      113
             Documents.                                                                                                                  1
      114    Subcontractor includes all work as Night Shift 4x10's Monday - Thursday nights 10:00 PM - 8:00 AM.
             All subs shall participate in pull plan nightly updates with superintendent and (1) lhour weekly team meetings. Nightly
      115
             updates will be mandatory for all foreman onsite for 30min starting at 11PM each night.



                                                                     Page 39 of 174




                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 57
  Case 3:25-cv-00020-LL-SBC                             Document 1-2 Filed 01/06/25                                    PageID.66                Page 59
                                                               of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3



                                                                        EXHIBIT C




                 Dear Subcontractor and/or Seller:

                 As a government contractor, The Whiting-Turner Contracting Company must comply with the provisions of Executive
                 Order 11246, the Rehabilitation Act, or the Vietnam Era Veterans' Readjustment Assistance Act, and other existing
                 laws related to Equal Employment Opportunity (EEO). Part of our commitment to EEO is to employ and advance in
                 employment and shall not discriminate against individuals on the basis of their race, color, religion, sex, national origin,
                 sexual orientation, gender identity, status as a qualified individual with a disability or protected veteran (meaning
                 disabled veterans, recently separated veterans, active-duty wartime or campaign badge veterans, and Armed Forces
                 service medal veterans.)

                 You can support and share in our commitment when you assist us with project staffing needs. We encourage you to
                 help identify qualified applicants for employment consideration. Whenever possible, please utilize qualified minorities,
                 women, qualified individuals with disabilities, and protected veterans.

                 Although, we specifically have requested that you company utilize minorities, women, qualified individuals with a
                 disability and protected veterans, Whiting-Turner welcomes all qualified personnel regardless of any legally protected
                 status.

                 You are requested to take appropriate action to assist us in complying with our policy and to comply with your own
                 affirmative action obligations.


                 Sincerely,
                 THE WHITING-TURNER CONTRACTING COMPANY

                 David Nefia.ifia. eAlwagef 71444e. aad Alava qua*?

                 David McGinnis
                 Courtney Moore
                 Albert Huang
                 Equal Employment Opportunity Officer(s)




                                                                            SCI5

                 Rev. 1/2/15
                                                                                                               Document Generated from CMiC
                                                                        Page 40 of 174




                                                     NOTICE OF REMOVAL EXHIBIT 1 p. 58
  Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                  PageID.67               Page 60
                                                         of 213


DocuSign Envelope ID: 1738A269-C865-466F,-A93C-574C6FE7D8A3




                                                              EXHIBIT D
                                 CONTRACTOR / SUBCONTRACTOR EH&S MANUAL
          All contractors and subcontractors on Whiting-Turner's projects bid and awarded after January 1,
          2019 or earlier if provided in the Subcontract by Whiting- Turner, are expected to be in full
          compliance with all applicable requirements of the Whiting-Turner Contracting Company's
          Contractor/Subcontractor EH&S Manual ("Manual"). This Manual incorporates current Whiting-
          Turner requirements along with new practices that have become available and generally accepted in
          the industry. To obtain a copy of the Manual please contact the Whiting-Turner Project Manager on
          your project.

          The information contained in this Manual is not intended to serve as a substitute for the exercise of
          good engineering judgment by the engineers nor as a substitute for determinations made by
          contractors/subcontractors of appropriate manner and methods of operations and safety aspects of
          work under their control. This Manual is also not intended to be all inclusive or replace a contractor's
          or subcontractor's corporate or site-specific safety program and is not intended to, nor shall it,
          supersede any more stringent federal, state, local and other applicable laws, codes, rules, regulations,
          and/or practices. All contractor's and subcontractor's site-specific safety programs must meet or
          exceed the requirements of the Whiting-Turner EH&S program, the contract documents and all
          federal, state, local and other applicable laws, codes, rules, regulations, and/or practices. In the event
          of any conflicts between the material contained therein and any more stringent laws, codes, rules,
          regulations, and/or practices, the more stringent laws, codes, rules, regulations, and/or practices shall
          govern.

          This Manual and all information contained therein is confidential and intended for the sole use of
          contractors and subcontractors on Whiting-Turner projects. Contractors/subcontractors are
          prohibited from distributing this information to any third parties. The Whiting-Turner Contracting
          Company expressly disclaims warranties for the information contained in this Manual and makes no
          representations to third parties regarding the reliability, suitability, correctness, or completeness of
          such information. Whiting-Turner assumes no responsibility or liability and shall not be responsible
          and/or liable for damages or losses of any kind, including but not limited to direct, indirect,
          incidental, exemplary, special or consequential damages or losses, arising from, attributable to
          and/or resulting from the use of such information by third parties however caused and on any theory
          of liability, whether in contract, strict liability or tort.

          For contractor/subcontractor convenience only, a synopsis of the Manual requirements is attached
          hereto. This synopsis is not intended to, nor shall it alleviate contractors'/subcontractors' obligations
          to comply with the requirements of the Manual as applicable to their work.

                                                                                                         (Revised 1/2/19)




                                                                   SC16

                 Rev. 1/2/15
                                                                                        Document Generated from CMiC
                                                               Page 41 of 174




                                                NOTICE OF REMOVAL EXHIBIT 1 p. 59
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                           PageID.68               Page 61
                                                           of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                     The Whiting-Turner Contracting Company
                                  Contractor/Subcontractor EH&S Manual Synopsis

                DISCLAIMER: For Contractor/Subcontractor's convenience only, the following is a Synopsis of some of
          the more significant provisions of The Whiting-Turner Contracting Company's Contractor/Subcontractor EH&S
          Manual ("Manual") requirements. This Synopsis is not intended to, nor shall it alleviate
          Contractor/Subcontractor's obligations to comply with all of the requirements of the Manual as applicable to
          Contractor/Subcontractor's scope of work, whether or not they are included in the Synopsis.

                 The information in the Manual and this Synopsis are not intended to serve as a substitute for the exercise
          of good engineering judgment by the engineers nor as a substitute for determinations made by
          Contractor/Subcontractor of appropriate manner and methods of operations and safety aspects of work under
          their control. The Manual and this Synopsis are also not intended to be all inclusive or replace a contractor's or
          subcontractor's corporate or site-specific safety program and is not intended to, nor shall they, supersede any
          more stringent federal, state, local and other applicable laws, codes, rules, regulations, and/or practices. All
          contractor's and subcontractor's site-specific safety programs must meet or exceed the requirements of the
          Whiting-Turner EH&S program, the contract documents and all federal, state, local and other applicable laws,
          codes, rules, regulations, and/or practices. In the event of any conflicts between the material contained therein and
          any more stringent laws, codes, rules, regulations, and/or practices, the more stringent laws, codes, rules,
          regulations, and/or practices shall govern.

                 The Contractor/ Subcontractor EH&S Manual, this Synopsis, and all information contained therein is
          confidential and intended for the sole use of contractors and subcontractors on Whiting-Turner projects.
          Contractors/subcontractors are prohibited from distributing this information to any third parties. The Whiting-
          Turner Contracting Company expressly disclaims warranties for the information contained in the Manual and
          this Synopsis and makes no representations to third parties regarding the reliability, suitability, correctness, or
          completeness of such information. Whiting-Turner assumes no responsibility or liability and shall not be
          responsible and/or liable for damages or losses of any kind, including but not limited to direct, indirect, incidental,
          exemplary, special or consequential damages or losses, arising from, attributable to and/or resulting from the use
          of such information by third parties however caused and on any theory of liability, whether in contract, strict
          liability or tort.

                 Pre-Construction Submittals
                     1.      Contractor/subcontractor must identify and submit the qualifications of a safety
                             representative/competent person to Whiting-Turner as the primary, on-site contact for safety
                             related issues.
                                 • The safety representative may be a supervisor and they shall have as a minimum, the
                                       OSHA 30-hour Outreach Training Program for Construction.
                                 • The subcontractor will provide a first aid/CPR/AED trained competent person when
                                       one or more of the subcontractor's employees are working

                      2.       Contractor/subcontractor must submit a completed prequalification form and respond in writing
                               to Whiting-Turner's requests for additional information/explanation.

                      3.       A site-specific safety plan (SSSP) shall be developed for the project by each
                               contractor/subcontractor. The plan should address hazards and mitigation strategies related to
                               the scope of work for the project. Activity Hazard Analysis(AHA)for major phases of work,
                               submitted with the company safety program may be accepted in lieu ofSSSP — at the discretion
                               of the Whiting-Turner project team.

                      4.       Site-specific Safety Data Sheets (SDS) are required to be submitted prior to bringing any
                               chemical product on site. A current chemical inventory is to be maintained with Whiting-
                               Turner.

                      5.       An Activity Hazard Analysis(AHA)shall be submitted ten days prior to the start of work.


                                                                     SC17

                 Rev. 1/2/15
                                                                                                   Document Generated from CMiC
                                                                 Page 42 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 60
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                             PageID.69               Page 62
                                                           of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                     6.        A competent person's acknowledgement form must be completed, and their qualifications
                               submitted for activities where OSHA requires a competent person.

                 Safety Management
                     1.     All on site personnel,(contractor/subcontractors, tiered contractors/subcontractors, and their
                            employees) are required to participate in a mandatory safety orientation session prior to
                            commencing with any work on site. Contractor/subcontractor shall provide a translator for
                            any non-English speaking employees during orientation and any job wide meetings/stand-
                            downs. Employees may be asked to attend orientation again for repeat violations or
                            deficiencies.

                     2.        Each contractor/subcontractor is required to designate a site safety representative (SSR). SSR
                               shall be on site at all times and shall have the knowledge and authority of the competent
                               person. SSR shall be able to conduct site walks with Whiting-Turner personnel to ensure the
                               safety of contractor's/subcontractor's workers on the project. Manpower totals below include
                               all tiered contractor/subcontractor employees. Proof of training must be submitted prior to
                               mobilization or at orientation. The qualifications for the SSR are as follows:
                                    • Minimum requirement proof of OSHA 30 hour submitted
                                    • Contractors/subcontractors with (30) or more workers on site will be evaluated by
                                         the Whiting-Turner's management team along with Whiting-Turner's EH&S
                                         Manager regarding the contractor's/subcontractor's site-specific safety performance.
                                         If the contractor's/subcontractor's past or current site safety performance indicates
                                         improved safe work practices and conditions are needed to help ensure the safety of
                                         the contractor/subcontractor crews and others, Whiting-Turner at its discretion, may
                                         require the contractor/subcontractor to provide a fulltime Site Safety Representative
                                         to be present onsite with no other collateral duties.

                      3.       The contractor's/subcontractor's supervisor(s) and safety representative must make frequent
                               and regular inspections of their work areas and activities.
                                   • Hazards identified that are under their control must be corrected immediately and all
                                        other identified hazards must be reported to the Whiting-Turner superintendent.
                                   • One documented inspection shall be conducted each week.

                     4.        The contractor's/subcontractor's on-site supervisor and the contractor's/subcontractor's
                               designated on-site safety representative must schedule and attend a pre-construction safety
                               meeting with the Whiting-Turner Superintendent to discuss the contractor/subcontractor safety
                               requirements.
                                   • The pre-construction safety meeting should take place at least five (5) working days
                                        before startup to allow for review of required documentation.

                      5.       The subcontractor shall provide a translator whenever there are non-English speaking
                               tradespersons on site.

                     6.        Contractor/subcontractors, who in turn contract out parts of their work, have sole responsibility
                               to see that their lower tier contractors comply with project safety requirements. Additionally,
                               Whiting-Turner's Project Manager and/or Whiting-Turner's Superintendent shall be notified
                               that the lower tier contractors are arriving at least five (5) days before work starts. The
                               Contractor/subcontractors will be held directly accountable for all lower tier contractors.
                               Contractors/subcontractors must provide a competent person onsite fulltime to oversee and
                               direct lower tier contractors' while actively performing work.

                      7.       The subcontractor's superintendent(s) and/or designated safety representative must attend the
                               weekly coordination meeting where safety issues will be addressed.

                      8.       Emergencies shall be handled through the Whiting-Turner Field Office according to the posted
                               Emergency Action Plan.


                                                                      SC18

                 Rev. 1/2/15
                                                                                                     Document Generated from CMiC
                                                                  Page 43 of 174




                                                  NOTICE OF REMOVAL EXHIBIT 1 p. 61
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                              PageID.70              Page 63
                                                           of 213


DocuSign Envelope ID: 1738A2697C865-466F-A93C-574C6FE7D8A3




                     9.        All work-related injuries, regardless of severity, must be reported to Whiting-Turner
                               immediately. An accident/incident investigation report must be completed by the appropriate
                               subcontractor supervisor and submitted to Whiting-Turner within 24 hours of the incident.
                               Further, all work-related injuries will be recorded on an injury log. A completed injury log will
                               be submitted to Whiting-Turner by the 5th of the month for the previous month.

                      10.      Incidents involving the public, regardless of severity, must be reported to Whiting-Turner
                               immediately. An accident/incident investigation report must be completed by the appropriate
                               subcontractor supervisor and submitted to Whiting-Turner within 24 hours of the incident.

                      11.      Only communication radios are permitted on Whiting-Turner projects.

                 General Safe Work Practices and Guidelines

                 The following are prohibited on Whiting-Turner Projects
                     1.      The use of the following administrative controls as a means of fall protection
                             • Controlled Access Zone as a means of fall protection
                             • Controlled Decking Zone as a means of fall protection
                             • Safety Monitor System as a means of fall protection
                     2.      The use of load handling equipment to hoist personnel—please see the Manual for exceptions
                             and provisions
                     3.      Working from the midrail or top rail of any lift
                    4.       The use of cell phones for signaling of cranes and equipment
                     5.      The use of open hooks during lifting operations/picks.
                    6.       Fish tapes or lines made of metal or any other conductive material when potential for contact
                             with energized circuits exists
                     7.      The use of particle board, medium density fiber board (MDF)or similar material as floor hole
                             covers
                     8.      The use of open turnbuckles as part of the perimeter cable system
                     9.      Other construction processes below steel erection are prohibited unless overhead protection for
                             the employees below is provided
                     10.     Harassment of any kind, to any person
                     1 1.    Smoking or use of vaporized equipment(except in designated areas)
                     1 2.    Radios, media players, headphones, or other listening devices
                     13.     Guns or weapons of any kind
                     14.     Use or possession of alcohol or drugs of any kind (except for prescription drugs)
                     15.     Riding on equipment that is not equipped with proper seating and seat belt
                     16.     Open fires, fire barrels, or hot boxes
                     17.     The use of metal ladders

                 Carbon Monoxide Exposure Prevention
                    1.     In enclosed or poorly ventilated spaces tools and equipment shall be powered by electricity,
                           batteries, or compressed air.
                    2.      All fuel driven equipment being used indoors or in partially enclosed spaces must have
                           scrubbers where carbon monoxide exposure exists.
                    3.      When using gasoline powered generators and compressors, place them outside away from air
                           intakes to ensure that the exhaust is not being drawn back indoors.


                 Concrete and Masonry
                     1.     Each contractor/subcontractor, with employees exposed to a fall 6' or greater to a lower level
                            must ensure that effective fall protection measures and rescue procedures are addressed in their
                            company Activity Hazard Analysis prior to beginning work on site. This is to include the name
                            and qualifications of the designated competent person.

                 Confined Space Entry

                                                                      SCI9
                 Rev. 1/2/15
                                                                                                     Document Generated from CMIC
                                                                  Page 44 of 174




                                                  NOTICE OF REMOVAL EXHIBIT 1 p. 62
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                             PageID.71              Page 64
                                                           of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                      1        It is Whiting-Turner's position that all confined spaces are permit required until proven
                               otherwise [in writing] by the contractor/subcontractor's competent person.
                      2.       All confined spaces, regardless of classification, shall have continuous multi-gas/4-gas air
                               monitoring while the space is occupied by tradespersons.

                 Cranes and Derricks
                    1.      Personnel hoisting requirements - The use of load handling equipment to hoist personnel is
                             prohibited unless the employer can demonstrate that other methods would be more hazardous
                             and is able to comply with the personnel hoisting requirements that are established in the
                            standard.
                    2.       Hoisting personnel on Whiting-Turner projects shall be considered a critical lift or activity, and
                             therefore shall meet all requirements of a critical lift before the lift may begin.
                    3.       A crane checklist must be completed prior to each initial lift.
                    4.      Post Assembly — a post assembly inspection is required for all Crawlers and Tower Cranes by
                             a person properly trained and qualified to inspect such equipment.
                    5.       Boom-tip anemometer or equivalent device is required.
                    6.       All loads to be lifted at Whiting-Turner project sites shall have a tag line attached.
                            • The competent person shall determine the size, rope materials, and length of the tag line.
                            • The line shall be attached in a way that maintains control of the load to reduce the risk of
                                  caught-in/-between and struck-by hazards to employees and surroundings during any lift.

                 Critical Lifts
                     1.        The Whiting-Turner Contracting Company identifies a critical or special lift as
                              • any lift where the total weight of the load and the deductions for the equipment combined
                                   exceeds 75% of the capacity of the crane capacity chart at the specific boom length and
                                   radius of the load,
                              • any lift where there will be more than one (1) crane or piece of load handling equipment
                                   attached to the load at a time;
                              • any lift that involves the lifting of personnel;
                              • any lift where the contents of the lift are considered hazardous to health or environment,
                                   and an accidental release could result harm to either;
                              • any lift where encroachments precautions are required for power lines.

                 Demolition
                     1.     Contractor/subcontractor shall verify that all local ordinances and permitting issues have been
                            addressed as they relate to demolition.
                    2.      Generic safety data sheets for demolished material must be provided by the creating contractor.
                    3.      Task lighting—which meets or exceeds the requirements of the standard—shall be provided by
                            the demolition contractor/subcontractor.

                 Electrical Hazards Prevention
                     1.       Whiting-Turner requires that all projects are 100% GFCI compliant. An Assured Equipment
                              Grounding Conductor Program may be used in addition to—but not in lieu of—the GFC1
                              program.
                     2.       The installing contractor, i.e. the electrical contractor/subcontractor, shall test each power
                              receptacle for proper installation including polarity, grounding, etc. and forward that
                              documentation to Whiting-Turner before the circuit is used.
                     3.       The electrical contractor/subcontractor will conduct and document monthly tests after the initial
                              installation.
                     4.       Only round, heavy-duty (type S, SJO, SJTW, ST, SO, STD)extension cords are acceptable for
                              use on a construction site; at least 12 gauge or larger.
                     5.       Damaged cords may only be repaired by a qualified electrician in accordance with
                              manufacturer's requirements for such repairs.
                     6.       Where feasible, all extension cords will be suspended (8') above the floor or working surface.
                     7.       Extension cords shall not be fastened with staples, hung from nails, or suspended with non-
                              insulated wire.


                                                                      SC20

                 Rev. 1/2/15
                                                                                                    Document Generated from CMiC
                                                                  Page 45 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 63
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                             PageID.72               Page 65
                                                           of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                     8.        All temporary lighting circuits must originate from GFC1 protected breakers.
                     9.        Temporary wiring must be rated for all conditions it may be subjected to and be installed as per
                               NEC, OSHA,NFPA and Authorities Having Jurisdiction requirements


                 Energy Control
                    1.      Lockout/tagout(LOTO) shall not be considered for use until all other avenues of attaining a
                            "zero-energy state" have been exhausted.
                    2.      All contractor/subcontractors working with electrical systems are required to have a written
                            Lockout/tagout procedure. A competent person shall be responsible to control all aspects of the
                            LOTO procedure. They will ensure coordination with the appropriate tradesmen.
                    3.      If a system can be locked out through design or by other means, this will be the preferred
                            method.
                    4.      The lockout device shall be substantial enough to prevent removal.
                    5.      The lock shall be a separately keyed lock for use only with the lockout system.
                    6.      The lockout device must be tagged with the name of the employee and their company. There
                            shall be one lock for each employee (including Whiting-Turner) exposed to the system.
                    7.      The use of 100% LOTO must be maintained until the completion of the task. Verification by
                            all competent persons in charge of the LOTO shall be completed prior to re-energizing the
                            system.
                    8.      In the event an employee is discovered tampering with or violating the LOTO procedure, the
                            employee will be removed from the project indefinitely.
                    9.      A log shall be maintained on site that identifies the following:
                            • Date of usage
                            • Number of locks and tags used
                            • Contractors involved
                            • Time of LOTO initiation
                            • Time of LOTO removal
                            • Designated competent persons
                            • Location of LOTO Devices
                     10.    Electrical or piping & instrumentation drawings or identifying specific locations of the LOTO
                            devices shall accompany the LOTO log.

                 Excavations
                     I.      Prior to the commencement of excavation activities where the excavation will be greater than
                             3 feet in depth, a pre-excavation checklist must be completed by the contractor/subcontractor's
                             competent person and submitted to Whiting-Turner upon request.
                    2.       Underground utility installations must be identified and marked prior to beginning any
                             excavation. To prevent unintentional contact, all necessary measures must be employed to
                             locate underground utilities prior to excavating. Acceptable methods include but are not limited
                             to the following: test pitting, ground penetrating radar(GPR), use of as-built drawings and any
                             other obtainable information.
                    3.       A competent person must be identified on Whiting-Turner's competent person designation form
                             and their qualifications submitted to Whiting-Turner prior to the start of work.
                    4.       All excavations shall be protected by snow fence, at a minimum.
                    5.       Persons walking or working adjacent to a trench with vertical/shear walls that is equal to or
                             greater than six (6) feet in depth must be protected from fall hazards unless it has been
                             determined by the competent person that it is infeasible or creates a greater hazard.
                    6.       Persons crossing an excavation that is equal to or greater than six (6) feet in depth must be
                             protected from fall hazards by means of a guardrail system.

                 Fall Protection and Prevention
                      1.      Prior to creating a hole or opening in any elevated work surfaces, contractors/subcontractors
                              must submit an elevated surface modification permit.
                     2.       Particle board, medium density fiber board (MDF)or similar material is prohibited from being
                              used as floor hole covers on Whiting-Turner projects All holes must remain properly covered,
                              secured, and labeled / signed.

                                                                      SC2 I

                 Rev. 1/2/15
                                                                                                     Document Generated from CMiC
                                                                  Page 46 of 174




                                                  NOTICE OF REMOVAL EXHIBIT 1 p. 64
  Case 3:25-cv-00020-LL-SBC                           Document 1-2 Filed 01/06/25                              PageID.73               Page 66
                                                             of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                      3.        Each contractor/subcontractor, with employees exposed to a fall 6' or greater to a lower level
                                must ensure that effective fall protection measures and rescue procedures are addressed in their
                                company Activity Hazard Analysis prior to beginning work on site. This is to include the name
                                and qualifications of the designated competent person.
                     4.         A Personal Fall Arrest System (PFAS)[comprised of a full body harness, double lanyards,
                                anchorage point and anchorage connector], a personal fall restraint system (PFRS)[comprised
                                of a full body harness, lanyard, anchorage point and anchorage connector], a guardrail, or
                                safety net system must be in place to protect all trade persons from exposure to falls working
                                at or above 6 feet.
                      5.        Employees working on ladders must be at least one and a half times the height of the ladder
                                away from any perimeter, shaft, stairway, and opening where the fall distance exceeds 6'. If
                                that distance isn't feasible, a conventional fall protection method must be employed.
                      6.        Stilts are only permitted in broom swept areas, where there is no change in elevation.
                      7.        Every hatchway and chute floor opening shall be guarded by a hinged floor-opening cover. The
                                opening shall be barricaded with railings to leave only one exposed side. The exposed side shall
                                be provided either with a swinging gate or so offset that a person cannot walk into the opening.
                      8.        An extension platform outside a wall opening onto which materials can be hoisted for handling
                                shall have a standard railing that meets handrail standards. However, one side of an extension
                                platform may have removable railings to facilitate handling materials: in this instance a personal
                               fall restraint or arrest system shall be utilized to protect the exposed worker.
                      9.        Perimeter cable shall not be less than 3/8" steel cable.
                      10.       Corner uprights must be braced so that the required tension may be maintained.
                      1 1.      The cable must be terminated with three U-bolt wire rope clips that maintain an efficiency rating
                                of at least 80% of the wire rope's breaking strength as proven through product documentation
                               (e.g. Crosby clips).
                      1 2.      Perimeter cable shall not be used as part of a personal fall arrest or fall restraint system unless
                                designed to be used in that manner by a registered engineer.
                      13.       The use of open turnbuckles as part of the perimeter cable system is prohibited.
                      14.       All guardrail systems [with the exception ofscaffold systems or where it can be proven to create
                                a greater hazard] must be equipped with orange perimeter screening or mesh to prevent the
                                ability to breach the system by climbing through rails. The installation of the screening must be
                                compliant with Whiting-Turner's orange perimeter screening guidelines.
                      15.       A fall restraint system must be employed when working from articulating boom lifts.
                      16.       A PFAS is not required when climbing up or down a ladder. Fall protection shall be considered
                                by the competent person if employees work from a ladder 6' or more above a lower level and
                                are exposed to a fall.
                      17.       Steel erectors and metal decking installers must utilize 100% fall protection devices at all times
                                when working over 6'.
                      18.       Horizontal lifelines must be designed by an engineer and installed under the supervision of a
                                qualified person. A safety factor of two must be maintained.
                      19.       Adequate fall protection devices must be provided, installed, and used at all loading platforms
                                by the contractor/subcontractor wishing to remove existing perimeter protection prior to its
                                removal.
                      20.       All anchorage points utilized in a personal fall arrest system must be capable of supporting a
                                load of no less than 5000 lbs.
                      21.       Retraining documentation—to include instructor's name and qualifications, training literature
                                and sign-in sheet—must be submitted to Whiting-Turner on company letterhead.

                 Fire Prevention and Protection
                      I.     A 20 lb. ABC dry chemical fire extinguisher or equivalent must be provided for each 3,000
                             square feet of protected building area. An extinguisher shall be placed at every stairwell on
                             each level.
                     2.      Residential-like wood framing construction shall have a 20 lb. ABC dry chemical fire
                             extinguisher or equivalent for each 1,500 square feet of protected building area.
                     3.      Storage of flammable/combustible liquids on or inside of buildings under construction shall be
                             no more than one-day supply.

                                                                        SC22

                 Rev. 1/2/15
                                                                                                        Document Generated from CMiC
                                                                    Page 47 of 174




                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 65
  Case 3:25-cv-00020-LL-SBC                          Document 1-2 Filed 01/06/25                             PageID.74               Page 67
                                                            of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                     4.        Provide a 20-pound ABC dry chemical type extinguisher between 25'-75' from areas where
                               flammable liquids are being handled.

                 Housekeeping
                            Clean-as-you-go practices are required.
                    2.      Sort and organize material, sweep daily, and standardize activities to aid in the elimination of
                            storage of excess/unused material in active work areas
                    3.      Work that may temporarily block emergency exits, safety showers, elevators, corridors, and
                            hallways will require prior Whiting-Turner approval.
                    4.      Materials stored in the vicinity of the area where work is performed should be limited to only
                            those materials that will be used in the same shift.
                    5.      Any material stored in a work area longer than 24 hours must be approved by Whiting-Turner.
                    6.      Gang boxes, toolboxes, and sea containers/conex boxes shall not have materials stored on top
                            of them.
                    7.      All chemicals brought on site must be approved by Whiting-Turner.
                    8.      The user of the chemical must provide Whiting-Turner an SDS prior to bringing the substance
                            on site.
                    9.      Chemical/gas cylinders (welding, purging, leak detection cylinders, etc.) must be secured.
                    10.     All dedicated chemical storage areas must have safety data sheets(SDS)available at the storage
                            location.

                 Mobile Elevated Work Platform
                    1.       Employees must keep both feet on the floor of the basket; use of guardrails to gain additional
                             height is prohibited on Whiting-Turner project sites.
                    2.       Where aerial and scissor lifts are used on concrete slabs, any floor depressions or grade changes
                             are required to be barricaded to restrict travel onto that area.
                    3.       The area(s) below the basket or platform of aerial lifts shall be cordoned off using reinforced
                             danger tape—or something of equivalent or greater tensile strength—and by using signage to
                             identify the overhead hazard when a potential for falling objects exists
                    4.       Field modifications are not allowed on aerial lifts. Aerial lifts shall not be used to hoist, raise,
                             or position material outside of the platform or basket unless manufactured to do so.

                 Personal Protective Equipment
                     1.      Prescription eyeglasses and sunglasses that do not comply with ANSI Z87.1 are prohibited.
                     2.      Aluminum hardhats, and bump caps are not permitted on Whiting-Turner projects.
                     3.      For security and identification purposes, all hardhats shall display the contractor/subcontractor
                             name and/or decal identifying the employer as well as the employee's name.
                     4.      Employees exposed to electrical voltages of 600 V or greater shall wear hardhats that meet the
                             requirements of ANSI Z89.2 type Hardhats
                     5.      Hand protection is required when employee's hands are exposed to hazards such as those from
                             skin absorption of harmful substances, cuts or lacerations, abrasions, punctures, chemical burns,
                             thermal burns, and harmful temperature extremes.
                    6.       High visibility vests/gear are required by each person on site.
                     7.      Long pants and shirts with at least a 4" sleeve is required. Shorts, cut offs, tank tops, and net
                             shirts are not permitted.

                 Scaffolds
                     1.        Contractor/subcontractor whose employees will need to access a scaffold system for work
                               shall have a competent person present to inspect and sign off on the scaffold prior to the start
                               of work each day.
                      2.       Employees erecting or dismantling a scaffold are required to utilize appropriate fall protection
                               at heights six (6)feet or above unless proven to be infeasible or more hazardous as determined
                               by their company's competent person.
                      3.       All scaffolds, including carpenters' bracket scaffolds, over six (6) feet in height shall have
                               guardrails on all open sides. If guardrails cannot be used on a walking/working platform,
                               contractor/subcontractors are required to use another means to protect employees from a fall.
                      4.       Cross-braces are not considered to be an adequate guardrail (fall protection) system and shall
                               not be used as a top or mid rail on Whiting-Turner projects.

                                                                      SC23

                 Rev. 1/2/15
                                                                                                      Document Generated from CMiC
                                                                  Page 48 of 174




                                                  NOTICE OF REMOVAL EXHIBIT 1 p. 66
  Case 3:25-cv-00020-LL-SBC                          Document 1-2 Filed 01/06/25                              PageID.75                Page 68
                                                            of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                      5.       Contractors shall utilize a scaffold tag system. The scaffold tag system shall be color coded and
                               visible. The competent person shall inspect the scaffolding system before each work shift. The
                               competent person shall sign and date the scaffold tag.
                               • Green tags are reserved for complete systems
                               • Red tags are reserved for erection/dismantling activities and for scaffolds with deficiencies
                                    in the system
                               • Yellow tags are reserved for systems that require the use of both PFAS and guardrail
                                    systems for incomplete scaffold systems or platforms.

                 Signs, Signals and Barricades
                     1.       All caution and danger tape used on Whiting-Turner project sites shall be of the reinforced type
                              and shall be supplemented with a tag/label affixed with the responsible party's name,company,
                              contact number, and potential hazard.
                     2.       All flagmen shall be trained on appropriate procedures before controlling traffic, as required by
                              the Manual on Uniform Traffic Control Devices (MUTCD) and any municipal or state
                              guidelines.
                     3.       All flagmen shall utilize sign paddles and shall be outfitted with high visibility garments, as
                              required by current ANSI standards. All PPE and traffic control equipment shall be outfitted
                              with reflectorized material for night work as required by current ANSI standards.

                 Stairways and Ladders
                     1.       All aluminum and commercially manufactured wooden ladders shall not be used on Whiting-
                              Turner projects.
                     2.       Fall protection shall be considered by the competent person if employees work from a ladder
                              6'or more above a lower level and are exposed to a fall.
                     3.       Employees working on ladders must be at least one and a half times the height of the ladder
                              away from any perimeter, shaft, stairway, and opening where the fall distance exceeds 6'
                              without employing additional means of fall protection.
                     4.       Subcontractors shall provide ladders with duty ratings that meet the needs of their employees.
                              Workers are required to select ladders that are capable of safely supporting their weight and the
                              weight of their tools.
                 Steel Erection
                     1.       Fall protection provided by the steel erector shall remain in the area where steel erection activity
                              has been completed to be used by other trades; if / when Whiting-Turner accepts and takes
                              custody of the system.
                     2.       All tradespersons, including connectors, engaged in steel erection activities on a
                              walking/working surface with an unprotected side or edge more than six (6)feet above a lower
                              level shall be protected from fall hazards by a conventional fall protection method.
                     3.       Roof penetrations are to be made only when equipment is ready to be installed.
                     4.       Safety latches on hooks shall not be disengaged or made inoperable.

                 Welding and Cutting
                    I.      A Hot Work Permit must be completed daily by each contractor/subcontractor performing all
                            welding, burning/cutting operations.
                    2.      Contractor/subcontractors are responsible for providing a fire watch and a charged, 20Ib ABC
                            dry chemical fire extinguisher for each welding and burning activity.
                    3.      A fire watch is always required to remain in place during the hot work activity and for a
                            minimum of one half(1/2) hour after the welding or burning operation has been completed.
                    4.      Additional permits may be required by the local Fire Department and will be at the
                            contractor/subcontractor's expense.
                    5.      All shields shall be compatible with a hardhat.
                    6.      All cylinders shall be considered in storage at the end of each shift; cylinders must have gauges
                            removed and caps in place.




                                                                       SC24

                 Rev. 1/2/15
                                                                                                       Document Generated from CM iC
                                                                   Page 49 of 174




                                                  NOTICE OF REMOVAL EXHIBIT 1 p. 67
  Case 3:25-cv-00020-LL-SBC                        Document 1-2 Filed 01/06/25       PageID.76   Page 69
                                                          of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3
     g.) Copyright 2020
     The Whiting-Turner Contracting Company
     All Rights Reserved




             Ditht 1
           PRUMT)4G1CONig
           Qualm MANAGMMU                                                     AN
                                                                                      HITINGTURNER-
                   019777-Fashion Valley Mall Redevelopment                                           ,



            Rodriguez Group                   Diego,
            May 2022




    Rev. 09/19                                               Page 50 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 68
  Case 3:25-cv-00020-LL-SBC                        Document 1-2 Filed 01/06/25                                    PageID.77        Page 70
                                                          of 213


DocuSign Envelope ID: 1738A269-C865-466F-A930-574C6FE7D8A3

                                                                                                                     WT1 QUALITY
                                                                                                                        Tuvtia   MANAGEMENT



            Contents
            1.    Introduction                                                                                                    3

            2.    Quality Management Plan Administration                                                                          3

                  a. Roles & Responsibilities of the Whiting-Turner Project Team                                                  3

                  b. Trade Responsibilities                                                                                       3

                  c. Tracking and Communication                                                                                   4

                  d. Continuous Improvement                                                                                       6

            3.    Planning and Execution                                                                                          6

                  a. Planning: Pre-Preparatory Activities                                                                         6

                  b. Execution: 3 Phases of Quality                                                                               7

            4.    Third-Party Inspections                                                                                         9

                  a. Authorities Having Jurisdiction (AHJ)                                                                        9

                  b. Minimum Critical DFoWs Requiring Third-Party Inspections per Corporate Policy                               10

                  c. Factory Acceptance Testing                                                                                  10

                  d. Commissioning                                                                                               10

            5.    Trade-Specific Quality Management Plans(TSQMPs)                                                                11

            6.    Design Integration Management and Coordination                                                                 11

                  a. Constructability Reviews                                                                                    12

                  b. Integration and Collaboration with Collective Team during Design                                            12

            7.    Quality Management Integration with Other Project Processes                                                    13

                  a. Bidding and Contracting                                                                                     13

                  b. Document Control                                                                                            13

                  c. Virtual Design and Construction                                                                             13

                  d. Procurement                                                                                                  13

                  e. Project Scheduling                                                                                          13

                  f. As-Built Documentation Process                                                                              14

                  g. Operation and Maintenance(O&M) Manual Compilation                                                            14

                  h. Close-out                                                                                                   14

            8.    Project-Specific Special Processes                                                                             14

            9.    Establishing and Maintaining a Proactive Project Quality Culture                                               15




                                                                  Page 1 of 15
                                     © Copyright 2019 The Whiting-Tipavp)01174ing Company. All rights reserved.




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 69
  Case 3:25-cv-00020-LL-SBC                                  Document 1-2 Filed 01/06/25                                PageID.78         Page 71
                                                                    of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3
                                                                                                                           \JW QUALITY
                                                                                                                           F    I   I
                                                                                                                                        MANAGEMENT
                                      4111#111111111_9:11,


             NOTES:

                 o    In the event that this project-specific Quality Management Plan (QMP)conflicts with executed
                      contracts, the contracts take precedence.

                 o    References to "inspection(s)" herein refer to observations and inspections as defined in and
                      consistent with executed contracts and Contract Document requirements and is limited in liability
                      consistent with the same.

                 o    All changes or modifications to the Contract Documents must be formally documented to constitute
                      contractual acceptance by all parties.

                 o    The Whiting-Turner Project Team must appropriately document, distribute, and retain records of
                      q uality management-related efforts including, but not limited to, meeting minutes, review notes,
                      and observation and inspection reports.

                 o    Where "subcontractor" or "trade" are used in this document, these terms may refer to a
                      subcontractor, trade partner, or trade contractor and are used interchangeably.

                 o    Where the general term "Project Team" is referenced in this document, this represents the collective
                      project team including the Owner, designers, Whiting-Turner, subcontractors, etc.




                                                                     Page 2 of 15
                                      © Copyright 2019 The Whiting-Tipavg 52.)011.74ing Company. All rights reserved.




                                                        NOTICE OF REMOVAL EXHIBIT 1 p. 70
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                                 PageID.79     Page 72
                                                           of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3           ‘
                                                                     - 111A=40.   •

                                                                                                                            QUALITY
                                                                                                                            MANAGEMENT



             I. Introduction
                 The purpose of this project-specific QMP is to support our Project Team's ability to build with quality as a
                 foundation, striving to build right the first time every time. Our quality management efforts, which
                 include both quality assurance and quality control, will begin by explicitly identifying and understanding
                 what our Owner values and prioritizes relative to the delivery of this project. All work must be in
                 conformance with the Contract Documents, which must reflect what we have agreed to provide.

            2. Quality Management Plan Administration
                 a. Roles & Responsibilities of the Whiting-Turner Project Team
                     The Whiting-Turner Project Team must take responsibility and ownership of the development,
                     delivery and documentation of the project-specific QMP. Quality roles and responsibilities must be
                     clearly and appropriately established based on knowledge and experience, promoting a sense of
                     ownership for each definable feature of work (DFoW). Roles include the following at a minimum:


                     Project Quality Manager (or Coordinator)[Shane Willingham]
                     Works with the Project Team to set up and maintain the project-specific QMP and related processes,
                     including documentation. Sets and facilitates Pre-Installation Meetings (Preparatory Phase). Reports
                     q uality progress and metrics to the Project Team. In addition to the Lead Project Manager, Lead
                     Superintendent and the Whiting-Turner Project Team, the Project Quality Manager (or Coordinator)
                     has the authority to stop work at any time if necessary, to confirm quality standards are met.

                     Lead Project Manager [JJ Sellner]
                     Participates in the development and execution of the project-specific QMP. Ensures participation of
                     trades in the development and execution of the project-specific QMP. Develops subcontracts to
                     include and enforce quality standards. Coordinates Owner and AKI participation in Pre-Installation
                     Meetings.

                     Lead Superintendent [Paul Perry]
                     Participates in the development and execution of the project-specific QMP. Leads and conducts
                     I nitial and Follow-up Phase inspections. Enforces continuous compliance with project quality
                     standards by subcontractors.

                     Whiting-Turner Project Team
                     Participates in all phases of the execution of the project-specific QMP. Supports the Quality Manager
                     and Lead Superintendent in enforcing quality standards and executing quality-related roles and
                     responsibilities as defined.


                     Regionally Dedicated Quality Manager [Luke Logan]
                     Supports the Whiting-Turner Project Team while connecting them to the appropriate corporate
                     resources.


                 b. Trade Responsibilities
                     Each trade is responsible for assuring that its work is in compliance with the Contract Documents.
                     Each trade is required to participate in the execution of this project-specific QMP and documentation



                                                                 Page 3 of 15
                                     0 Copyright 2019 The Whiting-144w 53)0Ming Company. All rights reserved.




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 71
    Case 3:25-cv-00020-LL-SBC                             Document 1-2 Filed 01/06/25                                      PageID.80     Page 73
                                                                 of 213


oDocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3

                                                                                                                               fii. fe QUALITY
                                                                                                                                       MANAGEMENT


                      of the same. Trade-Specific Quality Management Plans(TSQMPs)that have been submitted by the
                      trade and reviewed by the Whiting-Turner Project Team will be kept on file by Whiting-Turner and
                      furnished upon request to the Owner and design team. Completeness and adequacy of these
                      TSQMPs is the responsibility of the trade, inclusive of any additions or adjustments to the TSQMPs as
                      project conditions and contract documents change.

                      Trade-specific documentation will be reviewed at the discretion of the Whiting-Turner Project Team.
                      Corrections of any deficiencies in documentation are to be made promptly by the trade. All trades
                      m ust be represented by the appropriate personnel and are required to participate in project
                      meetings from pre-installation through close-out.

                      Each trade is responsible for determining the appropriate means and methods for performing its
                      work as well as compliant installation tolerances subject to review by Whiting-Turner. All trades must
                      communicate with one another in an effort to eliminate conflicts, especially where multiple scopes
                      of work interface.

                  c. Tracking and Communication
                      i. Tracking Tools and Processes

                              Proce ,                                                       Tracking / Wianar,,anent Tool
                              Document control (maintaining current
                                                                                            Procore
                              drawings, specifications, etc.)
                              Documentation of tests and inspections                        Procore/Checklists

                              Submittals                                                    Procore

                              Constructability reviews                                      Excel

                              Quality incident tracking log                                 Excel/CMiC
                          1
                              Quality metric reporting                                      Excel

                              Punchlist                                                     Procore



                      Quality inspection report templates and completed reports will be stored on the Whiting-Turner
                      Fashion Valley SharePoint. Whiting-Turner staff will post inspection reports and related
                      documentation from Owner,trades, and vendors to the Whiting-Turner Fashion Valley SharePoint
                      u pon receipt of those documents.

                      ii. Owner Communication
                       The Project Team has established the following protocol to encourage effective and ongoing
                       communication of inspections, deficiencies and corrections with Owner. Communication and
                       reporting of the quality management process to <Simon Property Group> will meet or exceed the
                       requirements of the Contract Documents and Owner contract. These requirements will be reviewed
                       at the onset of the project, and a mutually agreeable communication plan will be developed among



                                                                         Page 4 of 15
                                           CO Copyright 2019 The Whiting-Tipaloctiefivging Company. All rights reserved.




                                                       NOTICE OF REMOVAL EXHIBIT 1 p. 72
    Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                                   PageID.81     Page 74
                                                             of 213


piDocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3
                                                                                                                                QUALITY
                                                                                                                                MANAGEMENT


                      the collective project team members including, but not limited to, the Whiting-Turner Project Team,
                      Owner and the design team.

                       This team has decided on the following communication guidelines related to quality:

                      •    Method of communication: Electronic communication except for punch list sign offs, which will
                           be via hard copy signatures.
                      •    Frequency of communication: Quality will be addressed in all Owner progress meetings and
                           otherwise "on demand".
                      •    Communication related to quality:
                              1.Monthly report (e.g. dashboard)
                              2.Review of quality planning and inspection logs at Owner progress meetings
                              3.Weekly field updates
                              4.Non-conforming inspections with resolution tracking available upon request
                              5.AII inspections will be available upon request
                              6.Upcoming Inspection Milestones included in look-ahead schedule
                              7. Constraints controlled by this team (Owner, design team and Whiting-Turner) will be
                                   communicated and addressed as necessary for resolution

                     iii. Project-Wide Communication
                          The Project Team has established the following communication plan regarding quality
                           management and deficiency tracking with the subcontractors during Subcontract negotiation
                          (buy-out), which will also be reviewed during project onboarding. The communication plan must
                          follow a regular pattern to set expectations and avoid lapse. Items to consider in development of
                          this plan include:

                          •   Method of communication: Match method established with Owner as applicable.
                          •   Frequency of communication:
                               o Distribution and review of quality tracking log at weekly subcontractor meetings
                               o Review of non-conforming items, plan for resolution, and constraints in daily huddles.
                          •   Expected response from subcontractor regarding non-conforming items:
                               o Immediate recognition of deficiency
                               o Corrective work plan
                               o Response times and allowable durations for remediation specific to quality incident
                               o Documentation of completion
                               o Reinspection (by Whiting-Turner or party that identified non-conformance)

                          •   Consequence of failed correction within allowed duration for remediation
                          •   Celebrate successes:
                               o Recognize notable quality management efforts at daily huddles or weekly meetings.
                                  (Notable efforts could include proactive recognition of issues in the field.)
                               o Implement a quality management incentive program.




                                                                    Page 5 of 15
                                       CO Copyright 2019 The Whiting-TipapiSswiming Company. All rights reserved.




                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 73
   Case 3:25-cv-00020-LL-SBC                          Document 1-2 Filed 01/06/25                                      PageID.82                 Page 75
                                                             of 213


piDocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3
                                                                                                                          V\rifi i QUALITY
                                                                                                                          W11111,11,1t1.1:1P   MANAGEMENT



                  d. Continuous Improvement
                       Continuous improvement is a priority on this project. Processes, protocol and expectations have
                       been established to help all on this project continuously improve successful delivery. The Project
                       Team will engage in root cause analysis for identified issues. At all Pre-Installation Meetings as well
                       as weekly or bi-weekly quality tracking meetings, the Project Team will track and document lessons
                       learned. The project team will track lessons learned via excel files and will review during weekly
                       Trade Partner meetings to avoid future issues. The project team will include deficient work, delayed
                       work, and failed inspections (with photo documentation to support) specific to each subcontractor in
                       order to reinforce the importance of quality and continuous improvement to the overall team.

              3. Planning and Execution
                  a. Planning: Pre-Preparatory Activities
                       The following pre-preparatory activities should be completed prior to advancing into the 3 Phases of
                       Quality:

                       i. Complete a quality planning meeting prior to construction start
                          The Whiting-Turner Project Team must coordinate with their regionally dedicated Quality
                          Manager to schedule and perform a quality planning meeting at the time of project kick-off. This
                          meeting with the Whiting-Turner Project Team will include review of the project-specific QMP
                          template and discussion of the processes and protocols that will be used throughout the project,
                          including definition of metrics, which will be used to measure the quality health of the project.

                       ii. Perform constructability reviews
                           With each issuance of design documentation, the Project Team will perform a constructability
                           review and communicate concerns related to constructability, coordination, performance,
                           operation and value. Issues raised will be reviewed with the Owner and design team, vetted and
                           properly documented as necessary. Constructability reviews will be performed upon every
                           issuance of documents, including change directives.

                       iii. Identify DFoWs, highlighting those that are critical
                            A DFoW is defined as any task that is separate and distinct from other work, has separate control
                            requirements, or is identified by different trades or disciplines and is usually unique in nature. At
                            the project onset, the Whiting-Turner Project Team will identify and log each of the DFoWs for
                            the project along with their related requirements (e.g. mock-ups, first work inspections, follow-up
                            inspections, etc.). Critical DFoWs, both defined as critical by corporate policy (reference Section
                            4.b.) and additional items as determined by the Project Team, are highlighted in the DFoW log to
                            encourage special consideration and focus. The DFoW log will be used as a tracking tool
                            throughout the project to monitor progress. See Appendix A for Definable Features of Work Log.

                       iv. Align with leadership, maintaining a common understanding of quality planning, execution and
                           health
                           Develop an understanding with project leadership, including Whiting-Turner and the Owner, on
                           how success related to quality will be tracked and measured for this project.

                       v. Participate in regular visits/check-ins with regionally dedicated Quality Manager



                                                                     Page 6 of 15
                                       © Copyright 2019 The Whiting-Ttpgalipoptitating Company. All rights reserved.




                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 74
    Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                                    PageID.83     Page 76
                                                             of 213


sDocuSign Envelope ID: 1738A269-C865-466F-A930-574C6FE708A3
                                                                                                                        V\f/IF'i QUALITY
                                                                                                                                 MANAGEMENT


                         The Whiting-Turner Project Team will meet regularly with their regionally dedicated Quality
                         Manager to review the project-specific QMP, project progress and quality health indicators.

                      vi. Submittal review and approval
                          Submittals will be reviewed by trades prior to submission to the Whiting-Turner Project Team,
                         w hich will subsequently review them prior to transmission to the design team. Additionally,
                         submittals and means and methods for each DFoW will be coordinated with other DFoWs as
                          a ppropriate. Approved submittals will be shared with affected or potentially affected trades for
                         coordination. Submittals should be reviewed and approved prior to Phase 1 of each DFoW.

                         To properly manage the submittal process, the Project Team will develop a manageable submittal
                          register prior to beginning the review process. All submittals will be created, reviewed, and
                          distributed through Procore. The submittal register will be derived from the Contract Documents
                          and reviewed with the Owner and design team to determine if there are extraneous items that
                         can be excluded. (Software solutions, i.e. Pype, will be explored to expedite the development of
                         the Submittal Register.) The Submittal Register will include target dates for submission from the
                         subcontractor, review by Whiting-Turner, submission to the design team and Owner, return of
                         the reviewed submittal, fabrication and procurement durations, and shipment and delivery dates.
                         The Submittal Register will be reviewed at both the weekly subcontractor meetings and the
                         Owner progress meetings.

                          Once the subcontractor has compiled and reviewed a submittal for conformance to the Contract
                          Documents, they will submit it to Whiting-Turner. Whiting-Turner will perform their own review
                          of the Submittal for conformance with the Contract Documents, including issued and accepted
                          change documentation. Following review, Whiting-Turner will issue to the designated design
                         team and Owner representatives for review and approval. The review path will include
                          concurrent distribution from Whiting-Turner to all reviewers, but the return path must include
                          compilation of all notes and comments by one party, typically the Architect. Upon return of an
                          a pproved submittal, Whiting-Turner will distribute to the submitting subcontractor as well as all
                          other subcontractors whose scope of work will be affected by or coordinated with this work.

                          Return of the approved submittal indicates direction to release the work to the subcontractor.
                          Changes to the scope of work indicated in the Contract Documents should not be made by the
                         design team or Owner through the submittal process. If changes are identified, it will be the
                         subcontractor's responsibility to indicate this to Whiting-Turner by submitting an RFI. If the
                          change is confirmed through the RFI process, a formal revision to the Contract Documents will be
                          issued by the design team. The subcontractor must allow adequate time for review and approval
                          of each submittal to maintain the project schedule. Additionally, if a submittal is rejected and
                          requires re-submission because it does not conform to the Contract Documents,the
                          subcontractor is responsible for any associated schedule impact.

                  b. Execution: 3 Phases of Quality
                      The 3 Phases of Quality refer to the breakdown of activities by definable feature of work (DFoW) into
                      a Preparatory Phase, Initial Phase and Follow-up Phase. Repeat these phases for each DFoW.

                      i. Phase 1 Preparatory I Set Standards and Expectations



                                                                    Page 7 of 15
                                       © Copyright 2019 The Whiting-Tipapf Spdfiming Company. All rights reserved.




                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 75
    Case 3:25-cv-00020-LL-SBC                          Document 1-2 Filed 01/06/25                                       PageID.84     Page 77
                                                              of 213


iiDocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3
                                                                                                                                     QUALITY
                                                                                                                                     MANAGEMENT


                          The Preparatory Phase includes all efforts to make the jobsite, materials and installing contractor
                          ready for installation to begin. All project stakeholders (including the Owner, designers, Whiting-
                          Turner, trades, vendors, manufacturers and inspectors) are expected to actively participate in the
                          Preparatory Phase of this project-specific QMP. Steps in this phase include: Whiting-Turner to
                          host Pre-Installation meetings with responsible subcontractors performing DFoW activities,
                          review the QAQC program with trades, and set forth the Owner's/Designer's/AHJ's expectations
                          for QAQC to be fully transparent with all subcontractors.

                          1. Pre-Installation Meetings
                             The Project Team is committed to developing a common understanding of the project's
                             requirements prior to the start of work. Therefore, a Pre-Installation Meeting will be held for
                             every DFoW. These meetings will include, at a minimum:

                                  Participation by all stakeholders for the referenced DFoW. This includes, but is not limited
                                  to, Whiting-Turner, the installing contractor (including field supervision responsible for the
                                  work), designers as applicable, inspectors, Owner representatives and Authorities Having
                                  J urisdiction (AHJs). Participation by Owner representatives and AHJs is strongly
                                  encouraged, but at their discretion unless contractually required otherwise.

                             b. Review of specification sections relevant to the DFoW, including quality requirements
                                and related standards.

                             c.   Review of Initial Phase requirements and development of a plan to ensure the
                                  requirements are met. This may include mock-ups and/or inspections of first work in place
                                  with documented reviews.

                             d. Review of the status of related submittals and RFIs as well as identification of new RFIs or
                                clarifications required prior to commencement of work.

                             e. Review of any existing construction and/or prior work by other trades that the DFoW will
                                be building upon. The installing contractor will have reviewed the prior work of others in
                                advance of the meeting, and any concerns not yet addressed will be discussed.

                             f.   Discussion of the means and methods of performing the work, including an Activity
                                  Hazard Analysis (AHA). At the time of the meeting, the AHA is to include the anticipated
                                  hazards associated with the DFoW under review. However,the AHA is to be updated and
                                  refined at the time the work begins to ensure its completeness and accuracy in
                                  accordance with the project safety requirements. The intent of this portion of the meeting
                                  is to inform stakeholders of these details, not establish or approve them.

                             g. Distribution of meeting minutes to all meeting participants and stakeholders. These
                                minutes will become part of the project record and will be used as a reference during the
                                I nitial and Follow-up Phases.

                          2. Set Standards and Expectations




                                                                      Page 8 of 15
                                       CO Copyright 2019 The Whiting-Tin-9g- g8)emit4ing Company. All rights reserved.




                                                    NOTICE OF REMOVAL EXHIBIT 1 p. 76
    Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                                     PageID.85   Page 78
                                                             of 213


piDocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                             Diligently review and verify that the Contract Documents reflect the collective team's common
                             understanding of project expectations. Confirm that these expectations reflect what we have
                             agreed to provide in accordance with the Contract.

                       ii. Phase 2 Initial I Verify Terms of Acceptance
                           The Initial Phase serves as the Project Team's first opportunity to evaluate the work of the
                           installing contractor, confirm the common understanding of requirements and expectations set in
                           the Preparatory Phase, and establish workmanship standards. Mock-ups required by the Contract
                           Documents or otherwise agreed to be necessary during the pre-preparatory and preparatory
                           activities will be reviewed during this phase. Otherwise and in addition to mock-ups, the first
                           representative portion of installed work will be reviewed (i.e. 'first work inspection"). Pre-
                           Installation Meeting minutes will be revisited to confirm the stakeholders' understanding of the
                           requirements and any additional clarifying expectations of the DFoW. Initial Phase inspections will
                           be documented according to the process described in Section 2.c.



                       iii. Phase 3 Follow-up I Validate Installation
                            Continued inspections in the Follow-up Phase — both scheduled and ongoing unscheduled — serve
                            to confirm continued compliance with the Contract Documents and adherence to the standards
                            established in the Preparatory and Initial Phases. Inspection methods and frequencies are defined
                            i n the Testing and Inspection Log in Appendix B. All inspections, whether conforming or non-
                            conforming, will be logged according to the process defined in Section 2.c. The Project Team and
                            subcontractors will remain committed to timely remediation and close-out of non-conformances,
                            also ensuring photographic documentation of remediated non-conformances associated with any
                            photographed non-conformances. All non-conformances must be tracked and closed with the
                            a ppropriate sign-offs of the parties that originally identified and logged the non-conformance.

                          The Project Team will use project-specific checklists for appropriate DFoWs to review installed
                          work. The Project Team will use a continuous punch approach (see Section 7.h).

              4. Third-Party Inspections
                  As required by the Contract Documents, the Project Team will engage special inspectors and laboratories
                  as participants in the project-specific QMP, all of which are required to meet and maintain the
                  q ualifications specified by the Contract Documents. Each must submit testing documentation and reports
                  in accordance with the defined processes and expectations in a timely manner consistent with the
                  project schedule. A list of required tests and inspections is included in Appendix B. See Appendix D for
                  q ualifications and credentials of each special inspector and laboratory as required.

                  Whiting-Turner is to be given copies of all third-party inspectors' reports. All third-party inspectors must
                  be involved in mock-ups and first work inspections. All third-party inspections and associated reports will
                  be incorporated into the project-specific QMP documentation and tracking protocol.

                  a. Authorities Having Jurisdiction (AHJ)
                       Each trade is responsible for ensuring their work is compliant with the Contract Documents and all
                       applicable laws, codes, rules and regulations, as well as planning and managing each inspection.


                                                                     Page 9 of 15
                                       © Copyright 2019 The Whiting-Tip-ago SPWWiting Company. All rights reserved.




                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 77
    Case 3:25-cv-00020-LL-SBC                           Document 1-2 Filed 01/06/25                                     PageID.86         Page 79
                                                               of 213


I.DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3

                                                                                                                           WT QUALITY
                                                                                                                           w   .       MANAGEMENT


                       General AHJ inspections such as those for Certificate of Occupancy will be coordinated and hosted by
                       Whiting-Turner. Trades with scope under review during general inspections are required to attend
                       the inspections.

                   b. Minimum Critical DFoWs Requiring Third-Party Inspections per
                      Corporate Policy
                       Whiting-Turner corporate policy mandates that the following items be carefully inspected by
                       competent, experienced, independent inspectors. The Owner may provide these services directly or
                       the third-party inspectors may be hired through Whiting-Turner provided that the inspections are
                       happening correctly and as often as needed, performed by competent experts in that field and
                       provide an unbiased, objective account of the project conditions.

                         alitta Definable 1iJ of Work                                    Contracted CV                     DFoW Ea3g--
                        requiring third-party inspections WI                                                               project scope
                                                                          Owner         MillIkkaviagy             Trade
                                   corporate policy
                   I nitial project surveys and controls                                         X
                   Structural earthwork                                       X
                  Pilings, caissons and similar deep                          X
                  foundation systems
                  Structural concrete                                         X
                   Structural masonry                                                                                              X
                   Structural steel                                           X
                   Building envelope system*                                  X
                   Any other DFoW involved in the structural                  X
                   integrity of the work
                 *Building envelope system: The Whiting-Turner Project Team will engage a building envelope consultant to review the design,
                 submittals, mock-ups and first work installations. The consultant will also identify potential areas of concern, propose
                 appropriate, potential modifications to the design team and confirm that materials and installation methods are in
                 accordance with the Contract Documents (still maintaining the latter as a primary responsibility of the subcontractor). See
                 the Building Envelope TSQMP accompanied by credentials in the Appendix.


                  c. Factory Acceptance Testing
                       The purpose of factory acceptance tests (FATs) is to assure that equipment is acceptable for use on
                       the project prior to shipment according to manufacturers' and designers' standards. Below is a
                       summary of items that have been selected for factory acceptance testing. This list is intended to
                       include all contractually required FATs. Each trade is responsible for submitting its FAT plan for each
                       applicable DFoW to Whiting-Turner prior to performing testing. The vendor is responsible for
                       conducting and documenting the FAT as well as hosting project representatives during testing.

                           •    Sump Pumps
                           •    Air Handling Units
                           •    Elevators/Escalators and Components

                  d. Commissioning
                       The Project Team will establish a plan for commissioning electrical, mechanical and other systems in
                       accordance with the Contract Documents. Delivery inspections, pre-start-up inspections (i.e. pre-


                                                                       Page 10 of 15
                                         co Copyright 2019 The Whiting-Tip-Sp60)0174ing Company. All rights reserved.
                                                                                                                                           >111




                                                     NOTICE OF REMOVAL EXHIBIT 1 p. 78
    Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                                    PageID.87     Page 80
                                                             of 213


0,DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3
                                                                                                                                 QUALITY
                                                                                                                                 MANAGEMENT


                       functional), vendor start-up and post-start-up inspections are described in the TSQMPs. Functional
                       testing and enhanced commissioning are described in the project-specific commissioning plan under
                       separate cover.

              5. Trade-Specific Quality Management Plans(TSQMPs)
                  Subcontractors must document their TSQMPs prior to mobilizing on site. The TSQMPs will be reviewed
                  by the Whiting-Turner Project Team. Subcontractors are responsible for sub-tier subcontractors and
                  vendors following all project quality requirements.

                  TSQMPs should address the following:

                   a. GENERAL:
                        i. The TSQMP is project-specific and comprehensive.
                       ii. Include acknowledgement and commitment to actively participate in execution of the project-
                           specific QMP.
                      iii. Describe process to be used for document control and maintenance of as-built documentation.

                   b. ROLES & RESPONSIBILITIES:
                       i. Designate trade's on-site quality management representative(s).
                      ii. Clearly identify which trade personnel have authority to stop work when a quality issue is
                          identified.

                   c. PLANNING FOR QUALITY:
                       i. Describe how this trade plans to install all work right the first time. What is the trade's quality
                          plan or process?
                      ii. Identify and address specific risk issues for trade's scope.
                     iii. Identify who will attend the trade's Pre-Installation Meeting(s).
                     iv. Identify manufacturers or vendors that must be available for Pre-Installation Meeting(s).

                   d. ACCOUNTABILITY AND INSPECTION TRACKING:
                       i. Identify how each trade will track, communicate and resolve its quality issues including non-
                          conformances.
                      ii. Provide checklists for work to be performed.
                     iii. Define roles and responsibilities related to third-party inspection coordination,
                     iv. Establish a process to gather all required quality documents and certifications.

              6. Design Integration Management and Coordination
                   Coordination between our Whiting-Turner Project Team and the design team will be an interactive,
                   collaborative process focusing on open lines of communication and proactive efforts between all parties,
                   committing to a value-added approach to resolve issues in a manner that best suits the goals of the
                   Owner and the Project, rather than individual interests. All parties are encouraged to contact other
                   members of this group directly and follow up with documentation of the issue/resolution copied to all
                   te-am members. This will streamline communication, eliminate wasteful efforts, and result in stronger
                   relationships.




IIE                                                                 Page 11 of 15
                                       0 Copyright 2019 The Whiting-Tparf 6130f!Ming Company. All rights reserved.




                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 79
  Case 3:25-cv-00020-LL-SBC                            Document 1-2 Filed 01/06/25                                     PageID.88            Page 81
                                                              of 213


DocuSign Envelope ID: 1738A269-C865-466F-A930-574C6FE7D8A3
             -Nrc
                                                                                                                          CU-Li' QUALITY
                                                                                                                          Womirc,   NIN   MANAGEMENT
                                      Zair_


                 a. Constructability Reviews

                     i.   Readiness for field use

                              At each level of design documentation, the Whiting-Turner Project Team will complete or
                              update a Constructability Review using the provided Whiting-Turner template. During this
                              process, all design issues noted will be compiled into a report for review with the design
                              team. Depending on the magnitude of this list, we will request a meeting to review the
                              items with the design team or process by email if the list is minimal. Following review and
                              resolution, the design team will issue a Change Bulletin to capture any modifications to the
                              issued Contract Documents or the Project Team will document changes via the RFI process.

                     ii. Coordination between disciplines

                              Coordination of the structure and MEP trades, including footings/foundations, structural
                              steel, miscellaneous metals, underground utilities, in-wall rough-in, and above-ceiling rough-
                              in will be coordinated through weekly Subcontractor and Coordination Meetings. The base
                              model will be provided by the design team for incorporation of the subcontractor's scopes
                              of work. Coordination meetings will be held every week and resultant issues with proposed
                              solutions will be submitted to the design team as an RFI for acceptance or subsequent
                              contractual documentation.

                     iii. Common design conflicts

                              The following items have been identified by the Project Team as common design conflicts
                              that may apply to this project and warrant special attention by this team.

                                  •   Coordination of lighting between Architectural and Electrical drawings. Both
                                      disciplines will be reviewed, and discrepancies will be noted and resolved.
                                  •   Coordination of MEP requirements, especially electrical, with Owner provided
                                      equipment. Project-specific cut sheets of equipment will be requested and
                                      reviewed.


                 b. Integration and Collaboration with Collective Team during Design

                     i.   Planning check-in frequency

                              Formal in-person Owner Architect Contractor (OAC) Meetings will be held on site every
                              week. Additionally, Whiting-Turner and the design team will have calls as needed to discuss
                              outstanding coordination and other follow up items.

                     ii. Defined decision process regarding design

                             If modification to the Contract Documents is required as the result of an RFI, submittal
                             comment, or other design discussion, the design team will issue a Change Bulletin to
                             formally document the change. It is the design team's responsibility to review the change
                              with the Owner prior to issuing to Whiting-Turner. Direction accompanying the issued
                              Change Bulletin must include Owner acceptance of the design modification and direction to
                              proceed (or price and proceed, etc.).




111E                                  ©                              Page 12 of 15
                                          Copyright 201.9 The Whiting-TP41162,0V174ing Company. All rights reserved.




                                                    NOTICE OF REMOVAL EXHIBIT 1 p. 80
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                                    PageID.89    Page 82
                                                           of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3

                                                                                                                               QUALITY
                                                                                                                               MANAGEMENT



            7. Quality Management Integration with Other Project Processes
                 a. Bidding and Contracting
                     Bid packages and contracts will establish standards and expectations related to quality, including the
                     requirement for a TSQMP. When pre-bid conferences are held, quality-related standards and
                     expectations will be emphasized.

                 b. Document Control
                     The Project Team understands the importance of maintaining an accurate, current set of documents
                     to establish a single source of truth. Since building a quality project requires conformances with the
                     Contract Documents, this team will define its method of maintaining this accurate set. The Project
                     Team will maintain a current set document log and post all changes to the Contract Documents (e.g.
                     RFIs, sketches, etc.). Procore will be used on this project to maintain current sets of drawings,
                     sketches, RFIs, submittals, and all other document control items. The most current plan sets will also
                     be stored as physical copies and will be kept in the Whiting-Turner jobsite trailer. Subcontractors will
                     be responsible for ensuring that their own project managers, superintendents,foremen, crews, etc.
                     are provided with and working off of the most current set of documents.

                 c. Virtual Design and Construction
                     Not Applicable on this project.

                 d. Procurement
                     As key inspections are conducted during the procurement and delivery process, the project schedule
                     will be used by the Project Team to plan the following:

                     i.   Factory Acceptance Tests — see section 4.c. for more detail. FATs will be planned with distinct
                          activities in the project schedule.

                     ii. Delivery Inspections — with the delivery of material and equipment to the project site,
                          inspections for material compliance will be conducted and documented. Delivery activities or
                          milestones will be established in the schedule for key items requiring special focus for
                          inspection.

                e. Project Scheduling
                     All stakeholders must be aware of the project schedule and be prepared to support all quality-
                     related activities and milestones.

                     i.   Scheduling of Pre-Installation Meetings — Pre-Installation Meetings will be included in short-
                          term look-ahead schedules. The Project Team may identify DFoWs for which they will include
                          Pre-Installation meetings in the long-term forecasting(CPM)as a network of related activities.


                     ii. Scheduling of Mock-ups and First Work Inspections — Initial Phase inspections include mock-ups
                          and first work inspections. Contractually required mock-ups will be included as activities in the
                          long-term forecasting (CPM). First work inspections will be included, at a minimum, in the short-
                          term look-ahead schedules. For each DFoW,the mock-up inspections and associated
                          documentation will be predecessors to the installation of the respective features of work.




111                                                               Page 13 of 15
                                    (0. Copyright 2019 The Whiting-Ting 63)0174ing Company. All rights reserved.




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 81
    Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                                     PageID.90       Page 83
                                                             of 213


0,DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3
                                                                                                                                    QUALITY
                                                                                                                            ium,0   MANAGEMENT



                       iii. Scheduling of Testing and Inspections — Follow-up Phase inspections will not all have
                            corresponding distinct activities in the schedule due to the expected quantity. Rather,
                            i nspections are summarized in the Testing and Inspection Log with distinct, key tests and
                            inspections pulled into the long-term forecast(CPM), particularly those with critical handoffs.

                  f. As-Built Documentation Process
                      As-built documentation will be managed as a DFoW. It will have its own Preparatory Phase (including
                      a meeting), Initial Phase (including confirmation of the intended level of detail) and Follow-up Phase
                      (including comparison of conditions in the field with the documentation to confirm accuracy).

                  g. Operation and Maintenance(O&M) Manual Compilation
                      O&M manual compilation will be managed as a DFoW. It will have its own Preparatory Phase
                      (including a meeting), Initial Phase (including confirmation of conformance with the agreed-upon
                      format and completeness of initial sections) and Follow-up Phase (including a final review for
                      completeness before submission).

                   h. Close-out
                       i.   Continuous Punch
                            The Project Team will use a continuous punch, "close-as-you-go" approach for the duration of
                            the project to strive for zero punchlist items, which will also help to verify that all work is
                            complete to streamline close-out and turnover.

                       ii. Completion List
                           As project elements near completion, completion lists will be created and managed to ensure all
                           scope is complete prior to final punch-out. Completion lists are not considered punchlists; they
                           are lists of remaining tasks to be performed.

                       iii. Pre-Punch
                            The Project Team will perform a pre-punch process on project elements as they near
                            completion. This means identifying and correcting deficient items early to avoid a bottleneck at
                            the end of the project. This precedes the formal Final Punch-out with the owner and design
                            team.

                       iv. Final Punch-out
                           The project punch-out process will be managed as a DFoW. Stakeholders will participate in a
                           Preparatory Phase meeting to establish the document management process and define
                           participants in future punchlist compilation walks. Additionally, at this meeting, the Project Team
                           will establish the approval and sign-off process for non-conformance corrections. It is important
                           to differentiate between unacceptable work, requests for additional scope, and work in
                           progress.

              8. Project-Specific Special Processes
                   Not Applicable.




                                                                    Page 14 of 15
                                       © Copyright 2019 The Whiting-Ting 64)0f1174ing Company. All rights reserved.




                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 82
    Case 3:25-cv-00020-LL-SBC                                Document 1-2 Filed 01/06/25                                     PageID.91               Page 84
                                                                    of 213


IDocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3


                                                                                                                                   W.1.4:1
                                                                                                                                         -1R“Lit   MANAGEMENT



                9. Establishing and Maintaining a Proactive Project Quality Culture
                     This project will include a culture of quality focus. This culture will be reinforced through project
                     management meetings and a recognition and incentive program. Awards and incentives will be
                     established at the discretion of the Project Team to drive and reinforce the desired behaviors, roles and
                     responsibilities relative to a proactive culture of quality.

     DISCLAIMER: Effective January 2019, all contractors and subcontractors on Whiting-Turner's projects are expected to be in full compliance with all
     a pplicable requirements of Whiting-Turner's project-specific Quality Management Plan(QMP).The information contained in this QMP is not intended
     to serve as a substitute for the exercise of good engineering judgment by the engineers nor as a substitute for determinations made by
     contractors/subcontractors of appropriate manner and methods of operations and aspects of work under their control. This QMP is also not intended
     to be all inclusive or replace a contractor's or subcontractor's corporate or site-specific quality management plan and is not intended to, nor shall it,
     supersede any federal, state, local and other applicable laws, codes, rules, regulations, and/or practices. All contractor's and subcontractor's site-
     specific quality management plans must meet or exceed the requirements of the Whiting-Turner project-specific Quality Management Plan, the
     contract documents(including any applicable Owner Quality Management Plans referenced therein), and all federal, state, local and other applicable
     laws, codes, rules, regulations, and/or practices.

      This QMP and all information contained herein is confidential and intended for the sole use of contractors and subcontractors on Whiting-Turner
      projects. Contractors/subcontractors are prohibited from distributing this information to any third parties. The Whiting-Turner Contracting
      Company expressly disclaims warranties for the information contained in this QMP and makes no representations to such third parties regarding
      the reliability, suitability, correctness, or completeness of such information. Whiting-Turner assumes no responsibility or liability and shall not be
      responsible and/or liable for damages or losses of any kind, including but not limited to direct, indirect, incidental, exemplary, special or
      consequential damages or losses, arising from, attributable to and/or resulting from the use of such information by third parties however caused
      and on any theory of liability, whether in contract, strict liability or tort.




                                                                         Page 15 of 15
                                             © Copyright 2019 The Whiting-Tcavy 6510fr1.r4ing Company. All rights reseNed.




                                                          NOTICE OF REMOVAL EXHIBIT 1 p. 83
  Case 3:25-cv-00020-LL-SBC                          Document 1-2 Filed 01/06/25                               PageID.92             Page 85
                                                            of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                                                                   EXHIBIT F

                                                  SUBCONTRACTOR PLAN FOR COVI D-19


                           This subcontract was executed during the worldwide pandemic of the coronavirus(COVID-19), as
                 declared by the World Health Organization(WHO)in March 2020. In response to the COVID-19 pandemic
                 and in accordance with the guidance of public health authorities, Subcontractor is required to reasonably
                 cooperate with and, to the extent applicable, comply with all applicable Jobsite COVID Protocols for the
                 Project. Subcontractor is further required to provide Whiting-Turner with Subcontractor's infectious disease
                 preparedness and response plan for the Project, which, at a minimum, ensures that Subcontractor will follow
                 all applicable WHO, CDC, OSHA, and local, state and federal orders and regulations and project-specific
                 requirements as it pertains to the performance of their scope of work in light of COVID-19. Specifically,
                 Subcontractor's infectious disease preparedness and response plan must specifically identify how
                 Subcontractor will satisfy applicable requirements in the following areas:

                     •    Responsibilities of managers, supervisors and employees
                     •    Basic infection prevention measures for all workers regardless of exposure risk including but not
                          limited to:
                               o Hygiene protocols including but not limited to hand washing, etc.
                               o Stay-home-when-sick protocols
                               o Respiratory etiquette
                               o Avoiding close contact with people who are sick
                               o Social/physical distancing strategies
                     •    Training and project orientation procedures including but not limited to:
                               o Understanding symptoms of COVID-19
                     •    Jobsite exposure situations and stay-at-home and do-not-come-to-work protocols including but not
                          limited to:
                               o Employee experiencing COVID-19 symptoms
                               o Employee tests positive for COVID-19
                               o Employee has close contact with an individual who has tested positive for COVID-19
                               o Employee return-to-work procedures
                               o Confidentiality
                     •    Project staffing strategy to both adequately staff the project and limit exposure (e.g., dividing crews,
                          etc.)
                     •    Jobsite protective measures including but not limited to:
                               o General safety policies and rules
                               o Office and jobsite sanitation
                               o Meeting protocols
                               o Personnel and work area sanitation protocols
                               o Equipment and tool usage protocols
                               o Common drink source/watercooler protocols
                               o Jobsite visitors
                               o Delivery procedures
                               o PPE program including but not limited to mask, glove, respirator and eye protection use
                               o Lift and hoist use
                               o Stair, common corridor and tight workspace, etc. use
                               o Breaktime and lunch policies
                               o Work practice controls including but not limited to housekeeping and dust control, etc.
                               o Personnel wellness check procedures including but not limited to:
                                        • Self-reporting
                                        • Temperature checks, if applicable
                                        • Employee questionnaires and wellness checklists
                                        • Travel inquiries
                                        • Contact tracing
                                        • To mitigate the spread and exposure of COVID-19, Subcontractor will follow
                                             CDC recommendations, project-specific requirements, and all other applicable
                                             federal, state and local orders, including restrictions and self-quarantining
                                             requirements and will determine, to the best of their ability, that each employee is
                                             cleared to work that day including but not limited to:
                                                                                                      (Exhibit Revised 3/2020)


                                                                      SC26

                Rev. 1/2/15
                                                                                                      Document Generated from CMiC
                                                                  Page 66 of 174




                                                  NOTICE OF REMOVAL EXHIBIT 1 p. 84
  Case 3:25-cv-00020-LL-SBC                           Document 1-2 Filed 01/06/25                              PageID.93               Page 86
                                                             of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                                                  •     Employee is not experiencing any symptoms of COVID-I9 including
                                                        without limitation fever, shortness of breath or loss of taste or smell
                                                   • Employee has not traveled internationally or in a high-risk area
                                                        domestically over the past 14 days outside of the employee's typical
                                                        commute
                                                   • Employee has not had prolonged, unprotected, close contact (without
                                                        proper PPE) with anyone who has been diagnosed with COV1D-19 and
                                                        who has not fully recovered from COVID-19
                                                   • Employee has not had direct contact with infectious secretions (been
                                                        coughed/sneezed upon) with anyone who has been diagnosed with
                                                        COVID-19 and who has not fully recovered from COVID-19
                               o Jobsite social/physical distancing including but not limited to strategies for integrating
                                    social/physical distancing into activity hazard analysis:
                                         • Engineered controls
                                         • Administrative controls — work process changes
                                         • PPE
                     •     Jobsite cleaning and disinfecting protocols including but not limited to:
                               o Jobsite trailers and break areas
                               o Trash collection
                               o Sanitary facilities, if applicable
                               o Vehicles, tools and equipment
                               o Sanitizing equipment and supplies program
                               o Material Safety Data Sheets
                     •     Travel restrictions (e.g., public transportation, etc.)
                     •     Procedures and protocols for unique project conditions including but not limited to occupied
                           buildings, facilities with high-risk residents (e.g., healthcare, senior living), public interface, etc.
                     •     Job suspension procedures
                     •     Project start-up/return to shuttered project procedures
                     •     Supply chain monitoring/continuity plan
                     •     Record keeping program including but not limited to internal, external and OSHA

                 The guidelines set forth herein are based on current public health guidance (as .of April 3, 2020). Any
                 requirements which are contingent on the pandemic declaration including without limitation those pertaining
                 to medical inquiries and examinations, shall be deemed to lapse when the WHO declares an end to the
                 COVID-19 pandemic, or such other time as may be required by applicable law.




                                                                        SC27

                 Rev. 1/2/15
                                                                                                        Document Generated from CMiC
                                                                    Page 67 of 174




                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 85
  Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25       PageID.94   Page 87
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                                                      EXHIBIT G




        Proposed Construction Schedule
                              Fashion Valley Mall Redevelopment
                                            Phase 4




                                                                                               g PE
                                                             Page 68 of 174




                                               NOTICE OF REMOVAL EXHIBIT 1 p. 86
                                         Case 3:25-cv-00020-LL-SBC                                                            Document 1-2 Filed 01/06/25                                                                PageID.95                      Page 88
                                                                                                                                     of 213




DecoSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



      FVM - Renovation Phase 3, 4 5 10/11/2022                                                                                                    SD TEMPLATE - ARE                                                                                                                      12-Oct-22 03'17
    Activity ID        .„.   jActivity Name                                                       Orig ling       Start         Finish              2022                                                                                             car 2 2023
                                                                                                  Our                                       r2                 Qtr 3                           Qtr 4                            Qtr 1                                      Qtr 3               Qtr 4
                                                                                                       lien                                ,ay I Jun    Jul I Aug I Sep                Oct   I Nov I D               Jan      I Feb 1 Mar       Apr I May I Jun    Jul   1 Aug I Sep          Oct Nov
     IIFY_M2,Renovatio
                     -riPhTref
                             ,47g&IS 10/11/2022                                                   taplatigum
                                                                                                          4A•rii2
                                                                                                                1.
                                                                                                                 21:j lloan
                                                                                                                          ocialii
        PHASE 3 & 4                                                                               413     268 09-Mar-220      02-Nov-23

           MILESTONES 8 DURATIONS (LOE)                                                            268    268 31-May-22 A     02-Nov-23
               Concourse                                                                           267          31-May-22 A    31-Oct-23
                                                                                                          2676
                M&0.1000       Plaza Del Rio Phase III                                             0       19 I 31-May-22 A   07-Nov-22                                                             Plaza Del Rio Phase III
                M&D.1010       Concourse East                                                      153    153   16-Nov-22      27-Jun-23                                                                                                                          Concourse East
                M&D.1020       Perfonnance Court                                                   156    156   23-Nov-22      10-Jul-23                                                                                                                             Performance Cowl
                M&D.1050       Nordstroms Corridor                                                 144    144   30-Jan-23     22-Aug-23                                                                                                                                       1    Nordstroms Corridor
                M&D.1030       Macys Court                                                         168    168   03-Jan-23     29-Aug-23                                                                                                                                             Macy's Court
                M&D.1040       Concerns. West                                                      267    267   11-Oct-22      31-Oct-23                                                                                                                                                             Cot
               Escalators                                                                          147    147   05-Apr-23     02-Nov-23
       I        M&13.1070      Escalator Mesa Park                                               l_ 59] 59      05-Apr-23      29-Jun-23                                                                                                                          Escalator Mesa Palk
                M&D.1080       Escalator Macys Court                                             1 44 1    44   25-May-23      27-Jul-23                                                                                                                                 Escalator Macys Court       .
                M&D.1090       Escatator Nordstroms                                              1 92i_ 92      25-May-23     05-Oct-23                                                                                                                                                       Escalator N
                M&D.1060       Escalator Bloomingdal.                                            1 88 1   88    29-Jun-23     02-Nov-23                                                                                                                                                                  Es
           PRECONSTRUCTION                                                                        413     268 09-Mar-22 A    02-Nov-23
                                                                                             .                               .
               DeSign DeVelOpMe nt & GMP                                                          413     268; 09-fars-22 AI 02-Nov-23
                130.1000      (WT Scope Review with SPG                                             5 I    0; 09-Mar-22A I 09-6Mr-22A        with SPG
                B0.1010       -,
                               t-'
                                iAr
                                  5•T-
                                    srovide ROM( Reduced Scope)                                    14 j    0'10-Mar-22 A I 31-Mar-22A        ROM( Reduced Scope)
                13111020      'SPG Release Design Team - Phase 4                                   0 '.     0t1 -Apr-22A    us Design Team - Phase 4
                                                                                                       ,     1           V
                BD.1100       'SPG NTP to INT(Plaza Del Rio &AMC Tower)                          1 0 ...: _ 0; 17-May-22 I_ •SPG NTP to WT (Plaza Del Rio &AMC Tower)
                130.1120
                             4Early
                               -
                                    Plaza &AIX Towe New CoMract                               _ ,.....20 .„..._ 075--Apr-22 A' 247May-22 A
                                                                                              .                                              I=1 Early Plaza & AMC Towe New Contract
                             .4-          -
               80.1130        ;Plaza /AMC Tower Sid &Award                                       ' 20 I    0'13-6-4;y4
                                                                                                                     -22 A4 24-May-VA        m Plaza /AMC Tower Bid & Award
           -1313
              -1040--   . Design Development            (-
                                                         Reduced Soo
                                                                   ..)
                                                                    . Phase-hi . -
                                                                                 85 4-- -641-
                                                                                            61- -Apr--2-2
                                                                                                        -A--:- 03-Aug-22 A- 118'                 8”.
                                                                                                                                                   •••
                                                                                                                                                     •            • Design Developm nt Complete( Reduced Scope)Phase IV
                                                                                    -+                    --i-
                BD.1050 1Retease
                        i         WT to Bid - Phase 4                             8 . 0102-Aug-22 A 03-Aug-22 A                                                     1 Release WT to Bid - Phase 4
                 . _.        . _
                B0.1060  (IMP Complete To SPG - P17-1...i -                       10     0 06-Sep-22 A 06-Sep-22 A                                                           I (IMP Ccrsplete To SPG - Phase 4
                BD.1070        GMP SPG Review & Execute - Phase 4
                                                                          -__ _
                                                                               1--107--A-Lli-Sep-22 A...6_13-Sep-22 A                                                       cm GMP .1 PG Review & Execute - Phase 4
               ii3.1030 -
                        -      rF7lazaii;i Rio I -.    -..-,- -- -
                                                 AMC Tower Construction        -1 1111-,-- 191 31-May-22 A. 07-Nov-22
                                                                                      i
                                                                                                                                                                                                    Plaza Del Rio / AMC Tower Constnrstion
                B1).1080       Contracts & Procurment - Phased                   I 57     41[13-SepT- 271 05 -Dec-22                                                                                         Contracts & Procurrnent - Phase 4
               -80.1690 - - 4-
                            .Frr;ject-eomplete-----
                            L-
                                                                     -     - -- -                t-o - -01                    02-Nov-23                                                                                                                                                            4, pr,

                81/1110       Phased Construction                                              1 242j 24.2.1„16-Nov-22 ' 02-Nov-23                                                                                                                                                                       Ph
                                                                                              .4.--_ .
                                                                                              .                        _,,.
               BUYOUT                                                                            225 121 13-May-22 A l 04-Apr-23
                EILI11010      ' Bid Package 1-(AMC Tower & Flaze Del Rio) Phase 3               • 20       01 13-May-22A     20-May-22 A lw Bid Package 1-(AMC Tower & Plaza Del Rio)Phase 3
                EIUY.1000       Bid Package 2- Phase 4                                             15      0 I 15-Aug-22 A    30-Sep-22A                                              6 id Package 2 - Phase 4
                13UY.1050 Bid Package 3- Phase 4                                                   15       4126-Aug-22 A t    14-Oct-22                                                  Bid Package 3 - Phase 4
                  . - --,--- -    -           --
                BUY.1060  Bid Packaged -Phased                                                   , 15      15' 07-Oct-22A!     31-Oct-22                                                       Bid Package 4 - Phase 4
                                                                                                                   _
               SUY71070         Bid Package 5- Phase 4                                           • 14      14 j 12-Oct-22      31-Oct-22                                                       Bid Package 5 - Phase 4
                                                                                                                *-J--wki
                Bid Package 1 AMC Tower a Plaza Del Rio) Phase 3                                   30      0 E3flEEE111&5223.
                                                                                                                            =
                Bid Package 2(Phase 4)                                                           IFEIMEMITErlItioa                                                  -
                Bid Package 43(Phase 4)                                                          11:3111111131aMMI
                Bid Packaged (Phase 4)                                                           1111111111MMEMEEMEZINI
           I     BP3.1060
                 BP3.1036
                 8P3.1000
                              Bid Package 4 Start
                              -Award---
                                      10B Pit-Miens i Accessories - -
                                Award - 13A Water Features
                                                                               -
                                                                                                   0
                                                                                      . ---- - -' IS - IS
                                                                                                 • .15
                                                                                                            0' 07-Oct-22A


                                                                                                           15
                                                                                                                11-0-
                                                                                                                    ct-ii -4 31-O-
                                                                                                                                 m-222 -
                                                                                                                11-Oct-22' 31-0cl-22
                                                                                                                          .  -
                                                                                                                                                                                    •Bid Package 4 Stan
                                                                                                                                                                                             1 Award - 1013 Partitions &Accessories
                                                                                                                                                                                             I Award - 13A Water Features
                 8P3.1040      Award - 09B Tile                                                    15      15   11-Oct-22   31-00-22                                                         I Award - 09B Tile
                                                  _                                                                          -

      a.rsam Ramming Level of Effort                     Actual Level of Effort I      1 Remaining Work                                                 Page 1 of 10                                               TASK finer. All Activities
                   Planned Level of Effort   MM. Actual Work                    IIMM Critical Remainirg ..                                                                                                                                                                           0Oracle Corporation


                                                                                                                                                        Page 69 of 174
                                                                                                                                                                                                                                                                                             C




                                                                                                                            NOTICE OF REMOVAL EXHIBIT 1 p. 87
                                               Case 3:25-cv-00020-LL-SBC                                                           Document 1-2 Filed 01/06/25                                                                   PageID.96                          Page 89
                                                                                                                                          of 213




DocuSign Envelope ID: 1738A269-C865-466F-493C-574C6EE708A3



      FVM - Renovation Phase 34.5- 10/11/2022                                                                                                             SD TEMPLATE - ARE                                                                                                                     12-Oct-22 03:17
     Activity ID                    Activity Name                                              Orin                Start             Finish                                                                                                                          20 3
                                                                                               Our                                                3E           =111111:01E111111M                          ILM1.11111111111.111                                27            11111.111Z2          111111:3=11
                                                                                                        .,                                        311111111SMEIMIZME0311111231111=1111CMEMIECINIZE131111231112:71EM11111111E11/1111271111EMCIEW=1
           •          8P3.1050      Award - 07E1 Waterproofing                                  15      15! 11-Oct-22               31-Oct-22                                                              Award - 078 Wa orproofing
                      BP3.1070      Bid Package 4 Complete                                       0          01                      31-Oct-22                                                           •Bid Package 4 Complete
                     Bid ackage 5(Phase 4) ; • -, . ,                  ..k..                        ._5j_11-0ct-22
                                                                                              l_lAi.1                  A            31-Oct-22 •
                      BP4.1000    Bid Package 5 Start                                          1 0          0 12-Oct-22A                                                                            Bid Package 5 Start
                      BP4.1010     4 Award - 32A Pavers                                          15     151 11-Oct-22 j             31-0M-22                                                               Award - 32A Pavers
                                                                                                          1-                                                                                               Award - 09C Paint
                      13P4.1020     Award - 09C Paint                                         . 15      15 11-Oct-Z2                31-Oct-22
                      BP4.1030
                                   4_
                                   'Award - 07A Roofing                                       tis 1ii. 11_0... i
                                                                                              I o           0.                 T
                                                                                                                                    31-Oct-22
                                                                                                                                    31-Oct-22
                                                                                                                                                                                                           Award - 07A Roofing
                                                                                                                                                                                                        •Bid Package 5 Complete
                      BP4.1040      Bid Package 5 Complete
                    PR     REMENT , ...          _  ,                                           21      1        1 -Max-   A        04- _ _
                     AMC Tower 8. Plaza Del Rio Phase 3                                  89      0 17-May-22 A      06-Sep-22 A ,
                     Procurment Phase 4                                                  128 121 21.Sep-22 A         04-Apr-23 +
                      D sia(05. -rMaeils                                                 48    41 26,947-22 A         8-0e7=2211111
                loivlsion                                                                2011 20 1143c1:22          07-Nov-22
                 Di=7   :-.P07TT ermal and Moisture Proitrerction111111111111111=425
                         in                                                                     25 01-Nov-22         07-13e22
                 Division 08 - G e-E?8:GliziniTEIridiRs                                  55     55 (17-Oct-22        06-JaW-2311
                 Division 09 ,4! ing•hes                                               487     80 29-Se7422 A        06-Febt2311
                •DiV7sitr60-TPanitiors"8,Accesos rio?11M11111111111111111.1111.1111111.116511 165 101-N0v-22         06-Feb:2311
                  - '-' :m - !Water Fetture     ll111.111=11111                          95     95 111101;.No7-22 1120•Mar-23111
                  ivision. - Escalators                                                  128 11121 121-Sep-VA. 04-AF-23
                  P014.1000 Prepare Escalator Shop Drawings                                      1, 21-Sep-VA        11-Oct-22                                                                      Prepare Escalator Shop Drawings
                       P014 1010    Review/Approve Escalator Shop Drawings
                                                _
                                                                                             . 20 '
                                                                                             .    -...
                                                                                                        20, 12cici-22 " - 00-No 22-
                                                                                                       .+-•
                                                                                                                                                                                                              eview/A
                       P014.1030    Procurment Bloomingdates escalator -                       100 100 09-Nov-22-
                                                                                                              '   04-Apr-23                                                                                                                             Procurment Bloomingdal. escalator
                •      PD14.1040    Procurement Mesa Park Escalator                           . 100     100      09-Nov-22          04-Apr-23                                                                                                           Procurement Mesa Park Escatator
                       P014.1050    Procunnent Nordstrom Escalator                              100     100 • 09-Nov-22             04-Apr-23                                                                                                           Procurment Nordstrom Escalator
                      Division 21,ZFire Protection                                              301     30 .1111.0c1-22111.121•Nov‘2211
                      Division 222Plumbing                                                     16511.65      11-0F.22 11/16.:Uant231
                      13i7=  41.26.Electrical                                                     8511 85 1111•;OCI-Y2     13-Feb 231
                               .. ,   --                                                                                                                                                       I
                        ivision 32 - Landsceo                                                 ll 85     85 (11.;OCTM        3-Feh=2311
                    ONSTRUCTION                                                                  357 , 268 j       -22 A. 02-N07-23,2
                                                                                             .   ....1
                OUAUTY ASSURANCE                                                             .     5     0 21-Sep-VA 27-Sep-22 A
                                                                                                                        -e
       I            ADA.1000        02ADemo1ition - TSON,                                          5     0 21-Sep-22 A 27-Sep-22 A                                                     00           Demolition - TSCINP
                    A0A.1010       .02ADemolition - Ptekl      ll talon Neethg                   5          0 21-Sop
                                                                                                                  -22A' 27-Sep-22 A                                                    00           Demolition - Reinstallation Meeting
       t            A0A.1020        02A Dernolitio n - .Frst Viknic Inspection                   5          0 21-Sep
                                                                                                                  -VA              27-Sep-22A                                          00           Demolition - Rrst Nbrk Inspection
                A MC TOWER/UPPER LEVEL Phase 3                                                  146     75. 31-May-22 A.            22-Feb-23
            Upper Level-N                                                                       51 1    5        22-Nov 22
           -
             -MC Tower                                                                       -li *4 1       T"St-Ida 22 /1          13-Oct-12
             CAT.1000     Temp Conditions/Barricades                                             2          0 31-May-VA            31-May-VA           1 Temp Conditions/Barricades
                     CAT.1040       Scaffold                                                     4          0 31-Map-VA 07-Jun-22A                     ICI Scaffold
           .                                                                                                         _    .       .
                     CAT.1010       Demo Tower(Substantial)                                      16         0 07-Jun-22 A 29-Jun-22 A                   1 =1 Demo Tower(Substantial)
                                                                                                                                                        :
                                                                                                                        „      . .
                                                                                                 3 *        0 11-Jul-22 A   20-Jul-VA                         0
                                                                                                                                                              1  MEP Rough In
                    _ CAT.1070
                        .           MEP Rough In
           -          CAT.1020      Framing Tower                                                10         0 05-Jul-22 A          20-Jul-22A                   I= Framing Tower
                     CAT.1360       Niche Drains       .                                         2          0 14-Jul-22A
                                                                                                            '                      20-Jul-VA                     0 Niche Dmins
                     CAT.1390       Lower Level Framing                                          3          0 25-Jul-22 A . 05-Aug-22 A                                = Lower Level F
                                                                                                                                                                       I                            g
                     CAT.1400       Lower Level MEPF Complete                                               0 03-Aug-22 A          09-Aug-22 A                            0 Lower Level M          F Complete
               -_
                     CAT.1380       Inspection Framing & MEP Upper                               0          0 20-Jut-z2 A 17-Aug-22 A                                                     .MEP Upper
                                                                                                                                                                      1= Inspection Fring 8
                                                                                                                      . ..    .. .
                     CAT.1430       Sheathing tile pockets Dense Glass                                      0 23-Aug-22 A 23-Aug-22 A                                           1 Sheathing t e pockets Dense Glass
                     CAT.1370       Sheathing upper Tower Dense Glass                            3          0 19-Aug-22 A          25-Aug-22 A                                 0 Sheathing ppor Tower Dense Glass
                     CAT.1450       Pocket Hard board                                            1          0 26-Aug-22 A • 26-Aug-22 A                                          I Pocket Ha       board

                        Remaining Level of Effort            Actual Level of Effort0Remaining Work                                                            Page 2 of 10                                                TASK filler. All Activities
                        Planned Level of Effort     =Actual Work                 =1 C ideal Remaining._                                                                                                                                                                                     0Oracle Corporation


                                                                                                                                                                                                                                                                                                    C".*
                                                                                                                                                              Page 70 ol 174




                                                                                                                             NOTICE OF REMOVAL EXHIBIT 1 p. 88
                                           Case 3:25-cv-00020-LL-SBC                                                              Document 1-2 Filed 01/06/25                                                           PageID.97                            Page 90
                                                                                                                                         of 213




DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3



      FVM - Renovation Phase 3, 4,5 - 10/11/2022                                                                                                    SD TEMPLATE • ARE                                                                                                                        12-0c1-22 03.17
     ACtIVIty ID               Activity Name                                                    Orlg ling    Stan                   Finish            2022                                                                                                 2023
                                                                                                Our                                           r2                 Cttr 3                  00r4                                CM 1                     00r2                       Cttr 3           001 4
                                                                                                     non                                      ay I Jun    Jul I Aug I Sep         Oct I Nov I Dec                     Jan   I Feb I    Mar      Apr I May I Jun          Jul   I Aug I Sep       Oct INov
             CAT.1350          Parapet Flashing & Sealants                                       2      0 31-Aug-22 A             09-Sep-22 A                           ICI Parape Flashing & Sealants
             CAT.1320          Roofing at Niches & AMC Roof                                         4          0 31-Aug-22A       09-Sep-22A                                 CII Roofin at !Aches &AMC Roof
             CAT.1120          Decorative Tile Pockets                                              12         0 30-Aug-22 A      13-Sep-22 A                             I=1 Decorative lle Pockets
             CAT.1410          Lower level Dense Glass                                              3          0 , 30-Aug-22 A    16-Sep-22 A                             I=1 Lower level Dense Glass
             CAT.1340          Install Light Fistulas                                               4          0 t. 28.Sep-22 A   07-0c1-22 A                                       11= Install Light Fixtures
             CAT.1470          Paint Tower Complete                                                 3          01 05-Oct-22A      07-Oct-22A                                          I Paint Tower Complete
             CAT.1090          Lath & PlasterTower Complete                                         16         0'26-Aug-22 A      10-Oct-22 A                            I                 Lath & PtasterTower Complete
             CAT.1140 _ 'Remove Scaffold                                                  ----3                3 12-Oct-22 A      13-Oct-22                                              3 Remove Scaffold
                                                            _ _              - ---    -
            PLAZA D
                  'EL RIO Phase 3                                                                   73        15 27-Jun-22 A      07:Nov72-Z-
            Sequence 1                                                                       riTZ              0 -2-7•Jun2A       2041A-ftA             13.11111   1
                                   _   _
            Sequence 2                            -                                                 28 ,:      0 214,0-22 A       VS-Sep-22 A                      en oneoos:=
                                                        _
            -Sequence 3                                                                       !-- 28 -'! -13 10-Sep-22
                                                                                                               -       A' 02-Nov-22 -                                           ilEEEIMIIM6111111.10
            CONCOURSE EASTPhase 4                                                                   262       262   19-Oct-22     02-Nov-23
            Bridge *1(Pull Scene CRol ....2
                                          .9                                                        115       tir ra-roctet                  3
             BR11.1200  ; Remove Trees                                                        , 3              3    19-Oct-22     21-Oct-22                                                0 Remove Trees
                        t
             BRI1.1020    Demo Bridge                                                         I 10            10    19-Oct-22     07-Nov-22                                                O Demo Bridge
                        1
             BRI1.1040  ,Column Improve @ Rolex
                                             -                                                      6          6' 07-Nov-22       16-Nov-22                                                        17:1 Column Improve @ Rolex
                    : ' I
            IRI1.1030   , Structur;1 Steel                                                  - 10 4 10 16--Nov-22 I 06-Ciec:22                                                                          0Stnictural Steel
                                                                                            r
            . IfR11.1050 'Scaffold -Bridge                                                    I      2 03-Jan-23. 1 05-Jan-23                                                                                    0 Scaffold Bridge
                                                                                           -4- --4-.--r-
             BRii.1060         Framing                                                        10    10 05-Jan-23    24-Jan-23                                                                                     I= Framing
        •    BRI-1.1071:71   .Planter Sheathing     1                                               4          4    24-Jan-23      31-Jan-23                                                                            0 Flanter Sheathing
                                                                                             -r-          r     -
             BR11.1090         MEP Rough in                                                         3          3 31-Jan-23        06-Feb-23                                                                                 0 MEP Rough in
                                         -    . - -- ----
             13R11.1080        Lath & Plaster                                                       16        16    24-Jan-23     21-Feb-23                                                                             CI Lath & Plaster
             13
              --
               RI-1.1110
                  -    ' Scaffold
                                ' lie-
                                     move ------ ----- -'-'                 -
                                                                            - --.---3 ...                      3 - 21-FTb-23 --r---27-FiXb.23 -                                                                           0 Scaffold Remove
             BRI1.1100         Fiberglas; Liner Field Measure 8
                                                              .Procure                              16        16    31-Jan-23     28-Feb-23                                                                                 O Fiberglass Liner Field Measure & Procure
                                           _
             BRI1.1120         Planter INaterproof                                            4 '              4    28-Feb-23     07-Mar-23                                                                                       0 Planter Waterproof
                                                                                            •   .4
             BRI1.1130        ..NIEP Trim                                                     2                2    07-Mar-23     09-Mar-23                                                                                           0 MEP Trim
                                                                -                           .
             0R11.1140         Flouter al &"Inigatio-n                                        0                0    07-Mar-23     14-Mar-23                                                                                           0 Planter fill & Irrigation
                                                                                                          4    .
             BRI1.1150         Glass Railing & Base Shoe                                            4          4    09-Mar-23     16-Mar-23                                                                                           0 Glass Railing & Base Shoe
                                                                                             ....         4                • +
             BRI1.1160         Bridge Pavers                                                        4          4    14-Mar-23     21-Mar-23                                                                                             0 Bridge Pavers
                                                                                            ...,     -4
             BRUM 70
                   -         *Stainiess
                                      -C;ping i Fleshings                                            3         3    16-Mar-23
                                                                                                                            ' - 22-Mar-
                                                                                                                                      -23 .                                                                                             0 Stainless Coping & Fleshings
                                                ---                    -      -
            -13-12ii.11813    lid xi9
                             "-     7Tile
                                      '- -                                                          4          4    21-Mar-23     28-Mar-23                                                                                               0 Bridge Tile
                                                        -
             BRI1.1190        Bridge Lighting                                                       4          4    28-Mar-23     04-Apr-23                                                                                                  0 Bridge Lighting
            Brldipo R T4.cklcid Scope                                                         .
                                                                                              14
                                                                                               ..
                                                                                                2 LI 92             19-Oct-22     02-kker-23
             BRI2.1010    MEP Safe off                                                               3         1    19-0=-22      25-Oct-22                                                0 MEP Safe off
             BRI2.1130         Remove Trees                                                         2"         2    24-Oct-22     25-0m-22                                                   I Remove Trees
             13R12.1020        Demo Bridge                                                          10 .      10    01-Nun-fl     23-Nov-22                                                      0 Demo Bridge
             BRI2.1040         Framing                                                              8          8    01-Dec-22 . 14-Dec-22                                                         P Framing
                                                      -         .
             B-R12.1050- -nIEP Rou-
                                  gh-in                                                      - 2-              '
                                                                                                               2 15-Dec-22        20-0-ec722-                                                                0 MEP Rough in
             BFt12.1030      'Scaffold Bridge                                                       2 -        2 03-Jan-23° ' 05-Jan-23                                                                          0 Scaffold Bridge
             BRI2.1070         Glass Railing & Base Shoe                                            8          8    05-Jan-23     19-Jan-23                                                                      Q Glass Railing & Base Shoe
             BR12.1060         Lath & Plaster                                                       16        16    05-Jan-23     02-Feb-23                                                                       1         1 Lath & Plaster
             BRI2.1080        'Stainless Coping & Fleshings                                         4          4    02-Feb-23     09-Feb-23                                                                                 0 Stainless Coping & Fleshings
             BFU2.1096       'Scaffold Remove                                                       4'         4    02-Feb-23     09-Feb-23                                                                                 0 Scaffold Remove
             BRI2.1100         Bridge Pavers                                                        4          4    09-Feb-23     16-Feb-23                                                                                   0 Bridge Pavers
             BRI2.1110         Bridge Tile                                                          4          4    16-Feb-23     23-Feb-23                                                                                    0 Bridge Tile


      =mama Remaining Level of Effort                       Actual Level of Effort O Remaining Work                                                     Page 3 of 10                                             TASK filter. Al Activnies
                 Planned Level of MO         I=1 Actual Work                  M1=11 Critical Remaining_                                                                                                                                                                               iii Oracle Corporation


                                                                                                                                                        Page 7101174
                                                                                                                                                                                                                                                                                                .'N




                                                                                                                                NOTICE OF REMOVAL EXHIBIT 1 p. 89
                                         Case 3:25-cv-00020-LL-SBC                                                              Document 1-2 Filed 01/06/25                                             PageID.98                            Page 91
                                                                                                                                       of 213




DocuSIgn Envelope ID: 17384269-C865-466F-A93C-574CEFE7D8A3



      FVM - Renovation Phase 3.4. 5- 10/1112022                                                                                                      SD TEMPLATE -ARE                                                                                                        12-Oct-22 03:17 I
     Activity ID              Activity Name                                                   Drig ring          Start           Finish                2022                                                                            2023
                                                                                              Our                                              r2                01r3              01r4                     CM 1                 Otr 2                           Otr 3            Otr 4
                                                                                                   Non                                         ay I Jun    Jul I Aug I Sep   Oct I Nov I Dec       Jan    I Feb I Mar     Apr I May I Jun                Jul   I Aug I Sep       Oct INov
               13R12.1120     Bridge Lighting                                                  4      4        23-Feb-23        02-Mar-23                                                                      0 Bridge Lighting
              Concourse East Lower 6avel                                                     ;IA us z3-ie3.,-22                  u,ss-.23
              CELL1020        Demo Ramp Soffit                                                 6          6    23-Nov-22        06-Dec-22                                             1:=1 Demo Ramp Soffit
              Ca-.1030        Frame Ramp Soffit                                                 3         3    06-Dec-22        12-Dec-22                                               0 Frame Ramp Soffit
              CELL:1040       MEPF Ramp Soffit                                                  2         2    12-Dec-22        14-Dec-22                                                0 MEPF Ramp Soffit
              CELL.1050       Lath & Plaster Plaster Ramp Soffit                               16         16   14-Dec-22        16-Jan-23                                                  I          1 Lath & Plaster Plaster Ramp Soffit
              CELL.1140       Temp Condition Hardscapes                                        4          4    27-Feb-23        06-Mar-23                                                                         0 Temp Condition Hardscapes
              CB-1-1060     Demo Hardscape for Civil Improvements                              8          8    06-Mar-23        20-Mar-23                                                                            1=1 Demo Hardscape for Civil Improvements
                         .-
              CELL1100      Renovate Inkier Feeble,                                            164 16          06-Mar-23 I      03-Apr-23                                                                                I Renovate Water Feature
                        ....-
              CELL.1070     Civil Improvements                                               „ti 12_4 124. 20-Mar-23            10-Apr-23                                                                               0Civil Improvements
              CELL.1150      SO to Escalator                                                    4 ---r
                                                                                                    ,_ 4       10-Apr-23        17-Apr-23                                                                                  0 SO to Escalator
              CELL1160        Electrical To Escalator                                          4'
                                                                                                --44 10-Apr-23                  17-Apr-23                                                                                     0 Beatrice! To Escalator
        • CELL.1080           Hardscapes                                                       20 1      2131 10-Apr-23         15-May-23                                                                                     I         I Hardscapes
        '                                                                                                                                                                                                                               I      I Landscaping
          CELL1090            Landscaping                                                      16        164 15-May-23          13-Jun-23
              CELL11-10     -
                            Mtfis Trim
                                  '   -s -       -- —                                          4          4    13-Jun-23        20-Jun-23                                                                                                      0 MEP Trims
              CELL.1120       Final Clean                                                                 4    20-Jun-23        27-Jun-23                                                                                                       0 Final Clean
              CELL1130        Remove Barricades                                                 3         3    27-Jun-23        03-Jul-23                                                                                                         0 Remove Barricades
             . BLE1120      +New Es-Ca:tenor/Canopy Footings                                   6 1 - 6+ 03-Jul-23 *             13:Jul-23                                                                                                              I=1 New Escalator/Canopy Footings
               °moors'       st Upper Level '                                                7 SO ,i 66
                                                                                                      ' 0744(ov.22              -21.
                                                                                                                                   -Feb.I3
              CEUL.1000 1Temp Barricades                                                        3         3    07-Nov-22        10-Nov-22                                         0 Temp Barricades
              -   .                                     _                 _
              CEUL1010   Demo Piers                                                            8          8    10-Nov-22        28-Nov-22                                         (=1 Demo Piers
         .    - -       4- -    -                                                                                          ..
              CBJL.1020  Demo(E)Canopy & Shade Structures                                      81         8* 28-Nov-22          12-13.722. .                                          0 Demo(E)Canopy & Shade Structures
              CEU L.1030     Strucrual Steel(HSS)Install(Canopy)                               10         10   12-Dec-22        28-Dec-22                                                0 Strucrual Steel(HSS)Install(Canopy)
              CEU L.1040      Frame Parapet & Piers                                            5          5    28-Dec-22        09-Jan-23                                                       CO Frame Parapet & Piers
             -CBJL.1050     flAbterprocdPerapet & -Reis                                         4         4    09-Jan-23        16-Jan-23                                                         0 Waterproof Pervert & Firrs
             -                                                -           -                                                           -
              CE3J L.1060   • Paving at Parapet & Piers                                        5          5 16-Jan-23           24-Jan-23                                                             CI Paving at Parapet & Piers
                                                                                                    .4     4
              CBJL.1070    Decorative Metal at Shade Structures                                10        10 24-Jan-23           09-Feb-23                                                              0
                                                                                                                                                                                                       ( Decorative Metal at Shade Structures
                     -   4- •      -- -          .- . _
             -Cr-BA-1080   Decorative Metal Parapets                                   - 8' 84 09-Feb-23                        23-
                                                                                                                                  -ieb:23                                                                  0 Decorative Metal Parapets
              Bicsornvingdale's iscalator                                                      70 . 761
                                                                                                      • 29-Jun-23 ..,. 0i-Nov-23"
                                                                   ,
              BLE1000  Temporary Conditions                                                     1         1 . 29-Jun-23         03-Jul-23                                                                                                          0 Temporary Conditions
                      + - --
             -BLE1010  Decommission and Demo   - BloOmingdale's Escalator .            -'16 '‘           16                   Aug=23 .
                                                                                                               03-Jul-23- 01--"                                                                                                                                 Decommission and Demo Bloc
                                - — .— - —
              BLE1040  Install New Escalator Assemby                                           16        16 01-Aug-23   29-Aug-23                                                                                                                                      Install New Escalator /
                      +                       -
              BLE1050  Framing/Drywall at Escalator and Hardlid                            8 f            8` 29-Aug-23  13-Sep-23                                                                                                                                          Framing/Drywall a
                                                                        _              --•   +             I-        -.    _ .-
              01E1060' Escalator-Canopy Steel ,                                            8              8 13-Sep-23   27-Sep-23                                                                                                                                        IBM Escalator Can
               El LE1130     Canopy SO to Grade                                                4          4    27-Sep-23        04-001-23                                                                                                                                    0 Canopy SD
              -8181070      +Escalator Canopy Glazing                                          8 - '
                                                                                                   13 27-Sep-23 .               11:173J+23 .                                                                                                                                 MEI Escalator
                                                                                                 •  ,
              BLE1080         Finishes                                                         6   6 11-Oct-23                  23-Oct-23                                                                                                                                        MI Finish
              8181090         MEP Trims      _                                                 4          4    23-00-23         30-Oct-23                                                                                                                                            a MEP
                                                                          -            -        .                                            .
              81E1100       .4
                             . Final Clean                                                     2          2    30-0m-23         31-Oct-23                                                                                                                                              I Fin
                                                                                        _
              BLE1110       .Remove Barricades                                                  2 C       2. 31-Oct-23- . 02-Nov-23                                                                                                                                                    1 Re
             PERFORMANCE COURT Phase 4                                                         183       183   24-Oct-22        17-Jul-23
         _ B09itCertL
              8RI3.1010     .MEP Sate off                                                      2          2    23-Non-U         28-Nov-22                                            0 MEP Safe off
              131213.1020    Demo Bridge                                                       8          8, 23-Nov-22          08-Dec-22                                            0 Demo Bridge
              BRI11030       Structural Steel Upgrade                                          8'         Li   08-Dec-22        22-Dec-22                                             C7) Structural Steel Upgrade

      f. i   .13R111050      Framing                                                    „,     8          8    22-Dec-22        10-Jan-23                                                      =
                                                                                                                                                                                               1 1 Framing


      rmaree. Remaining Level of Effort                 Actual Level of Effort 1=I Remaining Work                                                      Page 4 of 10                              TASK filter Al Activrties
                 Planned Level of Eftorl     1=1 Actual Wont              MN= Critical Remaining ...                                                                                                                                                                    0Oracle Corporation



                                                                                                                                                       Page 72 of 174




                                                                                                                           NOTICE OF REMOVAL EXHIBIT 1 p. 90
                                        Case 3:25-cv-00020-LL-SBC                                                             Document 1-2 Filed 01/06/25                                               PageID.99                             Page 92
                                                                                                                                     of 213




DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3



      FVM - Renovation Phase 3. 4, 5- 10/1112022                                                                                                     SD TEMPLATE - ARE                                                                                                      12-Oct-22 03:17
     Activity ID              Activity Name                                                       OrIg ling          Start      Finish                 2022                                                                                 2023      .
                                                                                                  Dur                                          r 2                Qtr 3            Qtr 4                  Qtr 1                        00r2                     Qtr 3            CM 4
                                                                                                                 •
     .
     .                                  .                                                              Hon                                     Ay I Jun    Jul I Aug I Sep   Oct I Nov I Dec        Jan I Feb I Mar              Apr I May 1 Jun      . Jul   I Aug I Sep       Oct INov
               131113.1060    MEP Rough in                                                         2      2     10-Jan-23      12-Jan-23                                                            0 MEP Rough in
               BR13.1080      Glass Railing & Base Shoe                                            2      2     10-Jan-23      12-Jan-23                                                            0 Glass Railing & Base Shoe
               BR111040       Scaffold Bridge                                                      3      3 10-Jan-23          16-Jan-23                                                           0 Scaffold Bridge
               B11111090      Planter Sheathing                                                    3      3     10-Jan-23      16-Jan-23                                                           0 Planter Sheathing
               BRI3.1070      Lath & Plaster                                                       12    12     16-Jan-23      06-Feb-23                                                              r----) Lath & Plaster
               B1113.1100     Fiberglass Liner Field Measure & Procure                             12    12     16-Jan-23      06-Feb-23                                                             1=1 Fiberglass Liner Field Measure & Procure
               BR13.1130      Planter Iffisterprooffig                                             2      2     06-Feb-23      07-Feb-23                                                                       I Planter lAlaterprooln g
               BR13.1110      Stainless Coping & Fleshings                                         3      3     06-Feb-23      09-Feb-23                                                                       0 Stainless Coping & Fleshings
               BR13.1120      Scaffold Remove                                                      4      4     06-Feb-23      13-Feb-23                                                                       0 Scaffold Remove
               BR13.1150      Planter Landscape                                                    5      5     07-Feb-23      15-Feb-23                                                                       0 Planter Landsc.ape
               EI023.1140     Bridge Pavers                                                        4      4     09-Feb-23      16-Feb-23                                                                       0 Bridge Pavers
               13R13.1160     Bridge Tile                                                          4      4     16-Feb-23      23-Feb-23                                                                        0 Bridge Tile
               BRI3.1170      Bridge Lighting                                                      2      2     23-Feb-23      27-Feb-23                                                                           0 Bridge Lighting
              V3; 1:7=11711T‘r TESIZI                    .. _ .-.                          , I ij./ I WI"4'19-1
               BR13.1180      Owner relocate Vender Carts 8                                     0      0        I              24-Oct-22                                      •Owner relcoate Vender Carts 8'
               BRI4.1180      Remove Trees                                                         3      3     26-Oct-22      28-Oct-22                                        l) Remove Trees
               EI024.1010     MEP Safe off                                                         2      21 23-Nov-72         28-Non-fl                                               0 MEP Safe off
               BRI41020       Demo Bridge                                                          8      8     08.0eo.22  22-Dec-22                                                      0 Demo Bridge
                                                                                          .-,-1                         -   __----.
              81114.1030     Etructural Steel                                                      8      8     22-0ec-2.2 10-Jan-23                                                       O Structural Steel
               13R14.1050     Framing                                                              8      8     10-Jan-23      24-Jan-23                                                          0 Framing
                             r
          EIR14.1060         [MEP Rough in                                                         3      3     24-Jan-23      30-Jan-23                                                           0 MEP Rough in
         -                                                                                                                                 -
          B1114.1040         I Scaffold Bridge                                                     3      3     24-Jan-23      30-Jan-23                                                                0 Scaffold Bridge
               BRI4.1090     I Planter Sheathing                                                   3      3     24-Jan-23      30-Jan-23                                                                0 Planter Sheathing
          BRI4.1080  j Glass Railing & Base Shoe                                                   4 .
                                                                                                     t .....11 24-Jan-23       31-Jan-23                                                                0 Glass Railing & Base Shoe
         --                            _--.
          BRI4.1070  j Lath & Plaster                                                              12' 12 30-Jan-23            20-Feb-23                                                                  O Lath & Plaster
         - _- _-     t                                                                    -I-       -*   t                    .
          BRI4.1100    Fiberglass Liner Field Measure & Procure
                _ -,.._ _                          --      -- -__
                                                                                   ....            12    I, L
                                                                                                           30-Jan-23           20-Fab-23                                                                  O Frbergthss Liner Field Measure & Procure
          13R14.1130   Planter lAbterproo ring                                               ' 3         -31 29
                                                                                                              -Feb
                                                                                                                 -231 -23-Feb-23                                                                                   0 Planter 1Naterproofitg
                     ...--
                     .
          BR14.1110  I Stainless Coping & Fleshings                                         . 4           4     20-Feb-23
                                                                                                                      - 1 -27-Feb--23---                                                                          0 Stainless Coping & Fleshings
               BR14.1120     I Scaffold Remove                                                     4      4     20-Feb-23      27-Feb-23                                                                          0 Scaffold Remove
                                                                                                                                 -
              80241140 1-B4dge Pavers                                                     -1.--
                                                                                              4--
                                                                                                , 4             27-      23J - 06-Mar-23                                                                            0 Bridge Pavers
              81914.1150      Plantar Landscape                                                    5      SI 23-Feb-23         06-Mar-23                                                                           f0 Planter Landscape
               13R91.1160    ,Bridge Tile                                                 -1 4            41 06-Mar-23         13-Mar-23                                                                            0 Bridge Tile
                                                          -.
               BRI4.1170      Bridge Lighting                                                      2      21 13-Mar-23         14-Mar-23                                                                                 I Bridge Lighting
         IIIIPINgT'.11!i       cf7V'  -1114110.1n1116M31.1111.13111/=FigillUrr=n1713=111
            BR15.1130        ; Remove Trees                       " 4  ...fij
                                                                           , 15-Dec-22 20-13ac-22                                                                                           0 Remove Trees
               BR15.1020      MEP Safe off                                                         2      2j 22-13ec-22        27-12.-22                                                      0 ME? Safe off
               BRI5.1010      Demo Bridges                                                         8
                                                                                                   1111 22-Ciao-22 i 10-Jan-23                                                                O Oerno Bridges
                                                                                                         - - -       -- -
               BR15.1040     'Framing                                                       8      13 10-Jan-23      24-Jan-23                                                                 0 Framing
                                                                                           ' --,---,--         ---4.
               BRI5.1050      MEP Rough in                                                  2      21 24-Jan-23      26-Jan-23                                                                           0 MEP Rough in
                                                     - -- --
               13R15.1070     Glass Railing & Base Shoe                                         2         2; 24-Jan-23         26-Jan-23                                                                 0 Glass Railing & Base Shoe
                                                                                    _       . _
               BRI5.1039      Scaffold Bridge                                                  3          .34 24-Jan-23 ..     30-Jan-23                                                                0 Scaffold Bridge
                                        -          . -     - --                     -       -r
               BRI5.1060      Lath & Plaster                                                   16        16     30-Jan-23      27-Feb-23                                                                   I         I Lath & Plaster
                                                                           -
               BRI5.1080          Stainless Coping & Fleshings                                     4      4     27-Feb-23 I 06-Mar-23                                                                                0 Stainless Coping & Fleshings
                                                    .- -
          --BRI5.1-1390       .-Scaffold Remove                                                    4      4     27-Feb-23      06-Mar-23                                                                             0 Scaffold Remove
                                                     -_ ---                                  ..
          -    BRI5.11
                     -00     - •• Bridge Pavers                                                    4    '
                                                                                                        4 06-Mar-23-23 4 13-Mar-232-3                                                                                 0 Bridge Pavers
                                                                                                        ....
    BRI5.1110                 Bridge Tile                                                          4    4 13-Mar-23 ' 20-Mar-23                                                                                          0 Bridge Tde
   -

      esearawr Remaining Level of Effort     wwwww Actual Level of Effort0Remaning Work                                                                Page Sal 10                                TASK fifer: All Activities
                  Planted Level of Effort    1==I Actual Work            ECM Critical Remainng ..                                                                                                                                                                    0Oracle Corporation



                                                                                                                                                        Page 73 of 114




                                                                                                                             NOTICE OF REMOVAL EXHIBIT 1 p. 91
                                         Case 3:25-cv-00020-LL-SBC                                                              Document 1-2 Filed 01/06/25                                            PageID.100                                Page 93
                                                                                                                                       of 213




DocuSign Envelope ID: 1738A269-C885-466F.A93C-574C6FE708A3



       FVM - Renovation Phase 3. 4, 5- 10/11/2022                                                                                                    SO TEMPLATE - ARE                                                                                                             12-0c1-22 03:17
     Activity ID                  Activity Name                                              Drig ring           Start           Finish                2022                                                                                  2023
                                                                                             Our                                               T2                 Qtr 3              Qtr 4                     Qtr 1                   Qtr 2                           Qtr 3            Qtr 4
                                                                                                  Lion                                         ay I Jun    Jul I Aug I Sep   Oct   I Nov I Dec        Jan    I Feb I    Mar    Apr I May I Jun                Jul    I Aug I Sep       Oct INov
     -
               BRI5.1120    Bridge Lighting                                                   2      2         20-Mar-.23. ..   21-Mar-23 .                                                                               1 Bridge Lighting
                .„. , . _ . ..             _.
           C. PerfOrManCer Couritow•;Level                                                  ,i. tbs= IDS" 10.4an-23             17-JW-2t1 '
                 PCL.1020         Demo Ramp Softits                                             6         6' 10-Jan-23 I        19-Jan-23                                                             01 Demo Ramp Soffits
                 PCL.1030         Fnsrning Soffits                                              5         5    19-Jan-23        30-Jan-23                                                               1=1 Framing Soffits
                                                                                           4                                                                                                                 I MEP Soffits
                 PCL.1040         MEP Soffits                                                   2         2    30-Jan-23        31-Jan-23
                 PCL.1050         Lath a Plastar Soffits                                        12       12    31-Jan-23        21-Feb-23                                                                   = Lath & Plaster Soffits
                                                                             -
                 PCL.1140         Temp Conditions Hardscape                           -1. 2 -.-- 2t -16-1,tar
                                                                                                           -ac- 08-Mar-23                                                                                              0 Temp Conditions Hardscape
               _ PCL.1060         Demo Haniscape                                             1 8          81 08-Mar-23_1        22-Mar-23                                                                              1=1 Demo Hardscapa
                PCL.1070  Civil Improvements                                               -
                                                                                           ++,..._16 -1-7161 -22-Mar-23L
                                                                                                                    _, 1i:4
                                                                                                                          - r-23 -                                                                                             O1 Crvil knprovements
                -        ---- --
                PCL.1080  Hardscapes                                                        I -271-241 719-Ap
                                                                                                            - ;723 I            01-Jun53--                                                                                                    Hardscapes
                                                                        -
                                                                        -
                 PCL.1090         Landscaping                                         - 1 12 -F. Tit 01-Jun-23--.               22-Jun-7
                                                                                                                                       73--                                                                                                      = Landscaping
                                                                                        I
                 PCL.1110      1, MEP'Dims                                                4       4 22-Jun-23                   29-Jun-23                                                                                                         0 MEP Trims
                                                                        _    -
                 PCL.1120         Final Clean                                         - 4
                                                                                        .
                                                                                        .. - ri' -t-
                                                                                                  A - 41-215-lun=-2
                                                                                                                  .-3-1.        1-F-Jii-ii-                                                                                                               c3 Final Clean
                 PCL.1130         Remove Barricades                                         ; 4 I - 4.1: -10-1-
                                                                                                              111-73 -t         17-Jul-2.3 -                                                                                                                 0 Remove Barricades
               )
               feltfor
                   ' ManCe -C.Oltrt Upper-Level'                                             .- 53 7 ss , 2r-Oec,42             2thir443
                                                                                                                                               4
           •    PCUL1000 1Temp Barricades                                                   ' 2 '         2:, 22-Dec-22,27-Dec-Z2                                                            0     Temp Barricades
                 PCULi010   Donna'Piers - -      - --                                       1'
                                                                                             - 5   5' 27-Dec-22 -`              05-J   -23                                                       1=1 Demo Piers
                               .     - - -             _    _                                                  -1-
                 PCUL.1020  Demo(E)Canop & Shade Structures                                    5 • 5 05-Jan-23                  16-Jan-23                                                          1=1 Demo(E)Gallop & Shade Structures
                                                               _             ._ _
                 PCUL.1030 1Stmcrual Steel(HSS)Install(Canopy)                              . 10't 10 .16-Jan-23 -I
                                                                                                                  ' 31-
                                                                                                                      -Jan-23                                                                        O Strucmal Steel(HSS)Install(Canopy)
                 PCUL1040         Frame Parapet & Piers                                         5         5 31-Jan-23           08-Feb-23                                                                   0 Frame Parapet8 Piers
                              1                                                                      •    '                                                                                                   0 lAb terpro of Perry et 8 Piers
                 PCUL1050         Waterproof Parapet & R ers                                    4         4 08-Feb-23           15-Feb-23
                                                                    .   .
                 PCUL1u60         Paving at Parapet & Piers                                     5         5. 15-Feb-23          23-Feb-23                                                                       0 Paving at Parapet & Piers
                                                                             -                                                            -.
                 PCUL.T-
                       074-3 +Decorative Metal at Shade StruMu-r;                               10       10. 23-Feb-23          14-Mar-23                                                                          1 -1 Decorative Metal at Shade Structures
                                                                                                                                                                                                                   -
                                                                                 _         .
                 Pe111-1080     Decorative MetaiParapets                                        8         8. 14-Mar-23          28-Mar-23                                                                                O Decorative Metal Parapets
                                    -
                AC,. sa Park Escalator                                                      -,, a        a     05-Apr-23        29-Jun-23
                 MPE1000      .Temporary Conditions                                         , 1           1    05-Apr-23 . 05-Apr-23                                                                                             I Temporary Conditions
                 MPE1010      +Decommission and Demo Mesa Park Escalator .                      12       12 06-Apr-23           26-Apr-23                                                                                         C= Decommission and Demo Mesa Park Eualator
                                                                                            .        .     .
                 MPE1090      ..Install new Elevator Pit       ..                               16       16 06-Apr-23           03-May-23                                                                                                 Install new Elevator Pft
                                                                         _
                 MPE1030       Install New Escalators                                           12       12    04-May-23        24-May-23                                                                                               =MI Install New Escalators
                              4
                 MPE1040       Framing/Drywall at Escalator and Hardlid                         8         8    25-May-23   08-Jun-23                                                                                                             NMI Framing/Drywall at Escalator and Hardlid
                                                                                                                        ..           _
                 MPE1010       +Finishes
                                       -                                                        4         4    12-Jun-23   15-Jun-23                                                                                                                 II Finishes
                              -.1.            -                         __   -                                           -    _
                 MPfi10-60        MEP Trims -                                                   4         4    19-Jun-23   22-Jun-23                                                                                                                   I MEP Trims
                 MPE1070          Final Clean                                                   2         2    26-Jun-23        27-Jun-23                                                                                                                I Final aean
                                                                                                                                      -23_
                 MPE1080      :Remove Barricades -                                              2         2    27-Jun-23        29-Jun                                                                                                                    I Remove Barricades
               MACY'S COURT Phase 4                                                           170        170   29-Dec-22        29-Aug-23
           ---Facade truCtures                                                              ;iS.1 25           03-Jaws          Ittreb-i3
               MCF.1000  .Demo East Facade StrUCIUM                                             15       15    03-Jan-23        30-Jan-23                                                         I          I Demo East Facade Structure
                 MCF.1010         Demo West Facade Structure                                    15       15    19-Jan-23        15-Feb-23                                                               I        I Demo West Facade Structure
                Eirkige 6(Ful Scope) '                                                       , arl 5030-0.4
                                                                                                         -fl                    011-044).-
                                                                                                                                        -23'
                 BRI6.1200     Owner Relocate Carts                                             0         0    29-Dec-22                                                                     •Owner Relocate Carts
                 BRI6.1190        Remove Planter & Trees                                        5         5    29-Dec-22        05-Jan-23                                                        0 Remove Planter 8, Trees
                 BRI6.1020    .MEP Safe off                                                     2         2    10-Jan-23        11-Jan-23                                                             1 MEP Safe off
                 BRI6.1010    .Demo Bridge                                                      10       10    10-Jan-23        26-Jan-23                                                          0 Demo Bridge
                 BRI6.1030        Structural Steel                                              10       10    26-Jan-23        14-Feb-23                                                                   O Structural Steel
                 6RI6.1040        Scaffold Bridge                                               2         2    14-Feb-23        16-Feb-23                                                                    0 Scaffold Bridge
                 BRI6.1050        Framing                                                       8         8    16-Feb-23        02-Mar-23                                                                        :=1
                                                                                                                                                                                                                 1   Framing
    ....

       wawa.. Remaining Level of Effort                    Actual Level of Effort O Remaining Work                                                     Page 6 of 10                               TASK fater. All Activities
                   Planted Level of Effort      =11 Actual Work                      Crfical Remarang...                                                                                                                                                                      0Oracle Corporation



                                                                                                                                                       Page 74 of 114                                                                                                                 1 a,      Cif




                                                                                                                           NOTICE OF REMOVAL EXHIBIT 1 p. 92
                                           Case 3:25-cv-00020-LL-SBC                                                                         Document 1-2 Filed 01/06/25                                        PageID.101                                  Page 94
                                                                                                                                                    of 213




DocuSign Envelope ID: 1738A269-C865-466F.A93C-574C6FE708A3



      FVM - Renovation Phase 3,4,5 - 10/11/2022                                                                                                                   SD TEMPLATE -ARE                                                                                                               12-Oct-22 03:17
     Activity ID                   Activity Name                                                        Orig ring               Start          Finish               2022                                                                            2023
                                                                                                        Dur                                                72                  Orr 3            Qtr 4                  Ott 1                  Ott 2                               Qtr 3               CM 4
                                                                                                             tion                                          ,ay 1 Jun    Jul I Aug 1 Sep   Oct I Nov 1 Dec     Jan    I Feb I Mar      Apr I May 1 Jun                     Jul   I Aug 1 Sep          Oct 1Nov
                  8RI6.1060        Planter Sheathing                                                     4      4              02-Mar-23      09-Mar-23                                                                      0 Planter Sheathing
                  8R16.1090        Planter Waterproof                                                      3           3       09-Mar-23      15-Mar-23                                                                         0 Planter Vititerproo 1
                  EIR16.1080       MEP Rough in                                                            3           3       09-Mar-23      15-Mar-23                                                                         0 MEP Rough in
                  8026.1110        MEP Trim                                                                2           2       15-Mar-23      20-Mar-23                                                                          0 MEP Ttim
                  8RI6.1070        Lath & Plaster                                                          12         12       02-Mar-23      23-Mar-23                                                                      = Lath & Plaster
            ., EIR16.1120          Glass Railing & Base Shoe                                               4 •         4       20-Mar-23      27-Mar-23                                                                             0 Glass Railng & Base Shoe
                   BRI6.1130       Scaffold Remove                                                         4           4       23-Mar-23      30-Mar-23                                                                                 0 Scaffold Remove
                   BR16.1100       Planter FiberGlass Liner                                                12         12       09-Mar-23      30-Mar-23                                                                          1:=1 Planter FiberGlass Liner
                  8RI6.1140        Stainless Coping & Fleshings                                            4           4       27-Mar-23      03-Apr-23                                                                                  1:3 Stainless Coping & Fleshings
            BRI6.1150              Plantar fill & Irrigation                                               8          8        03-Apr-23      17-Apr-23                                                                                   0 Planter fill & Irrigation
           -
            13816.1160             Bridge Pavers                                                           4 4.        4       17-Apr-23      24-Apr-23                                                                                    0 Bridge Pavers
                   13816.1170      Bridge Tile                                                             4' _4               24-Apr.23+ 01-May-23                                                                                             0 Bridge Tie
            .•
                   BR16.1180       Bridge Lighting                                                         4          -iir 01-May-23          08-May-23                                                                                           0 Bridge Lighting

                 if1.1.....VDtillel..M701                                                              i i-1 t kilk (:;'...                  i"Irr"t'l
                   13817.1190     Remove Planter & Trees                                               I 5       5 06-Jan-23                 12-Jan-23                                                      0 Remove Planter &'Dees
                  8RI7.1010       LLIEP Safe off                                                        r 2            2       26-Jan-2.3     30-Jan-23                                                             0 MEP Safe off
                  BRI7.1020 _ Tame Bridge                                                              . 10           10       26-Jan-23      14-Feb-23                                                             1=3 Demo Bridge
                  -
                  8817.1030   . Structural Steel                                                          10          10
                                                                                                                       ...i, 14-Feb-23 !      02-Mar-23                                                                 =I Structural Steel
                                                                                                       4.
            8027.1040              Scaffold Bridge                                                     . 3             3       02-Mar-23 .
                                                                                                                                         I 08-Mar-23-                                                                         0 Scaffold Bridge
            -                                                                                                                                  -•
             BRI7.1050             Framing                                                                 8          8        08-Mar.23   22-Mar-23                                                                           0 Framing
                                                                    -                      -                           4..
                   BRI7.1060       Planter Sheathing                       3                                          3 22-Mar-23             28-Mar-23                                                                         0 Planter Sheathing
                                                              -
                                                              - -     „
                   13817.1080     MEP Rough in                            3                                            3       28-Mar-23   03-Apr-23                                                                                     0 MEP Rough M
                                                                -                                                          •      -     -1--
                  8817.1070       Lath & Plaster                          12                                          12       22-Mar-23   12-Apr-23                                                                               0Lath a Plaster
                                                                  -
                                                                  -   ..I--
                  61117.1100-    .Scaffold Remove                          3                                           3       12-Apr-23      18-Apr-23                                                                                      0 Scaffold Remove
                                                                    -  ..
                   B
                   -R17.1090      Planter Fiberglass Liner -1 -           12                                          12       28-Mar-23      18-Apr-23                                                                                    anter Fiberglass Liner
                                                                                                                                                                                                                                        0Planter
                                                                    -  ..                                                                             .
                  i1217.1.110    -Pla-
                                     nter Wsterproof-                      3                                           3       18-Apr-23      24-Apr-23                                                                                       0 Planter Waterproof
                                                              .       .
                  6R17.1120       MEP Trim                                 2                                           2       24-Apr-23      25-Apr-23                                                                                         ll MEP Trim
                  -191217.1130 ' Glass Railing & Base Shoe -- -                -          --- . - -- *.- 5        v    5- 25-Apr-2-1 '--- 6-31-61a;-23                                                                                           Cl Glass Railing & Base Shoe
                                                           -                   -            _      --
                   BR17.1140    Stainless Coping & Fleshings                                             3             1       03-May-23      09-May-23                                                                                           0 Stainless Coping & Fleshings
                  - -          ..                          - . ..                                     r                                             --
                   110217.1150   Planter fill & Irrigation                                               8             8       09-May-23      23-May-23                                                                                                I=1 Planter fill 8,Irrigation
            B817.'1160            -Bridge P;v;-
                                              rs          - -- ----- ----'--4 '                                        4       23-May-23 - 31-Ma-y-23                                                                                                      CI Bridge Pavers
           --                                                     -
            BR17.1170               Bridge Tile                             4                                          4       31-May-23      07-Jun-23                                                                                                     0 Bridge Tile
            .                                                            .
            BR171160               BridgeLighting                           3                                          3       07-Jun-23      13-Jun-23                                                                                                        0 Bridge Lighting
           L                       ar--taront                                                          t WI 1 WI =1 3 i =720
                   MCLL.1000       Demo Ramp Soffits                                                       5           5       14-Feb-23      22-Feb-23                                                                  IZI Demo Ramp Soffits
                   _                                                                       -          .                                             -
                   MCLL.1010 .Framing Soffits                                                              6           6       22-Feb-23      06-Mar-23                                                                    CI Framing Soffits
                                                                     _
                   MC11-1020        MEP Soffits                                                            2           2       06-Mar-23      08-Mar-23                                                                         0 MEP Soffits
                   MCLL1030         Lath & Plaster Soffits                                                 12         12       08-Mar-23      29-Mar-23                                                                          C=J Lath & Plaster Soffits
                                                                                   _               -
                  ;A- CLL.-
                          1040    -Tenip-Conditions-74ards-
                                                          ca
                                                           - pe-                                           3           3       29-Mar-23      04-Apr-23                                                                                  0 Temp Conditions Hardscape
                   TACLL.1050     - Demo Hardscape for Civil Improvements                                  8           8       04-Apr-23      I8-Apr.23                                                                                   0 Demo Hardscape for Civil Improvements
                   iACLL.1060     'Civil Improvements                                                      10         10       18-Apr-23      04-May-23                                                                                    I=1 Civil Improvements
                   MCLL.I090 Renovate %%ter Feature                                                        20         20       04-May-23      12-Jun-23                                                                                            I               Renovate
                                                                                                                                                                                                                                                                 I Ren  ate We ter Feature
                            .    .     _                                            -      -           .                              -                .
       ,           MCU_1070 .Hardscapee                                                                    20         20       12-Jun-23      18-Jul-23                                                                                                          I          I Hardscapes
                   MCI-I-1080       Landscaping                                                            12         12       18-Jul-23      08-Aug-23                                                                                                                   0Landscaping
                   MCLL1100         MEP Trims                                                              4           4       08-Aug-23      15-Aug-23                                                                                                                    0 MEP Trims
                   MCLL1110         Final Clean                                                            4           4       15-Aug-23      22-Aug-23                                                                                                                            0 Final Clean


       ar        rerric Remaining Level of Effort              Actual Level of Effort I        I Remaining Work                                                     Page 7 of 10                            TASK fitter AN Activrties
                      Planned Level of Elton                   Actual Work                      Critcal Remaining_                                                                                                                                                                           0Oracle Corporation



                                                                                                                                                                    Page 75 of 174
                                                                                                                                                                                                                                                                                                     L,"




                                                                                                                                            NOTICE OF REMOVAL EXHIBIT 1 p. 93
                                     Case 3:25-cv-00020-LL-SBC                                                         Document 1-2 Filed 01/06/25                                  PageID.102                                 Page 95
                                                                                                                              of 213




DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



      FVM - Renovation Phase 3.4. 5- 10/11/2022                                                                                   SD TEMPLATE - ARE                                                                                                                12-Oct-22 03:17
     Activity ID             Activity Name                                               Orig ling     Start       Finish           2022                                                                                      2023
                                                                                          Our                               T 2                Qtr 3             Qtr 4                  Qtr 1                           Qtr 2                         QV 3          01r4
                                   .
                                                                                              lion                        , ay I Jun    Jul I Aug .1 Sep   Oct I Nov I Dec      Jan    I Feb I      Mar         - Apr I May I Jun            Jul    I Aug I Sep   Oct I Nov
              MCLL1120       Remove Barricades         _                                   4     4 22-Aug-23 1 29-Aug-23                                                                                                                                0 Remove Barricades
             LI.M1-                     00.1                                            1 Ca       . ir
                                                                                                     ... . ..
                                                                                                           .r -ti c=larta r
                                                                                                                  ,
              MCUL.1000      Temp Barricades                                               2        2    14-Feb-23      15-Feb-23                                                           I Temp Barricades
              MCUL.1010      Demo Piers                                                    5        5    15-Feb-23      23-Feb-23                                                          0 Demo Piers
              MCUL.1020      Demo(E)Canop & Shade Structures                               10     10     23-Feb-23      14-Mar-23                                                           O Demo(E)Canon & Shade Structures
              MCUL.1030      Stnscrual Steel(HSS)Install(Canopy)                           10     10     14-Mar-23      30-Mar-23                                                                   = StrUcrual Steel (1ISS) install(Canopy)
              MCUL1040       Frame Parapet & Piers                                         6       6     30-Mar-23      11-Apr-23                                                                              1= Frame Parapet & Piers
              MCUL1050       Vibterpro of Parapet & Hers                                   6       6     11-Apr-23      20-Apr-23                                                                                1=1 Waterproof Peraper & Rers
              MCUL.1060      Paving at Parapet & Piers                                     6       6     20-Apr-23      02-May-23                                                                                   1= Paving at Parapet & Piers
              MCUL.1070      Decorative Metal at Shade Structures                          10     10     02-May-23      18-May-23                                                                                      (
                                                                                                                                                                                                                       - 1 Decorative Metal at Shade Structures
               MCUL.1080   DOCOMIVe Metal Parapets                                                  8    18-May-23      05-Jun-23                                                                                          0Decorative Metal Parapets
             _                                                      _                                           _
      •

             LM. V21-    ..lilnr
               MCE1000     Temporary Conditions                                            I        1    25-May-23      25-May-23                                                                                             I Temporary Conditions
              MCE1010        Demo Escalator Finishes & Canopy Structure                    4        4) 30-May-23        05-Jun-23                                                                                              0 Demo Escalator Finishes & Canopy Structure
      *       MCE1040        Framing/Drywall at Escalator and Hardlid                      8        81 12-Jan-23        26-Jun-23                                                                                                    1=1 Framing/Drywall at Escalator and Hard lid
              MCE1050        Escalator Canopy Steel                                        6       6' 26-Jun-23         06-Jul-23                                                                                                       I=1 Escalator Canopy Steel
              MCE1060        Escalator Canopy Glazing                                      3        3,
                                                                                                     I 06-Jul-23        13-Jul-23                                                                                                           0 Escalator Canopy Glazing
      :
      .       MCE1070  Finishes                                                            4        4    13-Jul-I3      20-Jul-23                                                                                                            0 Finishes
                     -,
              MCE1080  MEP Trims                                                           3        3    20-Jul-23      26-Jul-23                                                                                                              0 MEP Trims
              MCE1090        Final Clean                                                   2        2 i 26-Jul-23       27-Jul-23                                                                                                                  I Final Clean
               MCE1100       1Remove Barricades                                            2        2i   27-Jul-23      01-Aug-23                                                                                                                  0 Remove Barricades
          .....--...... ....-...1--- —
            CONCOURSE WEST PhaSe 4                                                        212    212     03-Jan-23 '    01-Nov-23
             Facade Structure                                                           I al      Ca(        4)        P      .
             CWFS.1020 1 Stan at New Year Per SPG Direction                                        04 03-Jan-23'       es,                                                   •Start at New Ye
                                                                                                                                                                                           Year Per SPG Direction
           _
             BR16.1210 ;Owner Relocate Carts Concourse West                                0 I- 0 ' 03-Jan-23
                                                                                           0                                                                                 •Owner Relocate Cans Concourse West
           ----. ----..      - - ---              -----                                                *      - .- _
             BRI9.1160 1Remove Trees                                                       31 31 03-Jan-23 . 05-Jan-23 _                                                      0 Remove Trees
              CWFS.1010      Demo Large Facade
                                        Fa     Structure)soft demo only)                   301 30, 09-Jan-23            28-Feb-23                                               1                   Demo Large Facade Structure(soft demo only)

           - Cazi"1011i. -• TTI-irrgM) -                                                I LICI 1.- kfa it-er*-
              BRI8.1010   I MEP Safe off                                                   2       21 14-Feb-23         15-Feb-23                                                           I MEP Safe off
                                                                                                   -r-- - .
          -87,18.1130-1Remo
                          -ve Tees--                                                               3 ' 14-Feb-23        16-Feb-23                                                          )
                                                                                                                                                                                           I Remove Trees
           BR18.1020        I Demo Bridge                                                  8        81 14-Feb-23        28-Feb-23                                                           O Demo Bridge
          -
           BRI8.1040        I Framing                                                      8        8    28-Feb-23      14-Mar-23                                                            Ol Framing
            BR1&1050  I MEP Rou-git in                                                              2' 14-Mar-23        1 -Mar-23                                                                     0 MEP Rough in
          -          — - - —.           -
          • BR18.1030 I Scaffold Bridge                                                    3        3' 14-Mar-23        20-Mar-23                                                                    0 Scaffold Bridge
          -
          -B- R-16.
                  -71CT70 -' Giass Reign"
                                        ;6
                                        _.
                                            -
                                            1371;e-Sho
                                                     -e-- — —
                                               — _ — --- - —
                                                              '.---     ---                    4 14-Mar-23
                                                                                            . ... --
                                                                                                                     i 2,...r.23                                                                     0 Glass Railing & Base Shoe
          -B -R18.1060
                 -- -      1-            t
                             1 i;h 8 PIaser                                                   12 I0-Mar-23 L 10-Apr-23                                                                                     I      1 Lath 8 Plaster
          —                                                                                                         -
            13R18.1090     1Scaffold Remove                                                31     10-Apr-23 F 13-Apr-23                                                                                          0 Scaffold Remove
                                                                  .
            BR18.10130     r Stainless Coping & Fleshings                                  4        4    10-Apr-23      17-Apr-23                                                                                0 Stainless Coping 8 Fleshings
                                                                                                                                                                                                                   0 Bridge Fevers
              BR18.1100     i Bridge Pavers                                             I 4         4    17-Apr-23      24-Apr-23
                                                                                                                         : .-
              BR18.1110      Bride Tile -         —        -                              4         4    24
                                                                                                          -Apr-23       CH-may-23                                                                                     ID Bridge Tile
                                                                                                                                    .
              BR18.1120     ,Bridge Lighting                                              2 j 2 01-May-23   02-May-23                                                                                                   I Bridge Lighting

           U .1.172k1 -'n-      •'-) -                                                  I111. WI --..1". a4
             BR19.1010    . MEP Safe off                                                            2    28-Feb-23      01-Mar-23                                                                I MEP Safe off
           -
             BR19.16-20- -;Demo Bridge - - -r — - -        -                                             01-Mar-23      15-Mar-23                                                               0 Demo Bridge
           -                                 . .    - -- . -
             BR19.1030     r Structural Steel Upgrade                                      6       6     15-Mar-23      27-Mar-23                                                                1=1 Structural Steel Upgrade
                                                                                        1-   1
              BR19.1050      Framing                                                     i 8        8    27-Mar-23      10-Apr-23                                                                              O
                                                                                                                                                                                                               I Framing


      =
      r = Remaining Lever of Effort                   Actual Level of Effort CI Remaining Work                                          Page 8 of 10                          TASK filler: Al Asti-flues
                 Planned Level of Effort       C=11 Actual Work                 Critical Remaining...                                                                                                                                                          0Oracle Corporation



                                                                                                                                        Page 16 01 174




                                                                                                                     NOTICE OF REMOVAL EXHIBIT 1 p. 94
                                        Case 3:25-cv-00020-LL-SBC                                                                 Document 1-2 Filed 01/06/25                                          PageID.103                             Page 96
                                                                                                                                         of 213




DocuSian Envelope ID: 17385269-C865-466F-A93C-574C6FE708A3



      FVM -Renovation Phase 3, 4,5 - 10/11/2022                                                                                                         SO TEMPLATE - ARE                                                                                                          12-Oct-22 03:17
     Activity ID                Activity Name                                                °Ng ling                 Start        Finish                 2022                                                                                2023
                                                                                             Our                                                  72                 Ott 3            Ott 4                  Ott 1                      Qtr 2                       QV 3                 OR 4
                                                                                                 lion                                             ay 1 Jun    Jul I Aug I Sep   Oct I Nov 1 Dec    Jan     I Feb I     Mar       Apr I May I Jun            Jul   I Aug I Sep           Oct !Nov
                 BRI9.1060      MEP Rough in                                                  2     2               10-Apr-23     13-Apr-23                                                                                      I] MEP Rough in
                 BRI9.1040      Scaffold Bridge                                                   3            3    10-Apr-23     13-Apr-23                                                                                      0 Scaffold Bridge
                 BRI9.1080      Glass Railing & Base Shoe                                         4            4    10-Apr-23     17-Apr-23                                                                                     0 Glass Railing & Base Shoe
                 BRI9.1090      Planter Sheathing                                                 5            5    10-Apr-23     18-Apr-23                                                                                      01 Planter Sheathing
                 BRI9.1070      Lath & Plaster                                                    12          12    13-Apr-23     04-May-23                                                                                      I I Lath & Rester
                 BRI9.1100      Planter Fiberglass Liner                                          12          12    18-Apr-23     09-May-23                                                                                      0Planter Fiberglass Liner
                 BRI9.1120      Scaffold Remove                                                   5            5    04-May-23     15-May-23                                                                                        CI Scaffold Remove
                 BRI9.1110      Stainless Coping & Flashings                                      6            61 04-May-23       16-May-23                                                                                            P Stainless Coping & Fleshings
                 BRI9.1130      Bridge Pavers                                                     5            5    16-May-23     24-May-23                                                                                               0 Bridge Pavers
                 BRI9-1140      Bridge Tile                                                       5            5    24-May-23     05-Jun-23                                                                                               0 Bridge Tile
                 BR19.1150      Bridge Lighting                                                   10          10    05-Jun-23     21-Jun-23                                                                                                   0 Bridge Lighting

                1.4       l'   -rirr-rrorrrn                                                       Ii -ta u
                                                                                                          1 . ....,
                                                                                                                -w3 .             g.IrThrte-I '
                  CVVLL1040  Temp Conditions Hardscape                                            2            21
                                                                                                               ... 15-May-23      18-May-23                                                                                               0 Temp Conditions Hardscape
                 CWLL.1050      Demo Hardscape for Civil Improvements                             10          10    18-May-23     07-Jun-23                                                                                                =
                                                                                                                                                                                                                                           I 1 D
                                                                                                                                                                                                                                               Demo
                                                                                                                                                                                                                                                  o Hardscape for Civil Improvements
                 CWLL-1060      Civil Improvements                                                12          12 i 07-Jun-23      28-Jun-23                                                                                                    0Civil Improvements
                 CWLL1070       Hardscapes                                                        20          20 i 28-Jun-23      03-Aug-23                                                                                                             i         I Hardscapes
            CWLL1080            Landscape                                                         20          20; 03-Aug-23        11-Sep-23                                                                                                                      I            I Landscape
            _                                              —- -
            CWLL1100            MEP Trims
                                                      -— .-.
                                                                                                  10          10 11-Sep-23        27 Sep 23                                                                                                                                  0 MEP Trims
                 C69LL.1110    1Final Clean                                                       10          10 i 27-Sep-23 r16-Oct-23                                                                                                                                       1=1 FinatCI

                 CWLL.1120     -I Remove Barricades                                               10          10    16-Oct-23 (   01-Nov-23                                                                                                                                              0 Re
            , C
              C:=EAMI :itM, IMZEUI                                                         ' I -ES t ra t=trd 1 - 0"irti"                      l'
                 CWUL.1000      Temp Barricades                                                  2    2, 15-Mar-23 ; 20-Mar-23                                                                                           0 Temp Barricades
                 C801JL.1010    Demo Piers                                                  4 s                51 20-Mar-23 j     28-Mar-23                                                                               CI Demo Piers
              CIMJL.1020 Demo(E)Canop & Shade Structures                                          5             5-11-
                                                                                                                    g -Mar-23     04-Apr-23                                                                                   0 Demo tEl Canon & Shade Structures
                                                                                                             - 1t
            —
              CWUL.1030 ,
            - —
                         f:tnicrual Steel(HSS)Install(Canopy)                                     10   L       0 04-App23          20-Apr-23                                                                                  0 Strucrual Steel(HSS)Install(Canopy)
              CWUL.1040 Frame Parapet & Nees                                       - . -       -5
                                                                                                -             it 20
                                                                                                                  -Apr-23 ..--01-May-23                                                                                             CI Frame Parapet & Piers
            -                                                  -       -   _
             CWUL.1050 lAbterpto of Parapet & R eis                                          i 41              41 01-May-23       08-May-23                                                                                           01 Waterproof Parapet & R En
            ------— —--—
             CIM1L.1060 Paving at Parapet & Piers                                            ; 5               51 08-May-23       16-May-23                                                                                             0 Paving at Parapet & Piers
                 CWUL.1070      Decorative Metal at Shade Structures           _   _                          101 16-May-23 _ 05-Jun-23_                                                                                                 0Decorative Metal at Shade Structures
            --
             C WU
               -L--
                  .108
                   -      -o
                      0 -Oec -
                             ratee-e Metal Parapets                                          , 8               81 05-Jun-23        19-Jun-23                                                                                                   0 Decorative Metal Parapets
                N ORDSTROM NORTH CORRIDOR Phase 4 '.-                                             73          73    25-May-23 , 05-Oct-23
       r-NHC.1000           Planter nfill & Civil Improvments
                                                                                             I
                                                                                                  20 ‘,       201   18-Jul-23     22-Aug-23                                                                                                                  I           I Planter Infill & Civa impel

            'or .• horn - ea -- tor , ,
             NCE.1000     Temporary Conditions                                              . 1                1 , 25-May-23      25-May-23                                                                                                  I Temporary Conditions
            —
             NCE.1010     Decommission and Demo Nordstrom Escalator                               16          16    30-May-23      26-Jun-23                                                                                                  I      I Decommission and Demo Nordstrom Eat

             NCE.1090   Instal Footings                                                           6            6 , 27-Jun-23       10-Jul 23- -                                                                                                       0 Install Footings
            —     _   - .
             NCE1020    Install Newiscale1tors             '                                      16 •        16    10-Jul-23     07-Aug-23                                                                                                            I       I Install New Escalators
                 NCE1030        Framing/Drywall at Escalator and Hardlid                          8            8    07-Ati8-23    21-Aug-23                                                                                                                           p FremingfOrywell en Escel
                 NCE.1080       Hardscape                                                         8            0' 07-Aug-23       21-Aug-23                                                                                                                       0 Hardscape
                NCE1040 Finishes                                                                  8            8; 21-Aug-23  05-Sep-23                                                                                                                             0 Finishes
                — - .          ..                                                            ,-        .:.      • -       --
             -- NCE1050 MEP Trans                                                                 8            8 05-Sep-23   19-Sep-23                                                                                                                                      0 MEP Trims
            ,.                                             -   .
                NCE1060 Final Clean                                                               5            5    19-Sep-23      27-Sep-23                                                                                                                                     0 Final Clean
                CE1076- - Remove Barricades
            - il-                                                                                 5            5    27-Sep-23     05-Oct-23                                                                                                                                         CI Remove Be
                BLANCO TACO RESTROOM RENOVAlION Phase 4                                           69          69    19-Jun-23 I    19-Oct-23
        I       FCRR1000        Demo                                                              10          10    19-Jun-23      06-Jul-23                                                                                                         0Dame
                                                                       .
        ,       FCRR1010        Framing                                                           10          10    06-Jul-23      25-Jul-23                                                                                                          0 ) Framing


       oisiiimen Remaining Level of Effort             Actual Level et Effort0Remaining Work                                                                 Page 9 of 10                         TASK filer. Al Activities
                    Planned Level of Elton    =MCI Actual Work                      Critical Remaining..                                                                                                                                                                      *Oracle Cceporaaon



                                                                                                                                                             Page 77 of 174




                                                                                                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 95
                                    Case 3:25-cv-00020-LL-SBC                                                               Document 1-2 Filed 01/06/25                                                    PageID.104                           Page 97
                                                                                                                                   of 213




DowSign Envelope ID: 17385269-C865-466F.A93C-574C6FE70853



      FVT1 -Renovation Phase 3.4. 5- 10/11/2022                                                                                                   SD TEMPLATE - ARE                                                                                                           12-Oct-22 03:17
     Activity ID            Activity Name                                                  Orig ting          Start           Finish                2022                                                                                          2023
                                                                                           Dur                                              T2 .               Qtr 3             Cttr 4  .                      Qtr 1                        QV 2                00r3              Qtr 4
                                                                                                Lion                                        ay I Jun    Jul I Aug I Sep.   Oct I Nov I Dec            Jan     I Feb I      Mar        Apr I. May 1 Jun     Jul I Aug 1 Sep        Oct INov
             FCRR1020       MEP                                                             15    15        25-Jul-23        21-Aug-23                                                                                                                      0MEP
           FCRR1030         Tile                                                            10        10   21-Aug-23         07-Sep-23                                                                                                                              0 Tile
        ---                               -
           FCRR.1040        Finishes                                                        10        10   07-Sep-23         26-Sep-23                                                                                                                               = Finishes
             FCRR.1050      Trim, Partitions 8 accessories                                  10        101 26-Sep-23          12-Oct-23                                                                                                                                        11= Trim, Par

             FCRR.1060      Final Clean                                                      4         4   12-Oct-23         19-Oct-23                                                                                                                                            0 Final C
            WETZELS KIOSK                                                                   26        26   17-Oct-22,        2144ov-22 -4
             A1000          RFI Response                                                     0         0 17-Oct-22•                                                        •RR Response
             A1010          Electrical Rough In                                              4         4   17-Oct-22         20-0M-22                                       0 Electrical Rough In
             A1011          Plumbing Rough In                                                4         4   21-Oct-22         26-0m-22                                       0 Plumbing Rough In
             A1020          Layout Footing Location                                          1         1   27-Oct-22         27-Oct-22                                         1 Layout Footing Location
             51030          Remove PaversIExcavate Footings                                  2         2   28-Oct-22         31-Oct-22                                         0 Remove Pavers/Excavate Footings
             A1040          Form 8 Pour Footings                                             5         5   01-Nov-22         07-Nov-22                                         0 Form 8 Pour Footings
             A1050          Move Existing Kiosk                                              3         3 08-Nov-22           10-Nov-22                                            0 Move Existing Kiosk
             A1060       Electrical Finishes                                 3   3 11-Nov-22  15-Nov-22                                                                           0 Electrical Finishes
           --         -- ------__                       ..._         _—_—__...---- _------.
             51070       Install Kiosk Canopy                                4   41 16-Nov-22 21-Nov-22                                                                             0 Install Kiosk Canopy
            RED DOOR RESTROOM RENOVATION PhO;ts 0 '-_                                       69'
                                                                                              '69‘ 15-Feb-23                '
                                                                                                                            - 19-Jun-23:-
             FCRR.1070      Demo                                                            10        10   15-Feb-23         06-Mar-23                                                                           = Demo
             FCRR.1080      Framing                                                         10        10   06-Mar-23         22-Mar-23                                                                            =1 Framing
             FCRR-1090      MEP                                                             15        15   22-Mar-23         18-Apr-23                                                                                            I      MEP
             FCRR.1100      Tile                                                            10        10   18-Apr-23         0441ay-23                                                                                                 1=I Tile
             FCRR 1110      Finishes                                                        10        10   04-May-23         23-May-23                                                                                                    E=0 Finishes
             FCRR.1120      Trim, Partitions 8 accessories                                  10        10   23-May-23         12-Jun-23                                                                                                         = Trim. Partitions 8 accessories
             FCRR.1130      Final Clean                                                      4         4    12-Jun-23        19-Jun-23                                                                                                              0 Final Clean
        . PERFORMANCE COURT NORTH CORRIDOR & VALET Phase 5                                  191       19    17-Jul-23 ,      174iug-23 '''
                                                                                          19                                                                                                                                                                 I      I Landscape Improvement.1
      ( PCNC.1000     1 Landscape Improvements- Alt MO
                                  . -            .,.....-. ...-.--- --,........ -...   -,            _19.,,,, __-.....
                                                                                                               17-Jul-23
                                                                                                                       -•
                                                                                                                             17-Aug-23
                                                                                                                                - ---
           MESA PARK Phase 5 •                                                         ,. 120        120 12-Jan-23 ,         03-Jul-23                                                                 $
        -..—                    .     ----.:',-m--,-.             .....
           FRIARS RD OFFSITE- Phase 5       ,        -         ,                          t 32    . 32      19-Jun-23 .      15-Aug-23

       1    FR1010     1Landscape                                                           32        32    19-Jun-23        15-Aug-23                                                                                                                I             I Landscape



                                                                                                                                                                                                                                                                                           ,




      , -    -, Remaining Level of Effort           Actual Level of Effort I      1 Remaining Work                                                  Page 10 of 10                                   TASK filler: All Activities
                PLanned Level of Effort     117=03 Actual Work            =MI Critical Remaining...                                                                                                                                                                       *Oracle Corporation



                                                                                                                                                   • Page 70 of 114




                                                                                                                        NOTICE OF REMOVAL EXHIBIT 1 p. 96
 Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25        PageID.105   Page 98
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                      EXHIBIT H
                                                     ->




                                        Document Log
                               Fashion Valley Mall Redevelopment
                                            Phase 4




                                                             Page 79 of 174




                                               NOTICE OF REMOVAL EXHIBIT 1 p. 97
   Case 3:25-cv-00020-LL-SBC                                                           Document 1-2 Filed 01/06/25                                                                        PageID.106                               Page 99
                                                                                              of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                   PHASE 4 DOCUMENT LOG (RDC.)

                                                                                  Issue Ding    11/15/19     orno _         01)13/20       02/18/20 .    03/16/20    , 07/25/32
• 018.5                                               Shelt TUN                                DERWM8 DAM   DraWIng Dm. • DTALY1ng Date   028w1n8 DMA'DrewIng DM
                                                                                                                                                               ' ''QrewIng-Date4-FOraudns DM .lorpwinsIMO 1MOA CUI/Sell 5:111 111111   11i
       GENERAL
00.00          TITLE SHEET                                                                      11/15/19     01/03/20                                    03/16/20      07/200                      07/25/20      Addendum E
40.01          PROJECT SHEET INDEX                                                              11/15/19     01/03/20                                    03/16/20                                  03/16/20      addendum!,
00.05          SYMBOLS. ABBREVIATIONS, MASTER KEYNOTE LEGEND, AND GENERAL NOTES                 11/15/19     01/03/70                      02/18/20      03/16/20                                  03/16/20      Addendum I
AO.21          EGRESS AND OCCUPANCY PLAN -LEVEL 1                                               11/15/19     01/03/20                                    03/16/20                                  03/16/20      Addendum 0
40.22          EGRESS AND OCCUPANCY PLAN. LEVEL 2                                               11/15/15     01/03/20                                    03/16/20                                  03/16/20      Addendum D
A0.31          LOWER LEVU-ACCESSIBILITY PLAN                                                    11/15/19     01/03/10                                    03/16/20                                  03/16/20      Addendum D
A0.32          UPPER LEVEL ACCUSIEUUTE PLAN                                                     11/15/19     01/03/20                                    03/16/20                                  03/16/20      Addendum D
40.41          ACCESSIBIUTY DETAILS. GENERAL                                                    11/15/19                                                                                           11/15/19      Cry Submittal
ADO            ACCESSIBILITY DETAILS.INTERIOR                                                                                                            03/16/20                                  03/16/20      Addendum 0
010,43         ACCESSIBIUTY DETAILS. SITE                                                       11/15/15                                                                                           11/15/19      Cry SubenInel
A051           OVERALL SITE PLAN                                                                11/15/19     01/03/20                                    03/16/20                                  03/16/20      Addendum 0
5.052          OVERALL SITE PLAN- FLOOD PLAIN                                                   11/19/19     01/03/10                                                                              01/03/20      Addendum A
A0.54          FIREPROOFING MALL PLAN -UPPER LEVEL                                                           01/03/20                                    03/16/20                                  03/16/20      Addendum 0
A0.59          FIREPROOFING MALL PILES.000F                                                                  01/03/20                                    03/16/20                                  03/16/20      Addendum 0
00.56          FIREPROOFING ENLARGED PLANS                                                                   01/03/20                                    03/16/20                                  03/16/20      Addendum 0
       CIVIL
01.0           LOWER LEVEL EROSION AND SEDIMENT CONTROL PLAN 1                                  11/15/19     01/03/20                      02/18/20      03/16/20      07/19/22                    07/29/22      Addendum t
15.0           LOWER LEVEL EROSION AND SEDIMENT CONTROL PLAN?                                   11/15/19     01/03/20                      02/18/20      03/16/20      07/29/22                    07/29/21      Addendum(
C3.0           LOWER LEVEL SITE DETAILS                                                         11/15/19     01/03/20                      02/18/20      03/16/20      07/29/22                    07/29/22      Addendum E
01.0           LOWER LEVEL GENERAL NOTES                                                        11/15/19     01/03/20                      02/18/20      03/16/20      07/29/22                    07/29/22      Addendum 2
C4.1           LEVEL 1 SITE PLAN                                                                11/15/19     01/03/20                      02/18/20      03/16/20      07/29/22                    01/29/22      Addendum E
C4.2           LEVEL 1 APPLICABILITY CHECKLIST                                                  11/15/19     01/03/20                      02/18/20      03/16/20      07/19/22                    07/29/22      Addendum!
C4.3           LOWER LEVEL ALTA 1                                                               11/15/19     01/03/20                      02/18/20      03/16/20      07/29/22                    07/29/22      addendum E
C4.4           LOWER LEVEL VITA?                                                                11/15/19     01/03/20                      02/18/20      03/16/20      07/29/22                    07/29/22      Addendum I
CAN            LOWER LEVEL ALTA 3                                                               11/15/19     01/03/20                      02/18/30      03/16/20      07/29/71                    07/29/21      Addendum E
CS.0           LEVEL 1 we IMPROVEMENTS 1                                                        11/15/19     01/03/20                      02/18/20      03/16/20      07/29/22                    07/29/22      Addendum 1
06.0           LEVEL 1 SITE IMPROVEMENTS 2                                                      11/15/19     01/03/20                      02/18/20      03/16/20      07/29/22                    07/29/22      Addendum E
07.0           LEVEL 1 SITE IMPROVEMENTS 3                                                      31/15/19     01/03/20                      03/111/20     03/16/20      07/29/22                    07/29/22      Addendum I
C8.0           LEVEL 1 SITE IMPROVEMENTS 4                                                      11/15/19      01/03/20                     02/18/20      03/16/20      07/29/22                    07/29/22      Addendum 1
C9.0           LEVEL 1 SITE IMPROVEMENTS S                                                      11/15/19      01/03/20                     02/1020       03/16/10      07/29/22                    07/29/22      Addendum E
C10.0          LEVEL 1 SITE IMPROVEMENTS 6                                                      11/15/19      01/03/20                      02/18/20     03/16/20      07/29/22                    07/29/22      Addendum E
C11.0          LEVEL 1 SITE IMPROVEMENTS?                                                       11/15/19      01/03/20                     02/13/20      03/16/20      07/29/22                    07/29/22      Addendum E
C12.0          LEVEL 1 SITE IMPROVEMENTS 8                                                      11/15/19      01/03/20                      01/18/20     03/16/20      07/29/22                    07/29/22      Addendum I
C12.0          LEVEL 200* GENERAL NOTES                                                         11/15/19      01/03/20                                                                             01/03/20      Addendum A
C13.0          LEVEL? ADA SITE IMPROVEMENTS 1                                                   11/15/19      01/03/20                                                                             01/03/70      Addendum•
C14.0          LEVEL? ADA SITE IMPROVEMENTS 2                                                   11/15/19      01/03/20                                                                             01/03/10      Addendum A
C15.0          LEVEL 2 ADA SITE IMPROVEMENTS 3                                                  11/15/19      01/03/20                                                                             01/03/20      Addendum A
C16.0          UVEL 2 ADA SITE IMPROVEMENTS 4                                                   11/15/19      01/03/20                                                                             01/03/20    _ Add        A
C17.0          LEVEL? ADA 508 IMPROVEMENTS 5                                                    11/15/19      01/03/20                                                                             01/03/20      Addendum A
018.0          LEVEL? ADA SITE IMPROVEMENTS 6                                                   11/15/19      01/03/20                                                                             01/03/20      Addendum A
       LANDSCAPE DEMO
LAM            OVERALL TITLE SHEET6 SHEET INDEX                                      .          11/15/19      01/03/10                                   03/16/20      07/25/22                    07/15/12      Addendum E
10.01          LANDSCAPE SCHEDULE AND NOTES                                                     11/15/19      01/03/20                                   03/16/20      07/2S/22                    07/25/21      Addendum E
.1 0.01        LANDSCAPE DEMO PLAN LEVEL 1                                                      11/15/19      01/03/20                                   03/16/20      07/25/22                    07/25/22      Addendum!
LED?           LANDSCAPE DEMO PLAN LEVEL 1                                                      11/15/19      01/03/20                                   03/16/20      07/25/22                    07/25/22      Addendum E
LD.03          PARTIAL DEMO PLAN LEVEL 1                                                        11/15/19      01/03/20                                   03/16/20      07/25/22                    07/25/21      Addendum I
.1 0.04        LANDSCAPE DEMO PLAN LEVEL 1                                                      11/15/19      01/03/20                                   03/16/20      07/25/22                    07/25/22      Addendum 1
50.05          LANDSCAPE DEMO PLAN LEVEL 1                                                      11/15/19      01/03/20                                   03/16/20      07/25/22                    07/25/22      Addendum E
10.06          LANDSCAPE DEMO PLAN LEVEL 1                                                      11/15/19      01/03/20                                    03/16/20     07/15/72                    07/25/72      Addendum 1
11107          PARTIAL DEMO PLAN LEVEL 1                                                        11/15/19      01/03/20                                  _ 03/16/20     07/25/22 _                  07/25/22      Addendum!
10.06          FRIAR'S ROAD ENTRIES DEMO PLAN                                                   11/15/19      01/03/20                                    03/16/20     07/25/22                    07/25/22      Addendum E
40.09          FRIAR'S ROAD ENTRIES DEMO PLAN                                                   11/15/19      01/03/20                                   03/16/20      02/25/22                    07/25/12      Addendum!
LD.ID          LANDSCAPE DEMO DETAILS                                                           11/15/19      01/03/10                                    03/16/20     07/25/21                    07/25/12      Addendum E
1.0.11         LANDSCAPE DEMO DETAILS                                                           11/15/19      01/03/20                                    03/16/20     07/25/22                    07/25/12      Addendum E
LD.12          FRIAR'S ROAD STREETSC.APE DEMO PLAN                                              11/15/19      01/03/20                                    03/16/20     07/25/22                    07/25/22       Addendum 1
LOAD           MESA PARK HARDSCAPE DEMO PLAN                                                    11/15/19      01/03/20                      02/18/20                                               02/18/20      Addendum C
       LAND-SCA-PE
L1.01          PARTIAL SITE PLAN LEVEL 1                                                        11/15/19      01/03/20                                    03/16/20     07/25/22                    07/25/22      Addendum!
1.1.02         PARTIAL SITE PLAN LEVEL 1                                                        11/15/19      01/03/20                                    03/16/20     07/25/12                    07/25/22       Addendum E
11.03          PARTIAL SITE PLAN LEVEL 1                                                        11/15/13      01/03/20                                    03/16/20     07/25/22                    07/29/22      Addendum E
11.04          PARTIAL SITE PLAN LEVEL 1                                                        11/15/19      01/03/20                                    03/16/20     07/25/22                    07/25/12      Addendum E
LIDS           PARTIAL SITS PLAN LEVEL 1                                                        11/15/19      01/03/20                                    03/16(20     07/25/22                    07/25/22      Addendum E
LIDS           PARTIAL SITE PLAN LEVEL t                                                        11/15/19      01/03/20                                    03/16/20     07/25/22                    07/25/22       Addendum 1
L1.07          PARTIAL SITE PLAN LEVEL 1                                                        12/15/19      01/03/20                                    03/16/20     07/15/11                    07/25/22      Addendum!
L1.03          FRIAR'S RD VIEWS 6 M.SiGN                                                        11/15/19      01/03/10                                    03/16/20     07/25/22                    07/25/22       Addendum I
11.09          FRIARS RD VIGNETTE VIEWS                                                         11/15/19      01/03/20                                    03/16/20                                 03/16/20      Addendum 0
11.10          FRIARS RD VIGNETTE VIEWS                                                         11/15/19      01/03/20                                                                             01/03/20      Addendum A
L2.01          MESA PARK HARDSCAPE PLAN                                                         11/15/19      01/03/20                                    03/26/20                                 03/16/20      Addendum D
12.01          MESA PARK ERIE lAYOUT PLAN                                                       11/15/19      01/03/20                                    03/16/20                                 03/16/20      Addendum D
L2.03          MESA PARK PLANTER LAYOUT PLAN                                                    11/15/19      01/03/20                                    03/16/20                                 03/16/20      Addendum D
L3.01          PARTIAL LAYOUT PLAN LEVEL 1                                                      11/15/19      01/03/20                                    03/16/20      07/25/22                   02/25/22       Addendum E
L3.02          PARTIAL tAYOUT PLAN LEVEL 1                                                      11/15/19      01/03/20                                    03/16/20      07/75/22                   07/25/22       Addendum I
L3.03          PARTIAL LAYOUT PLAN LEVEL 1                                                      11/15/19      01/03/20                                   03/16/20       01/25/22                   07/15/21       Addendum!
1.3.04         PARTIAL LAYOUT PLAN LEVEL 1                                                      11/15/19      01/03/20                                    03/1020       07/25/22                   07/25/22       Addendum I
13.05          PARTIAL LAYOUT PLAN LEVI!. 1                                                     11/15/19      01/03/20                                    03/16/20      07/25/22                   07/15/22       Addendum!
13.06          PARTIAL LAYOUT PLAN LEVELS                                                       11/15/19      01/03/20                                    03/16/20      07/25/12                   07/15/22       Addendum E
13.07          PARTIAL LAYOUT PLAN LEVELS                                                       11/15/19      01/03/20                                    03/16/20      07/15/22                   07/25/22       Addendum 1
L4.03          IRRIGATION LEGEND LEVEL 1                                                        11/15/19      01/03/20                                    03/16/20      07/25/22                   07/15/12       Addendum!
1.4.01         IRRIGATION PLAN LEVELS                                                           11/15/19      01/03/20                                    03/16/20      07/25/12                   07/25/22       Addendum 1
14.02          IRRIGATION PLAN LEVEL 1                                                          11/15/19      01/03/20                                    03/16/20      07/25/21                   07/25/22       Addendum t
L4.03          IRRIGATION PLAN LEVEL 1                                                          11/15/19      01/03/20                                    03/16/20      07/25/22                   07/25/22       Addendum 1
L4.04          IRRIGATION PLAN LEVELS                                                           11/15/19      01/03/20                                    03/16/20      07/25/12                   07/25/22       Addendum!
14.05      _ IRRIGATION PLAN LEVELS                                                             11/25/19      01/03/20                                    03/16/20      07/25/72                   07/25/22       Addendum E




                                                                                                                 Page 80 of 174




                                                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 98
Case 3:25-cv-00020-LL-SBC                                            Document 1-2 Filed 01/06/25                                                                        PageID.107                          Page 100
                                                                             of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                PHASE 4 DOCUMENT LOG (RDC.)

                                                                   Issue Dem    11/15/19    01/03/20    01113/20      02/18/20        03/16/20        07/25/22
ILI,.et
      •                                                 040.4511               pnwniadid • 0paudng0a   DrAidn60,11   0191010180453 009157116 0181.   0,310I0E Vete   OMANI 021. (Mowing NU   WA Gum* mai.

14.06       IRRIGATION MAN LEVELS                                               11/15/19    01/03/20                                  03/16/20        07/25/22                    07/25/22    Addendum
1.4.07      FRIAR'S ROAD ENTRIES IRRIGATION PLAN                                11/15/19    01/03/20                                  03/16/20        07/25/22                    07/25/22    Addendum E
14.05       FRIAR'S ROAD STREETSCAP2 IRRIGATION PLAN                            11/15/19    01/03/20                                  03/16/20        07/25/22                    07/25/21    Addendum1
10.09       FRIAR'S ROAD STEREOSCOPE IRRIGATION PLAN                            11/15/19    01/03/20                                  03/16/20        07/25/22                    07/25/22    Addendum
1.4.10      ORION'S ROAD STREETSCAPE IRRIGATION PLAN                            11/15/19    01/02/20                                  03/16/20        07/25/22                    07/25/22    Addendum E
1.4.11      FRIAR'S ROAD STREETSCAPE IRRIGATION PLAN                            11/15/19    01/03/20                                  03/16/20        07/25/22                    07/25/22    Addendum E

10.12       IRRIGATION PLAN LEVEL?                                              11/15/19    01/03/20                                  03/16/20        07/25/22                    07/25/10    Addendum I
11.13       IRRIGATION PLAN LEVEL 2                                             11/15/19    01/03/20                                  03/16/20        02/25/22                    07/25/22    Addendum E

14.14       IRRIGATION PLAN LEVEL 7                                             11/15/19    01/03/20                                  03/16/20        07/25/22                    07/25/22    Addendum E

14.15        MESA PARK IRRIGATION PLAN LEVEL 2                                  11/15/19    01/03/20                                  03/16/10        07/25/22                    07/25/22    Addendum E

14.16       IRRIGATION DETAILS                                                  21/15/19    01/03/20                                  03/16/Z0        07/25/2Z                    07/25/22    Addendum E

14.17        IRRIGATION DETAILS                                                 11/15/19    01/03/20                                  03/16/20        07/25/22                    07/25/22    Addendum

15.01        MARDSCAPE DETAILS LEVELS                                           11/15/29    01/03/20                                  03/16/20        07/25/22                    07/25/12    Addendum E

L5.02        HARDSCAPE DETAILS LEVEL 1                                          11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum

15,03       SHADE ELEMENT DETAILS                                               11/15/19    01/03/20                                  03/16/20        07/25/22                   07/15/22     Addendum t

13,04        MACY'S PLAZA FOUNDATIN DETAILS                                     11/15/19    01/03/Z0                                  03/16/20                                    03/16/20    Add•ndum 0

1.5.05      TOT.107 ENLARGED PLAN                                               11/15/19    01/03/20                                                                              01/03/20    Addendum A
15.06        HAROSCAP2 DETAILS LEVEL 2                                          11/15/19    01/03/20                                  03/16/20                                    03/15/20    Addendum 13

1.5.07       MESA PARK HARDSCAPE DETAILS                                        11/15/19    01/03/20                                  03/16/20                                    03/16/20    Addendum

1.5.011      MESA PARK PLANTER DETAILS                                          11/15/19    01/03/20                                  03/16/10                                    03/16/20    Addendum 0

13.09        MESA PARK PUNTER DETAILS                                           11/19/19    01/03/20                                  03/16/20                                    03/16/20    Addendum 0
16.03        OVERALL TREE MAN LEVELS                                            11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum L

.1 6.01      OVERALL TREE PLAN LEVEL 2                                          11/15/19    01/03/20                                                                              01/03/20    AddendumA

16.01        PLANTING & TREE PRUNING NOTES                                      11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum

16.03        PLANTING DETAILS                                                   11/15/19    01/03/20                                  03/16/20         07/25/72                   07/25/22    Addendum
16.04        OVERALL PLANTING SCHEDULE                                          11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum E

17.01        LANDSCAPE PLANTING PLAN LEVEL 1                                    11/15/19    01/03/20                                  03/16/20         07/15/22                   07/25/22    Addendum

17.01        LANDSCAPE PLANTING PLAN LEVEL 1                                    11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum E
17.03        LANDSCAPE PLANTING PLAN LEVEL                                      11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/12    Addendum
L7.04        LANDSCAPE PUNTING PLAN LEVELS                                      11/15/19    01/03/20                                  03/16/20         07/25/12                   07/05/22    Addendum

1.7.05       LANDSCAPE PUNTING MAN LEVEL 1                                      11/15/19    01/03/20                                  03/16/20         07/15/22                   07/25/22    Addendum I
17.06        LANDSCAPE PLANTING PLAN LEVEL 1                                    11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum E
17.07        LANDSCAPE PLAN1ING PUN LEVEL I                                     11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum.

17.03        FRIAR'S RD LANDSCAPE PLAN                                          11/15/19    01/03/10                                  03/16/20         07/15/22                   07/25/22    Addendum 2
17.09        FRIAR'S RD LANDSCAPE PLANTING PLAN                                 11/15/19    01/03/20                                  03/16/20         07/15/22                   07/25/22    Addendum E
17.10        FRIAR'S ROAD STRFFTSCAPE PLANTING MAN                              11/15/19    01/03/20                                  03/16/20         07/15/22                   07/25/22    Addendum
17.11        FRIARS ROAD STREETSCAPE PlAN1ING PLAN                              11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum
17.12        FRIAR'S ROAD STREETSCAPE PLANTING PLAN                             11/15/19    01/03/20                                  03/16/20         07/25/22                   07/15/22    Addendum 2

L8.01        MESA PARK PLANTING MAN LEVEL 2                                     11/15/19    01/03/20                                  03/16/20                                    03/16/20    Addendum D

00.02        LEVEL? PLANTING PLAN                                               11/15/19    07/01/20                                  03/16/20         07/25/22                   07/25/22    Addendum E
11.03        MESA PARK PLANTING PLAN LEVEL 2                                    11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum t
1E100        PLANTING PLAN LEVEL                                                11/1S/19    01/03/20                                  03/16/20         07/25/22                   07/15/22    Addendum
         ARCHITECTURAL DEMO
000,10       DEMOLITION LOWER LEVEL FLOOR PLAN                                  11/15/19                                                               07/25/22                   07/25/22    Addendum E
000,00       DEMOLITION PARTIAL PLAN LOWER LEVEL                                11/15/19    01/03/10                                  03/16/20         07/2S/22                   07/2S/21    Addendum
AD112        DEMOLITION PARTIAL PLAN LOWER LEVEL                                21M/29      01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum
/101.13      DEMOUTION PARTIAL PLAN LOWER LEVEL                                 11/15/19    01/03/20                                  01/16/20         07/25/22                   02/25/22    Addendum
A0114        OEMOUTION PARTIAL PLAN LOWER LEVEL                                 11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum E
AD1.15       DEMOLITION PARTIAL PLAN LOWER LEVEL                                11/15/19    01/03/20                   02/18/20       03/16/20         07/25/72                   07/25/22    Addendum 2
A0126        DEMOLITION PARTIAL PLAN LOWER LEVEL                                11/15/19    01/03/20                                  03/16/20         02/25/21                   07/25/12    Addendum
601.20       0E14011710N UPPER LEVEL FLOOR PLAN                                 11/15/19                                                               07/25/22                   07/25/02    Addendum
AD1.21       DEMOLITION PARTIAL PLAN UPPER LEVEL                                11/15/19    01/03/20                                  03/16/20         0705/22                    07/15/22    Addendum
600.01       DEMOLITION PART,.PLAN UPPER LEVEL                                  11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum E
051.73       DEMOLITION PARTIAL PLAN UPPER LEVEL                                11/15/19    01/03/10                                  03/16/10         07/25/22                   07/2S/22    AddendumE
AD114        DEMOLITION PARTIAL PLAN UPPER LEVEL                                11/15/19    01/03/20                                  03/16/20         07/25/22                   07/15/22    Addendum
001.05       DEMOLITION PARTIAL PLAN UPPER LEVEL                                11/15/19    01/03/20                   02/18/20       03/16/20         07/25/22                   07/25/22    Addendum 2
ADO.05       DEMOLITION PARTIAL PLAN UPPER LEVEL                                11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/12    Addendum E
ADO.07       DEMOL1110N ROOF PUN                                                11/15/19                                                                                          11/15/19    OWSubmItIM
A0131        DEMOLITION PARTIAL ROOF PLAN                                       11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum I
AD132        DEMOLITION PARTIAL ROOF PLAN                                       11/15/19    01/03/20                                  03/16/20         07/15/22                   07/15/22    Addendum 2
000,90       DEMOLITION PARTIAL ROOF PLAN                                       11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum
001.34       DEMOLMON PARTIAL ROOF PLAN                                         11/15/19    01/03/20                                                   07/25/22                   07/25/22    Addendum E
471.35       DEMOLITION PARTION ROOF PLAN                                       11/15/19    01/03/20                   02/18/20       03/16/20         07/25/22                   07/25/22    Addendum
AD1.36       DEMOLITION PARTIAL ROOF PLAN                                       11/15/19    01/03/20                                                   07/25/Z0                   07/15/22    Addendum E

602.15       PARTIAL LOWER 10501 067 DEMO                                                                              02/16/22                        07/25/22                   07/15/22    AddendumE
AD3.01       DEMOUTION CONCOURSE ELEVATIONS                                     11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum
AD7.02       DEMOLITION CONCOURSE ELEVATIONS                                    11/15/19    01/03/20                                  03/16/20         07/15/21                   07/25/22    Addendum2
903.03       DEMOLITION CONCOURSE ELEVATIONS                                    11/15/19                                                               07/25/22                   07/25/22    Addendum E

AD3.04       DEMOLITION CONCOURSE ELEVATIONS                                    11/15/19    01/03/20                                                   07/25/22                   07/25/22    Addendum

A03.05       DEMOLITION CONCOURSE ELEVATIONS                                    11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum
001.06       DEMOUTION CONO3URSE ELEVATIONS                                     11/15/19    01/03/20                                  03/16/20         07/25/21                   07/25/22    Addendum(

003.11       DEMOLITION MALL NE EXTERIOR ELEVATIONS                             11/15/19    01/03/10                                  03/16/20         07/25/22                   07/25/22    Addendum 2

0.03.17      17111401.MON MALL NW EXTERIOR ELEVATIONS                           11/15/19                                                               07/25/11                   07/05/22    Add.WumE
003.13       DEMOUTION MALL SW EXTERIOR ELEVATIONS                              11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    Addendum
603.14       DEMOLMON MALL SE EXTERIOR ELEVATIONS                               11/15/15    01/03/20                                  03/16/20         07/25/12                   07/25/22    Addendumt

004.01       DEMOLITION SECTIONS                                                11/15/19    01/02/20                                  03/16/20                                    03/16/20    Addendum D
604.00       DEMOUTION SECTIONS                                                 11/15/19    01/03/20                                  03/16/20         07/25/22                   07/25/22    AddenthonE
Aid.03       DEMOLITION SECTIONS                                                11/15/19    01/03/20                                                   07/25/22                   07/25/22    Addendum

MACK         DEMOLITION SECTIONS                                                11/15/19    01/03/20                                                   07/25/22                   07/25/22    Addendum
AD0.05       ounotrnox SECTIONS                                                 11/15/19    01/03/20                                                   07/15/22                   07/15/22    Addendum E
A04.06      !MAMMON SECTIONS                                                    11/15/19    01/03/20                                                   07/25/21                   07/25/22    Addendum
004.07       DEMOLITION SECTIONS                                                11/15/19    01/03/20                                                   07/25/22                   07/25/22    Addendum
004.00       DEMOUTION SECTIONS                                                 11/15/19    01/03/10                                                                              01/03/20    Addendum A
A06.31       DEMOLMON ENLARGED RESTROOM PLANS                                   11/15/19    01/03/20                                   03/16/20                                   03/16/20    Addendum




                                                                                               Page 81 of 174




                                                                    NOTICE OF REMOVAL EXHIBIT 1 p. 99
Case 3:25-cv-00020-LL-SBC                                                  Document 1-2 Filed 01/06/25                                                                   PageID.108                           Page 101
                                                                                   of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                            PHASE 4 DOCUMENT LOG (RDC.)

                                                                         Igoe Dee:   11/15/15     01/03/20     01/13/20      02/18/20      03/16/20     07/28/22
  Sheet                                           Men 711111111   1111           'DEswIng Date   Ore   9 Pater DERWIAS DM   Onnulng Date • I DrawIrtg Otte
                                                                                                                                                       '                                0.11m.Cutout1511111114M11111111
                                                                                                                                                           Draveln$ Me (Vaud% OltillhewMe
306.32    DEMOLIRON ENLARGED CAF9 TERRACE                                            11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum I
006.33    MESA PARK ESCALATORS                                                       11/15/19                                02/18/22      03/16/20     07/25/22                   07/25/22    Addendum E
00811     DETAILS.DEMOUTION                                                          11/15/19                                              03/16/20     07/25/11                   07/25/22    Addendum E
     ARCHITECTURAL
61.10     LOWER LEVEL FLOOR PLAN                                                     11/15/19     01/03/20                                              07/25/22                   07/25/22    Addendum E
A1.11     PARTIAL PLAN LOWER LEVEL                                                   11/15/19     01/03/20                                              07/25/22                   07/15/22    Addendum E
31.12     PARTIAL PLAN LOWER LEVEL                                                   11/15/19     01/03/20                                 03/16/10     07/25/22                   07/25/22    Addendum E
AI.13     PARTIAL PLAN LOWER LEVEL                                                   11/15/19     01/03/10                                 03/16/20     07/25/22                   07/25/22    Addendum E
01.14     PARTIAL PLAN LOWER LEVEL                                                   11/15/19     01/03/20                                 03/16/20     07/25/22                  .07/25/22    Addendum 1
41.15     PARTIAL PLAN LOWER LEVEL                                                   11/15/19     01/03/10                   02/13/20      03/16/20     07/25/22                   07/25/22    Addendum I
51.16     PARTIAL PLAN LOWER LEVEL                                                   11/15/19     01/03/20                                              07/25/22                   07/25/22    Addendum E
AI.20     UPPER LEVEL FLOOR PLAN                                                     11/15/13     01/03/20                                              07/25/22                   07/25/22    Addendum E
51.21     PARTIAL PLAN UPPER LEVEL                                                   11/13/19     01/03/20                                 03/16/20     07/15/22                   07/25/22    Addendum 1
51.21     PARTIAL MAN UPPER LEVEL                                                    11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum f
0223      PARTIAL PLAN UPPER LEVEL                                                   11/15/15     01/03/20                                 03/16/20     07/25/12                   07/25/22    Addendum,
A1.24     PARTIAL PLAN UPPER LEVEL                                                   11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum 1
01.25     PARTIAL PLAN UPPER LEVEL. MESA PARK                                        11/15/15     01/03/20                   02/10/20      03/16/20     01/25/22                   07/25/22    Addendum E
ALI6      PARTIAL PLAN UPPER LEVEL                                                   11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum E
AI.30     OVERALL ROOF PLAN                                                          11/15/19     01/03/20                                 03/16/20     07/25/11                   07/25/22    Addendum 1
01.31     PARTIAL ROOF PLAN                                                          13/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum E
0232      PARTIAL ROOF PLAN                                                          11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    PddernIum E
01.33     PARTIAL ROOF PLAN                                                          11/15/19     01/03/20                                 03/16/20     07/25/22                   01/25/22    Addendum E
51.34     PARTIAL ROOF PLAN                                                          11/15/19     01/03/20                                              07/25/22                   07/25/22    Adderdum E
01.35     PARTIAL ROOF PLAN -MESA PARK                                               11/15/15     01/03/20                   02/10/20      03/16/20     07/25/22                   01/25/22    Addendum E
01.36     PARTIAL ROOF PLAN                                                          11/15/19                                              03/16/20     07/25/22                   07/25/22    Addendum I
01.40     DETAILS. RAILINGS TYPES                                                    11/15/19     01/03/20                   02/15/20      03/16/20     07/25/22                   01/25/22    Addendum 5
12.10     LOWER LEVEL RCP                                                            11/15/19     01/03/10                                              07/25/22                   07/25/22    Addendum E
02.11     PARTIAL LOWER LEVEL RCP                                                    11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum E
62.12     PARTIAL LOWER LEVEL RCP                                                    11/15/19     01/03/10                                 03/16/10     07/05/22                   07/25/22    Addendum E
02.13     PARTIAL LOWER LEVEL RCP                                                    11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum E
02.14     PARTIAL LOWER LEVEL RCP                                                    11/15/19     01/03/20                                              07/05/22                   01/25/22    Addendum I
A2.15     PARTIAL LOWER LEVEL RCP                                                    11/15/19     01/03/20                   02/18/20      03/16/20     07/15/22                   07/25/22    Addendum E
1226      PARTIAL LOWER LEVEL RCP                                                    11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum E
42.20     UPPER LEVEL RCP                                                            11/15/19     01/03/20                                              07/25/22                   07/25/22    Addendum E
02.2I     PARTIAL UPPER LEVEL RCP                                                    11/13/19     01/03/20                                              07/25/22                   07/25/22    Addendum I
52.22     PARTIAL UPPER LEVEL RCP                                                    11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum E
52.23     PARTIAL UPPER LEVEL RCP                                                    11/13/19     01/03/20                                              07/25/22                   07/25/22    Addendum I
A2.24     PARTIAL UPPER LEVEL RCP                                                    11/15/19     01/03/20                                              07/25/22                   07/25/22    Addendum I
02.25     PARTIAL UPPER LEVEL RCP                                                    11/15/19     01/03/20                   02/13/20      03/16/20     07/10/22                   07/25/22    Addendum 1
A2.26     PARTIAL UPPER LEVEL RCP                                                    11/15/19     01/03/20                                              07/25/22                   07/25/22    Addendum(
03.01     CONCOURSE ELEVATIONS                                                       11/15/19     01/03/20                                 03/16/20     07/25/22                   07/2502     Addendum 1
43.02     CONCOURSE ELEVATIONS                                                       11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum /
4.3.03    CONCOURSE ELEVATIONS                                                       11/15/19     01/03/20                                              07/25/22                   07/25/22    Addendum E
53.04     CONCOURSE ELEVATIONS                                                       11/15/19     01/03/20                                              07/25/22                   07/25/22    Addendum E
A3.05     CONCOURSE ELEVATIONS                                                       11/15/19     01/03/20                                 03/16/20     07/15/22                   07/25/22    Addendum E
03.06     CONCOURSE ELEVATIONS                                                       11/15/19     01/03/20                                              07/25/12                   07/25/22    Addendum 0
03.07     CONCOURSE ELEVATIONS                                                       11/15/19     01/03/20                                              07/25/12                   07/25/22    Addendum /
03.03     CONCOURSE ELEVATIONS                                                       11/15/19                                              03/16/20     07/25/22                   07/25/22    Addendum I
03.11     NO EXTERIOR ELEVATIONS                                                     11/15/19                                              03/16/20     07/25/22                   07/15/22    Addendum 1
A3.12     NW EXTERIOR ELEVATIONS                                                     11/15/19                                              03/16/20     07/25/22                   07/25/22    Addendum 0
03.13     SW EXTERIOR ELEVATIONS                                                     11/15/19                                              03/16/20     07/25/12                   07/25/22    Addendum E
03.14     SE EXTERIOR ELEVATIONS                                                     11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum E
04.01     AMC TOWER ELEVATIONS                                                       11/11/19     01/03/20                                              07/25/22                   07/25/22    Addendum 1
04.02     ENLARGED ELEVATIONS AND SECTIONS.CAFE TERRACE                              11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum(
44.11     AMC TOWER SECTION AND PRISPECIT/ES                                         11/15/19     01/03/20                                 03/26/20     07/25/12                   07/25/23    Addendum 1
54.12     NORDSTROM/NIEMAN CONCOURSE SECTION AT CANOPY                               11/15/19     01/02/20                                 03/16/20     07/25/22                   07/25/22    Addendum E
A4.13     BRIDGE SECTION                                                             11/15/19     01/03/20                                 03/16/20     07/23/22                   07/25/22    Addendum E
54.14     AMC TOWER ENLARGER SECTIONS                                                             01/03/20                                              07/25/22                   07/25/12    Addendum E
A4.15     AMC ENLARGED TOWER SECTIONS                                                             01/03/20                                              07/25/12                   07/25/22    Addendum E
04.21     SECTIONS                                                                   11/15/19                                              03/16/20     07/25/22                   07/25/22    Addendum 1
54.22     SECTION AT NEW TENANT                                                                   11/15/19                                              07/25/22                   07/25/22    Addendum 1
54.31     RAIUNG TYPE.0.                                                             11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum f
4.4.32    RMUNG TYPE'S'                                                              11/15/15     01/03/20                                 03/16/20     07/2S/22                   07/25/22    Addendum f
04.33     RMUNG TYPE V                                                               11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum E
A5.01     MACE'S COURT ESCALATOR CANOPY                                              11/15/13     01/03/20                                              07/25/22                   07/25/22    Addendum 1
05.02     BLOOMINGDALE COURT ESCALATOR CANOPY                                        11/15/19     01/03/20                                              01/25/22                   07/25/22    Addendum I
A5.03     NORDSTROM/NIEMAN COURT ESCALATOR CANOPY                                    11/15/13     01/03/20                                              07/25/22                   07/25/22    Addendum E
AS.04     MESA PARK ESCALATOR FLOOR PLANS                                                                                    02/18/20      03/16/20     01/25/22                   07/25/22    Addendum E
*5 05     MESA PARK ESCALATOR CANOPY PLANS                                                                                   02/113/20     03/16/20     07/25/22                   07/23/22    Addendum E
45.30     ESCALATORS MACY'S COURT SECTIONS                                                                                                                                                     CM,Submittal   MISSING
33.31     ESCALATORS MACY'S COURT PERSPECTIVES                                                                                                                                                 On.SubmInsl    MISSING
A5.32     ESCALATOR COVER-NORDSTROM                                                                                                                                                            thy SubmInal   MISSING
35.34     ELEVATOR PERSPECTIVES-MESA PARK                                                                                                                                                     011 55630031    MISSING
06,01     ENLARGED PLANS LOWER LEVEL                                                 11/15/19     01/03/20                                                                         01/03/20    Addendum A
06.02     ENLARGED PLANS LOWER LEVEL                                                 11/15/19     01/03/20                   02/18/10      03/16/20     07/25/22                   07/25/22    Addendum 1
A6.03     ENLARGED PLANS LOWER LEVEL                                                 11/15/19     01/03/20                                                                         01/03/20    Addendum A
ARRA      ENLARGED MANS LOWER LEVEL                                                  11/15/19     01/03/20                                                                         01/03/20    Addendum A
06.11     ENLARGED PLANS UPPER LEVEL                                                 11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum E
06.12     ENLARGED PLANS UPPER LEVEL                                                 11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/12    Addendum E
56.I3     ENLARGED PLANS UPPER LEVEL                                                 11/15/19     01/03/20                                 03/16/20     07/25/22                   07/25/22    Addendum(
06.14     ENLARGED PLANS UPPER LEVEL                                                 11/15/19     01/03/20                                 03/16/20     07/15/U                    07/15/21    Addendum E
A6.15     //BARGED PLANS UPPER LEVEL                                                 11/15/19     01/03/20                   02/18/20      03/16/20     07/25/22                   07/25/22    Addendum E
a6.16     ENLARGED PLANS UPPER LEVEL                                                 11/1S/19     01/03/20                                 03/16/20                                03/16/20    Addendum D
06.17     ENLARGED PLANS UPPER LEVEL. MESA PARK                                      11/15/19     01/03/20                   02/15/20                   07/25/22                   07/25/22    Addendum E




                                                                                                       Page 82 of 174




                                                                         NOTICE OF REMOVAL EXHIBIT 1 p. 100
 Case 3:25-cv-00020-LL-SBC                                       Document 1-2 Filed 01/06/25                                                                     PageID.109                             Page 102
                                                                         of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                               FASHION VAL.L.EY


                           PHASE 4 DOCUMENT LOG (RDC.)

                                                               Issue Dam       11/1S/19       01/03/00     01/13/20    02/18/20      03/16/10     07/25/22
4511111111 IMMINOMI1101110111111.1156eetiltle - -                          i OrsvAITI DMA . Drawing DO/ . DERMA.OMR   °Twine Dati   OrnwInf Oat* .DERMA(Otte 'WAWA,°Me 41710wIng DMe1 4*.ta.ent6.1 1.11111        0
A6.18    ENLARGED PLANS UPPER LEVEL                                          11/15/19      01/03/20                                               07/25/12                07/25/22      Addendum I
A6.19    ENLARGED PLANS UPPER LEVEL                                          11/11/19      01/03/10                                  03/16/10     07/15/22                07/25/22      Addendum E
A6.20    ENLARGED PLANS UPPER LEVEL                                          11/1S/19      01/03/20                                  03/16/20     07/25/22                07/25/23      Addendum I
A6.21    ENLARGED ROOF PLAN • MESA PARK                                      11/15/19      01/03/20                    02/18/20                   07/15/22                07/25/22      Addendum 1
A6.31    ENLARGED RESTROOM PLANS                                             11/15/19                                                03/16/20                             03/16/20     Addendum D
66.33    ENLARGED PLAN •CAFE TERRACE                                         11/15/19      01/03/20                                  03/16/20     07/15/21                07/15/23      Addendum E
0633     ENLARGED ROOF PLAN -CAST TERRACE                                    11/15/19                                                03/16/20     07/25/22                07/25/22      Addendum I
A6.41    ENLARGED RESTROWN REFLECTED CEILING PLANS                           11/15/19                                                03/16/20                             03/16/20      Addendum D
06.42    ENLARGED RCP • CAFE TERRACE                                         11/15/19      01/03/10                                  03/16/10     07/23/12                07/25/22      Addendum I
1611     INTERIOR ELEVATIONS RESTROOMS                                       11/15/19                                                03/16/20                             03/16/20      Addendum D
A6.61    ENLARGED RESTROOM FLOOR FINISH PLAN                                               01/03/20                                  03/15/20     07/25/12                07/25/22      Addendum E
47.00    EXISTING SHADE STRUCTURE TYPE'CAW,TYPE.G.                           11/15/19      01/03/20                                  03/16/20     07/25/22                07/25/22      Addendum I
A7.01    SHADE STRUCTURE TYPE 'Al'. MAIL CONCOURSE                           11/15/19      01/03/20                                  03/16/20     07/15/22                07/25/21      Addrsdum 1
07.02    SHADE STRUCTURE MO'Al.• MALL CONCOURSE                              11/1S/19      01/03/20                                               07/2S/22                07/25/21      Addendum 1
67.03    SHADE STRUCTURE PIPE MI'• MALL CONCOURSE                            11/10/19      01/03/20                                  03/16/20     07/29/12                07/25/20      Addendum I
A7.04    SHADE STRUCTURE TYPE 'Al'• MALL CONCOURSE                           11/10/19      01/03/20                                  03/16/20     07/25/22                07/25/23      Addendum(
A7.05    SHADE STRUCTURE TYPE'AC. MALL CONCOURSE                             11/15/19      01/03/20                                  03/16/20     07/25/22                07/15/22      Addendum E
47.06    SHADE STRUCTURE TYPE 'Al'. MALL CONCOURSE                           11/15/19      01/03/20                                               07/25/22                07/15/11      Addendum F
A7.07    SHADE STRUCTURE TYPE Ml.• MALL CONCOURSE                            11/15/19      01/03/20                                               07/25/12                07/15/22      Addendum E
A7.08    SHADE STRUCTURE TYPE..01.• MALL CONCOURSE                           11/15/19      01/03/20                                               07/25/22                 07/25/12     Addendum E
A7.09    SHADE STRUCTURE TYPE 'Al'• MALL CONCOURSE                                                                                                                                     City SubmINal    MISSING
A7.10    SHADE STRUCTURE TYPE NU'• MALL CONCOURSE                                                                                                                                      Chy Submittal    MISSING
.47.11   SHADE STRUCTURE TYPE 'AT.MALL CONCOURSE                             11/15/19                                                03/16/20     07/25/22                07/25/22      Addendum E
07.12    SHADE STRUCTURE TYPE.0.2'• MALL CONCOURSE                           11/15/19      01/03/20                                  03/16/20     07/25/22                 07/25/22     Addendum E
A7.I3    SHADE STRUCTURE TYPE 'A2'- MALL CONCOURSE                           11/15/19                                                03/16/20     07/25/22                 07/25/22     Addendum E
07.14    SHADE STRUCTURE TYPE NU'• MALL CONCOURSE                            11/15/19                                                03/16/20     07/25/12                 07/25/22     Addendum E
07,15    SHADE STRUCTURE TYPE.62.- MALL CONCOURSE                            11/15/19                                                03/16/20     07/15/22                 07/25/22     Addendum E
,07.16   SHADE STRUCTURE TYPE'AT - MALL CONCOURSE                            11/15/19                                                03/16/10     07/15/22                 07/25/22     Addendum I
07.17    SHADE STRUCTURE TYPE.62'- MAU.CONCOURSE                             11/15/19      01/03/20                                  03/16/20     07/25(22                 07/25/22     Addendum E
07.18    51.1013E STRUCTURE TYPE'AC.(AML CONCOURSE                           II/15/19      01/03/20                                  03/16/20     07/25/23                 07/25/12     Addendum E
/17.19   SHADE STRUCTURE TYPE 'Al.- MALL CONCOURSE                           11/15/19      01/03/20                                  03/16/20   , 07/25/22                 07/25/22     Addendum i
67.19A   SHADE STRUCTURE TYPE'AV AND'MP • MALL CONCOURSE                                                                                          07/25/12                 07/26/22     Addendum E
07.21    SHADE STRUCTURE TYPE 111.• MACTI COURT                              11/15/19      01/03/20                                  03/16/20     07/25/22                 07/25/22     Addendum E
4.7.22   SPADE STRUCTURE TYPE 432'• mACYS COURT                              11/15/19      01/03/20                                  03/16/20     07/25/22                 07/25/22     Addendum E
67.31    SHADE STRUCTURE TYPE 'E'• NORDSTROM 0300T                •          11/15/19      01/03/20                                  03/16/20     07/25/22                 07/25/21     Addendum E
67.41    SHADE STRUCTURE 'RI' SECTION AND ENLARGED ROOF PLAN                 11/15/19                                                03/16/10     07/25/22                 07/25/21     Addendum 1
A7.42    SHADE STRUCTURE.F2' SECTION AND ENLARGED ROOF PLAN                  11/15/19      01/03/20                    02/18/20      03/16/20     07/25/22                 07/25/22     Addendum 6
A7A3     SHADE STRUCTURE'FT SECTION AND ENLARGED ROOF PLAN                   11/15/19      01/03/20                                               07/25/22                 07/25/21     Addendum 1
A7.44    SHADE STRUCTURE TYPE 'F.PERSPECTIVES • MESA PARK                    11/19/19                                                             07/25/21                 07/25/22     Addendum 1
A8.01    DETAILS •GENERAL                                                    11/1S/19      01/03/20                                  03/16/20     07/25/22                 07/25/22     Addendum 1
0.8.02   DETAILS - GENERAL                                                   11/15/19      01/03/20                                  03/16/20     07/15/12                 07/15/21     Addendum 1
A13.03   DETAILS'STAIRS                                                      11/15/19      01/03/20                    02/18/20      03/16/20     07/25/12                 07/25/22     Addendum 1
08.04    DETAILS.RESTROOMS                                                                 01/03/20                                  03/16/20                              03/16/20     Addendum D
68.11    DETAILS. CANOPIES                                                   11/15/19      01/03/20                    01/18/20      03/16/20     07/25/22                 07/25/21     Addendum F
612.11   DETAILS • LASER CUT METAL PANELS                                    11/15/19      01/03/10                                  03/15/20     07/25/22                 07/25/22     AdelAndum E
02.11    DETAILS • CAFE TERRACE DETAILS                                      11/15/19      01/03/20                                  03/16/30     07/25/22                 07/25/22     Addendum E
A10.10   LOWER LEVEL AMENITY PLAN                                            11/15/19      01/03/20                                  03/16/20                                           Addendum 9
010.11   PARTIAL AMENITY PLAN LOWER LEVEL                                    11/15/19                                                03/16/20                                           Addendum A
A10.12   PARTIAL AMENITY PLAN LOWER LEVEL                                    11/15/19                                                03/16/20                                           Addendum A
010.13   PARTIAL AMENITY MAN LOWER LEVEL                                     11/15/19                                                03/16/20                                           Addendum A
010.14   PARTIAL AMENITY PLAN LOWER LEVEL                                    11/15/19                                                03/16/30                                           Addendum A
610.15   PARTIAL AMENITY PLAN LOWER LEVEL                                    11/15/19                                                03/16/20                                           Addendum A
010.I6   PARTIAL AMENITY PLAN LOWER LEVEL                                    11/15/19                                                03/16/20                                           Addendum A
A10.20   UPPER LEVEL AMENITY MAN                                             11/15/19      01/01/20                                  03/16/20                              03/16/20     Addendum 0
A10.21   PARTIAL AMENITY PLAN UPPER LEVEL                                    11/15/19      01/03/20                                  03/16/20                              03/16/20     Addendum D
610.12   PARTIAL AMENITY PLAN UPPER LEVEL                                    11/15/19                                                03/16/20                              03/16/20     Addendum D
010.23   PARTML AMENITY ULAN UPPER LEVEL                                     11/13/19      01/03/20                                  03/16/20                              03/16/20     Addendum D
610.24   PARTIAL AMEN2172 PLAN UPPER LEVEL                                   11/15/19      01/03/20                                  03/16/20                              03/16/20     Addendum 0
M.0.25   PARTIAL AMENITY PLAN UPPER LEVEL' MESA PARE                         11/15/19      01/03/20                                  03/16/20                              03/16/20     Addendum 0
A10.26   PARTIAL AMENITY PLAN UPPER LEVEL                                    11/15/19                                                03/16/20                              03/1020      Addendum 0
A10.31   FEU SCHEDULE                                                        11/15/19                                                03/16/20                              03/16/20     Addendum D
     STRUCTURAL
50.01    GENERAL NOTES                                                       11/15/19                                                                                      11/15/19    Oly 1ubrn11141
50.02    GENERAL NOTES                                                       11/15/15                                                                                      11/15/19    Clly Subm1Hal
50.03    GENERAL NOTES                                                       11/15/19                                                03/16/20                              03/16/20     04dendum D
S13.10   UPPER LEVEL LOADING CRITERIA PLAN                                   11/15/19                                                             07/25/12                 07/25/22     Addendum(
00.12    UPPER LEVEL LOADING CRITERIA PLAN                                   11/15/19                                  01/1020       03/16/20     07/25/22                 07/25/22     Addendum 1
91.01    TYPICAL DETAILS                                                     11/15/19                                                                                      11/15/19    Chy SubmIne,
5102     TYPICAL DETAILS                                                     11/15/19                                  02/18/10      03/16/20                              03/16/20     Addendum D
51.03    TYPICAL DETAILS                                                     11/15/19                                                                                      11/15/19    Chy Submittal
52.04    TYPICAL DETAILS                                                     11/15/19      01/03/20                                               07/25/22                 07/25/22     Addendum 1
SIDS     TYPICAL DETAILS                                                     11/15/19      01/03/20                                                                        01/03/20     Addendum•
51.06    TIMM DETAILS                                                        11/15/19 •                                              03/16/20                              03/16/20     Addendum 0
5107     TYPICAL DETAILS                                                     11/15/19                                                                                      22/15/19    Chy SubmInel
S1.08    TYPICAL DETAILS                                                     11/15/19                                                                                      II/IS/IS    4203 16e.01031
5209     TYPICAL DETAILS                                                     11/15/19                                                                                      11/15/19    Cliy Submittal
01.10    TYPICAL DETAILS                                                     11/15/15                                                                                      11/15/19    ety SulunInal
S1.11    TYPICAL DETAILS                                                     11/15/19      01/03/20                                                                        01/03/20     Addendum•
52.10    1E) OVERALL FOUNDATRIN• KEY PIAN                                    11/15/19      01/03/10                                                                        01/03/20     Addendum A
52.11    1E) FOUNDATION PLAN                                                  11/15/19     01/03/20                                  03/16/30     07/25/22                 07/25/22     Addendum E
02.12    /6)FOUNDATION PLAN                                                   11/15/19     01/03/20                                  03/16/20     07/25/21                 07/25/22     Addendum 1
52.13    1E) FOUNDATION PLAN                                                  11/15/19     01/03/20                                                                        01/03/20     Addendum A
S2.I4    (E)FOUNDATION PLAN                                                  11/15/19      01/03/20                    02/18/20                   07/25/22                 07/25/22     Addendum E
52.15    1E) FOUNDATION PLAN                                                  11/15/19     01/03/20                                  03/56/20     07/25/22                 07/25/22     Addendum(




                                                                                              Page 83 of 174




                                                               NOTICE OF REMOVAL EXHIBIT 1 p. 101
Case 3:25-cv-00020-LL-SBC                                                      Document 1-2 Filed 01/06/25                                                                        PageID.110                           Page 103
                                                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                              FASHION VAL_L_EV


                           PHASE 4 DOCUMENT LOG (RDC.)

                                                                             las. Date:   11/15/19     01/03/20       01/13/20       02/18/20     03/16/20      07/15/22
           21121161111111111111114111111111111111111k3mo151AIMMINIM111011111111Millif prawloidits     Draunng Crate EDrawIns Date   lir.Ing DOA I Drawly;DMA   of.t.kciPe
                                                                                                                                                                        ;
                                                                                                                                                                        -- .1 PLLTOAs             7 Mott Current Sat
                                                                                                                                                                                        iteraUelAgiM
                                                                                                                                                                                                  -
10.11      RI FOUNDATION PLAN                                                             11/15/19     01/03/20                                                 07/25/22                  07/25/23      Addendum
52.17      LEI FOUNDATION PLAN                                                            11/15/19     01/03/20                      02/18/20     03/16/20      07/25/22                  07/25/22      Addendum
52.18      in FOUNDATION PLAN                                                             11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/21      Addendum/
52.19                                                                                                                                                                                                 [IN Submit-Lel   MISSING
52.20      10 OVERALL UPPER LEVEL- REV PLAN                                               11/15/19     01/03/20                                                 07/25/22                  07/25/22      Addendum
52.21      (E) OVERALL UPPER LEVEL AREA I. FRAMING PLAN                                   11/15/19     01/03/20                                   03/16/20      07/Z5/22                  07/25/22      Addendum E
52.21A     CANOPY FRAMING PLAN                                                            11/15/19     01/03/20                                                                           01/03/20      Addendum A
52.218     CANOPY FRAMING PLAN                                                            11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/22      Addendum E
52.22      (El UPPER LEVEL. FRAMING PLAN                                                  11/15/19     01/03/20                                   03/16/00      07/25/22                  07/25/22      Addendum
52.22A     CANOPY FRAMING PLAN                                                            11/15/18     01/03/20                                   03/10/20      07/25/22                  07/25/22      Addendum E
52.2213    CANOPY FRAMING MAN                                                             11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/22      Addendum
52.23      (El UPPER LEVEL. FRAMING PLAN                                                  11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/71      Addendum E
52.24      (E)UPPER LEVEL•FRAMING PLAN                                                    11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/22      Addendum t
52.25      (E)UPPER LEVEL. FRAMING PLAN                                                   11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/22      Addendum F
52.204     CANOPY FRAMING PLAN                                                            11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/22      Addendum I
52.26      (El UPPER LEVEL'FRAMING PLAN                                                   11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/22      Addendum 2
52.26A     CANOPY FRAMING PUN                                                             11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/22      Addendum
52.27      (E) UPPER LEVEL. FRAMING PLAN                                                  11/15/19     01/03/20                      02/18/20     03/16/20      07/25/22                  07/25/30      Addendum E
52.28      (El UPPER LEVEL•FRAMING PLAN                                                   11/15/19     01/03/20 .                                 03/16/20      07/25/22                  07/25/22      Addendum
53.01      (((COLUMN STRENGTHENING SCHEDULE                                               11/15/19                                   02/18/20     03/16/20      07/05/22                  07/25/22      Addendum
04.01      FOUNDATION SECTIONS AND DETAILS                                                11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/22      Addendum E
54.02      FOUNDATION SECTIONS AND DETAILS                                                11/15/19     01/03/20                      02/18/20     03/16/20      07/2S/22                  07/25/22      Addendum I
55.01      STEEL SECTIONS AND DETAILS                                                     11/15/15     01/03/20                      02/18/20     03/16/10      07/25/22                  07/25/22      Addendum E
55.02      STEEL SECTIONS AND DETAILS                                                     11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/22      Addendum I
55.03      STEEL SECTIONS AND DETAILS                                                     11/15/19     01/03/20                                   03/16/20      07/25/U                   07/25/22      Addendum E
55.04      STEEL SECTIONS AND DETAILS                                                     11/15/19     01/03/20                                   03/16/20      07/25/22                  07/15/22      Addendum E
55.05      STEEL SECTIONS AND DETAILS                                                     11/15/19     01/03/20                      02410/20     03/16/20      07/25/22                  07/25/22      Addendum I
15.06      STEEL SECTIONS AND DETAILS                                                     11/15/19     01/03/20                                   03/16/20      07/25/Z2                  07/25/22      Addend um
     MECHANICAL
1.1.0.01   MECHANICAL AND PLUMBING TITLE SHEET                                            11/15/19     01/03/20                      02/18/20                                             02/18/20      Addendum C
A41.20     UPPER LEVEL MEOIANICAL PLAN                                                    11/15/19     01/03/20                                                                           01/03/20      Addendum A
M125       PARTIAL MECHANICAL PLAN UPPER LEVEL                                            11/15/19     01/03/20                                                                           01/03/20      Addendum•
M110       ENLARGED RESTROOM DEMO & NEW MECHANICAL PLANS                                  11/15/19     01/03/10                                                                           01/03/20      Addennme A
     PLUMBING
P1.10      LOWER LEVEL PLUMBING MAN                                                       11/1.5/15    01/03/20                                                                           01/03/20      Addendum•
P1.13      PARTIAL PLAN LOWER LEVEL                                                       11/15119     01/03/20                                                                           01/03/20      Addendum A
01.15      PARTIAL PLAN LOWER LEVEL                                                       ilits/18     01/03/20                                                                           01/03/20      Addendum A
P1.16      PARTIAL PLUMBING PLAN LOWER LEVEL.                                             11/15/19     01/03/20                      02/10/20                                             02/18/20      Addendum C
P1.17      PARTUU.PLUMBING PLAN LOWER LEVEL                                               11/15/19     01/03/20                                   03/16/20                                03/16/20      Addendum 0
P1.10      UPPER LEVEL PLUMBING PLAN                                                      11/15/19                                   02/18/20                                             01/18/20      Addendum C
P1.23      PARTIAL PLUMBING PLAN UPPER LEVEL                                              11/15/19     D1/03/20                                                                           01/03/20      Addendum A
P1.25      PARTIAL PLUMBING PUN UPPER LEVEL                                               11/1S/19     01/03/20                                                                           01/03/20      Addendum A
P1.06      PARTIAL PLUMBING MAN UPPER LEVEL                                               11/15/19     01/03/20                      02/18/20                                             02/18/20      Addendum C
P1.36      PARTIAL PLUMBING PLAN ROOF LEVEL                                               11/is/19                                   02/10/20                                             02/18/20      Addendum C
P2.10      ENLARGED RESTROOM DEMO ANEW PLUMBING PLANS                                     11/1S/19     01/03/30                                   03/16/20                                02/16/20      Addendum 0
P3.10      PLUMBING SCHEDULES AND DETAILS                                                 11/15/19                                   02/18/20                                             02/18/20      Addendum C
     ELECTRICAL
EDO°       ELECTRICAL TITLE SHEET                                                         11/15/19     01/03/20                                                 07/25/22                  07/25/22      Addendum E
ELIO       EXISTING LOWER LEVEL OVERALL POWER PLAN                                        11/15/19     01/03/20                                                 07/25/22                  07/25/22      Addendum!
E1.11      LOWER LEVEL. AREA        POWER PLAN                                            11/15/19     01/03/20                                                 07/25/22                  07/15/22      Addendum
21.12      LOWER LEVEL. AREA T•POWER PLAN                                                 11/15/19     01/03/20                                                 07/25/22                  07/15/22      Addendum I
E1.13      LOWER LEVEL. AREA.11.• POWER PLAN                                              11/15/19     01/01/20                                                 07/25/22                  07/25/22      Addendum
E1.14      LOWER LEVEL - AREA 'F'. POWER PLAN                                             11/15/19     01/03/20                                                 07/25/22                  07/25/22      Addendum E
51.15      LOWER LEVEL. AREA.0.POWER PLAN                                                 11/15/19     01/03/20                      02/18/20                   07/15/22                  07/15/22      Addendum E
E1.16      LOWER LEVEL•AREA'0'• POWER PLAN                                                11/15/19     01/03/20                                                 07/25/22                  07/25/22      Addendum t
E1.20      EXISTING UPPER LEVEL OVERALL POWER PLAN                                        11/15/19     01/03/20                                                 07/25/22                  07/15/22      Addendum
Ea.21       UPPER LEVEL-AREA A.•POWER PLAN                                                11/15/19     01/03/20                                                 07/25/22                  07/25/22      Addendum
21.22       UPPER LEVU • AREA T • POWER PLAN                                              11/15/19     01/03/20                                                 07/25/22                  07/05/22      Addendum E
11.13       UPPER LEVEL-AREA le • POWER PLAN                                              11/1S/19     01/03/20                                                 07/25/21                  07/25/22      Addendum I
1124        UPPER LEVEL AREA 'F.
                               .POWER PLAN                                                11/15/19     01/03/20                                                 07/25/22                  07/05117      Addendum f
/1.25       UPPER LEVEL•AREA T -POWER PLAN                                                11/15/19     01/03/20                      02/18/20     03/16/20      07/25/22                  07/25/22      Addendum f
E1.26       UPPER LEVEL• AREA 13. POWER PLAN                                              11/15/19     01/03/20                                                 07/25/22                  07/15/22      Addendum
/2.10      EXISTING LOWER LEVEL OVERALL LIGHTING PLAN                                     11/15/19     01/03/20                                                 07/25/22                  07/25/22      Addendum!
E2.11A     LOWER LEVEL. AREA A CEILING UG KING PLAN                                       11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/22      Addendum E
E7.1111    LOWER LEVEL• AREA A .FLOOR UGHTING PLAN                                                     01/03/20                                   03/16/20      07/15/22                  07/25/22      Addendum t
/2.11C     LOWER LEVEL. AREA A'EM PHOTOMETRIC STUDY                                                    01/03/20                                                 07/25/22                  07/25/22      Addendum t
E2.12A     LOWER LEVEL-UREA E •CEILING UGHTING PLAN                                       11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/22      Addendum E
E2.12B     LOWER LEVEL' AREA E 'FLOOR LIGHTING PUN                                                     01/03/20                                   03/15/20      07/25/22                  07/25/22      Addendum t
0.12C      LOWER LEVEL' AREA E EM PHOTOMETRIC STUDY                                                    01/03/20                                                 07/25/22                  07/25/22      Addendum
22.13A     LOWER LEVEL • AREA LI •CEIUNG UGHTING PLAN                                     11/15/19     01/01/20                                   03/16/20      07/25/22                  07/25/22      Addendum E
E2.131     LOWER LEVEL• AREAS- FLOOR ANYONE PLAN                                                       01/03/10                                   03/1020       07/25/21                  07/25/22      Addendum E
E2.13C     LOWER LEVEL -AREAS'EM PHOTOMETRIC STUDY                                                     01/03/20                                                 07/25/22                  07/25/21      Addendum E
E2.14A     LOWER LEVEL'AREA F CEIUNG IIGIMNG PUN                                          11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/22      Addendum
/2.148     LOWER LEVEL AREA F FLOOR UGHTING PLAN                                                       01/03/20                                   03/16/20      07/25/22                  07/25/22      Addendum
E2.14C     LOWER LEVEL-AREA F EM PHOTOMETRIC STUDY                                                     01/03/20                                                 07/25/22                  07/25/22      Addendum t
E2.15A     LOWER LEVEL AREA C - CEILING LIGHTING PLAN                                     11/15/19     01/03/10                      02/18/20     03/16/20      07/25/22                  07/25/22      Addendum E
E2158      LOWER LEVEL• AREA C • FLOOR UGHTING PLAN                                                    01/03/20                                   03/16/20      07/20/22                  07/25/22      41dendum
E2.1SC     LOWER LEVEL'AREA C EM PHOTOMETRIC STUDY                                                     01/03120                                                 07/25/22                  07/25/22      Addendum E
CILIA      LOWER LEVEL-AREA 0- CEILING UGHTING PLAN                                       11/15/19     01/03/20                                   03/16/20      07/25/22                  07/25/22      Addmsdurn E
/2.168     LOWER LEVEL • AREA D.FLOOR LIGHTING PLAN                                                    01/0300                                    03/16/20      07/25/22                  07/25/22      Addendum
02.16C     LOWER LEVEL- AREA 0-EM PHOTOMETRIC STUDY                                                    01/03/20                                                 07/25/22                  07/25/22      Addendum E
E2.20       EXISTING UPPER LEVEL OVERALL LIGHTING PLAN                                    11/15/19     01/03/20                                                 07/25/22                  07/25/22      Addendum E
E2.2.1A     UPPER LEVEL-UREA A - GERING LIGHTING PLAN                                     11/15/19     01/03/20       01/13/20                    03/16/20      07/25/21                  07/25/22      Addendum I
22.210      UPPER LEVEL. AREA 0- FLOOR LIGHTING PLAN                                                   01/03/20                                   03/16/20      07/25/21                  07/25/22      Addendum E




                                                                                                           Page 84 of 174




                                                                             NOTICE OF REMOVAL EXHIBIT 1 p. 102
 Case 3:25-cv-00020-LL-SBC                                             Document 1-2 Filed 01/06/25                                                                       PageID.111                    Page 104
                                                                               of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                          .C'J                                                                                                                             •
                                                                     FASHION VA L_L_Eli                                                                                             Wr
                                                                                                                                                                                    W11113041.1112     .




                                                                                                                                                                                         .
                                                                                                                                                                                         6.


                           PHASE 4 DOCUMENT LOG (RDC.)                                               .e''                                                          .0
                                                                                                                                                                   : "
                                                                                        q>.. ,"                                               „el                                                                of'
                                                                                      66        .,..                                          ,                                               ,                4,5
                                                                    Issue Date:   11/15/19    01/03/20     _ 01/13/20     02/19/20      ,_ 03/16/20    07/25/12 .,
ItSheet V M         IIIM         EIMMONNIIMsh..tTirtali=11.11M1=11M., 05,0000003             DrAWIME Pee   0,30100 Dale 1 OTANdm Data    OrtudnE DINO .°Mean.DUI .042wInjDM U74.440.I lARNA000ent5et I .1.1==.81
E2.11C    UPPER 10101.• AREA A - EM PHOTOMETRIC SURVEY                                                                                                 07/25/22             07/25/22      Addendum E
02.22A    UPPER LEVEL - AREA Li •ClIUNG UGHTING PLAN                              11/15/19    01/03/20       01/13/20                      03/16/20    137/25/22            07/25/22      Addendum E
02.225    UPPER LEVEL - AREA El - FLOOR WRUNG PLAN                                            01/03/20                                     03/16/20    07/25/22             07/25/22      Addendum!
02.22C    UPPER LEVEL. AREA 6• EM PHOTOMETRIC SURVEY                                                                                                   07/25/22             07/25/22      Addendum 0
02.233    UPPER LEVEL - AREA C •CEIUNG UGHTING PLAN .                             11/15/19    01/03/20       01/13/20                      03/16/20    07/25/22             07/23/22      Addendum E
 E2.235   UPPER LEVEL • AREA C - FLOOR LIGHTING PLAN                                          01/03/20                                     03/16/20    07/25/22             07/25/22      Addendum E
02.23C    UPPER LEVEL • AREA C.EM PHOTOMETRIC SURVEY                                                                                                   0705/22              07/25/22      Addendum 0
12.241    UPPER LEVEL • AREA D - CEILING LIGHTING PLAN                            11/15/19    01/03/20       01/13/20                      03/16/20    07/25/22             07/25/22      Addendum E
21.248    UPPER LEVEL • AREA D. FLOOR LIGHTING MAN                                            01/03/20                                     03/16/20    07/25/22             07/21/22      Addendum I
 E2.24C   UPPER LEVEL. AREA 0.EM PHOTOMETRIC STUDY                                            01/03/20                                                 07/25/22             07/25/23      Addendum 0
 E2.256   UPPER LEVEL-AREA 0•COUR° UGHTING PLAN                                   11/15/19    01/03/20       01/13/20     02/18/20         03/1020     07/25/22             07/25/22      Addendum E
 E1.158   UPPER LEVEL - AREA P.FLOOR LIGHTING PLAN                                            01/03/20                    02/18/20         03/16/20    07/25/22             137/25/22     Addendum 0
 E2.25C   UPPER LEVEL- AREA E - EM PHOTOMETRIC STUDY                                                                                                   07/25/22             07/15/22      Addendum I
 E2.26A   UPPER LEVEL- AREA F. CEILING LIGHTING PLAN                              11/15/19    01/03/20       01/13/20                      03/16/20    07/25/22             07/25/22      Addendum E
 E7.065   UPPER LEVU. AREA F • FLOOR UGHTING PLAN                      •                     - 01/03/20                                    03/16/20   . 07/25/12            07/2S/22      Addendum 0
22.26C    UPPER LEVEL • AREA F.EM PHOTOMETRIC STUDY                                                                                                    07/25/22             07/25/22      Addendum I
 E3.01    SINGLE USE DIAGRAMS(61.045. V & .(Y)                                    11/15/19    01/03/20                                                 07/25/32             07/15/22      Addendum!
0.02      SINGLE USE DIAGRAMS WOGS.T & 11                                         11/15/19    01/03/20                                                 07/25/22             07/25/22      Addendum!
 E3.03    SINGLE LINE DIAGRAMS(61.065. He IT)                                     11/15/19    01/03/20                                                 07/25/12             07/25/22      Addendum 0
04.01     PANEL SCHEDULES                                                         12/15/19    01/03/20                    03/18/20         03/16/20    07/25/22             07/25/32      Addendum E
 UM       PANEL SCHEDULES                                                         11/15/19    01/03/20                                     03/26/20    07/25/22             07/25/12      Addendum E
 E4.03    EXISTING FIXTURE SCHEDULE                                               11/15/19    01/03/20                                                 07/25/22             07/25/22      Addendum t
04.04     NEW FIXTURE SCHEDULE(PART SOPS)                                         11/15/19    01/03/20                                     03/16/20    07/25/21             07/25/31      Addendum E
 UCH      NEW FIXTURE SCHEDULE(PART ROES)                                         11/15/19    01/03/20                                     03/16/20    07/25/22             07/25/22      Addendum E
 04.06    NEW FIXTURE SCHEDULE(PART 3003)                                                     01/03/20                                     03/16/20    07/25/U              07/25/22      Addendum E
 ES.01    LARGE SCALE ELECTRICAL MANS                                             21/15/19    01/03/20                                                 07/25/22             07/25/22      Addendum E
 25.01    LARGE SCALE ELECTRICAL PUNS                                             11/15/19    01/03/20                                                 07/25/22             07/15/22      Addendum E
 E5.03    LARGE SCALE RESTROOM PLANS                                              11/15/19    01/03/20                                                 07/2502              07/25/22      Addendum t
 E6.01    01000 23 -ENERGY COMPUANCE FORMS - OUTDOOR                              11/15/19    01/03/10                                                 07/25/22             07/15/22      Addendum I
 06.02    TITLE 24• ENERGY COMPUANCE POEMS -INDOOR                                            01/03/20                                     03/16/20    07/25/22             07/25/22      Addendum 0
 E7.01    UGHTING FIXTURE DETAILS(PARTS DAD)                                                  01/03/20                                                 07/25/22             07/25/22      Addendum I
(7.03     UGHTING FIXTURE DETAILS(PART 2 OF 2)                                                01/03/20                                                 07/25/22             07/25/22      Addendum E


                                                                 TOTAL SHEETS:      m                                                        300                              421
                                                                                                 373            6             60                          341




                                                                                                  Page 85 of 174




                                                                    NOTICE OF REMOVAL EXHIBIT 1 p. 103
Case 3:25-cv-00020-LL-SBC                                     Document 1-2 Filed 01/06/25                                       PageID.112                        Page 105
                                                                      of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                 FASHION, VA,L.L.EY
                                                                     .
                                                                     ,   ,i,,0,4 ••,,,“




                                                                                                                                             4.
                             PHASE 4 DOCUMENT LOG(MG2)                                                                                                     ...-
                                                                                                     Q ,c-
                                                                                                     .                             ttsoe-           4,.4.."'
                                                                                 issue Date:     08/03/22
  Sheet                                         Sheet Title                                    Drawing Date   Drawing Date   Drawing Date   Most Current Set           1
      GENERAL
N/A        COVER SHEET                                                                          08/03/22                      08/03/22        Permit Set
0101       GENERAL NOTES                                                                        08/03/22                      08/03/22        Permit Set
G110       SITE PLAN                                                                            08/03/22                      08/03/22         Permit Set
G400       ACCESSIBILITY INFORMATION                                                            08/03/22                      08/03/22         Permit Set
G401       ACCESSIBILITY INFORMATION                                                            08/03/22                      08/03/22         Permit Set
       ARCHITECTURAL
A110       ESCALATOR - IMAGERY                                                                  08/03/22                      08/03/22         Permit Set
A111       ESCALATOR AT MACT'S                                                                  08/03/22                      08/03/22         Permit Set
A121       ESCALATOR AT NORDSTROMS                                                              08/03/22                      08/03/22         Permit Set
A131       ESCALATOR AT BLOOMINGDALES                                                           08/03/22                      08/03/22         Permit Set
A141       ESCALATOR AT MESA PARK                                                               08/03/22                      08/03/22         Permit Set
A142       ESCALATOR AT MESA PARK                                                               08/03/22                      08/03/22         Permit Set
A150       ESCALATOR AT FRIT PATTERNS                                                           08/03/22                      08/03/22         Permit Set
A401       RESTROOM                                                                             08/03/22                      08/03/22         Permit Set
A402       RESTROOM                                                                             08/03/22                      08/03/22         Permit Set
A403       RESTROOM                                                                             08/03/22                      08/03/22         Permit Set
       DEMOLITION
D111       DEMO - ESCALATOR AT MACY'S                                                           08/03/22                      08/03/22         Permit Set
0121       DEMO- ESCALATOR AT NORDSTROMS                                                        08/03/22                      08/03/22         Permit Set
D131       DEMO - ESCALATOR AT BLOOMINGDALES                                                    08/03/22                      08/03/22         Permit Set
0401       RESTROOM                                                                             08/03/22                      08/03/22         Permit Set
0402       RESTROOM                                                                             08/03/22                      08/03/22         Permit Set
       STRUCTURAL
50.01      GENERAL NOTES                                                                        08/03/22                      08/03/22         Permit Set
50.02      GENERAL NOTES                                                                        08/03/22                      08/03/22         Permit Set
50.03      GENERAL NOTES                                                                        08/03/22                      08/03/22         Permit Set
51.01      TYPICAL DETAILS                                                                      08/03/22                      08/03/22         Permit Set
51.02      TYPICAL DETAILS                                                                      08/03/22                      08/03/22         Permit Set
51.03      TYPICAL DETAILS                                                                      08/03/22                      08/03/22         Permit Set
51.04      TYPICAL DETAILS                                                                      08/03/22                      08/03/22         Permit Set
51.05      TYPICAL DETAILS                                                                      08/03/22                      08/03/22         Permit Set
51.06      TYPICAL DETAILS                                                                      08/03/22                      08/03/22         Permit Set
51.07      TYPICAL DETAILS                                                                      08/03/22                      08/03/22         Permit Set
51.10      (El OVERALL FOUNDATION - KEY PLAN                                                    08/03/22                      08/03/22         Permit Set
51.11      (El FOUNDATION PLAN                                                                   08/03/22                     08/03/22         Permit Set
51.12      (E) FOUNDATION PLAN                                                                   08/03/22                     08/03/22         Permit Set
51.13      (E) FOUNDATION PLAN                                                                   08/03/22                     08/03/22         Permit Set
51.14      (E) FOUNDATION PLAN                                                                   08/03/22                     08/03/22         Permit Set
52.20      (El OVERALL UPPER LEVEL - KEY PLAN                                                    08/03/22                     08/03/22         Permit Set
52.21      (El UPPER LEVEL - FRAMING PLAN                                                        08/03/22                     08/03/22         Permit Set
52.21A     CANOPY FRAMING PLAN                                                                   08/03/22                     08/03/22         Permit Set
52.22      (E) UPPER LEVEL - FRAMING PLAN                                                        08/03/22                     08/03/22         Permit Set
52.22A     CANOPY FRAMING PLAN                                                                   08/03/22                     08/03/22         Permit Set
S2.23      (El UPPER LEVEL - FRAMING PLAN                                                        08/03/22                     08/03/22         Permit Set
52.23A     CANOPY FRAMING PLAN                                                                   08/03/22                     08/03/22         Permit Set
52.24      (El UPPER LEVEL- FRAMING PLAN                                                         08/03/22                     08/03/22         Permit Set
52.24A     CANOPY FRAMING PLAN                                                                   08/03/22                     08/03/22         Permit Set
53.01      (El UPPER LEVEL- FRAMING PLAN                                                         08/03/22                     09/03/22         Permit Set
54.01      FOUNDATION SECTIONS & DETAILS                                                         08/03/22                     08/03/22         Permit Set
55.01      STEEL SECTIONS AND DETAILS                                                            08/03/22                     08/03/22         Permit Set
55.02      STEEL SECTIONS AND DETAILS                                                            08/03/22                     08/03/22         Permit Set
S5.03      STEEL SECTIONS AND DETAILS                                                            08/03/22                     08/03/22         Permit Set
        MECHANICAL
 M000      MECHANICAL TITLE SHEET                                                                08/03/22                     08/03/22         Permit Set




                                                                          Page 86 of 174




                                                              NOTICE OF REMOVAL EXHIBIT 1 p. 104
    Case 3:25-cv-00020-LL-SBC                                          Document 1-2 Filed 01/06/25                                         PageID.113                          Page 106
                                                                               of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                                    •.c.,
                                                                          FASI-1 I Cof\I VALLEY                                                                           wir
                                                                                A 51.-10,
                                                                                       ,  .1A. l.                                                                         W1.111.3- IURP41•61
      ...

I




                                                                                                                                                 ..°."                 ,...41
                                PHASE 4 DOCUMENT LOG(MG2)                                                           . 4,.
                                                                                                                                                 ,
                                                                                                                    e                         4,045)
                                                                                                                                                 '

                                                                                            Issue Date:    08/03/22
,
, Sheet                                                  Sheet title                                      Drawing Date   Drawing gain   Drawing Date   Most Current Set

 M001          OVERALL MECHANICAL SITE PLAN                                                                08/03/22                      08/03/22        Permit Set
 M111          ESCALATOR AT MACY'S -PLUMBING PLAN                                                          08/03/22                      08/03/22        Permit Set
 M121          ESCALATOR AT NORDSTROMS - PLUMBING PLAN                                                     08/03/22                      08/03/22        Permit Set
 M131          ESCALATOR AT BLOOMINGDALES - PLUMBING PLAN                                                  08/03/22                      08/03/22        Permit Set
 M241          ESCALATOR AT MESA PARK - PLUMBING PLAN                                                      08/03/22                      08/03/22        Permit Set
 M400          RESTROOM PLUMBING & HVAC DEMOLITION PLANS                                                   08/03/22                      08/03/22        Permit Set
 M401          RESTROOM PLUMBING & HVAC PLANS                                                              08/03/22                      08/03/22         Permit Set
 MS01          MECHANICAL DETAILS & SCHEDULES                                                              08/03/22                      08/03/22        Permit Set
           ELECTRICAL
E000           ELECTRICAL TITLE SHEET                                                                      08/03/22                      08/03/22         Permit Set
    E001       OVERALL LIGHTING PLAN                                                                       08/03/22                      08/03/22         Permit Set
    E002       OVERALL POWER & SYSTEMS PLAN                                                                08/03/22                      08/03/22         Permit Set
    E101       RESTROOM LIGHTING PLAN                                                                      08/03/22                      08/03/22         Permit Set
    E102       RESTROOM POWER & SYSTEMS PLAN                                                               08/03/22                      08/03/22         Permit Set
    E201       ESCALATOR LIGHTING PLANS                                                                    08/03/22                      08/03/22         Permit Set
    E202       ESCALATOR POWER & SYSTEMS PLANS                                                             08/03/22                      08/03/22         Permit Set
    E800       ELECTRICAL SCHEDULES                                                                        08/03/22                      08/03/22         Permit Set
           LIGHTING
    L101       ESCALATOR CANOPY - MACY'S                                                                   08/03/22                      08/03/22         Permit Set
    L102       ESCALATOR CANOPY - NORDSTROM & BLOOMINGDALES                                                08/03/22                      08/03/22         Permit Set
    L103       GLASS ESCALATOR CANOPIES IMAGERY                                                            08/03/22                      08/03/22         Permit Set


                                                                                      TOTAL SHEETS:
                                                                                                               69                           69




                                                                                   Page 87 of 174




                                                                       NOTICE OF REMOVAL EXHIBIT 1 p. 105
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                        PageID.114            Page 107
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                             EXHIBIT       I

                                                ADDENDUM TO SUBCONTRACT
                                                 FOR CALIFORNIA PROJECTS

                   In the event the Project for which this Subcontract is being entered is located in California,
            Subcontractor's obligations under the Subcontract shall include the following revisions to the Subcontract
            which shall be made part of the Subcontract as if fully set forth therein.

                     1. Nothing contained in the Subcontract is meant to allow for the recovery of attorneys' fees in a
                        direct action by Contractor with its Subcontractor, except to the extent expressly permitted by
                        California law.

                     2. Replace Article 9(d) with the following provision:
                        To the fullest extent permitted by applicable law, including without limitation California Civil
                        Code sections 2782 and 2782.05, Subcontractor agrees to defend, indemnify and hold harmless
                        the Contractor and/or Owner, their officers, directors, consultants, agents and employees, from
                        and against any and all claims, suits, liens,judgments, damages,losses and expenses, including,
                        but not limited to, reasonable attorneys' fees, arising in whole or in part and in any manner
                        related to or arising from the acts or omissions of the Subcontractor, its officers, directors,
                        consultants, agents, employees or subcontractors, in the performance of this Contract. Nothing
                        herein shall be construed to require Subcontractor to indemnify Contractor and Owner and/or
                        their respective officers, directors, consultants, agents and employees from the active
                        negligence or willful misconduct of Contractor or Owner, and/or their respective officers,
                        directors, consultants, agents and employees, or to indemnify Contractor or Owner,and/or their
                        respective officers, directors, consultants, agents and employees for their own negligence in
                        connection with claims of construction or design defects that are subject to the provisions of
                        California Civil Code section 895, et. seq.

                         To the fullest extent permitted by law, including without limitation California Civil Code
                         sections 2782(e) and 2782.05(e), Subcontractor's duty to defend and indemnify the Contractor
                         and/or Owner, their officers, directors, agents and employees, is effective immediately upon
                         tender of written notice by the Contractor or Owner requesting that Subcontractor undertake
                         its duty to defend and indemnify. Should Subcontractor elect to appoint counsel to defend the
                         Contractor or Owner under California Civil Code sections 2782(e)and 2782.05(e), to the fullest
                         extent permitted by law, only counsel that is reasonably acceptable to Contractor may be
                         appointed, and Subcontractor is prohibited from using counsel that has a conflict, bias or
                         prejudice or is otherwise incapable of representing Contractor or Owner. Subcontractor will
                         provide its written response to the Contractor's and/or Owner's tender, including a detailed
                         explanation of whether the tender has been fully or partially accepted, no later than twenty(20)
                         days after receipt thereof, as Subcontractor agrees that twenty (20) days is a reasonable time
                         period for Subcontractor to respond to the tender ofany claims. If Subcontractor fails to infonri
                         the Contractor in writing within twenty (20) days of such tender, Subcontractor will be liable
                         to the Contractor for all reasonable attorneys' fees and costs of defense, including those




                                                               Page 88 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 106
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                        PageID.115            Page 108
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                         apportioned to the Subcontractor in accordance with Civil Code sections 2782(e)(2) and
                         2782.05(e)(2).

                         To the fullest extent permitted by law, Subcontractor acknowledges and agrees that the
                         allocation of attorneys' fees and costs of defense in accordance with California Civil Code
                         Sections 2782 and 2782.05 must be reasonable based upon the facts then known to the
                         Contractor and/or Owner. A defense or objection by Subcontractor regarding its allocated fees
                         and costs under California Civil Code Sections 2782 and 2782.05 may be raised only after such
                         allocation has been the subject of a request for reallocation by Subcontractor made within 20
                         days after full and final determination of the claim. Any dispute between Subcontractor and
                         Contractor and/or Owner, their officers, directors, agents and employees, regarding a
                         reallocation of fees and costs shall be resolved in the same forum as the underlying dispute.
                         Contractor and/or Owner shall have the right to join in any such dispute all other potential
                         subcontractors with whom allocation or reallocation may be an issue.

                         Nothing herein shall be construed to create an indemnity obligation prohibited by applicable
                         law or to waive Subcontractor's rights against any other subcontractor or supplier which may
                         have contributed to causing the injury or damage. In claims against any person or entity
                         indemnified under this Section by an employee of the Subcontractor or Sub-Subcontractors,
                         anyone directly or indirectly employed by any of them or anyone for whose acts they may be
                         liable, the indemnification obligation under this Section shall not be limited by a limitation in
                         amount or types of damages, compensation or benefits payable by or for the Subcontractor or
                         Sub-Subcontractors under workers compensation acts, disability benefits, acts or other
                         employee benefit acts.

                     3. Article 9(n) — Delete the third and fourth sentences.

                     4. Article 9(r) is deleted and replaced with the following provision:
                        This Subcontract shall be governed by the laws of the State of California, without regard to
                        principles of conflicts of law.


                     5. Article 5(a)Payment — the following language of this provision shall be deleted:
                        Subcontractor expressly assumes the risk of the Owner's non-payment and the subcontract
                        price includes this risk as the Subcontractor understands and acknowledges that it is to be paid
                        exclusively out of a fund the sole source of which is the Owner's payment to the Contractor.
                        The Owner's non-payment to Contractor will result in non-payment to Subcontractor by
                        Contractor.

                     6. Article 5 (d)Payment — the following language of this provision shall be deleted:
                        Subcontractor expressly assumes the risk of the Owner's non-payment and the subcontract
                        price includes this risk as the Subcontractor understands and acknowledges that it is to be paid
                        exclusively out of a fund the sole source of which is the Owner's payment to the Contractor.
                        The Owner's non-payment to Contractor will result in non-payment to Subcontractor by
                        Contractor.


                                                                  2

                                                             Page 89 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 107
Case 3:25-cv-00020-LL-SBC                                      Document 1-2 Filed 01/06/25                                              PageID.116                     Page 109
                                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                                   EXHIBIT J

                                                                  RATES,SCHEDULES,& UNIT PRICES



        Refer to the enclosed tables listed below for rates, breakdowns, and schedules related to this subcontract.
        Subcontractor Is responsible to provide any applicable backup (labor agreements, rental rate sheets, etc).
        All information included in this Exhibit is subject to General Contractor and Owner approval, inclusion in the executed subcontract does not represent approval or
        acceptance of the information listed.

        Exhibit Sections Enclosed:
                        A.   Accounting Breakdown of the Subcontract Amount
                        B.   Labor Rates
                        C.   MBE / WBE Participation




                                                                                    Page 90 of 174




                                                              NOTICE OF REMOVAL EXHIBIT 1 p. 108
Case 3:25-cv-00020-LL-SBC                                        Document 1-2 Filed 01/06/25                                             PageID.117              Page 110
                                                                         of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                                                                                     EXHIBIT J
                                                                   RATES,SCHEDULES,and UNIT PRICES


   A. Accounting Breakdown of the Subcontract Amount (Schedule of Values)

        Please complete your proposed Schedule of Values(SOV)from the subcontract amount. SOV is subject to General Contractor and Owner approval.



            Item
                                                                             Description                                                            Scheduled Value
             No.

              01.       Electrical                                                                                                                         $1,189,000.00


              OZ.       Main Concourse Safe Off                                                                                                               $12,000.00


              03.       Escalator Safe Off, Rough In, & Lights                                                                                                $68,000.00

              04.       Food Court Restroom Safe Off, Rough In, & Lights                                                                                     $104,000.00

              05.       Temporary Power                                                                                                                       $20,000.00


              06.       Temporary Lighting                                                                                                                    $10,000.00

              07.       Vans Restroom Safe Off, Rough In, & Lights(MG2 Drawings)                                                                              $28,000.00


              08.       Light Fixtures                                                                                                                     $1,416,000.00

              09.       Relocate & Modify Fire Alarm for Structural and MEP Improvements                                                                      $28,000.00

              10.       Relocate Electrical Allowance (To be tracked T&M)                                                                                     $24,000.00

              11.       P&P Bond                                                                                                                              $28,990.00


              12.

              13.

              14.

              15.


                                                                                                                                    Sub-Total:
                                                                                                                                                    $2,927,990.00
                                                                                   (Must be equal to the Subcontact Amount -verify on sheet SC-8)




                                                                                    Page 91 of 174




                                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 109
Case 3:25-cv-00020-LL-SBC                                                                           Document 1-2 Filed 01/06/25                                                                PageID.118                  Page 111
                                                                                                            of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                                                                    EXHIBIT J
                                                                                                         RATES,SCHEDULES,and unr PRICES

   B. Labor Rate Calculation for Subcontractors

               list occupation classification across the top of the form to develop biting rates. Use photocopies of this form II there are more occupations than available spaces.

               At rites listed are subject to approval and acceptance by Whiting-Turner and/or the Owner.

               Subcontractor responsible to verihr rates by payroll documents and/or union documentation upon request by Whiting.Turner or Owner.
               NOTE: Subcontractor must attach a copy of the Trade Agreement Wage & Benefit Documents to the hack of this Exhibit.



                                                                                                                                   EMPLOYEE OCCUPATION (or Classification ix. Foreman,Journeyman. Carpenter. Taper. etc)



                                                                                                         Electrician           Electrician          Electrician




                                                     (List 1/ Rate Is Straight Thne/1.S.a14                Straight        !      1.5x                  bt                Straight              1.50                 Se

   A.                                                                      BASE RATE IS/Hr):                   $49.70                $74.55               $99.40

     Insurance & Taxes
    (Eater 5,era!descriptions as applicable)
                                                                                                                                                                      .
                 5.2    %                                                    Liability Insurance                52.58                 53.29                  55.17
                        %                                              Workers Compensation                     $3.48                 $3.15                  $3.15
                        %                                                                   FICA                $3.80                 $5.70                  $7.60

                        %                                      Federal Unemployment(FUTA)                       $1.34                 $201                   52.68
                        %                                        State Unemployment ISUTA)                      $2.73                 $4.10                  $5.47

                  Other:      S51
                  Other:

   B.                                                INSURANCE & TAXES SUB-TOTAL:                          $13.93               $18.25               $24.07               $0.00                $0.00               $0.00   $0.00

        Benefits: Union / Other(us applicable)
    (Enter %. and descriptions as applicable)

                         75                                               Vacation and Holiday
                        %                                                   Health and Welfare                   $7.16                $7.16                  57.16
                        %                                                                Training                $0.87                $0.87                  $00.87
                        %                                                                Pension                 56.85                56.8.5                 56.85
                                                                                                                                                                                                           i----
                        %                                                       Other Payments                   $0.68                50.88                  51.08
                        %                                                  Nall Ott Beer Fund                    $1.49                $2.24    ;             $2.98
                        %                                                                                                                      f
                         It
                         li

                        %

   C.                                                              BENEFITS SUB-TOTAL:                     517.05               518.00               518.94               Om                   $00.00              $0.00   $0.00

                                                         TOTAL BILLING RATE lIWEWC):
   D.                                                            (Not Including On Markup%)
                                                                                                           $80.68              $110.80              $142.41               $0.00                $0.00               $0.00   $0.00

   STRAIGHT TIME RATES. are to be developed as itemized below:
   Rase Rate 5 Per How -shet be ectual wage rate paid to labor classification per union or mutual agreement.

   Vacation Allowama • rate Der hour per unionot mutual agmement.

   Mu:lame -indicate per COM epee item A plus land rested.% cost per hour. Furnish detailed breakdown in propomi letter.
   Yuan- Indicate percentage of Item A Hasp and resulting coo per hour.

   Union fringe Benefits • Lost per hoar, based on VIV011oi mount agreement. See note above IOCCIPAnONS).




                                                                                                                               Page 92 of 174




                                                                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 110
Case 3:25-cv-00020-LL-SBC                                                                            Document 1-2 Filed 01/06/25                                                           PageID.119                  Page 112
                                                                                                             of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                                                                                                                            EXHIBIT J
                                                                                                           RATES,SCHEDULES,anti UNIT PRICES

   B. Labor Rate Calculation for Subcontractors
               List occupation classilication across the top of the form to develop billing rates. Use photocopies of this form If there are more occupations than available spaces.
               All rates listed are subject to approval and acceptance by WhIting•Turner and/or the Owner.

               Subcontractor responsible to verily rates by Payroll documents and/or union documentation upon request by Whiting-Turner or Owner.
               NOTE:Subcontractor must attach a copy of the Trade Agreement Wage & Benefit Documents to the hack of this Exhibit.


                                                                                                                              EMPLOYEE OCCUPATION (or Classification ie. Foreman, Journeyman, Carpenter, taper, etc)




                                                      (List II Rote Is Straight lime/1.5,/2.r)               Straight         1.50       .          2x                   Straight           1.50                 2u

   A.                                                                        BASE RATE (S/Hr)
     Insurance & Taxes
    (Enter %,nod descrintions an applicable)
                         %                                                     Liability Insurance
                         %                                              Workers Compensation
                         %                                                                    FICA
                         %                                      Federal Unemployment(FUTA)
                         %                                        State Unemployment(SUTA)
                  Other:
                  Other
   B.                                                INSURANCE 8, TAXES SUB-TOTAL:                               $0.00       $0.03                $0.00                  $0.00             $0.00               $0.00   5000
        Benefits: Union!Other las applicable)
    (Enter %. and descriptions as applicable)
                         %                                                   Vacation bnd Holiday
                         %                                                    Health and Welfare                                                                                       •
                         %                                                                Training
                         %                                                                 Pension
                         %                                                       Other Payments
                         %
                         %
                         It
                         %


   C.                                                                BENEFITS SUB-TOTAL:                         WOO         $0.03                5000                    Woo              $00.00              $0.00   5000
                                                          TOTAL BILLING RATE )its&t.C):
   D.                                                                                                            $000        $0.00                $0.00                  $0.00             $0.00               $0.00   $0.00
                                                               Itiot ImItadNg OH Markup %)


   STRAIGHT TIME RATES -ore to be developed as Itemized below:
   klaw Rate $ Per Hour • shell be actual wage rata paid to labor dasslfication per union or mutual agreement.
   Vacation Allowance • Fate PO h011f pet union of mutual agmement.
   Insurance • indicate pementaged !tent 001w 0 and resndlIng cost per how. Furnish detaUed breakdown In propose] letter.
   rams- indicate percentage of Item A plus 0 and resulting cost per hour.
   union/ ronge Oenents • sett per how based on unisw as mutual agreement. See note above IOCCOPATIONS).




                                                                                                                            Page 93 of 174




                                                                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 111
Case 3:25-cv-00020-LL-SBC                                        Document 1-2 Filed 01/06/25                                             PageID.120                   Page 113
                                                                         of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                                                                                    EXHIBIT J
                                                                        M BE / WIIE PARTICIPATION

    E. MBE / WBE Participation (if applicable, list scheduled participation by your firm, suppliers, or tiered subs)

                    Check if your company will not have any MBE / WBE participation for this project. (no additional info is needed if so)

                  ocheck If your company will have related participation on this project.
                    The company contact for additional information on participation is
                                                                                                                                              Nome



                                                 Email                                                                                       Phone No.


           Item                                                                                                                  Item                    Scheduled
                                             MBE / WBE / DBE Contractor Company Name
            No.                                                                                                                of Work                    Value 151

            01.

             02.

             03.

             04.

             05.

             06.

             07.

             08.

             09.

             10.




                                                                                     Page 94 of 174




                                                               NOTICE OF REMOVAL EXHIBIT 1 p. 112
Case 3:25-cv-00020-LL-SBC                           Document 1-2 Filed 01/06/25                              PageID.121            Page 114
                                                            of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3

                                                           EXHIBIT K
                                                     Discount Billing Program
            The Whiting-Turner Contracting Company offers a discount billing program to all Trade Contractors and
            suppliers involved in this project.

            In exchange for a discounted bill amount, Whiting-Turner will expedite payment once it is received. The
            discounted amount and billing period is indicated below:

                      Payment by the 5th of the following month: 3% discount
                      Payment by the 10th of the following month: 2% discount
                                                                    2% discount
                      Payment by the 20th of the following month: 1 /
                                                                    1

            This program is offered on a monthly basis. The Trade Contractor can select this option each month with no
            further obligation beyond each month's billing period. The Trade Contractor must submit the signed and
            completed Authorization Form with the Pay Application on the 18" of the month in order for this program to be
            selected.


            RIGHT TO EXERCISE THE DISCOUNT BILLING OPTIONS

             At any time during the duration of this project, Whiting-Turner, at its sole discretion, has the right to terminate
             this discount billing option. Similarly, the Trade Contractor/vendor can select this option on a monthly basis
             with no further obligation beyond each month's billing period.




                                                                    Page 95 of 174




                                                  NOTICE OF REMOVAL EXHIBIT 1 p. 113
Case 3:25-cv-00020-LL-SBC                                 Document 1-2 Filed 01/06/25                                        PageID.122                   Page 115
                                                                  of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                                                  The Whiting-Turner Contracting Company
                                            Trade Contractor / Supplier Discount Authorization Form

                                                   Whiting-Turner Job:

    The Whiting-Turner Contracting Company offers a discount billing program to all Trade Contractors and
    suppliers involved in this project as outlined in the invoicing procedure package issued prior to the first billing
    period.




    This is to confirm that in exchange for expedited payment once the entire invoice is received by Whiting-Turner (approvable per the
    standards defined in the invoicing procedure package), this supplier /Trade Contractor                        accepts a discounted
    bill amount for this month's invoice: Invoice No.             dated              (period to                   20     ).

                        Payment by the 5th of the following month:                         3% discount
                        Payment by the 10th of the following month:                        2% discount
                        Payment by the 20th of the following month:                        1 1/2% discount
             Conditions of this payment are___% discount for payment by                                         20     .

        •    Accepted this month is a discount of                                 'Y. of the total invoice amount due of
                                                 ,resulting in a discount of $


    This program is offered on a monthly basis. The Trade Contractor / supplier can select this option each month with no further obligation
    beyond each month's billing period. The Whiting-Turner Contracting Company may, in its discretion, decline to offer the discount
    billing program in any given month.




    Discount conditions Submitted by:
                                                                        Trade Contractor/Supplier Signature                          Date




                                                                            Typed or Printed Name


                                                    RIGHT TO EXERCISE THE DISCOUNT BILLING OPTIONS

        At any time during the duration of this project, Whiting-Turner, at its sole discretion, has the right to terminate this discount billing option. Similarly,
             the Trade Contractor/vendor can select this option on a monthly basis with no further obligation beyond each month's billing period.




                                                                             Page 96 of 174




                                                         NOTICE OF REMOVAL EXHIBIT 1 p. 114
Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                            PageID.123              Page 116
                                                          of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3

    THE WHITING-TURNER CONTRACTING COMPANY


                                                              EXHIBIT "L"
                                                 Construction and Administration Package
                                                      Waivers & Inducement Forms
                                                             Form ofInvoice

    A. EXTRA WORK/CHANGE ORDER PROCEDURES

         1. The General Contractor shall have the right to order changes in the work including, without limitation, alterations,
            additions, deviations, or omissions from the work. The ordering of any such changes, regardless of their magnitude, shall in
            no way invalidate the Subcontract and such changes shall be governed by the terms of the Subcontract.

         2. For purposes of this Subcontract, "Change Order" shall mean the written instruction to Subcontractor by the General
            Contractor, to proceed with changes in the work. Subcontractor shall not implement any change in the work until the
            General Contractor has issued a "Change Request Authorization"(CR)authorizing the Subcontractor to proceed. The
            original CR will be sent to the Subcontractor's office and a copy presented to his Field Representative. Failure of the
            Subcontractor to obtain a written Change Request shall bar the Subcontractor from obtaining additional compensation for
            any change. The Subcontractor may refuse to implement any change in the work if the Subcontractor has not received a
            written Change Request

         3. Upon recognition of a change in the scope of work, the General Contractor may request the Subcontractor to submit either a
            "Lump Sum" or a "Time and Materials, Not to Exceed" proposal for the change. The Subcontractor shall deliver such
            estimates to the General Contractor within a maximum of five (5) calendar days after the General Contractor's request,
            unless extended by mutual agreement. Each estimate shall be accompanied by an itemized breakdown of all additions to or
            deductions from the subcontract amount. Each estimate shall be in such form and in such detail as may be required by the
            General Contractor, and shall include, without limitation, all units of measure, quantities or materials, hours of labor
            required with respect to each class of work, and all other data necessary to substantiate fully and completely such addition
            to or deductions from the subcontract amount. In addition, the Subcontractor must clearly indicate time extension required
            to complete the scope of change, if applicable.

    B. TYPES OF AUTHORIZATION

        1. If a change is to a portion of the Work that is covered by Unit Prices or Alternate Prices, then with respect to any part of the
           change to the work that is covered by such Unit Prices or Alternate Prices, the cost of work shall be adjusted accordingly. A
           Change Request must be initiated to document this change, and the original copy ofthe CR submitted, requesting a subcontract
           change. Quantities installed must be measured and reported daily for verification.

        2.   When work is performed on a purely "Time and Material" or a "Time and Materials, Not to Exceed" basis, the Subcontractor
             will present all appropriate T & M tickets to the General Contractor for signature on a daily basis. A sample of the standard
             "Daily Time and Materials" ticket is provided in this attachment. No other ticket forms will be accepted. Daily T & M tickets,
             prior to being signed, will contain each laborer's man-hours and any material and/or equipment used. Time and Material tickets
             will contain all applicable charges for each Change Request. If an item does not appear on the T & M ticket at the time of
             signature, it will not be considered for compensation. The Change Request number must be clearly indicated on each ticket.
                 • Within 5 days ofthe last labor performed on a T & M Not To Exceed or a T & M Change Request the Subcontractor
                       will submit to the General Contractor a Change Request(CR)package consisting of the following:
                 • The original Change Request with signature and date.
                 • A Time and Material Cost Summary Sheet
                 • Original signed Daily Tickets, arranged by Subcontractor and tier-Subcontractor.
                 • Material invoices.
                 • Equipment rental invoices, ifapplicable.




                                                                  Page 97 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 115
Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                              PageID.124              Page 117
                                                          of 213


DocuSign Envelope ID: 1738A269-0865-466F-A93C-574C6FE7D8A3

    THE WHITING-TURNER CONTRACTING COMPANY


        3. Daily T & M tickets will have been properly extended using labor rates previously approved. All material costs will be
           accompanied by appropriate vendor invoices. Subcontractor-owned equipment will be charged per previously approved
           equipment rates, or in absence ofan approved rate 70% of AED will be used over the duration oftime the equipment was on site.
           Rented equipment may be charged only when accompanied by appropriate invoice back-up. Incidental tools (value less than
           $200.00/item) are included in the allowable markups for Overhead and Profit. The Subcontractor's allowable markup for
           Overhead and Profit will be in accordance with the information provided under the General Conditions ofthe Owner contract. In
           absence of such determinations allowable markup will not exceed 10% total OH & P for direct work and 5% OH & P for
           subcontracted work. The same will hold true for all tier-subcontractors.

        4. Immediately upon receipt of a Lump Sum Change Request(CR), but not later than 20 calendar days after the last labor
           performed on the Lump Sum Extra Work, the Subcontractor will submit to the General Contractor a Change Order to which is
           attached the original CR. The General Contractor reserves the right not to entertain any request for payment not submitted
           within the 30 calendar days allotted.

        5.   After review and approval by the General Contractor of the Subcontractor's Change Order, a Contract Supplement will be
             issued for either:(1) the Lump Sum amount,(2) the T & M amount or(3) the lesser of the T & M and the "Not to Exceed"
             figures, depending upon the type of Change Authorization originally issued.

        6.   Only after receipt of the Executed Contract Supplement can the Subcontractor invoice for the extra work. This invoice will
             become part of the next monthly application for payment.

    C. DISPUTED CHANGE REQUEST/AUTHORIZATION

        1. In the event a dispute arises as to whether an item of work is included in the Subcontractor's current scope of work, every effort
           will be made between the Subcontractor's and the General Contractor's field representative to come to an agreement.

        2. Failing this, and so as not to delay work, the General Contractor will issue a "Disputed" Change Authorization directing the
           Subcontractor to proceed with the work in questions and maintain daily,signed Time and Material records. This document is not
           to be construed as an admission or agreement that the work is extra to the Contract or that the Subcontractor will receive
           payment, but only recognizes the Subcontractor's claim to that effect. The home office management of both the
           General Contractor and the Subcontractor will later attempt resolution. A "Disputed" Change Request can be converted into a
           regular Change Request Authorization or voided at any time when an agreement is reached.

        3.   Should disagreement still remain, the General Contractor will make an unprejudiced presentation of the Claim to the Owner.


        4. Under no circumstances are any disputes or disagreements regarding Change Requests to jeopardize the progress of the work
           and/or the overall project schedule.

    D. APPLICATION FOR PAYMENT

   It is required that all Subcontractors, as well as their suppliers, use the Conditional and Unconditional Paymentforms that are
   included in this package. Subcontractors who have a direct contract with Whiting-Turner must use the Whiting-Turner Application
   for Payment Form (WT-001), Schedule of Values Form (WT-002), Change Order Summary Sheet(WT-003), and Partial Release
   Affidavitform included in this package. Theseforms are available on disk and will befurnished upon request or suchforms may be
   photocopied andfilled out manually.
             NOTE: W-T FORMS -001, -002, CONFORM TO AND ARE MODIFIED AIA G702 AND G703 FORMS
            RESPECTIVELY. ANY REFERENCES HEREIN TO "MODIFIED"AlA FORMS REFER TO THE APPLICABLE
             WHITING-TURNER FORM.




                                                                  Page 98 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 116
Case 3:25-cv-00020-LL-SBC                          Document 1-2 Filed 01/06/25                            PageID.125             Page 118
                                                           of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3

    THE WHITING-TURNER CONTRACTING COMPANY

    The following procedures must be followed in the submission of invoices for this project.

        1. Prior to thefirst invoice: The following items are prerequisites to the submission of your first invoice. The General Contractor
           cannot accept any invoice until these items are complete.
               • Subcontract document that has been fully executed and submitted to the General Contractor.
               • Certificates ofInsurance must be submitted to and approved by the General Contractor.
               • Schedule ofValues in accordance with Owners & General Contractor's accounting requirements to be approved by the
                     General Contractor

        2.   Monthly Invoice: A draft should be sent to the General Contractor's Project Manager no later than the 20th of the month,
             forecasting cost through the end of the month. Upon receipt of requested revisions or approval of draft, Subcontractor shall
             deliver to the General Contractor by the 25th day of each month (or the next work day), either electronically (preferred) or
             physically the application for payment with notarized releases for payment in the amount of ninety percent(90%)of the
             portion of the contracted sum properly allocated to labor, material and equipment incorporated into the work by the end of the
             month, less the aggregate of previous requested payments made through the course of the contract until the time that all
             contract work and all extra work has been completed. The amount requested shall be based on the percent complete of the
             various items, and shall have previously presented and agreed to by the General Contractor's on-site Project Manager for the
             purpose of later verification and approval.

                     ANY INVOICES NOT RECEIVED IN THE DESIGNATED CONTRACTORS OFFICE BY THE DATE
                     SPECIFIED WILL BE HELD UNTIL THE NEXT MONTH'S BILLING SO AS NOT TO HOLD UP
                     PAYMENT TO OTHER SUBCONTRACTORS.

             a.   All payment requests will clearly indicate the Job Name and Contract Number, and shall be submitted on Modified AIA
                  Payment Form G702 accompanied by a completed G703 "Schedule of Values", notarized, and supported by all data
                  sustaining the Subcontractor's right to payment as the General Contractor may require.

                     ANY INVOICE SUBMITTED ON A FORM OTHER THAN THE CORRECT MODIFIED ALA
                     DOCUMENT WILL BE RETURNED FOR PROPER SUBMISSION ON THE FOLLOWING BILLING
                     CYCLE.

             b. Submission shall be one (I)properly completed and notarized original Invoice submitted on Form WT-001.

             c.   Along with the invoice shall be included one(1) properly executed original of:
                     • Subcontractor's Partial Release/Waiver of Lien and Affidavit.
                     • Conditional Waiver and Release Upon Progress Payment.
                     • Unconditional Waiver and Release Upon Progress Payment.(To begin with second invoice.)
                                                  And EITHER
                         • Conditional Waiver and Joint Check Request showing amounts for all subcontractors/vendors who have
                               preliminary notices(whether invoicing this period or not)
                                                      OR
                         • Unconditional Waiver which is fully executed throughout the billing period for those subcontractors who have
                               preliminary notices

             d.   Contract Supplement for any changes included in the invoice must be fully executed and submitted to the
                  General Contractor.

             e.   Subcontractor may requisition for stored material. As used herein,"Stored Materials" shall mean materials which are to be
                  incorporated into the Project and which, at the time of payment, are stored at the premises or at a bonded warehouse or
                  storage site approved by the Owner. Transfer of title and proof of proper insurance and storage is required.

             f.   Suppliers and tier-subcontractors will be joint checked if Unconditional Waiver from your Supplier/Subcontractor is not
                  provided with your invoice. If waivers are not provided the name, address, and amount due each supplier or
                  tier-subcontractor must be furnished with your invoice.(Whiting-Turner form'attached).




                                                                  Page 99 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 117
Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                            PageID.126             Page 119
                                                          of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3

    THE WHITING-TURNER CONTRACTING COMPANY

             g.   On or before the 25th ofthe month Whiting-Turner will review all billings with our job superintendent. The processing of
                  your invoice will be delayed if:
                     • Your foreman did not check in each and every day at start and end of the day.
                     • Daily Field Reports are not current.
                     • Your work is not per plans and specifications.
                     • As-builts are not up to date.
                     • Your insurance is not up to date

        3.   Final Invoice: The following forms(copies attached) must be submitted with your application for Final Payment:

             a.   One(1) original of the properly executed and notarized Final Invoice with updated Final Pay Request breakdown;
                  "Subcontractor's Final Pay Request". To be noted on the invoice.

             b.   One (1) properly executed original of:
                     • Conditional Waiver and Release Upon Final Payment(from Subcontractor, all tier subcontractors and vendors)
                     • One(1) properly executed and notarized original of Certificate of Substantial Completion AIA Document G704.
                     • One(1) properly executed and notarized original ofConsent of Surety to Final Payment - Al A Document G707, if
                           applicable.

        4.   A proper submission ofreleases will include the following:

             a.   First Invoice Documents:
                      • Modified AIA G702 "Application for Payment" including Modified AIA 702 "Schedule of Values" as submitted
                            by subcontractor and approved by Whiting-Turner.
                      • Subcontractor's Partial Release Waiver and Affidavit/Declaration to Induce Payment for current invoice amount
                            due.
                      • Conditional Waiver and Release upon Progress Payment from Subcontractor and Subcontractor's suppliers and
                            tier subcontractors ifjoint checks are requested.
                      • Joint Check Request for all tier subcontractors and suppliers or Unconditional Releases for amounts due for
                            current invoice.

             b. Progress Payment Documents:
                    • Modified AIA G702 "Application and Certificate for Payment" including AIA 703 "Schedule of Values" as
                        submitted by subcontractor and approved by Whiting-Turner.
                    • Subcontractor's Partial Release Waiver and Affidavit/Declaration to Induce Payment for current invoice amount
                         due.
                    • Conditional Waiver and Release upon Progress Payment from Subcontractor and Subcontractor's suppliers and
                         tier subcontractors ifjoint checks requested.
                    • Joint Check Request for all tier subcontractors and suppliers or Unconditional releases for amounts due for current
                         invoice.
                    • Unconditional Waiver and Release upon Progress Payment from Subcontractor for previous paid invoice.
                    • Unconditional Waiver and Release upon Progress Payment from Subcontractor's suppliers and tier subcontractors
                         who have filed a Preliminary Notice on this project, through the date of previous invoice.

             c.   Final Payment(Retention)
                      • Modified AIA G702 "Application and Certificate for Payment" including AIA 703 "Schedule of Values" as
                           submitted by subcontractor and approved by Whiting-Turner.
                      • Subcontractor's Final Release and Affidavit.
                      • Conditional Waiver and Release upon Final Payment from Subcontractor and Subcontractor's suppliers and tier
                           subcontractors ifjoint checks are requested.
                      • Joint Check Request for all tier-subcontractors and suppliers or unconditional final releases.
                      • Unconditional Waiver and Release upon Progress Payment from Subcontractor for previous paid invoice.
                      • Unconditional Waiver and Release upon Progress Payment from Subcontractor's suppliers and tier subcontractors
                           who have filed a Preliminary Notice on this project, through the date of previous invoice.
                      • Upon receipt ofFinal Payment check(s) sign & return Subcontractor and Subcontractor's suppliers and tier
                           subcontractors Unconditional Waiver upon Final Payment.



                                                                 Page 100 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 118
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25           PageID.127   Page 120
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


    THE WHITING-TURNER CONTRACTING COMPANY


             d. SUBCONTRACTOR INVOICES NOT INCLUDING THE PROPER RELEASES WILL BE HELD UNTIL THE 10th
                DAY OF THE FOLLOWING MONTH.IF THE RELEASES ARE NOT COMPLETE AT THAT TIME THE INVOICE
                WILL BE RETURNED FOR PROPER SUBMISSION IN THE NEXT BILLING CYCLE.

        5.   Attachments
             a.   Included with this section:
                      • Change Request / Authorization Form - WTPM-001
                      • Sample Daily Time and Material Work Report — WTPA-004
                      • Application for Payment Forms Whiting-Turner - 001,002,003
                      • Subcontractor's Partial Release Affidavit
                      • Subcontractor's Final Release Affidavit
                      • Joint Check Agreement
                      • Joint Check Request Form
                      • Conditional Progress Payment Release
                      • Conditional Final PaymentRelease
                      • Unconditional Progress Payment Release
                      • Unconditional Final Payment Release
                      • Contract Supplement
                      • Contract Warranty and Guarantee




                                                             Page 101 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 119
Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                   PageID.128        Page 121
                                                          of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


  Wr
 10.111.1111011M
 WHITING-TURNER
                                                                               Change Request Authorization

    Project:       Fashion Valley Mall Redevelopment                                    W-T Job Number: 018146
                   7007 Friars Road                                                              PCI No: XXXXXX
                   San Diego, CA 92108                                                             Date: MM/DD/YYYY
                                                                                           Project Area:
      To:                                                                                  Contract No:
                                                                                                Reason:


     Attn:

Description:




Scope of Work:




 Instructions:




                          Scope of Work                                                 Instructions




Authorization:



Subcontractor



 WT Project Manager                                                            Owner's Representative             Date


               Owner Authorization Not Required




                                                             Page 102 of 174




                                                NOTICE OF REMOVAL EXHIBIT 1 p. 120
Case 3:25-cv-00020-LL-SBC                           Document 1-2 Filed 01/06/25                                      PageID.129                   Page 122
                                                            of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3
    THE WHITING-TURNER CONIRACTINCI COMPANY
                                                                                                                                                       •.•••• •••,,

                                                 Fashion Valley Mall Redevelopment
    THE WHITING-TURNER CONTRACTING COMPANY DAILY TIME AND MATERIAL
    San Diego, CA                                                                                        WORK REPORT
    858-792-0600 FAX 858-792-9600                                                                        No. XXXX

  CUSTOMER: Simon Property Group, LP                                                  W-T JOB NO.018146                          DATE: MM/DD/YYYY
  LOCATION: 7007 Friars Road, San Diego, CA 92108                                     CONTRACT EXTRA NO.

                                   MATERIAL                                                                                    LABOR
  Quantity               DESCRIPTION                    Unit Price            PER     TOTAL      CRAFT     CLASS.    Reg.Hrs     0.T.Hrs   RATE        TOTAL


                                                                                                                1/
                                                                                                            77
                                                                                                          /7            4A,
                                                                                                         4 f/
                                                                                                    '
                                                                                                    : '',,,         ,f


                                                                                                            \                    .4
                                                                                                                             ',
                                                                                          .
                                                                                          ."..                      N.• './ /
                                                                                            N                         \1

                                                                               A
                                                                               '•         N., \'
                                                                              /•          \\   N. N .      77
                                                                       //
                                                                               C.     1/
                                                                              N. '`.„,/
                                                               / N..            \ //
                                                                       -...     ‘N.
                                                                8 8•., +., T.,,. "...,
                                                                 8 8\ \ \\
                                                  ......          8
                                                4-.,*.....—.         ,1\        .N. .1.
                                                      N(TOTAL MATERIAL'  sq $ "
                TOOL AND EQUIPMENT RENTAL                N, \ ''`.....
  Quantity             DESCRIPTION"...,                     Unit'Price -'PER   TOTAL
                                  \.• T"... '..."•-•,-,        N.\                                                         TOTAL LABOR $                              I
                                   \ \ --......., ,-........._   N.".
                                                                                                                    FRINGE BENEFITS
                                        \ \,    /./"...... *"-A.                                 CRAFT       TOTAL HRS. X TOTAL BEN./HRS.
                                                                                                                       HRS. X             $
                                             /                                                                         HRS. X             $
                     /7        '           /
                                           1
                                           4'/
                                             1
                                             4                                                                         HRS. X             $
                                               \\                                                                      HRS. X             $
                                               \/                                                                      HRS. X             $
                      N
                      .—— --"'"         )1                                                                             HRS. X             $
                                                                                                                       HRS. X             $
                              ... /1                                                                                   HRS. X             $
                            4.. — -7                                                                                   HRS. X             $
                                                TOTAL RENTALS             $                                              TOTAL BENEFITS; $                            I
  DESCRIPTION OF WORK:                                                                                            MATERIAL                $
                                                                                                                  RENTALS                 $
                                                                                                                  SALES TAX @     %       $
                                                                                                                  LABOR                   $
                                                                                                                  INSURANCE @     %       $
                                                                                                                  BENEFITS                $

  CUSTOMER ACKNOWLEDGEMENT: The undersigned agrees that this work was ordered by him or his                         OVERHEAD (al           %       $
  agent and that the materials, labor and other items were expended as represented above
                                                                                                                    PROFIT @           %           $
  Signature
  WHITING-TURNER REPRESENTATIVE:

  Signature
                                                                                                                    TOTAL PRICE



                                                                   Page 103 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 121
                      Case 3:25-cv-00020-LL-SBC                                    Document 1-2 Filed 01/06/25                                                         PageID.130                                Page 123
                                                                                           of 213

DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


      APPLICATION FOR PAYMENT                                                                    Form WT-001
      SUBMIT ELECTRONICALLY TO:
              THEWH ITING-TURNER CONTRACTING COMPANY
              3911 Sorrento Valley Blvd.
                                                                                        Contractor:
                                                                                         Remittance
                                                                                                                                                   //-
                                                                                                                                                  //
                                                                                                                                                                                           Project Name:!Fashion Valley Mall
                                                                                                                                                                                        Project Number: 019777
                                                                                                                                                                                         Subcontract No:019777-XXX
              Suite 0100                                                                   Address:
                                                                                                                                                 \\. /7                                  Application No:
                                                                                                                                                                                           *I
              San Diego, CA 92121                                                                                                                                                             nvoice No:
                  Email: Shane.VVillingham@VVhiting-Turner.com                           PhoneNo:                                                                               „.,„/;//". Period To:
                   AlTN: Shane Willingham & JJ Seliner                                      Email:                                                                   '
                                                                                                                                                                     \./                     Invoice Date:
                                                                                                                  CHANGE`ORDER
      APPLICATION:
                                                                                                                   SUMMARN\                                   Additions                         Deductions                               Net Change
      Application is made for Payment,as shown below,in connection with the Contract.
                                                                                                                  PreviouslyApproved
                                                                                                                                   \
      Schedule of Values, WT-002,is attached.                                                                                 1
      1 ORIGINAL CONTRACT SUM                                                                                     Approved this Month
      2 NET CHANGE BY CHANGE ORDERS                                        $                                      (From WT-093)
      3 CONTRACT SUM TO DATE (Line 1 +/- 2)                                                                       Total(
                                                                                                                  \    '
      4 TOTAL COMPLETED & STORED TO DATE
             (Column Hon WT-002)                                                                                   CE*RTIF1CATION:
      5   RETENTION                                                                                                    unkderigned Contractor certifies that to the best of the Contractor's knowledge, information and belief the Work
                                                                                                                   covered by this Application for Payment has been completed in accordance with the Contract Documents,that all
             (Column P on WT-002)
                                                                                                                  'amounts have been paid by the Contractor for Work for which previous Certificates for Payment were issued and
                                                                                                                   payments received from Whiting-Turner,and that the current payment shown herein is now due.



      6   TOTAL EARNED LESS RETENTION                                                                              CONTRACTOR:
             (Line 4 less line 5 Total)

      7   LESSPREVIOUSCERTIFICATES FOR PAYMENT                                                                      By:                                                                                         Date:
             (Line 6 from Previous Invoice)
                                                                                                                                                       Printed Name and Title
      8   CURRENT PAYMENT DUE                                             $                                        State of:
             (Line 6 less line 7)                                                                                  Subscribed and sworn to before me this

                                                                                                                    Notary Public:
                                                                                                                    M y Commissionexpires:
      For Whiting-Turner Use Only:
                                                                       ji
      PROJECT PI          018146                           SUBContl'                                               EARLY PAYMENT DISCOUNT OPTION:
                Current - Progress Billing                                 Retention Release                       Payment terms shall be in accordance with the above referenced Contract No. In the
      CURRENT GROSS                                  0.00 TOTAL RETENT                                     0.00 event that Whiting-Turner elects to provide for shorter payment terms, we agree to
      CURRENT RETENTION                              0.00 REMAINING RETENT                                 0.00 do so for the following discount structure:
      CURRENT PAY                                    0.00 RELEASE RETENT                                   0.00                               % Discount, net                                                  days, if paid by
         VENDOR                     APPV      DATE            APPV            DATE                    VP           Whiling-Turner's election to take a diuount will be a unilateral decision made by Whidng-Turner alone. The decision to take a discount on
                                                                                                                   one progress payment does not represent a decision to implement earty payments for any other work performed by this subcontra ctor or


      10/21/2015 -Whiting-Turner




                                                                                                       Page 104 of 174




                                                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 122
                              Case 3:25-cv-00020-LL-SBC                                                                       Document 1-2 Filed 01/06/25                                                                         PageID.131                         Page 124
                                                                                                                                      of 213

DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


   ORIGINAL SCHEDULE OF VALUES                                       Form W7
                                                                           , 002
               Contractor:
               Remittance                                                                                                                                       PROJECT: Fashion Valley Mall                                                                     APPLICATION NO:
                   Address:                                                                                                                                  PROJECT NO: 018146                                                                                          PERIOD TO:
                                                                                                                                                          CONTRACT NO: 018146-0                                                                                       I NVOICE DATE:
   WT-031 Application for Payment.containing Contractor's signed Certification is attached. In tabulations below,amounts are stated to the nearest dollar.

               A                          8                              c                      o                    E                 F                       G                 14              I           1
                                                                                                                                                                                                                  /›
                                                                                                                                                                                                                  ,"     It           L              M                    N                   o                     P

                                                                                                    Work Completed
                                                                                                                                                                                                                              .
                                                                                                                                  Materials               Total Current   Total Completed       % .04/7              %R     >                 Current Amount         Total Amount                          Total retainage
       Task Code                     Description                Contract Amount
                                                                                      Previous Certified        This Period    Presently Stored              A mount          Amotim                Balancer Finish ,iitliv    Previous           Retained             Retained            Retainage           held to date
                                                                                          Amount                               (Not in D or E)               (E+F)           (0+6)             (WC) \    C•H),.. jr priod     Retainyks            (VG)                 (LM)               Released              (N-0)

                                                                                                                                                                                                             'N
                                                                                      5                -   $                   5            -         5              V    5            -         0%S                               -          s                  $             -       s                   5
                                                                                                                                                                                                              \ \           $/   /
                                                                                      5                -   $              •    5                                          $     div                  0%S       - `'+, S,...,,
                                                                                                                                                                                                                            $_../r            5                  5                     5                   5              •

                                                                                      5                •   5              •    5            •         5              •    5    \--.\ 0% $                         • \.,-s'                - $                    5                     5                   5             .

                                                                                      O                    5                   s            •         $                   „5. .....
                                                                                                                                                                                ,      -‘, 4\016 5                                            s              -   $             -       $                   $
                                                                                                                                                                                                                  j
                                                                                                                                                                                                                  -/V8            $
                                                                                      O                -   5                   s            .         S            ic3--....\               \o4s„,.5          AZ                  $       -   5              v   $             -       5               V   5
                                                                                                                                                                                  \-
                                                                                      5                -   $              .    5            -         s /A I.
                                                                                                                                                         / 5                                     0% s-\/
                                                                                                                                                                                                       , .7_                      $       . $                V s                 5                         5             .
                                                                                      5               _ 5                 _ 5                                                                    0% s,„,/- V                      $       V 5                V 5               V $                         5
                                                                                                                          V 5                - 5< C - $ 11•                                                                               V 5                V $                                       V
                                                                                      $               . $                                   .m.$ \\ is,../ .                                     0% s                             $                                              5                         5

                                                                                      s                -   $                   5                  ,                                                  Q%$          i               s       -   $              -   $             V       5               -   5              v
                                                                                                                                                                \ $(
                                                                                      $                -   $              -    5           \ $,..\                   - '.k \           .             Q%$          .               s       v   5              -   5             V       5               V   5
                                                                                      $                -   5              -    5            - \ 5,\\-                     $"N_ ,,\ -                 0% 5         -               5       V   s              •   5             V       5                   s
                                                                                                                               5          '1                                                         o% 5         -               5       V                  V   5             V                       V   s             .
                                                                                      5                -   $                                             $                                                                                    $                                        5
                                                                                                                         i".."          - 1   \ N:\
                                                                                                                                             5\\            '''' '
                                                                                      5               .                                             't•N .
                                                                                                                                                         S>                                      0%5                              s           s              •   s                     5                   $             .
                                                                                                                               i:
                                                                                                                                sN.
                                                                                      s                -   5              -N s V-...„,-:•-•.s..A \. - s          V                                   o% s         v               5       -   5              V   5             V       5               V   s
                                                                                      5                V$                 •    5\\ •'5 ,,..: )-                           5            V         0%S              -               s       -   5              V   $             V       5               v   s
                                                                                      5               . .                 .    5      \+•-,,,                             5            •         0%5                              s       V   $                  5             v       5               V   s             .
                                                                                      s                                                                                   s            .             056 5        .               5           5                  5                     s                   S
                                                                                                      \.                 ''' .1....        'S, '',S
                                                                                      s                                                                                   5            •             056$         V               s       -   5              .   5             -       5               V   s              v
                                                                                                                       L.....` '  . s
                                                                                       5               - '$, %vie/.,.• 5   -....e - 5                                     5            V             5% 5         V               s       •   s              -   5             v       5               V   $              •
                                                                                  .- .---__
                                                                                                                                                                                                                                                                 s             -       s           .       s
                                                                        f      -..." '-'..i
                                                                                                           $\(•                5            -

                                                                                                                                            V
                                                                                                                                                      5

                                                                                                                                                                     V
                                                                                                                                                                          $            -

                                                                                                                                                                                       V
                                                                                                                                                                                                 0% $             -               5           5

                                                                                                                                                                                                                                                                                                   V
                                                                                                       -   5 44, \ .           s                      s                   5                      0%S              -               s       -   s              .   s              V      5                   s              v
                                                                      //              s
                                                                      I(              s       .
                                                                                              '....--..... ,
                                                                                                           5      \ - 5                     . 5                      V 5               V             0565         V               5           5              V s                       s               V 5
                                                                             !.......„,                    $1         5                     . 5                      . 5               .             0% 5                         5           s                5                       5                 5
                                                                        ------ s                           $,       . 5                     . 5                      • $               V             0955         V               5       V   s              V   5             V       s               V   5              •
                                                                                                                          .    s            .         5              V    s                          056$         V               s       V   s              V   s              V      5               V   5
                                                                                      s,...........
                                                                                                 ,  --'    $              •    s            •         5              V    5            •             556$         V               s       .   s              -   5             V       5               V   s             .
                                                                                      5                -   $              •    s            -         5              V    5            V             0565         V               s       v   s                  5             V       s               V   s
                                                                                      s                -    s             V    s            V         s              V    5            V         0%S              .               s       -   5              V   s              V      5               V   s

    Suatotal                                                     s            V       s                V    s             V    5            V         5              V    s            .             $565         V               s           s              V   5             -       s               V   s
    summary of Changes(from W•T 001)                             s            V       s                -    5             .    s            •         s              V    5            V             o% $         V               s       V   s              V   5             V       s               V   5             .

   Totals:                                                      s             V       5                V    s             V    s            V         s              V    5            V             0565         V               s       V   5              V   s             v       s               V   s
   10.2 lIlt




                                                                                                                                                             Page 105 of 174




                                                                                                                          NOTICE OF REMOVAL EXHIBIT 1 p. 123
                               Case 3:25-cv-00020-LL-SBC                                                                  Document 1-2 Filed 01/06/25                                                                          PageID.132                                 Page 125
                                                                                                                                  of 213

DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3


   CHANGE ORDER SCHEDULE OF VALUES                                Form WT-003
           Contractor:
           Remittance                                                                                                                                        PROJECT: Fast*, yolk,mag                                                                                 APPLICATION NO:
                Address:                                                                                                                                 PROJECT NO: 018146                                                                                                   PERIOD TO:
                                                                                                                                                       CONTRACT NO:Olgia6-XX                                                                                               INVOICE DATE:
   WT•001Application for Payment,comaining Contractor's Aped Certification is attached. In tabulations below,amounts are stated to the nearest dollar.

            A                            s                            c                   D                    E                      F                     G                   H          I                 I           /K )          L                  M                    N                  0                    P

                                                                                              Work Completed                                                                                                      //
                                                                                                                                  Materials            Total Current    Total Completed    %                             % Ret                     Currem Amount          Total Amount
       Task Code                    Description               Contract Amount
                                                                                 Previous Certified       This Period          Presently Stored           Amount            Amount                   Balance,to Finish    this //
                                                                                                                                                                                                                                /  7
                                                                                                                                                                                                                                   1;>
                                                                                                                                                                                                                                     ,evious           Retained             Retained           Retalnage        Total retainage
                                                                                      Amount                                   (Not in D or E)            1E4)              (DOG)         (WC)                   .
                                                                                                                                                                                                         <1:C..H)c       Period   "etainage            (K'GI                (OM)                Released       held to date(N-0)

                                                                                                                                                                                                           \               /
                                                                                 5                    $                      $                    5                    5             .         0% 5           \V\
                                                                                                                                                                                                                                                                      5                    5                   $
                                                                                                                                                                                                                         //
                                                                                                                                                                                                                          '                7
                                                                                 $                    5              V       5                    5               •    $             -         Q%5                                                                -   $             •      $           •       $             -
                                                                                                                                                                                                                   N            S     /V 5
                                                                                 5                    5              -       $              -     $               -    $                       0% 5                      N      S\
                                                                                                                                                                                                                                 / /'              $                  5             -      5               -   5
                                                                                                                                                                                    7\
                                                                                 $               •    $              -       5              -     $                    5            \\ 0% 5                                                        $              -   5                    5               -   5            .
                                                                                                                                                                                                                               'S. /
                                                                                 5               V    5              V       $              V     5                    5                       636 5                            5'             -   5              -   $             V      5               -   5             -

                                                                                 5               -    5                                                                     -------'
                                                                                                                                                                                   \
                                                                                                                             $              -     5                                                                             5                  5                  5                    $               -   $
                                                                                                                                                                            .-----. -\\ ' \I 5\      /'/
                                                                                 $               V    5                      5              V     $            ,-.7 5/.            \s-   0% 5,,,, \y/    5                                         $              -   5                    5                   $
                                                                                                                                                             .7
                                                                                 $               V    5              V       5              V
                                                                                                                                                  5        ,/
                                                                                                                                                           . ' /S                                                               $              -   $              V   5                    5               V   5
                                                                                                                                                                             //                0" 5 \/
                                                                                 5               -    5                      5              V     $         \-\ 5           //../              0%S    •                         5              V   5              V   5                                    •   5

                                                                                 5                    5                      5              •     '5\\            2\ S'
                                                                                                                                                                      ,...
                                                                                                                                                                        ,  / -                 0% 5               -             S                  5                  5                    5               •   5

                                                                                 $               V    5              V       5                    s$       \-          $\\ •                   031 5               -            $              V   $              V   $             V      $               -   5

                                                                                 $               V    5                      5              -     5     \\ \ 5             \\:                 0%5                 V            5              V   $              -   5             -      $                   5            .
                                                                                                                                                                            ,
                                                                                                                                                                            -     -,
                                                                                 5               -    S              V       5              -     $       '       •    'S\    \s,,./           0% 5                             5                  5                  5                    $               •   5
                                                                                                                                                       ',\ \
                                                                                 5                    5                      5                    5
                                                                                                                                                                       .k            V         096 5              -             $                  5              •   5             V      5               •   5            -

                                                                                 5               V    5              V
                                                                                                                             5                                         5    /        •         0% $                             5              V   5              V   5             -      5               -   5             -

                                                                                 5               V    $              V       5 '                                       $             -         0%5                 -            5              V   5              •   5             V      $               V   5

                                                                                 5                                                                5                                            ems                 V            5                  5              -   5             V      $               •   5

                                                                                 $               •    $   ,'-'---                                  \              -    5             V         0% 5               .             5              V   5              V   5             V      $                   5            .
                                                                                                          , ---"-
                                                                                 5               •    $      \       V       5             .      5/              V    5             -         0%5                •             s                  s              V   s             .      s                   5            •
                                                                                                               ,.
                                                                                 S                    s                                   , s                          s             V         ems                -             5                  $              .   $             V      5               •   5
                                                                                                           ,.......L. 7     ..-,
                                                                                                 •    5      \ '2
                                                                                                                , 5                         •     5               -    5                       ems                .             $                  $              -   5             -      5               •   5            .
                                                                                     ,-
                                                                                 5               V    5            , \       5              V     5               -    5                       0315                V            5              V   5              V   5             V      5               -   5

                                                                                 5                                   -' 5                   -     S               V    5             -         0%5                 V            5              V   5              -   5             V      5               -   5            •

                                                                                                      5              ....    S                    5               V    $                       ems                .             $              V   5                  5             V      5               -   5
                                                                                 S

                                                                                                .     5                      5              V     5               V    $             V         p315               •             5              V   5              •   5             -      $               •   5

                                                                                 5               V    $   ;          -       5              V     $               V    5             -          315                -            5              -   5              -   5             V      5               V   5            •

                                                                                 5 /                  5              V       5              V     5               V    5             •         531$                             5              V   5              -   $             V      5               V   5            .

                                                                                 5               V    5              .       5              V     5               V    5             V         031$                             5              V   5              -   5             -      $               V   5            .

                                                                                 5              .     S              V       5              V     5               V    5             .         ems                .             5              V   5              .   5             .      5               V   S

                                                                                 5               V    5              V       5              V     5               V    5             .         Oes 5              -             5              V   5              V   $             V      5           .       5

                                                                                 $               _    5              .       5              V     5               .    5             V         035 5               V            5              V   5              V   5             V      $               V   5            •

                                                                                 5               •    5              V       5              V     5               V    5             -         5315                             5                  $              V   5             -      5               •   5            •

                                                                                 5               •    5              V       $              V     S               V    5             .         031                              $                  5              V   5             -      5               •   5            -


        Totals:                                               5             -    5               •    5              V       $              •     5               V    5                       0315                             S              V   5              V   5             •      5               V   5            •

   17 21 201' -•At0.0-7tar.n




                                                                                                                                                          Page 106 of 174




                                                                                                                     NOTICE OF REMOVAL EXHIBIT 1 p. 124
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                PageID.133           Page 126
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3
    THE WHITING-TURNER CONTRACTING COMPANY




                                                  JOINT CHECK AGREEMENT



   This Joint Check Agreement is made as of this         day of            20      , between The Whiting-Turner
   Contracting Company (Contractor) and                   (the "Subcontractor") and                       (the
   "Supplier"). Subcontractor and Supplier are collectively referred to herein as the Parties.

    1. Whiting-Turner is the General Contractor/ Construction Manager on the project known as (the Project).
    Whiting-Turner has entered into a subcontract with Subcontractor to provide certain labor and materials under
    the terms and conditions set forth in the subcontract. Supplier has entered into an agreement with Subcontractor
    to provide materials to Subcontractor in connection with the Project, at an agreed upOn cost of $
    including delivery and taxes.                                                     /

    2. Whiting-Turner hereby agrees with the Parties that, in the event the Subcontractor submits a request for
    payment for materials provided to Subcontractor by Supplier, Whiting-Turner, subject to,the terms and
    conditions of this Agreement, will make the check in payment for such
                                                                        ,request payable jointly to Subcontractor
    and Supplier. The total of such checks are not to exceed cumulatively the amount set forth above.

    3. This method of payments for the convenience of Whiting-;airner, to, assure that materials provided for the
    Project are paid for, and is not for the benefit of the Parties;,Whiting-Turner's obligation to issue joint checks
    under this Agreement is not a guarantee of payment to any of the Parties and further is contingent upon receipt
    by Whiting-Turner of payment from the Owner for the materials4\nichere the subject of the payment request and
    upon the amount requested being actually due and p4iable ea,ttle Subcontractor under the terms of the
    subcontract.                                                \       \
                                                                               •\
    4. Prior issuance of a joint check,the Parties rriust deliver to Whiting-Turner a copy of the invoice for which the
    joint payment is sought and such invoice copy shallte igned by the Parties to evidence their agreement that the
    invoice is correct and that payment is due. Insthee-vent that the Parties do not submit a signed copy of the
    invoice, Whiting-Turner shall have no obligation\he'reunder to'prepare or to deliver a joint check.
                                                               . .
    5. Supplier understands that Whiting-Turnenhas no,obligation to prepare and deliver a joint check in an
    amount greater than is due under the\subcontract.Whiting-Turner will respond to inquiries from the Supplier in
    the event it wishes to ascertain whether there are sufficient funds available under the subcontract to pay for the
    materials in question/(-

    6. Supplier warrants and represents to Whiting-Turner that Supplier will not endorse and deliver the joint check
    to the Subcontractor Until SupPlierhs'received the equivalent of cash payment from the Subcontractor.

    7. This Joint Check Agreer:rient may be terminated at any time by Whiting-Turner upon 24 hours notice to the
    Parties. Such termination shalrnot affect the operation of this Agreement with respect to payment for labor and
    materials provided prior to the date of termination, but such payment shall be subject to the other terms and
    conditions of this Agreement. This Agreement shall terminate automatically, without notice, upon a breach of the
    terms of the subcontract by the Subcontractor or upon a declaration by Whiting-Turner that the Subcontractor is
    in default under the subcontract.

    8. Subcontractor hereby agrees to indemnify, defend and hold harmless, Whiting-Turner, its directors,
    officers, employees and agents from and against any and all claims, demands,judgments, damages, and
    expenses, including reasonable attorneys' fees, arising out of or in connection with the failure of the
    Subcontractor to comply with the terms and conditions of this Agreement.




                                                             Page 107 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 125
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25             PageID.134   Page 127
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3
    THE WHITING-TURNER CONTRACTING COMPANY

    I N WITNESS WHEREOF,Whiting-Turner and the Parties have caused this Agreement to be signed by their duly
    authorized representatives as of the date set forth above.




    WITNESS                                THE WHITING-TURNER CONTRACTING COMPANY


                                           Signature, Title                         Date



    WITNESS                                SUBCONTRACTOR


                                           Signature, Title



    WITNESS                                SUPPLIER


                                           Signature, Title                        'Date




                                                              Page 108 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 126
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                           PageID.135   Page 128
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3
    THE WHITING-TURNER CONTRACTING COMPANY



                          THE WHITING-TURNER CONTRACTING COMPANY


                                                      JOINT CHECK REQUEST



           PROJECT NAME                     Fashion Valley Mall Redevelopment                 Date


           W-T OFFICE                         San Diego, California Office

           W-T JOB NUMBER                    018146

          Subcontractor Name
          Address



           Check #1
           Co-Signee
           Address
                                                                                   ---- ---N\
                                                                                   7
                                                                                                \\      //
                                                                               /         ,             i ,
                                                                                              Amount'\ /
           Check #2
           Co-Signee                                                    75.

           Address                                                         \       \

                                                                         \ \ N‘,             s,,Amount

           Check #3
           Co-Signee
           Address

                                                    \                                         Amount

           Check #4
           Co-Signee
           Address                                      \\
                                                        \
                                                                                                Amount


                                              TOTAL




                                                             Page 109 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 127
Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                                     PageID.136        Page 129
                                                          of 213


DocuSign Envelope ID: 1738A269-C865-466F-A930-574C6FE708A3



             INTERIM CONDITIONAL WAIVER AND RELEASE OF LIENS AND CLAIMS UPON
                               PAYMENT - SUBCONTRACTOR


            STATE OF CALIFORNIA
            COUNTY OF SAN DIEGO


             The undersigned,                                                      , of
            ("Company") who has furnished certain materials, equipment, services, and/or labor for the project known as
             FASHION VALLEY MALL REDEVELOPMENT ("Project"), which is located within the City SAN DIEGO, CA ("Site
             City"), County of SAN DIEGO, CA ("Property"), and is owned by SIMON PROPERTY GROUP ("Owner"), and more
             particularly described as follows:


                                                          7007 Friars Road
                                                               (Site Address)


                                                          San Diego, CA 92108
                                                           (Site City, State, Zip Code)
                                                                                                                               /•
                                                                                                                                •
            Upon receipt of the sum of$                            ("Current Payment")for Payment Reqt. No. /7 , the
            Company waives and releases any and all liens or claims of liens and all claims, demands, acti\oh. \-/,.,s/e—
                                                                                                                        s of act;
            or other rights against the Owner and the Property or any right against any labor and/or material c4),,\-rit bop/ . has
            or may have through the date of                20       ("Current Date") and resr"`qng those rights am.,        ,.dat the
            Company might have in any retainage on account of materials, equipment, service,„ •d/or labor furnishes. 4.1Y the
            undersigned to or on account of the Owner or any other person or entity for-'" Proje,s
                                                                                              \
                                                                                              - \     \ //
                                                                                                         \       -
            The Company acknowledges that this Waiver and Release is given toi y..iiice the) \fmenti         /45ove, and that this
            Waiver and Release is in substantial conformance with the requirei:,/ 4, of appl :Ole law. \../
                                                                                           .
            Applicable to Payment Request(s) No.
           (or) Invoice(s) No.                                           \

            Given under hand and seal this                 day of-,                          \\\\               , 20   .




              Before me the undersigned, a Notary Pi?' .c for                           County, State of
              personally appeared                                                     and acknowledged the execution of this
              instrument this    day of               20_.


                                                                                                       (Seal)
              Notary Public




             Form SPG-8 (06/17/2019)                                   3

                                                                    Page 110 of 174




                                                 NOTICE OF REMOVAL EXHIBIT 1 p. 128
Case 3:25-cv-00020-LL-SBC                          Document 1-2 Filed 01/06/25                                      PageID.137         Page 130
                                                           of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



               INTERIM UNCONDITIONAL WAIVER AND RELEASE OF LIENS AND CLAIMS
                              UPON PAYMENT - SUBCONTRACTOR


            STATE OF CALIFORNIA
            COUNTY OF SAN DIEGO


             The undersigned,                                                       of
            ("Company") who has furnished certain materials, equipment, services, and/or labor for the project known as
             FASHION VALLEY MALL REDEVELOPMENT ("Project"), which is located within the City SAN DIEGO, CA ("Site
             City"), County of SAN DIEGO, CA ("Property"), and is owned by SIMON PROPERTY GROUP ("Owner"), and more
             particularly described as follows:


                                                           7007 Friars Road
                                                                (Site Address)


                                                           San Diego, CA 92108                                         /
                                                            (Site City, State, Zip Code)

                                                                                                          / J         //
                                                                                                          \\         /,
            Having received the sum of$                            for Payment Request No.          , the Co,„ "rw/ /'           4....,
            unconditionally waives and releases any and all liens or claims of liens and all claims, demands,`“, ,(is, cause/s"
            action or other rights against the Owner and the Property or any right against any labor and/or mate'. : nayrp•
            bond it has or may have through the date of                    ,20_ and rer:,,'i.rig those rights an., ' Ahat
            the Company might have in any retainage on account of materials, equipment, serv., ‘-‘,TId/or
                                                                                                      ,      labor furnisded by the
                                                                                                  \              „
            undersigned to or on account of the Owner or any other person or entity fo--
                                                                                       '   —' 3.rojeL, \,        /  ,
                                                                                               /-- --,       ‘, N,     / -
                                                                                               ,/      \ i     •.,
            The Company acknowledges that this Waiver and Release in substatr/:confor                   - ce with      quirements of
            applicable law.                                               <

             Given under hand and seal this                 day of                                               ,20    .



                                                                                           \




              Before me the undersignt-,--Notary Pub ; for                               County, State of
              personally appeared                                                      and acknowledged the execution of this
              instrument this    day of <         ,(20 .


                                                                                                        (Seal)
              Notary Public




             Form SPG-8 (06/17/2019)                                    4


                                                                     Page 111 of 174




                                                  NOTICE OF REMOVAL EXHIBIT 1 p. 129
Case 3:25-cv-00020-LL-SBC                            Document 1-2 Filed 01/06/25                                     PageID.138             Page 131
                                                             of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                     FINAL CONDITIONAL WAIVER AND RELEASE OF LIENS AND CLAIMS
                                          UPON PAYMENT

            STATE OF CALIFORNIA

            COUNTY OF SAN DIEGO


             The undersigned,                                                      , of
            ("Company") who has furnished certain materials, equipment, services, and/or labor for the project known as
             FASHION VALLEY MALL REDEVELOPMENT ("Project"), which is located within the City SAN DIEGO, CA ("Site
             City"), County of SAN DIEGO, CA ("Property"), and is owned by SIMON PROPERTY GROUP ("Owner"), and more
             particularly described as follows:


                                                             7007 Friars Road
                                                                    (Site Address)


                                                             San Diego, CA 92108
                                                              (Site City, State, Zip Code)
                                                                                                                   \   /
                     (DESCRIBE THE PROPERTY UPON WHICH THE IMPROVEMENTS WERE MADE BY USING EITHER A METES AND BOUNLN ,
                                                                                                                     Sg" /40N,
                     THE LAND LOT DISTRICT, BLOCK AND LOT NUMBER, OR THE STREET ADDRESS OF THE PROJECT.)                ,
                                                                                                                         ‘‘.
                                                                                                                           \        '


            U pon receipt of the sum of $                              the Company waives and   "es
                                                                                                  --k any and all /s
                                                                                                                   claii.is,
            demands, actions, causes of action or other rights against the Owner anclztb^'-noerty, \law, under/ ‘ontract, in
            tort, equity or otherwise, and any and all liens or claims of liens or any ry.            '•\andy/aterial
            payment bond it has, may have had or may have in the future upon th, dregoing', \)scribeu, tr „.y or in relation to
            the Company's performance of work on or the furnishing of equipm,:,/ 4ervices,2 ,d/or          Atie Project.

            This Waiver and Release applies to all facts, acts, events, cirF                       „.ges, constructive or actual delays,
            accelerations, extra work, disruptions, interferences and the IR, ,\\                  `-csurred, or may be claimed to have
            occurred prior to the date of this Waiver and Release, whether.                  `nown    ‘e Company at the time of execution
            of this Waiver and Release.

            The Company acknowledges that this Waiver and,            sp sui. 'antiat Vormity with the requirements of
            applicable law and shall be binding and conclusive a6 ,stA,         ly for all purposes, subject only to payment in
            full of the amount set forth above.

             Given under hand and seal this                                                                20    .

                                                        \\\
                                                               7
                                                               17 any

                                                             S                                                             (SEAL)

                                                               Y'

                                                             Title


              Before me the undersigned, a Notary Public for                                County, State of
              personally appeared                                                      , and acknowledged the execution of this
              instrument this    day of             ,20_.


                                                                                                                      (Seal)
              Notary Public




             Form SPG-9 (06/17/2019)                                      1


                                                                        Page 112 of 174




                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 130
Case 3:25-cv-00020-LL-SBC                                Document 1-2 Filed 01/06/25                                PageID.139                Page 132
                                                                 of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3


                                                                                                                  Subcontract Supplement
    VVT
    111111111111111.1111
    WHITING-TURNER
                                                                                                        The Whiting-Turner Contracting Company




     PROJECT           Fashion Valley Mall Redevelopment                                                      W-T Job Number:        018146




     TO                                                                                                          /DATE
                                                                                         CONTRACT SUPPLEMENT NO.
                                                                                                    CO/NTRACT NO
     ATTN
                                                                                                  CONTRACT DATE
                                                                                            W-T PROJECT MANAGER

                                                                                                                               /

    YOUR CONTRACT IS HEREBY AMENDED TO INCLUDE THE PROVIS
                                                       , IONS-0 TH\E'E?,<TRA WORI'50RDERS LISTED BELOW.

    This supplement constitutes full and equitable adjustment and compensation attributable to the,facts or circumstances giving rise to the
    changed work described in the Extra Work Orders and/or Change,Recjuests listed,/lincludini,butznot limited to any changes, differing
    site conditions, suspensions, delays, rescheduling, acceleration, impactor othe causes resulting therefrom.
                                                                            \\//7
     PCI                  Description                                                                                           Amount

                                                                     \       \ \\X
     TOTAL ADD THIS SUPPLEMENT                                                   \\/)              Dollars:
                                                                       \\\\
                                                                         \       \\

          Original Contract Amount                PreviouS.SuPpleMents ,\ Amount of This Supplement                   Revised Contract Amount*
                                                           \\\---.., --.,
                                              /------.


                                                                                    THE WHITING-TURNER CONTRACTING COMPANY

      APPROVED                                                                APPROVED
                                            Signature                                                               Signature


                                       Printed)Name                                                               Printed Name


                                                                                                                       Title

     DATE                                                                      DATE

      * Consent of Surety - If original Contract Amount is increased by more than 10% resulting from this and previous Contract Supplements, or
      original scope of work has been substantially changed, Consent of Surety Company is required below.


                           Surety Company                                      Attorney-In-Fact                                   Date




    Rev. 03/08/16 DOCUSIGN VERSION


                                                                       Page 113 of 174




                                                         NOTICE OF REMOVAL EXHIBIT 1 p. 131
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                  PageID.140        Page 133
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                                          GUARANTEE AND WARRANTY


    WHEREAS,
    hereinafter called the "Guarantor", entered into a contract dated
    hereinafter called the "Contract" with Whiting-Turner, hereinafter called the "General Contractor (GC)",
   for Fashion Valley Mall Redevelopment (hereinafter referred to as the "Work"), at San Diego, CA for
   (item of work)the Phase 2 Performance Court scope of work.

    WHEREAS,the GC has performed, kept, observed, and fulfilled each and every one of the obligations,
    promises, stipulations, terms and conditions on its part, and

    WHEREAS,by the terms of the Contract, one of the conditions precedent/the making of final
    payment is the execution and delivery by the Guarantor of this guarant/ and war'inty; and

    WHEREAS,the Guarantor is now desirous of obtaining payment pursuL t e term/‘? said Contract
                                                                                e       /`
    and as a condition precedent to such payment, furnishes this separate guara. e and,_trranty for all
    work and material included in said Contract,                                  \s/

    NOW,THEREFORE,in consideration of the premise..'             ,af th, lymen  /    iNade to the Guarantor
    under said Contract and in further consideration of/l   ca pa) \entN
                                                                       , 'Cv.41..,(ntor does hereby for itself
    and its successors, heirs and assigns, guarantee      warrant co the Gis.,,its successors and assigns, that
    the Guarantor has performed all the work remiirea\\sz/s. (2ontract in accordance with the terms thereof
                                                               /
    including but not limited to satisfactory opt!   \II of a •quipment by means of acceptance tests,
                                                  N
    correction of items on all punch lists prepare,         Ovv, •dArchitect, and that all portions of the work
    completed under the Contract are perfect as toN            anLyworkmanship and will so remain from the
    date of final completion of the Prc       Q127/20 forveriod of one (1) year.

    The Guarantor does hereby/further guak tee aii,.,,arrant that the Guarantor will make good and replace
                             ,0 ".....
    at its own cost and expens\, -fe,c_ts inNrA   \
                                                      -ial and workmanship appearing during the period
    aforesaid and the Guarantoi \ilro,..)'-ozib,:e for all damage caused to the GC by such defects or by
    the work required to remedy \&12,  +:,,,.;felitAll corrections to material workmanship shall be made at the
    convenience off---- and shs oe performed in a good workmanlike manner.

    The Guarantt does 1--
                        "  °---Narr, -t and represent that it has obtained warranties and guarantees from its
                              \8
                            supj firs.*"and from its subcontractors to the fullest extend possible and as
                 N.
    material and e., :.ent—7
    customary in the various tr/ es and has delivered all assignable warranties and guarantees to the GC.
                             --,/'
    It is understood that this guarantee shall in no way be construed to limit in any manner any of the
    provisions of the Contract or to modify or limit any of the obligations, liabilities, and duties of the
    Guarantor thereunder.




                                                             Page 114 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 132
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                        PageID.141   Page 134
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




    It is further understood that this guarantee shall remain binding and irrevocable during the above stated
    periods and that the Guarantor shall not contest the validity of, or in any way attempt to revoke or
    withdraw from, this guarantee for any cause whatsoever, whether arising before or after the execution of
    the Contract or this guarantee.

    IN WITNESS WHEREOF,the Guarantor has caused this instrument to be signed and executed this
                  day of                         ,20      .




    WITNESS:                                                                       /\••
                                                                               • ./ ic or Vice President)
                                                                          -Presir




    STATE OF

                                                       SS:
    COUNTY OF

    On the                         a,                  ,20     , before me personally came
                                \ V/  , to me known who being by me duly sworn, did depose and say that
    he resir'''..-- >            (
    that 17 (is          ..---„,\\
    of        ...„,---",,------
    the corp.—Awn that i fecuted the foregoing instrument signed his name thereto by like order of the
    Board of Directou




                                                             Page 115 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 133
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                PageID.142           Page 135
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                         Exhibit M
                                                       PAYMENT BOND


                                THE WHITING-TURNER CONTRACTING COMPANY
                                           300 EAST JOPPA ROAD
                                        TOWSON,MARYLAND 21286


            BOND NO.

            KNOW ALL MEN BY THESE PRESENTS:
                That

             as Principal, hereinafter called Principal, and


                             (here insert the name, address and state of incorporation of Surety)

             as Surety, hereinafter called Surety, are held and firmly bound unto THE WHITING-TURNER
             CONTRACTING COMPANY,300 East Joppa Road, Towson, Maryland 21286 as Obligee,
             hereinafter called Obligee, in the amount of
             Dollars($             ), for the payment whereof Principal and Surety bind themselves, their heirs,
             executors, administrators, successors and assigns,jointly and severally, firmly by these presents.

             WHEREAS,Principal has by written agreement dated                             entered into
             Contract No          with Obligee for



             in accordance with drawings and specifications prepared by


             which Contract is by reference made a part hereof, and is hereinafter referred as a Contract.

             NOW,THEREFORE,THE CONDITION OF THIS OBLIGATION is such, that if the Principal
             shall promptly make payments to all persons supplying labor, material, rental equipment,
             supplies, or services in the performance of the said Contract and any and all modifications of said
             Contract that may hereafter be made, then this obligation shall be null and void; otherwise it shall
             remain in full force and effect.

             The said Surety agrees that no change, extension of time, alteration, addition, omission, or other
             modification of the terms of either the said Contract or the said Prime Contract, or both, or in the
             said work to be performed, or in the specifications, or in the plans, shall in anywise affect its
             obligation on this Bond, and it does hereby waive notice of any such changes, extensions of time,
             alterations, additions, omissions, and other modifications.



             PA-015
             8/95
                                                             Page 116 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 134
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                           PageID.143   Page 136
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




            The said Principal and the said Surety agree that this Bond shall inure to the benefit of all persons
            supplying labor, material, rental equipment, supplies, or services in the performance of the said
            Contract, as well as to the Obligee, and that such persons may maintain independent actions upon
            this Bond, in their own names.

            IN WITNESS WHEREOF,the above bounden parties have executed this instrument under their
            several seals this       day of                            ,       , the name and corporate seal
            of each corporate party being hereto affixed and these presents duly signed by its undersigned
            representative, pursuant to authority of its governing body.



                                                                                    Principal

                                                                                                 (Seal)

            Witness:

                                                                 By:
                                                                                         Signature


                                                                               Name and title - type or print


                                                                                           Surety


                                                                 By:
                                                                               Signature    Attorney-in-Fact




            PA-015
            8/95
                                                             Page 117 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 135
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                  PageID.144           Page 137
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                             Exhibit N
                                                    PERFORMANCE BOND


                                THE WHITING-TURNER CONTRACTING COMPANY
                                           300 EAST JOPPA ROAD
                                        TOWSON,MARYLAND 21286


            BOND NO.

            KNOW ALL MEN BY THESE PRESENTS:
                That

             as Principal, hereinafter called Principal, and


           (here insert the name, address and state of incorporation of Surety)

            as Surety, hereinafter called Surety, are held and firmly bound unto THE WHITING-TURNER
            CONTRACTING COMPANY, 300 East Joppa Road, Towson, Maryland 21286 as Obligee,
            hereinafter called Obligee, in the amount of
            Dollars($             ), for the payment whereof Principal and Surety bind themselves, their heirs,
            executors, administrators, successors and assigns,jointly and severally, firmly by these presents.

             WHEREAS,Principal has by written agreement dated                                entered into
             Contract No          with Obligee for



             in accordance with drawings and specifications prepared by


             which Contract is by reference made a part hereof and is hereinafter referred as a Contract.

             NOW, THEREFORE, THE CONDITION OF THIS OBLIGATION is such, that if the above
             bounden Principal shall well and truly perform all the undertakings, covenants, terms, conditions,
             schedules, warranties, guarantees, and agreements of said Contract, and shall well and truly
             perform all the undertakings, covenants, terms, conditions, schedules, warranties, guarantees, and
             agreements of any and all duly authorized modifications of said Contract that may hereafter be
             made, and shall pay to said Obligee and save harmless said Obligee of and from any and all loss,
             damage, expense, interest, costs, attorney's fees, and statutory liabilities, fines or penalties of any
             kind, including but not limited to treble damages, which the said Obligee may sustain by reason
             of Principal's failure so to do, then this obligation shall be null and void; otherwise it shall
             remain in full force and effect.




             PA-016
             8/95 Nov 5, 2018
                                                              Page 118 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 136
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                          PageID.145   Page 138
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




            The said Surety agrees that no change, extension of time, alteration, addition, omission, or other
            modification of the terms of either the said Contract or the said Prime Contract, or both, or in the
            said work to be performed, or in the specifications, or in the plans, shall in anywise affect its
            obligation on this Bond, and it does hereby waive notice of any such changes, extensions of time,
            alterations, additions, omissions, and other modifications.

            Whenever Principal shall be declared by the Obligee to be in default under the Contract, the
            Surety shall, within ten (10) calendar days after notice of default from the Obligee, notify the
            Obligee of its election either to promptly proceed to remedy the default or promptly proceed to
            complete the contract in accordance with and subject to its terms and conditions. In the event
            the Surety does not elect to exercise either of the above stated options, then the Obligee
            thereupon shall have the remaining work completed, Surety to remain liable hereunder for all
            expenses, including attorney's fees, of completion.

            IN WITNESS WHEREOF, the above bounden parties have executed this instrument under their
            several seals this       day of                                 , the name and corporate seal
            of each corporate party being hereto affixed and these presents duly signed by its undersigned
            representative, pursuant to authority of its governing body.



                                                                                    Principal

                                                                                                 (Seal)

             Witness:

                                                                 By:
                                                                                         Signature


                        Bonding Agent                                          Name and title - type or print


                                                                                           Surety

                           Address
                                                                 By:
                                                                               Signature    Attorney-in-Fact
                           Phone




            PA-016
            8/95 Nov 5, 2018
                                                             Page 119 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 137
  Case 3:25-cv-00020-LL-SBC                     Document 1-2 Filed 01/06/25             PageID.146   Page 139
                                                        of 213


 DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3
                                                         V    •




                                 Site S•ecific Safe Plan



                                                        0 Copyright 2020
                                   The Whiting-The Whiting-Turner Contracting Company
111111111111.111.111111.11                              All Rights Reserved
 WI WI NO •TtiiMU




                                                              Page 120 of 174




                                               NOTICE OF REMOVAL EXHIBIT 1 p. 138
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25              PageID.147    Page 140
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                   WHITING-TURNER SITE SPECIFIC SAFETY PLAN




                                              Fashion Valley Mall Redevelopment
                                                         7007 Friars Road
                                                   San Diego, California, 92108




                                                             Prepared by:
                                                             Devin Merker
                                           The Whiting-Turner Contracting Company
                                                        300 E. Joppa Road
                                                     Towson, Maryland 21286




                                                        Updated May 2022




                                                                                                      l iPagc
                                                               CD Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                              Page 121 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 139
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                PageID.148           Page 141
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A930-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY.



    1.      Environmental, Health and Safety Policy


            The elimination of accident/incidents related to Whiting-Turner operations is one of our greatest
            responsibilities. Morally, legally, and financially, we are compelled to make every reasonable effort to
            eliminate hazards from our operations and to complete our projects without accident/incidents.

            We must constantly strive to improve our safety success through the implementation of best practices that
            will enable us to more effectively identify and mitigate potential hazards. Unless predetermined
            otherwise, our project superintendent is our job site safety representative, and as such is primarily
            responsible for maintaining an effective culture of safety excellence.

            It is vital to our continuing success that all Whiting-Turner operations personnel be constantly vigilant in
            planning and executing our work in a manner that provides a safe environment for everyone. We must
            instill this same commitment and attitude toward safety in all workers on all projects!

            Thank you for all you do every day to maximize our safety success.




            Timothy J. Regan


            President




                                                                                                             2IPage
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 122 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 140
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                PageID.149           Page 142
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A930-574C6FE7D8A3




                                                                     WHITING-TURNER SITE SPECIFIC SAFETY PLAN,



    2.      Commitment to Safety Excellence

            The Whiting-Turner Contracting Company firmly believes that safety is of paramount importance on all
            its projects. It is widely known that there is a direct correlation between unsafe acts and (a) incidental
            injury,(b)occupational illness, and (c)property damage. For that reason, Whiting-Turner strives to create
            a culture of safety excellence through leadership, integrity, collaborative risk assessments and pre-
            planning strategies that provide tradespersons with the tools to perform their tasks safely and deters unsafe
            acts.
            Whiting-Turner's Environmental, Health and Safety Manual will serve as the basis on which the culture
            ofsafety excellence will be upheld and improved upon. Maintaining a culture ofsafety excellence through
            commitment, communication, and compliance makes more attainable our goals of
            •    zero fatalities;
            •    zero permanent injuries;
            •    zero impact on public personnel or property;
            •    and zero accident/incidents that would adversely impact the client, cost, or schedule.
            All Whiting-Turner employees shall adhere to all the principles, policies, and procedures of Whiting-
            Turner's EH&S Manual. Likewise, all contractors/subcontractors engaged in work on Whiting-Turner
            projects or on behalf of Whiting-Turner shall adhere to all the applicable principles, policies, and
            procedures of Whiting-Turner's Contractor/Subcontractor EH&S Manual and this Site-Specific Safety
            Plan.


             Adherence to this plan and Whiting-Turner's Contractor/Subcontractor Plan does not absolve any
             contractor/subcontractor from its legal/contractual obligation to submit a safety program, which meets or
             exceeds the requirements of the Whiting-Turner Contractor/Subcontractor EH&S Manual, the contract
             documents and federal, state, local or other applicable regulations.




                     Pf Sellaez                              Pad PeNuy                Red facleado
                     JJ Sellner                          Paul Perry                  Rick Jackson
                 Project Manager                   Project Superintendent           EH&S Manager




                                                                                                              3IPage
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                                Page 123 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 141
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                 PageID.150           Page 143
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN
                                                                                                        •


    3.      Background Information

            3.1.     Project Organization:

                     Owner: Simon Property Group(SPG)

                     Architect: Retail Design Collaborative(RDC)

                     Whiting-Turner Project Executive: Art Rodriguez

                     Whiting-Turner Project Lead Superintendent: Paul Perry

                     Whiting-Turner Project Night Superintendent: Paul Perry

                     Whiting-Turner Project Manager: JJ Seliner

                     Whiting-Turner Project Manager: Shane Willingham

                     Whiting-Turner Project Safety Manager: Rick Jackson

            3.2.     Project Description:

                     The Fashion Valley Mall Redevelopment project is located in San Diego, CA in the existing and
                     live mall. This includes selective demolition of plaster, railings, an elevator and structure, unit
                     pavers, and existing tile. New structural concrete includes retrofit of the existing footings, new
                     spread footings and caissons, and related excavation. New structural steel include new members
                     and retrofit of existing beams and columns. New railings include perforated metal rails, picket
                     rails, glass guardrails and stainless steel handrails. New shade structures and panels throughout.
                     There are tie ins to existing waterproofing and roofing at multiple locations. There is a new door,
                     frame, and hardware. New plaster, EIFS, and DIFS throughout and paint of plaster existing and
                     new. New wall and floor tile throughout. New bathroom specialties and new water feature. New
                     escalators throughout. Modifications and additions to the existing fire sprinkler, HVAC, and
                     plumbing systems. New electrical including light fixtures, fire alarm, and conduit to future signage.
                     New landscaping throughout and at Friar's Road. New site concrete and replacement of unit pavers
                     where affected. Schedule and written scopes of work to follow. Specific scopes are to supersede
                     the above general description

             3.3.    Site History and Hazard Assessment:

                     This site is extremely constrained by existing conditions and the mall operating from l Oam-lOpm.
                     Subcontractors must utilize their safety procedures, ample precautions, and due diligence to avoid
                     disruption or harm to the public, or damage to existing surfaces to remain. Subcontractors will

                                                                                                              4 IPagc
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                               All Rights Reserved
                                                             Page 124 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 142
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                 PageID.151          Page 144
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                     need to exercise above average coordination including diagrams and plans with Whiting-Turner
                     to ensure optimal operations and safety with the mall and the public. Deliveries will be limited to
                     constrained access areas. Work will be constrained to off hours.


            3.4.     Phases of Work:

                     The definable features of work contemplated for the project have been set forth and are listed
                     below in Section 15. The Activity Hazard Analysis(AHA)for each definable feature of work will
                     be prepared to identify hazardous activities and set forth safe practices and procedures for each
                     hazardous activity associated with the work phase. The AHA will be further defined and discussed
                     during the preconstruction meeting.




                                                                                                             5IPagc
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 125 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 143
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                 PageID.152          Page 145
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



    4.      Project Responsibilities

            4.1.     Project Manager

                     4.1.1. Overall authority and responsibility to implement and manage the project's Site-Specific
                            Safety Plan.

            4.2.     Project Superintendent

                     4.2.1. Responsible to enforce compliance with Whiting-Turner's Site-Specific Safety Plan,
                            OSHA Standards, and all other Federal, State, and Local Safety Codes and Regulations.
                     4.2.2. Responsible for coordination of Whiting-Turner workforce and contractors/subcontractors
                            to ensure that a logical, systematic progression of work takes place.
                     4.2.3. Responsible to assist contractors/subcontractors in pre-planning their operations to prevent
                            personal injury and property damage. AHAs and pre-task plans for new or modified
                            operations are to be reviewed prior to the operation's commencement.
                     4.2.4. Responsible to schedule, distribute notification, and chair mandatory safety meetings.
                     4.2.5. Responsible to notify contractors/subcontractors of a safety noncompliance. This
                            notification will include the allowable time limit for compliance or correction shall be made
                            by Whiting-Turner and back charged to the contractor/subcontractor . A copy of any
                            written notice, including all noncompliance items and date of correction will be filed in the
                            project files.
                     4.2.6. Responsible to assist in the investigation of accidents, incidents and near misses in
                            conjunction with the contractor's/subcontractor's foreman, and safety representative.

            4.3.     Subcontractor Project Managers/Outside Superintendents/Foreman
                     4.3.1. Has overall responsibility for ensuring the safety of the workers reporting to him/her.
                     4.3.2. Shall ensure that his/her employees comply with their Company's Safety Program and all
                            federal, state, and local codes and regulations, including Whiting-Turner's
                            Contractor/Subcontractor EH&S Manual, and this Site-Specific Safety Plan.
                     4.3.3. Shall ensure compliance with the site-specific safety orientation process for all their
                            personnel assigned to the project.
                     4.3.4. For activities where pre-task plans are required, shall ensure that daily pre-task plans are
                            completed, submitted to Whiting-Turner for review, and then reviewed with the work
                            crew(s) prior to commencing.
                     4.3.5. Shall ensure that workers under his/her command have the adequate training and
                            knowledge to complete the task at hand.
                     4.3.6. Shall attend all required meetings for which Whiting-Turner requests their presence.


                                                                                                              6 IPage
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 126 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 144
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                PageID.153          Page 146
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                     4.3.7. Shall investigate all accident/incidents and near misses in conjunction with the Whiting-
                            Turner Superintendent, and contractor/subcontractor safety representative.


            4.4.     Contractor/Subcontractor Safety Representative:
                     4.4.1. Shall ensure that their employees comply with their Company's Safety Program and all
                            federal, state, and local codes and regulations, including Whiting-Turner's
                            Contractor/Subcontractor EH&S Manual and this Site-Specific Safety Plan.
                     4.4.2. Shall ensure compliance with the site-specific safety orientation process for all personnel
                            assigned to the Project.
                     4.4.3. Shall train their employees to perform their work in a safe manner and to recognize [and
                            correct] unsafe condition and unsafe acts.
                     4.4.4. Shall make a minimum of one complete safety inspection of their work per week with a
                            written report to the Whiting-Turner Project Team noting the corrective action to identified
                            hazards.
                     4.4.5. Shall attend each weekly project safety representative meeting.
                     4.4.6. Shall chair each weekly tool-box talk, with written minutes and provide copies weekly to
                            the Whiting-Turner Project Team.
                     4.4.7. Shall report all safety-related matters to the imbedded Whiting-Turner EH&S Personnel (if
                            applicable) and Whiting-Turner Superintendent.
                     4.4.8. Shall be responsible for the contractor/subcontractor accident/incident reporting
                            requirements.
                     4.4.9. Shall investigate any accident/incident involving their employee and submit
                            accident/incident investigation reports to Whiting-Turner Safety Department within 24
                            hours.
                     4.4.10. Shall ensure that workers under his/her command have the adequate training and
                             knowledge to complete the task at hand.


            4.5.     Project Employee
                     4.5.1. Shall attend the project safety orientation and complete the orientation acknowledgement
                            form prior to beginning work on this project.
                     4.5.2. Shall perform their work in a safe manner for prevention of harm to themselves, fellow
                            workers, the general public, and to prevent property damage of all concerned.
                     4.5.3. Shall attend weekly Tool-Box Talks.
                     4.5.4. Shall alert their foreman of hazards and unsafe acts.
                     4.5.5. Shall notify their foreman immediately of any accident/incident.

                                                                                                             7'Page
                                                               C:) Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 127 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 145
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25               PageID.154          Page 147
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                     4.5.6. Shall comply with           their company's safety program, Whiting-Turner's
                            Contractor/Subcontractor EH&S Manual, this Site-Specific Safety Plan, and all applicable
                            Federal, State, and Local Codes and Regulations.


    5.      Responsibilities and Lines of Authority
            5.1.     Identification and Accountability of Personnel:
                     The Whiting-Turner Contracting Company does not intend to insert itself in the employer-
                     employee relationship. Therefore, each employer on Whiting-Turner's project will be accountable
                     for monitoring compliance and enforcing the policies and procedures as set forth in this Site-
                     Specific Safety Plan, and all applicable contractual documents, for their respective employees. If
                     compelled and to uphold the commitment to safety excellence, Whiting-Turner will engage any
                     worker or tradesperson (and their direct supervisor) who has left an unsafe condition or who has
                     been observed committing an unsafe act.
            5.2.     Lines of Authority:
                     The following personnel shall have the authority to intervene and suspend work in the interest of
                     safety policy compliance:
                     5.2.1. ALL Project Personnel and Vendors
                     Note: thatfollowing a safety work stoppage, the responsible contractor/subcontractor and the
                     Whiting-Turner project team shall be notified immediately. Whiting-Turner will facilitate the
                     prompt corrective action of the unsafe act or condition with the responsible
                     contractor/subcontractor . After satisfactory correction of the unsafe act or condition, the
                     Whiting-Turner project team will authorize work to resume.
            5.3.     List of Emergency Phone Numbers and Points of Contact:
                     Whiting-Turner Site EH&S Personnel: Paul Perry; Shane Willingham; II Sellner
                     Cell:                                    (619) 571-0367;(858) 210-2074;(619)964-3157
                     Project Superintendent: Paul Perry
                     Cell:(619) 571-0367
                     Project Manager: JJ Sellner
                     Cell: (619)964-3157
                     Area EH&S Manager: Rick Jackson
                     Cell:(858)583-9467
                     Vice President: Art Rodriguez
                     Cell:(949)254-2422



                                                                                                            Wage
                                                                  Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 128 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 146
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                 PageID.155        Page 148
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



    6.      Subcontractors and Suppliers

            6.1.     Identification of contractor/subcontractor s and Suppliers:
                     6.1.1. A list of contractor/subcontractor s and suppliers by name, discipline, contact name, and
                            telephone number shall be available at the project office for review.

            6.2.     Means for Controlling and Coordinating contractor/subcontractors and Suppliers:
                     6.2.1. A copy of the Site-Specific Safety Plan will be made available to all
                            contractor/subcontractors at the Project Site and are required to comply with the
                            requirements as set forth therein.
                     6.2.2. All contractor/subcontractor s and vendors, shall be required to comply with the policies
                            and procedures indicated within this Site-Specific Safety Plan as well as the policies and
                            procedures contained within the following publications:
                             6.2.2.1.         Occupational Safety & Health Standards for the Construction Industry
                                             (CFR)29 Part 1926
                             6.2.2.2.         Occupational Safety Standards for General Industry CFR 29 Part 1910,
                             6.2.2.3.         The Whiting-Turner Contracting Company EH&S Manual
                             6.2.2.4.         Contractor/Subcontractor EH&S Manual
            6.3.     Safety Responsibilities of contractor/subcontractor s and Suppliers:
                     6.3.1. Subcontractors are required, upon execution of subcontract, to comply will all safety
                            policies and procedures in effect on the job site.
                     6.3.2. All contractor/subcontractor s shall be responsible for providing all necessary safety
                            equipment, training, and shall assure a drug-free work force for their personnel. The
                            responsible contractor/subcontractor    shall ensure that all safety information is
                            communicated to workers in a language they understand. contractor/subcontractor s must
                            provide someone to translate for employee's who are not fluent in English.
                     6.3.3. Each contractor/subcontractor with personnel on the job site shall be required to attend
                            each job site safety meeting conducted by The Whiting-Turner Contracting Company's
                            Site Safety Manager. contractor/subcontractor s are required to hold their own individual
                            safety meetings weekly and provide a copy of the meeting to The Whiting-Turner
                            Contracting Company.
                     6.3.4. Each contractor/subcontractor shall be required to have a person trained in CPR and First
                            Aid on site during contractor/subcontractor -construction activity.
                     6.3.5. Each contractor/subcontractor to maintain first aid kits on the job site.
                     6.3.6. Subcontractors are required to develop the Activity Hazard Analysis (AHA) for their
                            definable feature of work, per the AHA Form and as outlined in paragraph 3.4.


                                                                                                           91 P age
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 129 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 147
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                 PageID.156          Page 149
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A930-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



            6.4.     Pre-Construction Submittals
                     6.4.1. Contractor/subcontractor must identify and submit the qualifications of a safety
                            representative/competent person to Whiting-Turner as the primary, on-site contact for
                            safety related issues.
                             6.4.1.1.         The safety representative may be a supervisor and they shall have as a
                                              minimum,the OSHA 30-hour Outreach Training Program for Construction.
                             6.4.1.2.         The contractor/subcontractor will provide a first aid/CPR/AED trained
                                              competent person when one or more of the contractor's/subcontractor's
                                              employees are working
                     6.4.2. Contractor/subcontractor must submit a completed prequalification form and respond in
                            writing to Whiting-Turner's requests for additional information/explanation.
                     6.4.3. A site-specific safety plan (SSSP) shall be developed for the project by each
                            contractor/subcontractor. The plan should address hazards and mitigation strategies related
                            to the scope of work for the project. Activity Hazard Analysis(AHA)for major phases of
                            work, submitted with the company safety program may be accepted in lieu of SSSP — at
                            the discretion of the Whiting-Turner project team.
                     6.4.4. Site-specific Safety Data Sheets(SDS) are required to be submitted prior to bringing any
                            chemical product on site. A current chemical inventory is to be maintained with Whiting-
                            Turner.
                     6.4.5. An Activity Hazard Analysis(AHA)shall be submitted ten days prior to the start of work.
                     6.4.6. A competent person's acknowledgement form must be completed, and their qualifications
                            submitted for activities where OSHA requires a competent person.
            6.5.     Safety Management
                     6.5.1. All on site personnel, (contractor/subcontractors, tiered contractors/subcontractors, and
                            their employees) are required to participate in a mandatory safety orientation session prior
                            to commencing with any work on site. Contractor/subcontractor shall provide a translator
                            for any non-English speaking employees during orientation and any job wide
                            meetings/stand-downs. Employees may be asked to attend orientation again for repeat
                            violations or deficiencies.
                     6.5.2. Each contractor/subcontractor is required to designate a site safety representative (SSR).
                            SSR shall be on site at all times and shall have the knowledge and authority of the
                            competent person. SSR shall be able to conduct site walks with Whiting-Turner personnel
                            to ensure the safety of contractor's/subcontractor's workers on the project. Manpower
                            totals below include all tiered contractor/subcontractor employees. Proof of training must
                            be submitted prior to mobilization or at orientation. The qualifications for the SSR are as
                            follows:
                             6.5.2.1.         Minimum requirement proof of OSHA 30 hour submitted


                                                                                                            10'Page
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 130 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 148
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                  PageID.157          Page 150
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                             6.5.2.2.         Contractors/subcontractors with (30) or more workers on site will be
                                              evaluated by the Whiting-Turner's management team along with Whiting-
                                              Turner's EH&S Manager regarding the contractor's/subcontractor's site-
                                              specific safety performance. If the contractor's/subcontractor's past or
                                              current site safety performance indicates improved safe work practices and
                                              conditions are needed to help ensure the safety of the
                                              contractor/subcontractor crews and others, Whiting-Turner at its discretion,
                                              may require the contractor/subcontractor to provide a fulltime Site Safety
                                              Representative to be present onsite with no other collateral duties.
                     6.5.3. The contractor's/subcontractor's supervisor(s) and safety representative must make
                            frequent and regular inspections of their work areas and activities.
                             6.5.3.1.         Hazards identified that are under their control must be corrected
                                              immediately and all other identified hazards must be reported to the
                                              Whiting-Turner superintendent.
                             6.5.3.2.         One documented inspection shall be conducted each week.
                     6.5.4. The contractor's/subcontractor's on-site supervisor and the contractor's/subcontractor's
                            designated on-site safety representative must schedule and attend a pre-construction safety
                            meeting with the Whiting-Turner Superintendent to discuss the contractor/subcontractor
                            safety requirements.
                             6.5.4.1.         The pre-construction safety meeting should take place at least five (5)
                                              working days before startup to allow for review of required documentation.
                     6.5.5. The contractor/subcontractor shall provide a translator whenever there are non-English
                            speaking tradespersons on site.
                     6.5.6. Contractor/subcontractors, who in turn contract out parts of their work, have sole
                            responsibility to see that their lower tier contractors comply with project safety
                            requirements. Additionally, Whiting-Turner's Project Manager and/or Whiting-Turner's
                            Superintendent shall be notified that the lower tier contractors are arriving at least five (5)
                            days before work starts. The Contractor/subcontractors will be held directly accountable
                            for all lower tier contractors. Contractors/subcontractors must provide a competent person
                            onsite fulltime to oversee and direct lower tier contractors' while actively performing work.
                     6.5.7. The contractor/subcontractor 's superintendent(s) and/or designated safety representative
                            must attend the weekly coordination meeting where safety issues will be addressed.
                     6.5.8. Emergencies shall be handled through the Whiting-Turner Field Office according to the
                            posted Emergency Action Plan
                     6.5.9. All work-related injuries, regardless of severity, must be reported to Whiting-Turner
                            immediately. An accident/incident investigation report must be completed by the
                            appropriate contractor/subcontractor supervisor and submitted to Whiting-Turner within
                            24 hours of the accident/incident. Further, all work-related injuries will be recorded on an


                                                                                                              1 1 IPage
                                                               C:) Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 131 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 149
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25               PageID.158         Page 151
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER.SITE SPECIFIC SAFETY PLAN



                             injury log. A completed injury log will be submitted to Whiting-Turner by the 5th of the
                             month for the previous month.
                     6.5.10. Accident/incidents involving the public, regardless of severity, must be reported to
                             Whiting-Turner immediately. An accident/incident investigation report must be completed
                             by the appropriate contractor/subcontractor supervisor and submitted to Whiting-Turner
                             within 24 hours of the accident/incident.
                     6.5.11. Only communication radios are permitted on Whiting-Turner projects.




                                                                                                         12. 1Page
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 132 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 150
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                       PageID.159        Page 152
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHIT1NG-TURNER SITE SPECIFIC SAFETY PLAN



    7.      Training and Project Meetings
            7.1.     Safety Indoctrination Training Subjects:
                     7.1.1. The following must be presented to all Whiting-Turner                           employees    and
                            contractor/subcontractor employees prior to beginning work:
                             7.1.1.1.         The Whiting-Turner               safety   orientation   and   the   orientation
                                              acknowledgement form
                             7.1.1.2.         Expectations for controlling water & moisture on the project
                             7.1.1.3.         Hazard communication information specific to the project
                             7.1.1.4.         Project specific emergency action plan
                             7.1.1.5.         Safety programs specific to the project(AHA's,PTP's, PPE)
                             7.1.1.6.         Other specific safety related information about the project
                     7.1.2. Hazard Communication Program:
                             7.1.2.1.         Written HAZCOM programs, Chemical Inventory Lists and SDS's shall be
                                              kept in the Whiting-Turner site office for all hazardous chemicals
                             7.1.2.2.         All containers shall be labeled in accordance with the Globally Harmonized
                                              System for Hazard Communication
                             7.1.2.3.         Each employee must be trained in the recognition and avoidance of hazards
                                              when asked to work with any chemical
                     7.1.3. Emergency Procedures:
                             7.1.3.1.         Supervisor shall be notified immediately of any injury, illness, or
                                              accident/incident; they will notify Whiting-Turner.
                              7.1.3.2.        Injuries must be treated by a person who holds a valid first aid certification.
                                              Call designated emergency numbers for assistance. Report all injuries
                                              regardless of severity.
                              7.1.3.3.        Emergency contact numbers and maps to the nearest hospital are to be
                                              posted at entrances to trailers/field offices.
                              7.1.3.4.        A job wide first-aid kit must be on-site and easily accessible; all medications
                                              must be removed. Each contractor/subcontractor is also responsible for
                                              providing a first aid kit.
         7.2. Mandatory Meetings
                     7.2.1. In the interest of eliminating job safety risks and heightening awareness of project safety,
                            job wide safety meetings shall be conducted every month while work on the job site is in
                            progress. Safety meetings shall be conducted based on the following format:
                              7.2.1.1.        A review of past unsafe conditions, accident/incidents, or activities.

                                                                                                                  13 IPage
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 133 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 151
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                 PageID.160          Page 153
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN:



                             7.2.1.2.         Review of pertinent aspects of the applicable Activity Hazard Analysis.
                             7.2.1.3.         Review of safe working procedures and safety training.
                             7.2.1.4.         Review of accident/incident and emergency procedures.
                     7.2.2. Supervisory safety meetings shall be conducted to discuss all applicable activity hazard
                            analyses and all project safety concerns. These meetings shall be held weekly.
                     7.2.3. Safety task force meetings build camaraderie and cohesion among different tradespersons
                            and build a system of accountability. The task force shall consist of one representative
                            from each contractor/subcontractor. The functionality and effectiveness of this task force
                            is maximized by conducting a joint safety survey of the site. The task force members may
                            determine the focus of these meetings based on . These meetings shall take place on a
                            biweekly basis.
                     7.2.4. Quarterly Safety Focus - All projects and offices shall participate in the Quarterly Safety
                            Focus meetings; these meetings will take place at 11:30am local time in February, May,
                            August, and November
            7.3.     Additional Training and Certification
                     7.3.1. Additional safety training may be conducted under the direction of the Whiting-Turner
                            team and in cooperation with supervisory, contractor/subcontractor , vendor personnel.




                                                                                                             14IPagc
                                                                  Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 134 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 152
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25               PageID.161          Page 154
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN.'



    8.      Safety Inspections
            8.1.     The Whiting-Turner Superintendent will conduct and document a weekly safety inspection. The
                     inspections shall focus on, but are not limited to the following:
                     8.1.1. Compliance with the site-specific safety plan, the Whiting-Turner EH&S Manuals and
                            provisions set forth by OSHA.
                     8.1.2. Safe delivery and storage of project materials.
                     8.1.3. Ensure daily inspections and follow up the project foreman.
                     8.1.4. Proper maintenance of project equipment and tools
            8.2.     The Whiting-Turner Project Manager will perform and document a monthly safety inspection with
                     the Whiting-Turner or contractor/subcontractor superintendent.
            8.3.     Items found to be deficient shall be corrected or abated immediately or the area of work affected
                     by the deficiency shall be cordoned off to prevent personnel access until corrective action can be
                     taken. The responsible contractor/subcontractor shall confirm the safety deficiency is corrected
                     or abated. The Whiting-Turner team shall exercise authority as outlined to expedite safety-
                     deficiency corrective action and/or abatement.
            8.4.     Hole and Perimeter Protection Safety Inspections - All Whiting-Turner field management
                     employees who are routinely in the field are required to attend the safety inspection and fall
                     protection inspection training and are required to perform compliance surveys. The 2-a-day floor
                     hole and perimeter protection compliance survey's may be conducted twice a day by any trained
                     Whiting-Turner team member.
            8.5.     In addition to the inspections conducted by the contractor/subcontractor s and the Whiting-Turner
                     project team, the Whiting-Turner Area EH&S Manager will perform a minimum of one site
                     specific safety survey each month.




                                                                                                           151 P a ge
                                                               C)Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 135 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 153
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                  PageID.162           Page 155
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



    9.      Safety Goals,Incentives, Compliance and Accountability
            9.1.     Safety Goals and Objectives:
                     9.1.1.     It is the Contractor's responsibility to provide a place of employment free from
                                recognized hazards that could cause death or serious physical injury to personnel
                                working at the job site.
            9.2.     Safety Incentives:
                     9.2.1.     Whiting-Turner shall continue its current safety-incentive program to award its
                                personnel for reaching milestone dates for days-without-lost-time accident/incident.
                                Milestone dates shall be determined by the Site Safety Manager taking into consideration
                                the magnitude and scope of the project and personnel safety moral levels.
            9.3.     Safety Non-Compliance Procedure:
                     9.3.1.     Any and all violations of the procedures or practices stipulated or intended from this
                                Site-Specific Safety Plan shall be directed to project supervisory personnel immediately.
                                Employees shall be encouraged to report close calls, unsafe conditions, and unsafe acts
                                to project management without consequence.
                     9.3.2.     Personnel that are determined to be responsible and negligent for violating safety policies
                                shall be issued a "Written Warning" form, with a copy becoming part of their personnel
                                file. Employee(s) shall also be instructed in the proper procedures for the applicable
                                task(s). In the event, personnel are employed by contractor/subcontractor s, suppliers, or
                                the owner; all violation forms shall be sent to their respective supervisory personnel.
                     9.3.3.     Upon the second violation of any safety guideline, the involved personnel, including
                                second tier contractor/subcontractor s, suppliers, or project owner representatives shall,
                                at the discretion of The Whiting-Turner Contracting Company, be removed from the job
                                site for an indeterminate time period and up to termination. In addition, the
                                contractor/subcontractor may be subject to a fine for non-compliance.
             9.4.    Accountability:
                     9.4.1.     Project Managers and Safety Personnel shall be accountable to ensure provisions for a
                                place of employment free from recognized hazards that could cause death or serious
                                physical injury to personnel. Project Managers and Safety Personnel must ensure total
                                compliance by all project personnel and second tier groups ofthe policies and procedures
                                as set forth in the Site-Specific Safety Plan.




                                                                                                               16 lPagc
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 136 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 154
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                  PageID.163         Page 156
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



    10.     Accident/Incident Reporting
            10.1. Exposure Data:
                     10.1.1. The Whiting-Turner Superintendent shall maintain man-hour exposure data. Data for both
                               Whiting-Turner employees and contractor/subcontractor employees shall be recorded
                               and shall reflect the actual man-hours worked on the project.
            10.2. Accident/Incident Investigations, Reports, and Logs:
                     10.2.1.    All accidents/incidents, injuries, near-miss accidents/incidents, unsafe conditions, and
                                unsafe acts that occur shall be reported immediately to project supervisory personnel.
                                No supervisor may decline to accept an accident/incident, injury, near-miss
                                accident/incident, unsafe condition, or unsafe act report.
                     10.2.2.    Investigations should be conducted as soon as possible after the occurrence to ensure the
                                most accurate information is being captured. In addition, a prompt investigation reflects
                                and promotes Whiting-Turner's culture of safety excellence.
                     10.2.3.    The Superintendent and/or site supervision should investigate and provide a written
                                report of all accident/incidents to the Claims Manager.
                     10.2.4.    In the case of serious accident/incident, the Claims Manager and Area EH&S Manager
                                should be called to assist in the accident/incident investigation and provide guidance
                                with the documentation.
                     10.2.5.    Identify witnesses. Record their names, contact information and employers. Interview
                                witnesses in private regarding accident/incident description and cause. Ask them to sign
                                a statement of description and cause.
                     10.2.6.    The goal is to ask questions and record information. Ask the six probing questions to
                                obtain detailed information to gain insight into the accident/incident:
                                10.2.6.1.       The "who" question provides information about those involved
                                10.2.6.2.       The "what" question leads into actions, events, and physical objects
                                10.2.6.3.       The "where" question may help with the determination what caused the
                                                Accident/incident and discover the conditions that brought it about
                                10.2.6.4.       The "when" question will often prompt information regarding
                                                relationships between pairs of activities or events
                                10.2.6.5.       The "how" question should provide information on the interaction and
                                                relationships among the activities and events
                                10.2.6.6.       The "why" question offers clues concerning the corrective measures,
                                                since the answers will focus on unsafe acts or hazardous conditions
                     10.2.7.    If possible, if the scene has not been altered, take pictures of the scene. Include the
                                following information with the photo:


                                                                                                             17!Page
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 137 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 155
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                  PageID.164         Page 157
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                                10.2.7.1.       Date of accident/incident
                                10.2.7.2.       Brief description of accident/incident
                                10.2.7.3.       Location
                                10.2.7.4.       Name and number of the person who took the photo
                                10.2.7.5.       Retain any evidence related to the accident/incident
                                10.2.7.6.       Draw diagrams, mark up drawings
                                10.2.7.7.       Obtain copies of reports from others (police, fire department,
                                                contractors/subcontractors, doctors, etc.).
             10.3. Reporting Procedures:
                     10.3.1.    Contractor/subcontractor employees must immediately report all accident/incidents to
                                their company's supervisory personnel.
                     10.3.2.    The contractor/subcontractor employee's supervisor has the responsibility to
                                immediately report all accident/incidents to the Whiting-Turner Superintendent or
                                designee. The supervisor, in consultation with the injured or reporting employee,
                                completes the contractor's/subcontractor's written investigation report and submits it to
                                the Whiting-Turner Superintendent or designee within twenty-four (24) hours of the
                                accident/incident.
                     10.3.3.    All injuries or accident/incidents regardless of how small must be reported immediately
                                to the foreman or Superintendent on the jobs and treated at once.
             10.4. Correction Procedures:
                     10.4.1.    Place additional warning signs, barricades, warnings lights, if needed as indicated, and
                                illumination, etc.
                     10.4.2.    Determine cause or causes. Often accident/incidents occur as a result of a combination of
                                unsafe conditions and unsafe acts.
                     10.4.3.    Correct unsafe physical conditions or equipment deficiencies immediately after the
                                investigation. Check other equipment to make sure it does not have similar defects.
                     10.4.4.    Make improvements in maintenance and inspection procedures or provide means for better
                                enforcement of existing procedures.
                     10.4.5.    Review indoctrination, tool box meetings and on job instruction to see if more
                                educational material should be added or improvements can be made in presenting it.
                     10.4.6.    Prepare a detailed report on the findings and corrective measure to be taken.
                     10.4.7.    Institute any follow up procedures required, with target dates, to ensure compliance with
                                changes made.
             10.5. Accident/Incident Review Process:
                      10.5.1.   The Whiting-Turner Superintendent or designee will schedule an accident/incident
                                review meeting within three (3) days of the accident/incident. At a minimum, the

                                                                                                             18 IPagc
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 138 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 156
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25              PageID.165          Page 158
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                                contractor/subcontractor employee's supervision, the Whiting-Turner Project Manager
                                and Area EH&S Manager should be invited.


                     10.5.2.    The Whiting-Turner Superintendent or designee is then responsible for documenting a
                                summary of the meeting, reviewing it with an Area EH&S Manager, and distributing it
                                to all contractors/subcontractors and Whiting-Turner project team to prevent further
                                occurrences. The names of the individuals involved shall be kept out to protect their
                                privacy.




                                                                                                          19IPage
                                                                  Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 139 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 157
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                   PageID.166           Page 159
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



    11.     Medical Support
            11.1. Prior to the start of work, the Whiting-Turner project team shall post the nearest medical support
                     facilities in the job bulletin as provided by Travelers. The medical support facilities closest to the
                     project site are listed below:
                     Hospital: UCSD Medical Center, Hillcrest
                     Address: 200 West Arbor Drive, San Diego, California 92103
                     Telephone Number:(619)543-6222 [Emergency Number]


                     Hospital: Scripps Mercy Hospital San Diego
                     Address: 4077 Fifth Ave, San Diego, California 92103
                     Telephone Number:(619)294-8111


                     Urgent Care: Concentra Urgent Care
                     Address: 5333 Mission Center Road Suite 100, San Diego, California 92108
                     Telephone Number:(619)295-3355


            11.2. An emergency response bulletin board shall be conspicuously posted on the job site identifying
                  medical support facilities, poison control center contacts, fire response, hot work permit contact,
                  ambulance, and the emergency action plan. In addition, the emergency response bulletin board
                  shall show a project location map with primary medical support facilities identified. This map shall
                  also identify where personnel are to meet incoming emergency response teams and direct them to
                  the accident/incident scene as necessary. Other State and Federal Employee Notices will be
                  conspicuously posted along with the other data required by the emergency response bulletin board.
            11.3. The project safety orientation shall include a segment where the emergency action plan shall be
                  explained in detail. Additional refresher training shall be conducted frequently by Whiting-Turner
                  and contractor/subcontractor s supervisory personnel for their respective employees.
            11.4. No less than one first aid and CPR trained personnel certified to render aid in the event of an injury
                  shall be provided on the job site at all times. Copies of current personnel first aid and CPR
                  certificates shall be retained on file by The Whiting-Turner Contracting Company.
             11.5. The job site office shall be equipped with a large capacity first aid kit and shall be placed in a
                   conspicuous location..




                                                                                                              20 I P a ge
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 140 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 158
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                     PageID.167           Page 160
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN -



    12.     General Public Safety
            12.1. All visitors,salesman,delivery persons, vendors,etc. must report to the Whiting-Turner field
                  office to obtain permission to enter.
                     12.1.1.    Client's contractor/subcontractor s and vendors are visitors to our site and must complete
                                a waiver/release form.
                     12.1.2.    The aforementioned shall not be granted access to the site without signing a
                                waiver/release form, obtaining a visitor's badge (if applicable), and wearing proper
                                personal protective equipment.
                     12.1.3.    In addition, Whiting-Turner requires visitors to be escorted at all times during their visit.

            12.2. Prominent project signage shall be placed at the perimeter fencing that outlines the proper
                  entrances and exits, visitor check in policy to gain site access and the proper protection gear
                  that is required.

            12.3. Site Security:

                     12.3.1.    A high, strong, and rigid post driven fence with scrim [opaque screen or fabric, black
                                visqueen screening] will be installed around the perimeter of the project. In cases where
                                fence installation is infeasible, a plan for site security shall be drafted and made available
                                for review by an Area EH&S Manager.
                                12.3.1.1.       If the fence is constructed near walkways, roadways, etc. where
                                                pedestrians will pass, the potential passage of material through the
                                                construction side to the pedestrian side must be controlled.
                                12.3.1.2.   Care must be taken to secure fence from blowing over in high winds—
                                            also consider scrim ventilation methods. The fence must be secured per
                                            Whiting-Turner's project fencing procedures.
                             12.3.1.3.      The perimeter fences will not have openings greater than 4" between
                                            vertical supports.
                             12.3.1.4.      This 4" requirement will also include the gap between the bottom of the
                                            fence and the ground to ensure perimeter security.
                             12.3.1.5.      Barbed wire shall not be used.
                     12.3.2. Construction gates — Construction gates will be kept closed; to the greatest extent
                             possible and the gates are to be locked after normal working hours.
                     12.3.3. Whiting-Turner and all contractors/subcontractors are to remove keys from all vehicles,
                             lifts, equipment, and machinery at the end of the work day and ensure machinery is
                             effectively locked out.
                     12.3.4. A Whiting-Turner staff person shall walk the site at the end of the day. Whiting-Turner
                             staff person shall verify gates are closed, no gaps are in the fence, machines are turned


                                                                                                                 21 'Page
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 141 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 159
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                 PageID.168          Page 161
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                                off and keys removed,no running water, all contractor/subcontractor personnel, vendors,
                                and visitors have left the jobsite, etc.


            12.4. Trenches (Excavations) in Walkways and Roadbeds:
          Pedestrians tripping or falling in temporarily closed trenches or excavations are a constant liability concern.
                   The following precautions shall be considered:

                     12.4.1.    If the trench or excavation is in an area open to the public, then adequate warning signs
                                and barricades must be installed, such as fencing or wood guardrails.
                     12.4.2.    Temporary trench covering for two or less weeks should be backfilled with material that
                                can be tamped securely. Any movement in the material is to be noted and stabilized
                                immediately.
                     12.4.3.    Temporary trench covering for two weeks or more should be concrete or macadam top.
                                Steel dock plates may be used in lieu of concrete and macadam.
                     12.4.4.    Steel plates over the trench excavation may be the most economical method for short or
                                long durations for temporary trench covering. Be sure to adjust the plates and provide a
                                smooth transition with asphalt or concrete to minimize the tripping hazard potential.




                                                                                                             22 iPagc
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 142 of 174




                                               NOTICE OF REMOVAL EXHIBIT 1 p. 160
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25              PageID.169          Page 162
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



    13.     General Site Prohibitions
             Thefollowing are prohibited on all Whiting-Turner Projects:
            13.1. The use of the following administrative controls as a means of fall protection
                     1 3.1.1.   Controlled Access Zone as a means of fall protection
                     13.1.2.    Controlled Decking Zone as a means of fall protection
                     13.1.3.    Safety Monitor System as a means of fall protection
            13.2. The use of load handling equipment to hoist personnel—please see the Manual for exceptions and
                  provisions
            13.3. Working from the midrail or top rail of any lift
            13.4. The use of cell phones for signaling of cranes and equipment
            13.5. The use of open hooks during lifting operations/picks.
            13.6. Fish tapes or lines made of metal or any other conductive material when potential for contact with
                  energized circuits exists
            13.7. The use of particle board, medium density fiber board (MDF) or similar material as floor hole
                  covers
            13.8. The use of open turnbuckles as part of the perimeter cable system
             13.9. Other construction processes below steel erection are prohibited unless overhead protection for the
                   employees below is provided
             13.10. Harassment of any kind, to any person
             13.11. Smoking or use of vaporized equipment (except in designated areas)
             13.12. Radios, media players, headphones, or other listening devices
             13.13. Guns or weapons of any kind
             13.14. Use or possession of alcohol or drugs of any kind (except for prescription drugs)
             13.15. Riding on equipment that is not equipped with proper seating and seat belt
             13.16. Open fires, fire barrels, or hot boxes
             13.17. The use of metal ladders




                                                                                                          23IPage
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 143 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 161
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                   PageID.170          Page 163
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



    14.     Safe Work Practices, Programs, and Procedures

            14.1. Carbon Monoxide Exposure Prevention
                     14.1.1.    In enclosed or poorly ventilated spaces tools and equipment shall be powered by
                                electricity, batteries, or compressed air.
                     14.1.2.    All fuel driven equipment being used indoors or in partially enclosed spaces must have
                                scrubbers where carbon monoxide exposure exists.
                     14.1.3.    When using gasoline powered generators and compressors, place them outside away
                                from air intakes to ensure that the exhaust is not being drawn back indoors.

            14.2. Concrete and Masonry

                     14.2.1.    Each contractor/subcontractor, with employees exposed to a fall 6' or greater to a lower
                                level must ensure that effective fall protection measures and rescue procedures are
                                addressed in their company Activity Hazard Analysis prior to beginning work on site.
                                This is to include the name and qualifications of the designated competent person.
                     14.2.2.    General requirements:
                                14.2.2.1.       Rebar caps shall be used on all reinforcing steel that personnel could fall
                                                upon or become impaled in any way.
                                14.2.2.2.       N.o personnel shall be permitted to work under concrete buckets while
                                                buckets are being elevated, moved laterally, or lowered into position.
                                14.2.2.3.       No personnel shall be permitted to place concrete through a pneumatic
                                                hose unless the personnel are wearing protective hand and face
                                                equipment.
                                14.2.2.4.       No personnel shall be permitted to tie reinforcing steel more than 6 feet
                                                above an adjacent surface without the use of satisfactory fall protection
                                                and/or fall restraints.
                     14.2.3.    Equipment and tool requirements:
                                14.2.3.1.       Powered and rotating type concrete troweling machines that are manually
                                                guided shall be equipped with a control switch that shall automatically
                                                shut off the power whenever the hands of the operator are removed from
                                                the equipment handles.
                                14.2.3.2.       Masonry saws shall be guarded with a semicircular enclosure over the
                                                blade.
                                14.2.3.3.       All equipment that is to receive maintenance or repair shall be properly
                                                locked-out to prevent the inadvertent operation of equipment during such
                                                sessions.

                                                                                                               24IPage
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 144 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 162
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                   PageID.171           Page 164
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                     14.2.4.    Cast-in-place concrete requirements:
                                14.2.4.1.       Formwork shall be designed, fabricated, erected, supported, braced, and
                                                maintained so that it shall be capable of supporting without failure all
                                                vertical and lateral loads that may reasonably be anticipated to be applied
                                                to the Formwork.
                                14.2.4.2.       All base plates, shore heads, extension devices, and adjustment screws
                                                shall be in firm contact, and secured when necessary, with the foundation
                                                and the form.
                                14.2.4.3.       Jacks and vertical supports shall be positioned in such a manner that the
                                                loads do not exceed the rated capacity of the jacks.
                                14.2.4.4.       Reinforcing steel for walls, piers, columns, and similar vertical structures
                                                shall be adequately supported to prevent over turning and to prevent
                                                collapse.
                                14.2.4.5.       Unrolled wire mesh shall be prevented from recoiling.
                                14.2.4.6.       Forms and shores shall not be removed until the concrete has gained
                                                sufficient strength to support its weight and superimposed loads.
                     14.2.5.    Pump Truck requirements:

                                14.2.5.1.      Equipment must be fully inspected and in good running condition per the
                                               manufacturer before it is allowed on the project. Any equipment not
                                               meeting the manufacturers' specifications for safe operations will be
                                               turned away or removed from the project.
                                14.2.5.2.      Daily checklist all equipment must be maintained by the contractor.
                                14.2.5.3.      Operator's certification shall be submitted prior to commencement of the
                                               operation
                                14.2.5.4.      Adequate ground conditions shall be provided for the pump truck
                                14.2.5.5.      Flaggers shall be used when backing up trucks to the pump
                                14.2.5.6.      Back-up alarms are required
                                14.2.5.7.      When operating on outriggers:
                                                14.2.5.7.1. Outriggers must be fully extended
                                                14.2.5.7.2. Outriggers pads must have solid bearing
                                                14.2.5.7.3. Outrigger pads must be level
                                                14.2.5.7.4. Outrigger pads must be pinned
                                                14.2.5.7.5. Full coverage of outrigger pad sized per load
                                                14.2.5.7.6. Front outrigger pads must be provided coverage even if load
                                                             is not swinging in the front
                                      14.2.5.7.7.     Support under outrigger pads must be solid
                                                14.2.5.7.8. All tires must be off of the ground or per manufactures
                                                             recommendations
                                      14.2.5.7.9.     Maintain minimum 20' from power lines

                                                                                                               25 IPagc
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 145 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 163
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                    PageID.172           Page 165
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                                      14.2.5.7.10. Must be setup on stable, level ground
                                14.2.5.8.      Mixing stations must have proper guardrails and work platforms. Steps
                                               may not be created from concrete blocks.

            14.3. Confined Space Entry

                     14.3.1.    It is Whiting-Turner's position that all confined spaces are permit required until proven
                                otherwise [in writing] by the contractor/subcontractor's competent person.
                     14.3.2.    All confined spaces, regardless of classification, shall have continuous multi-gas/4-gas
                                air monitoring while the space is occupied by tradespersons.

            14.4. Contingency Plan for Severe Weather:

                     14.4.1.    Whiting-Turner and its contractor/subcontractor s shall be responsible for regular
                                monitoring of job site weather conditions in an effort to avoid hazardous conditions
                                caused by severe weather. In the event of severe weather conditions procedures shall be
                                done in a timely manner to reduce job-site danger. Based upon the type of weather
                                condition the proper methods may include but are not limited to the following:
                                14.4.1.1.       Notification to personnel, in transit or prior to, of hazardous job site
                                                conditions.
                                14.4.1.2. .     Securing of all equipment and materials in place or stored on the job site.
                                14.4.1.3.       Immediate evacuation ofjob site
                                14.4.1.4.       Utilization of hazardous condition protection facilities as required. (i.e.
                                                shelters)
            14.5. Cranes and Derricks

                     14.5.1.    Personnel hoisting requirements - The use of load handling equipment to hoist personnel
                                is prohibited unless the employer can demonstrate that other methods would be more
                                hazardous and is able to comply with the personnel hoisting requirements that are
                                established in the standard.
                     14.5.2.    Hoisting personnel on Whiting-Turner projects shall be considered a critical lift or
                                activity, and therefore shall meet all requirements of a critical lift before the lift may
                                begin.
                     14.5.3.    A crane checklist must be completed prior to each initial lift.
                     14.5.4.    Post Assembly — a post assembly inspection is required for all Crawlers and Tower
                                Cranes by a person properly trained and qualified to inspect such equipment.
                     14.5.5.    Boom-tip anemometer or equivalent device is required.
                     14.5.6.    All loads to be lifted at Whiting-Turner project sites shall have a tag line attached.


                                                                                                               26 Page
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 146 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 164
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                     PageID.173          Page 166
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                     14.5.7.    The competent person shall determine the size, rope materials, and length of the tag line.
                     14.5.8.    The line shall be attached in a way that maintains control of the load to reduce the risk
                                of caught-in/-between and struck-by hazards to employees and surroundings during any
                                lift.

            14.6. Critical Lifts

                     14.6.1.    The Whiting-Turner Contracting Company identifies a critical or special lift as
                                14.6.1.1.       any lift where the total weight of the load and the deductions for the
                                                equipment combined exceeds 75% of the capacity of the crane capacity
                                                chart at the specific boom length and radius of the load,
                                14.6.1.2.       any lift where there will be more than one (1) crane or piece of load
                                                handling equipment attached to the load at a time;
                                14.6.1.3.       any lift that involves the lifting of personnel;
                                14.6.1.4.       any lift where the contents of the lift are considered hazardous to health
                                                or environment, and an accidental/incidental release could result harm to
                                                either;
                                14.6.1.5.       any lift where encroachments precautions are required for power lines.

            14.7. Demolition

                     14.7.1.    Contractor/subcontractor shall verify that all local ordinances and permitting issues have
                                been addressed as they relate to demolition.
                     14.7.2.    Task lighting—which meets or exceeds the requirements of the standard—shall be
                                provided by the demolition contractor/subcontractor.
                     14.7.3.    Preparatory Operations:
                                14.7.3.1.       Service lines shall be shut off, capped, or otherwise controlled, inside the
                                                building line before demolition work is started. Following these "make
                                                safe" activities, actual selective demolition within the structure will be
                                                performed. In each case, any utility company or designated authority shall
                                                be notified in advance.
                                14.7.3.2.       Where a hazard exists from fragmentation of glass, such hazards shall be
                                                removed.
                                14.7.3.3.       Where a hazard exists to personnel falling through wall openings, the
                                                opening shall be protected to a height of42 inches.
                     14.7.4.    Entryways:


                                                                                                               27 lPage
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 147 of 114




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 165
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                   PageID.174          Page 167
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY'PLAN,



                                14.7.4.1.       During demolition, access to the structures will be controlled through
                                                specified access and egress points as outlined in the Demolition Plan, to
                                                be submitted by the demolition contractor.
                     14.7.5.    Removal of walls, masonry section, and chimneys:
                                14.7.5.1.       No wall section, which is more than one story in height, shall be permitted
                                                to stand alone without lateral bracing, unless such wall was originally
                                                designed and constructed to stand without such lateral support, and is in a
                                                condition safe enough to be self-supporting. All walls shall be left in a
                                                stable condition at the end of each shift.
                                14.7.5.2.       Structural or load-supporting members shall not be cut or removed until
                                                all live loads have been secured.
                                14.7.5.3.       Walkways or ladders shall be provided to enable personnel to safely reach
                                                or leave any scaffold or wall.
                     14.7.6.    Manual Removal of Floors:
                                14.7.6.1.       Safe walkways, not less than 18 inches wide, formed of planks not less
                                                than 2 inches thick if wood, or of equivalent strength if metal, shall be
                                                provided and used by workers when necessary to enable them to reach
                                                any point without walking upon exposed beams.
                                14.7.6.2.       When floor areas are being removed, personnel shall not be allowed in the
                                                area directly underneath, and such an area shall be barricaded to prevent
                                                access to it.
                     14.7.7.    Mechanical Demolition:
                                14.7.7.1.       No personnel shall be permitted in any area which shall be adversely
                                                affected by mechanical demolition operations. Only those workers
                                                necessary for the performance of the operations shall be present.

             14.8. Electrical Hazards Prevention

                     14.8.1.    Whiting-Turner requires that all projects are 100% GFCI compliant. An Assured
                                Equipment Grounding Conductor Program may be used in addition to—but not in lieu
                                of—the GFCI program.
                     14.8.2.    The installing contractor, i.e. the electrical contractor/subcontractor, shall test each
                                power receptacle for proper installation including polarity, grounding, etc. and forward
                                that documentation to Whiting-Turner before the circuit is used.
                     14.8.3.    The electrical contractor/subcontractor will conduct and document monthly tests after
                                the initial installation.



                                                                                                               28 P age
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 148 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 166
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                   PageID.175           Page 168
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                     14.8.4.    Only round, heavy-duty (type S, SJO, SJTW, ST, SO, STD) extension cords are
                                acceptable for use on a construction site; at least 12 gauge or larger.
                     14.8.5.    Damaged cords may only be repaired by a qualified electrician in accordance with
                                manufacturer's requirements for such repairs.
                     14.8.6.    Where feasible, all extension cords will be suspended (8') above the floor or working
                                surface.
                     14.8.7.    Extension cords shall not be fastened with staples, hung from nails, or suspended with
                                non-insulated wire.
                     14.8.8.    All temporary lighting circuits must originate from GFCI protected breakers.
                     14.8.9.    Temporary wiring must be rated for all conditions it may be subjected to and be installed
                                as per NEC, OSHA, NFPA and Authorities Having Jurisdiction requirements
            14.9. Energy Control

                     14.9.1.    Lockout/tagout (LOTO) shall not be considered for use until all other avenues of
                                attaining a "zero-energy state" have been exhausted.
                     14.9.2.    All contractor/subcontractors working with electrical systems are required to have a
                                written Lockout/tagout procedure. A competent person shall be responsible to control all
                                aspects of the LOTO procedure. They will ensure coordination with the appropriate
                                tradesmen.
                     14.9.3.    If a system can be locked out through design or by other means, this will be the preferred
                                method.
                     14.9.4.    The lockout device shall be substantial enough to prevent removal.
                     14.9.5.    The lock shall be a separately keyed lock for use only with the lockout system.
                     14.9.6.    The lockout device must be tagged with the name of the employee and their company.
                                There shall be one lock for each employee (including Whiting-Turner) exposed to the
                                system.
                     14.9.7.    The use of 100% LOTO must be maintained until the completion ofthe task. Verification
                                by all competent persons in charge ofthe LOTO shall be completed prior to re-energizing
                                the system.
                     14.9.8.    In the event an employee is discovered tampering with or violating the LOTO procedure,
                                the employee will be removed from the project indefinitely.
                     14.9.9.    A log shall be maintained on site that identifies the following:
                                14.9.9.1.       Date of usage
                                14.9.9.2.       Number of locks and tags used
                                14.9.9.3.       Contractors involved


                                                                                                              291Page
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 149 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 167
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                 PageID.176          Page 169
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                   WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                                14.9.9.4.       Time ofLOTO initiation
                                14.9.9.5.       Time of LOTO removal
                                14.9.9.6.       Designated competent persons
                                14.9.9.7.       Location of LOTO Devices
                     14.9.10. Electrical or piping & instrumentation drawings or identifying specific locations of the
                             LOTO devices shall accompany the LOTO log.


            14.10. Excavations

                     14.10.1. Prior to the commencement of excavation activities where the excavation will be greater
                              than 3 feet in depth, a pre-excavation checklist must be completed by the
                              contractor/subcontractor's competent person and submitted to Whiting-Turner upon
                              request.
                     14.10.2. Underground utility installations must be identified and marked prior to beginning any
                              excavation. To prevent unintentional contact, all necessary measures must be employed
                              to locate underground utilities prior to excavating. Acceptable methods include but are
                              not limited to the following: test pitting, ground penetrating radar(GPR), use of as-built
                              drawings and any other obtainable information.
                     14.10.3. A competent person must be identified on Whiting-Turner's competent person
                              designation form and their qualifications submitted to Whiting-Turner prior to the start
                              of work.
                     14.10.4. All excavations shall be protected by snow fence, at a minimum.
                     14.10.5. Persons walking or working adjacent to a trench with vertical/shear walls that is equal to
                              or greater than six(6)feet in depth must be protected from fall hazards unless it has been
                              determined by the competent person that it is infeasible or creates a greater hazard.
                     14.10.6. Persons crossing an excavation that is equal to or greater than six (6)feet in depth must
                              be protected from fall hazards by means of a guardrail system.


            14.11. Fall Protection and Prevention

                     14.11.1. Prior to creating a hole or opening in any elevated work surfaces,
                              contractors/subcontractors must submit an elevated surface modification permit.
                     14.11.2. Particle board, medium density fiber board(MDF)or similar material is prohibited from
                              being used as floor hole covers on Whiting-Turner projects All holes must remain
                              properly covered, secured, and labeled / signed.



                                                                                                            301 Page
                                                              © Copyright 2020
                                                   The Whiting-Turner Contracting Company
                                                             All Rights Reserved
                                                             Page 150 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 168
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                   PageID.177           Page 170
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A930-574C6FE708A3




                                                                   WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                     14.11.3. Each contractor/subcontractor, with employees exposed to a fall 6' or greater to a lower
                              level must ensure that effective fall protection measures and rescue procedures are
                              addressed in their company Activity Hazard Analysis prior to beginning work on site.
                              This is to include the name and qualifications of the designated competent person.
                     14.11.4. A Personal Fall Arrest System (PFAS) [comprised of a full body harness, double
                              lanyards, anchorage point and anchorage connector], a personal fall restraint system
                             (PFRS) [comprised of a full body harness, lanyard, anchorage point and anchorage
                              connector], a guardrail, or safety net system must be in place to protect all trade persons
                              from exposure to falls working at or above 6 feet.
                     14.11.5. Employees working on ladders must be at least one and a half times the height of the
                              ladder away from any perimeter, shaft, stairway, and opening where the fall distance
                              exceeds 6'. If that distance isn't feasible, a conventional fall protection method must be
                              employed.
                     14.11.6. Stilts are only permitted in broom swept areas, where there is no change in elevation.
                     14.11.7. Every hatchway and chute floor opening shall be guarded by a hinged floor-opening
                              cover. The opening shall be barricaded with railings to leave only one exposed side. The
                              exposed side shall be provided either with a swinging gate or so offset that a person
                              cannot walk into the opening.
                     14.11.8. An extension platform outside a wall opening onto which materials can be hoisted for
                              handling shall have a standard railing that meets handrail standards. However, one side
                              of an extension platform may have removable railings to facilitate handling materials; in
                              this instance a personal fall restraint or arrest system shall be utilized to protect the
                              exposed worker.
                     14.11.9. Perimeter cable shall not be less than 3/8" steel cable.
                     14.11.10. Corner uprights must be braced so that the required tension may be maintained.
                     14.11.11. The cable must be terminated with three U-bolt wire rope clips that maintain an
                               efficiency rating of at least 80% of the wire rope's breaking strength as proven through
                               product documentation (e.g. Crosby clips).
                     14.11.12.Perimeter cable shall not be used as part of a personal fall arrest or fall restraint system
                              unless designed to be used in that manner by a registered engineer.
                     14.11.13. The use of open turnbuckles as part of the perimeter cable system is prohibited.
                     14.11.14. All guardrail systems [with the exception of scaffold systems or where it can be proven
                              to create a greater hazard] must be equipped with orange perimeter screening or mesh to
                               prevent the ability to breach the system by climbing through rails. The installation of the
                              screening must be compliant with Whiting-Turner's orange perimeter screening
                              guidelines.
                    14.11.15. A fall restraint system must be employed when working from articulating boom lifts.


                                                                                                             31 'Page
                                                              0 Copyright 2020
                                                   The Whiting-Turner Contracting Company
                                                             All Rights Reserved
                                                             Page 151 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 169
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                PageID.178          Page 171
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                   WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                     14.11.16.A PFAS is not required when climbing up or down a ladder. Fall protection shall be
                             considered by the competent person if employees work from a ladder 6' or more above
                             a lower level and are exposed to a fall.
                     14.11.17. Steel erectors and metal decking installers must utilize 100% fall protection devices at
                               all times when working over 6'.
                     14.11.18. Horizontal lifelines must be designed by an engineer and installed under the supervision
                               of a qualified person. A safety factor of two must be maintained.
                     14.11.19. Adequate fall protection devices must be provided, installed, and used at all loading
                               platforms by the contractor/subcontractor wishing to remove existing perimeter
                               protection prior to its removal.
                     14.11.20. All anchorage points utilized in a personal fall arrest system must be capable of
                              supporting a load of no less than 5000 lbs.
                     14.11.21. Retraining documentation—to include instructor's name and qualifications, training
                               literature and sign-in sheet—must be submitted to Whiting-Turner on company
                               letterhead.

            14.12. Fire Prevention and Protection

                     14.12.1. A 20 lb. ABC dry chemical fire extinguisher or equivalent must be provided for each
                              3,000 square feet of protected building area. An extinguisher shall be placed at every
                              stairwell on each level.
                     14.12.2. Residential-like wood framing construction shall have a 20 lb. ABC dry chemical fire
                              extinguisher or equivalent for each 1,500 square feet of protected building area.
                     14.12.3. Storage of flammable/combustible liquids on or inside of buildings under construction
                              shall be no more than one-day supply.
                     14.12.4. Provide a 20-pound ABC dry chemical type extinguisher between 25'-75' from areas
                              where flammable liquids are being handled.

            14.13. Hand and Power Tools:

                     14.13.1. All power tools that are designed to accommodate guards shall have such guards attached
                              at all times of operation.
                     14.13.2. Machines designed for a fixed location shall be securely anchored to prevent walking or
                              moving.
                     14.13.3. Personnel using hand and power tools and exposed to the hazards of falling, flying,
                              abrasive, and splashing objects, or exposed to harmful dusts, fumes, mists, vapor, or
                              gases shall be supplied with proper PPE necessary to protect them from such hazards.


                                                                                                           32 IPage
                                                               CD Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 152 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 170
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                  PageID.179           Page 172
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                   WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                     14.13.4. All hand held powered sanders, grinders, etc. with wheel 2-inch diameter or less and any
                              routers, planers,jigsaws, etc. with blade shanks one-fourth of an inch wide or less may
                              be equipped with only a positive "on-off' control.
                     14.13.5. Any hand held power equipment with wheel diameters or blade shanks in excess ofthose
                              stated in 14.13.4 may be equipped with a momentary contact "on-off' switch.
                     14.13.6. All other hand-held power tools, such as circular saws, chain saws, and percussion tools
                              shall be equipped with a constant pressure switch that shall shut off the power when the
                              pressure is released.
                     14.13.7. All electrically powered hand tools shall be ground fault circuit interrupter protected—
                              double insulated tools included.
                     14.13.8. Personnel must apply the use of PPE such as but not limited to a hardhat, eye, face, and
                              hearing protection, work boots and protective gloves as required for the task(s)
                              contemplated. Long pants with shirts with long or short sleeves required.
                     14.13.9. Regular inspections of hand tools shall be performed with the removal of any hand tool
                              deemed to be hazardous by the personnel in charge of the tool and or inspection.
                     14.13.10.If personnel feel that a hand tool is of a hazardous condition, he or she shall immediately
                              remove the tool from the work area.
                     14.13.11. The use of electric cords for the purpose of hoisting or lowering shall not be permitted.
                     14.13.12. Compressed air shall not be used as a cleaning device unless reduced to 30 psi.
                     14.13.13.Powdered actuated hand tools shall be used only by trained and certified personnel.
                     14.13.14.Powder actuated tools shall not be loaded until just prior to the intended firing time.
                     14.13.15.Powder actuated tools, loaded or unloaded, shall at no time be pointed at any other
                              personnel.
                     14.13.16. Loaded powder actuated tools shall never be left unattended.
                     14.13.17.Powder actuated tools shall not be used in an explosive or flammable atmosphere.

            14.14. Hazard Communications Program:

                     14.14.1. The Whiting-Turner Contracting Company shall maintain onsite and enforce its written
                              Hazard Communication Program to provide the means necessary to transmit information
                              to personnel regarding chemical and other hazardous products to which they may be
                              exposed. Section 14.12.1.1 herewith shows The Whiting-Turner Contracting Company
                              Hazard Communication Program and is outlined as follows:
                                14.14.1.1.      List of chemicals and other hazardous products: A list of chemicals and
                                                other hazardous products used on the job site shall be maintained on the
                                                job site at all times. The list shall be updated as new chemicals and

                                                                                                            33 Page
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 153 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 171
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                      PageID.180           Page 173
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                                                hazardous products are imported to the job site not shown in the original
                                                list.
                                14.14.1.2.      Labeling: All containers of chemicals and hazardous materials shall be
                                                properly labeled or tagged. Chemicals and hazardous materials transferred
                                                to other containers must be properly labeled to indicate the product stored
                                                within.
                                14.14.1.3.      Safety Data Sheets (SDS): A binder of SDS for all chemicals and
                                                hazardous materials used on the job site shall be maintained on the job
                                                site in a conspicuous location and made available to all personnel and
                                                interested parties. The SDS books shall be updated as new chemicals and
                                                hazardous products are imported to the job site not originally included in
                                                the SDS binder.
                                14.14.1.4.      Training: All personnel shall be provided training in reading and
                                                interpreting SDS and labels. Personnel working with chemicals and/or
                                                hazardous materials shall consult the SDS and labels prior to the use of
                                                chemicals and hazardous materials.
                                14.14.1.5.      Each respective contractor/subcontractor shall be responsible for
                                                maintaining their own Hazard Communications Program, list of
                                                chemicals and hazardous products, SDS, and training. Copies shall be
                                                provided to Whiting-Turner for any site-specific issues.
            14.15. Health Hazard Controls:

                     14.15.1. Accident/Incident Prevention:
                                14.15.1.1.      It shall be the responsibility of each and every personnel to inspect his/her
                                                work area before each shift and periodically throughout the day to ensure
                                                a safe work area. If any personnel feel their area is unsafe,they shall report
                                                this to their supervisor immediately.
                                14.15.1.2.      The job site shall be inspected daily by the job-site foreman to ensure a
                                                safe working environment.
                                14.15.1.3.      All machines, tools, materials, or equipment that is deemed to be unsafe
                                                shall be locked and tagged out, as to render them inoperable, and shall be
                                                removed from the job site.
                                14.15.1.4.      Only qualified personnel shall operate equipment.
                     14.15.2. Housekeeping:
                                14.15.2.1.      All forms and/or scrap lumber with protruding nails and other hazardous
                                                debris shall be kept clear of all work areas, passageways, and stair, in and
                                                around building and construction activities.


                                                                                                                 34Ipage
                                                               C:) Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 154 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 172
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                    PageID.181          Page 174
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                                                                   WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                                14.15.2.2.      Combustible scrap and debris shall be removed at regular intervals as
                                                required.
                                14.15.2.3.      Containers for disposal of waste shall be provided by the contractor. If
                                                flammable or hazardous materials require disposal, appropriate containers
                                                will be provided. Waste shall be disposed of at frequent and regular
                                                intervals.
                     14.15.3. Means of Egress:
                                14.15.3.1.      In every occupied building or structure, exits shall be arranged so as to
                                                provide free and unobstructed egress from all areas of the building
                                                structure or construction site. No locks or fastening devices may be used
                                                if they prevent the free escape of personnel during emergency situations.
                                14.15.3.2.      Exits shall be marked by a readily visible sign in all cases where the exit
                                                or the way to reach an exit is not visible to the occupants.
                                14.15.3.3.      All exits shall be maintained and kept free from obstructions.

            14.16. Housekeeping

                     14.16.1. Clean-as-you-go practices are required.
                     14.16.2. Sort and organize material, sweep daily, and standardize activities to aid in the
                              elimination of storage of excess/unused material in active work areas
                     14.16.3. Work that may temporarily block emergency exits, safety showers, elevators, corridors,
                              and hallways will require prior Whiting-Turner approval.
                     14.16.4. Materials stored in the vicinity of the area where work is performed should be limited to
                              only those materials that will be used in the same shift.
                     14.16.5. Any material stored in a work area longer than 24 hours must be approved by Whiting-
                              Turner.
                     14.16.6. Gang boxes, toolboxes, and sea containers/conex boxes shall not have materials stored
                              on top of them.
                     14.16.7. All chemicals brought on site must be approved by Whiting-Turner.
                     14.16.8. The user of the chemical must provide Whiting-Turner an SDS prior to bringing the
                              substance on site.
                     14.16.9. Chemical/gas cylinders (welding, purging, leak detection cylinders, etc.) must be
                              secured.
                     14.16.10. All dedicated chemical storage areas must have safety data sheets(SDS)available at the
                              storage location.
            14.17. Mobile Elevated Work Platform

                                                                                                              35 Pagc
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 155 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 173
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                      PageID.182           Page 175
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                   WHITING-TURNER SITESPECIFIC.SAFETY PLAN't




                     14.17.1. Employees must keep both feet on the floor of the basket; use of guardrails to gain
                              additional height is prohibited on Whiting-Turner project sites.
                     14.17.2. Where aerial and scissor lifts are used on concrete slabs, any floor depressions or grade
                              changes are required to be barricaded to restrict travel onto that area.
                     14.17.3. The area(s) below the basket or platform of aerial lifts shall be cordoned off using
                              reinforced danger tape—or something of equivalent or greater tensile strength—and by
                              using signage to identify the overhead hazard when a potential for falling objects exists
                     14.17.4. Field modifications are not allowed on aerial lifts. Aerial lifts shall not be used to hoist,
                              raise, or position material outside of the platform or basket unless manufactured to do
                                SO.

            14.18. Motor Vehicles and Mechanize Equipment

                     14.18.1. Equipment:
                                14.18.1.1.      Whenever the equipment is parked, the parking brake shall be set.
                                                Equipment parked on inclines shall have the wheels chocked and the
                                                parking brake set.
                                14.18.1.2.      All cab glass shall be safely glass, or equivalent, that introduces no visible
                                                distortion affecting the safe operation of any machine.
                     14.18.2. Motor Vehicles:
                                14.18.2.1.      Tools and materials shall be secured to prevent movement when
                                                transported in the same compartment with personnel.
                                14.18.2.2.      Vehicles used to transport personnel shall have seats firmly secured and
                                                adequate for the number of personnel to be carried.
                                14.18.2.3.      All motor vehicles shall be equipped with seat belts, and these seat belts
                                                shall be worn by personnel at all times during operation.
                     14.18.3. Material Handling Equipment:
                                14.18.3.1.      These rules apply to the following types of earth moving equipment:
                                                loaders, crawler or wheel tractors, bulldozers, graders, agricultural and
                                                industrial tractors, and similar equipment.
                                14.18.3.2.      Seat belts shall be provided on all equipment covered by this section
                                                except as follows:
                                                14.18.3.2.1. Equipment which is designed only for standup operation.
                                                14.18.3.2.2. Equipment which does not have roll-over protective
                                                             structure or adequate canopy protection.



                                                                                                                 36IPage
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 156 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 174
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                    PageID.183           Page 176
                                                       of 213


DocuSign Envelope ID: 1738A269-C866-466F-A93C-574C6FE708A3




                                                                   WHITING-TURNER SITE SPECIFIC SAFETY PLANi



                                14.18.3.3.      All earth moving equipment mentioned in this section shall have a service
                                                braking system capable of stopping and holding the equipment fully
                                                loaded.
                                14.18.3.4.      All equipment shall have backup alarms which shall be maintained and
                                                operable at all times in which the equipment is backing up.
                     14.18.4. Site Clearing:
                                14.18.4.1.      Personnel engaged in site clearing shall be protected from hazards of
                                                irritant and toxic plants and suitably instructed in the first aid treatment
                                                available.
                                14.18.4.2.      All equipment used in site clearing operations shall be equipped with
                                                ROPS.
            14.19. Personal Protective Equipment

                     14.19.1. Protective equipment, including personal protective equipment for eyes, face, head, and
                              extremities, protective clothing, respiratory devices, protective shield and barriers, and
                              fall protection equipment shall be the contractor/subcontractor 's responsibility to
                              oversee the proper use ofsuch equipment by their personnel as the job dictates. Personnel
                              of second tier contractor/subcontractor s, suppliers, and owner shall also be responsible
                              to oversee the proper use of such equipment by their respective personnel.
                     14.19.2. Prescription eyeglasses and sunglasses that do not comply with ANSI Z87.1 are
                              prohibited.
                     14.19.3. Aluminum hardhats, and bump caps are not permitted on Whiting-Turner projects.
                     14.19.4. For security and identification purposes, all hardhats shall display the
                              contractor/subcontractor name and/or decal identifying the employer as well as the
                              employee's name.
                     14.19.5. Employees exposed to electrical voltages of 600 V or greater shall wear hardhats that
                              meet the requirements of ANSI Z89.2 type Hardhats
                     14.19.6. Hand protection is required when employee's hands are exposed to hazards such as those
                              from skin absorption of harmful substances, cuts or lacerations, abrasions, punctures,
                              chemical burns, thermal burns, and harmful temperature extremes.
                     14.19.7. High visibility vests/gear are required by each person on site.
                     14.19.8. Long pants and shirts with at least a 4" sleeve is required. Shorts, cut offs, tank tops,
                              and net shirts are not permitted.
                     14.19.9. All personal protective equipment shall be of safe design and construction.
                     14.19.10. Where personnel provide their own protective equipment, respective employers shall be
                              responsible to assure that equipment is in adequate condition to provide the designed
                               protection

                                                                                                               37'Page
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 157 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 175
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                  PageID.184          Page 177
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                     14.19.11. Specific tasks requiring additional eye, face protection or goggles may be required by
                               personnel as listed here for example but are not limited to the following:
                                14.19.11.1.     Concrete placement.
                                14.19.11.2.     Using a powder actuated device.
                                14.19.11.3.     During some demolition tasks.
                                14.19.11.4.     Metal grinding.
                                14.19.11.5.     Welding and cutting operations.
                                14.19.11.6.     Cutting operations regardless of material type.
                     14.19.12. Shorts, tank tops, and loose clothing are not permitted to be worn by personnel on the
                              job site
                     14.19.13.For ALL fall hazards that are equal to or greater than 6', fall protection must be provided.
                              This includes all trades and tasks. Fall protection equipment including personal fall
                              protection equipment, systems, and hardware shall be provided by The Whiting-Turner
                              Contracting Company for all its personnel. contractor/subcontractor s, suppliers, and the
                              Owner shall provide fall protection equipment, systems, and hardware for their
                              respective personnel as required. Employees shall be trained in the proper use of fall
                              protection equipment, systems, and hardware.
                     14.19.14. Respirators and protective coverings shall be issued by Whiting-Turner,
                               contractor/subcontractor s, suppliers, and owner to their respective personnel and utilized
                               by personnel in all instances that require such. Training shall be provided in the proper
                               use, fit, and care ofrespirators and protective coverings and documented on file for future
                              reference.

            14.20. Scaffolds

                     14.20.1. Contractor/subcontractor whose employees will need to access a scaffold system for
                              work shall have a competent person present to inspect and sign off on the scaffold prior
                              to the start of work each day.
                     14.20.2. Employees erecting or dismantling a scaffold are required to utilize appropriate fall
                              protection at heights six (6) feet or above unless proven to be infeasible or more
                              hazardous as determined by their company's competent person.
                     14.20.3. All scaffolds, including carpenters' bracket scaffolds, over six (6) feet in height shall
                              have guardrails on all open sides. If guardrails cannot be used on a walking/working
                              platform, contractor/subcontractors are required to use another means to protect
                              employees from a fall.
                     14.20.4. Cross-braces are not considered to be an adequate guardrail (fall protection) system and
                              shall not be used as a top or mid rail on Whiting-Turner projects.

                                                                                                             38 I Page
                                                               © Copyright 2020
                                                    The Whiting-Turner  Contracting Company
                                                              All Rights Reserved
                                                             Page 158 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 176
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                   PageID.185          Page 178
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                     14.20.5. Contractors shall utilize a scaffold tag system. The scaffold tag system shall be color
                              coded and visible. The competent person shall inspect the scaffolding system before each
                              work shift. The competent person shall sign and date the scaffold tag.
                                14.20.5.1.      Green tags are reserved for complete systems
                                14.20.5.2.      Red tags are reserved for erection/dismantling activities and for scaffolds
                                                with deficiencies in the system
                                14.20.5.3.      Yellow tags are reserved for systems that require the use of both PFAS
                                                and guardrail systems for incomplete scaffold systems or platforms.

            14.21. Signs, Signals and Barricades

                     14.21.1. All caution and danger tape used on Whiting-Turner project sites shall be of the
                              reinforced type and shall be supplemented with a tag/label affixed with the responsible
                              party's name, company, contact number, and potential hazard.
                     14.21.2. All flagmen shall be trained on appropriate procedures before controlling traffic, as
                              required by the Manual on Uniform Traffic Control Devices (MUTCD) and any
                              municipal or state guidelines.
                     14.21.3. All flagmen shall utilize sign paddles and shall be outfitted with high visibility garments,
                              as required by current ANSI standards. All PPE and traffic control equipment shall be
                              outfitted with reflectorized material for night work as required by current ANSI
                              standards.
            14.22. Stairways and Ladders

                     14.22.1. All aluminum and commercially manufactured wooden ladders shall not be used on
                              Whiting-Turner projects.
                     14.22.2. Fall protection shall be considered by the competent person if employees work from a
                              ladder 6' or more above a lower level and are exposed to a fall.
                     14.22.3. Employees working on ladders must be at least one and a half times the height of the
                              ladder away from any perimeter, shaft, stairway, and opening where the fall distance
                              exceeds 6' without employing additional means of fall protection.
                     14.22.4. Subcontractors shall provide ladders with duty ratings that meet the needs of their
                              employees. Workers are required to select ladders that are capable of safely supporting
                              their weight and the weight of their tools.




                                                                                                               39IPagc
                                                                  Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 159 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 177
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                   PageID.186          Page 179
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                                                                   WHITING-TURNER SITE SPECIFIC SAFETY PLAN



            14.23. Steel Erection

                     14.23.1. Fall protection provided by the steel erector shall remain in the area where steel erection
                              activity has been completed to be used by other trades; if! when Whiting-Turner accepts
                              and takes custody of the system.
                     14.23.2. All tradespersons, including connectors, engaged in steel erection activities on a
                              walking/working surface with an unprotected side or edge more than six (6) feet above
                              a lower level shall be protected from fall hazards by a conventional fall protection
                              method.
                     14.23.3. Roof penetrations are to be made only when equipment is ready to be installed.
                     14.23.4. Safety latches on hooks shall not be disengaged or made inoperable.

            14.24. Welding and Cutting

                     14.24.1. A Hot Work Permit must be completed daily by each contractor/subcontractor
                              performing all welding, burning/cutting operations.
                     14.24.2. Contractor/subcontractors are responsible for providing a fire watch and a charged, 20Ib
                              ABC dry chemical fire extinguisher for each welding and burning activity.
                     14.24.3. A fire watch is always required to remain in place during the hot work activity and for a
                              minimum of one half (1/2) hour after the welding or burning operation has been
                              completed.
                     14.24.4. Additional permits may be required by the local Fire Department and will be at the
                              contractor/subcontractor's expense.
                     14.24.5. All shields shall be compatible with a hardhat.
                     14.24.6. Welding and Cutting of Hazardous Materials:
                               14.24.6.1.       Before welding, cutting, or heating is commenced on any surface covered
                                                by a preservative coating whose flammability is not known, a test shall be
                                                made to determine its flammability.
                                14.24.6.2.      Preservative coatings shall be removed a sufficient distance from the area
                                                to be heated to ensure any temperature increase of the unstripped metal
                                                will not be appreciable.
                     14.24.7. Transporting, moving, and storing compressed gas cylinders.
                               14.24.7.1.       All cylinders shall be considered in storage at the end of each shift;
                                                cylinders must have gauges removed and caps in place.
                               14.24.7.2.       Valve protection caps shall be in place and secured.



                                                                                                              401Page
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 160 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 178
Case 3:25-cv-00020-LL-SBC                       Document 1-2 Filed 01/06/25                    PageID.187          Page 180
                                                        of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3



                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                                14.24.7.3.      Personnel shall inspect all hoses and connectors periodically throughout
                                                the day. Any damaged or defective items shall not be used and should be
                                                removed from the job site.
                                14.24.7.4.      When cylinders are hoisted, they shall be secured on a cradle, sling board,
                                                or pallet. They shall not be hoisted or transported by means of magnets or
                                                choker slings.
                                14.24.7.5.      When cylinders are transported by powered vehicles, they shall be secured
                                                in a vertical position.
                                14.24.7.6.      Unless cylinders are firmly secured on a special carrier intended for this
                                                purpose, regulators shall be removed, and valve protection caps put in
                                                place before cylinders are moved.
                                14.24.7.7.      A suitable cylinder truck, chain, or other steadying device shall be used to
                                                keep cylinders from being knocked over while in use or in storage.
                     14.24.8. Placing cylinders:
                                14.24.8.1.      Cylinders shall be kept far enough away from the actual welding or cutting
                                                operation so that sparks, hot slag, or flame shall not reach them. When
                                                this is impractical, fire resistant shields shall be provided.
                                14.24.8.2.      Cylinders shall be placed where they cannot become part of an electrical
                                                circuit.
                                14.24.8.3.      Cylinders containing oxygen or acetylene, or other fuel gas shall not be
                                                taken into confined spaces.
                     14.24.9. Treatment of cylinders:
                                14.24.9.1.      Cylinders whether full or empty shall not be used as rollers or supports.
                                14.24.9.2.      Smoking shall be prohibited wherever cylinders are stored, handled or
                                                used.
                                14.24.9.3.      Areas containing hazardous gas in storage shall be appropriately
                                                placarded.




                                                                                                                41 Page
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 161 of 174




                                               NOTICE OF REMOVAL EXHIBIT 1 p. 179
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25               PageID.188      Page 181
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN"



    15.     Activity Hazard Analysis Procedures:
            15.1. This procedure is developed to preplan project work activities and thereby minimizes the
                  opportunities for accident/incidents when the work is actually done.
            15.2. Each definable feature of work will be analyzed by the company and crew assigned to perform the
                  work. The work activity will be broken down into small steps where notes will be made concerning
                  the potential for accident/incident/injury during the work and the planned method of preventing
                  the accident/incident/injury.
            15.3. Each contractor/subcontractor will prepare an Activity Hazard Analysis(AHA)specific for the
                  definable feature of work which will be reviewed and discussed at the preconstruction meeting
                  and with the crew prior to the start of work.
            15.4. Below is a preliminary listing of the project's definable features of work. An AHA will be
                  prepared for each definable feature of work and AHA's may also be used for topics for weekly
                  Tool Box Talks.



                                          Definable Feature:

                        Temp Protection Work

                        Selective Demolition Work

                        Hazardous Material Removal

                        Underground Storage Tank Removal

                       Earthwork

                        Sheeting & Shoring

                        Subdrainage System

                        New Storm/Sanitary/Water/Other Utilities

                        Relocate Existing Utilities

                        Selective Paving

                       Paving and Surfacing

                        Baseball & Softball Field Construction



                                                                                                      42 IPa ge
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 162 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 180
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25               PageID.189     Page 182
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN




                        Chain Link Fences and Gates

                        Ornamental Metal Fences and Gates
                                                                               ,
                        Segmental Retaining Walls

                        Site Furnishings

                        Sports Field Equipment

                        Seeding & Sodding

                       Landscape

                        Silva Cell Tree Soil Panel

                        Athletic Field Irrigation Systems

                        Concrete Formwork

                        Concrete Reinforcement & Embeds

                        Cast-in-Place Concrete

                        Structural Steel Erection

                        Structural Steel Connections

                        Steel Deck

                        Steel Deck Concrete

                        Metal Fabrications

                        Ornamental Metal

                        Monumental Stairs

                        Masonry

                        Cast Stone

                        Rough Carpentry



                                                                                                      431page,
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 163 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 181
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25               PageID.190     Page 183
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                                                                   WHITING-TURNER SITE SPECIFIC SAFETY PLAN




                        Finish Carpentry

                        Architectural Woodwork

                        Sheet Membrane Waterproofing

                        Hot Fluid-Applied Waterproofing

                        Cementitious Waterproofing

                        Building Insulation

                        Air Barrier Systems

                        Composite Panels

                        Built-up Bituminous Roofing

                        Sheet Metal Flashing and Trim

                        Roof Accessories

                        Applied Fireproofing

                        Firestopping

                        Joint Sealants

                        Steel & Aluminum Doors & Frames

                        Access Doors and Panels

                        Metal-Framed Skylights

                       Doors Hardware

                       Exterior Direct-Applied Finish System

                        Gypsum Board
                                                                               11
                        Tile                                                    1

                       Painting & Finishing



                                                                                                      44IPagc
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 164 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 182
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25               PageID.191     Page 184
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN




                        Toilet Compartments

                        Toilet Accessories

                        Louvers & Vents

                        Signage

                        Fire Protection Specialties

                        Water Feature

                        Digital, Addressable Fire Alarm System

                        Hangers/Supports/Sleeves — Fire Suppression

                        Hangers/Supports/Sleeves — Plumbing

                        Hangers/Supports/Sleeves — HVAC

                       Insulation — Plumbing Piping

                       Insulation — HVAC

                       Piping — Plumbing

                        Piping — HVAC

                       Piping — Fire Suppression Wet-Pipe

                       Piping — Fire Suppression Dry-Pipe

                        Piping — Sanitary and Waste

                       Piping — Storm

                       Piping — Water

                       Piping — Natural Gas

                        Duct — HVAC

                        Sump Pumps



                                                                                                      45IPagc
                                                                  Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 165 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 183
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25               PageID.192        Page 185
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                   WHITING-TURNER SITE SPECIFIC SAFETY PLAN
                                                                                               -      •,'","re4.34i
                                                                                                                  . "7.1
                                                                                                                      ,,1




                       Diffusers, Registers, and Grilles

                       Hangers/Supports/Sleeves — Electrical

                        Conductors & Cables

                       Raceways & Boxes

                        Wiring Devices

                       Lighting Control Devices

                        Electricity Metering

                       Packaged Engine Generators

                       Enclosed Switches & Circuit Breakers

                       Transfer Switches

                       Enclosed Controllers

                       Underground Electrical Service

                       Switchboards

                       Panelboards

                       Low-Voltage Transformers

                       Interior Lighting

                       Exterior Lighting

                       Exterior Landscape Lighting

                       Sound and Intercommunications System

                       Cabling for Telephone and Data




                                                                                                      461Page
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 166 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 184
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                     PageID.193           Page 186
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                   WHITING-TURNER SITE SPECIFIC SAFETY PLAN



    16.     Spill Prevention and Containment Plan
            16.1. Purpose
                     This policy has been developed to protect the environment by preventing spills and leaks from
                     occurring, or minimizing the impact, during the course of construction. This plan is also written
                     to meet regulatory & client requirements along with best practices adopted at the Fashion Valley
                     Mall Redevelopment Project relating to Spill Prevention and Containment Plan (SPCP) and the
                     Storm Water Pollution Prevention Plan (SWPPP). Contractors/subcontractors shall develop their
                     own contingency plans for spills to prepare for spill situations arising from their operations.
            16.2. Planning and Preparation-Spill Kits
                     Each trade having vehicles, equipment, or chemicals on-site or responsible for the handling or
                     installation of equipment containing chemicals (radiators, batteries, etc.) on site shall have the
                     appropriate resources for spill prevention and abatement.
                     16.2.1.    Standard spill kit contents should include, but are not limited to:
                                16.2.1.1.       Pads, booms, pillows, and/or granular/powder absorbents
                                16.2.1.2.       Gloves, goggles, apron
                                16.2.1.3.       Dustpan and hand broom
                                16.2.1.4.       Poly disposal bags and labels
                     16.2.2.    Absorbent materials should be appropriate to the types & volume of chemicals/products
                                used or stored, or that contractors are otherwise responsible for.
                     16.2.3.    Universal Sorbents
                                16.2.3.1.       Absorb all types of water-based and oil-based liquids
                                16.2.3.2.       Ideal where many types of liquids are present or in use such as cutting
                                                fluids, lubricants, and coolant
                                16.2.3.3.       Not appropriate for a spill kit for work that is near a creek area, bar ditch,
                                                pond, or where water may otherwise be standing or flowing
                     16.2.4.    Oil-Only Sorbents
                               16.2.4.1.        Absorb all petroleum-based liquids and repel water
                                16.2.4.2.       Will float on water and absorb oil/fuel products
                     16.2.5.    Hazmat Sorbents
                               16.2.5.1.        Specifically designed and intended for use with aggressive fluids such as
                                                acids and bases
                               16.2.5.2.        Acid neutralizing or amalgamation powders should also be on hand to
                                                deal with battery or mercury spills, or stand-alone spill kits should be
                                                available

                                                                                                                 47IPage
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 167 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 185
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                   PageID.194        Page 187
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                     16.2.6.    Spill Kit Materials Contained in Vehicles & Equipment
                                16.2.6.1.       To minimize the potential impact of a spill, contractors should keep
                                                sorbents (boom, pad, granular, etc.) in vehicles and equipment to
                                                immediately abate the flow of any spilled material. As an alternative
                                                option, spill kits may be maintained in the immediate work area or close
                                                proximity to work operations where vehicles or equipment are in
                                                operation.


            16.3. Fuel and Chemical Storage
                     Each company or contractor/subcontractor storing chemicals or fuels on the Fashion Valley Mall
                     Redevelopment Project site is responsible for safe storage meeting recognized best management
                     practices(BMP's)and specific requirements meeting Federal, State and Local requirements.
                     16.3.1.    Fuels, chemicals, and chemical storage tanks must be approved by Whiting-Turner
                                before arriving on-site
                     16.3.2.    All fuels stored in quantities greater than 5 gallons shall be contained/stored within a
                                secondary containment unit or double-wall tank
                                16.3.2.1.       Truck mounted transfer tanks are authorized when properly secured in or
                                                on truck bed and used in accordance with manufacturer requirements.
                                                Transfer tanks shall not be used in any other manner or method.
                     16.3.3.    Fuel storage should be located away from areas that may be accessed by vehicles/
                                equipment or protected from vehicle equipment damage by "jersey barriers"/"k-rails",
                                bollards, or other substantial protection approved by Whiting-Turner
                     16.3.4.    Fuel and chemical storage is only authorized in areas designated by Whiting-Turner.
                     16.3.5.    Fuel cans are to be a metal-type safety can with flame arrestor
                     16.3.6.    Fuel cans when not in use shall be stored in an approved flammable locker/cabinet,
                                grounded per manufacturer requirements
                     16.3.7.    Fuel and chemical storage areas shall have the appropriate number and type of fire
                                extinguishers based on the size, configuration, and fuels or chemicals stored in the
                                location(s) specified per OSHA requirement
                     16.3.8.    Fuel storage areas are to have a spill kit in the immediate area
                     16.3.9.    A catch pan should be utilized to capture small leaks when fueling
                                16.3.9.1.       Any spilled material into a tub shall be immediately cleaned up with
                                                absorbent material and properly disposed of at Fashion Valley Mall
                                                Redevelopment Site waste collection point
                     16.3.10. Fuel or chemical drums stored on site shall be placed on containment pallets with a cover
                              over the storage area to prevent rainwater collection

                                                                                                            481 P a gc
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 168 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 186
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                     PageID.195           Page 188
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE708A3




                                                                   WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                                16.3.10.1.      Water-based floor sealers and concrete curing compounds are exempted
                                                from this requirement
                     16.3.11. Chemicals may not be stored within any building without consent from the Whiting-
                              Turner superintendent. Chemicals in the building are restricted to immediate use, within
                              24 hours, and must have signage affixed identifying the chemical/product, hazards, the
                              responsible contractor, contact information. Proper barricades must be in place to
                              prevent inadvertent contact or spills and to prevent work over the area.
                     16.3.12. See CFR 1926.152 and NFPA 30 for additional requirements
            16.4. Tank truck loading/unloading (40 CFR 112.7(h))
                     Tank truck unloading procedures shall meet the minimum requirements and regulations
                     established by the Department of Transportation in 49 CFR 177 Subpart B which are summarized
                     below.
                     16.4.1.    No product shall be unloaded unless the hand brake is securely set and all other
                                reasonable precautions (i.e., wheel chocking) are taken to prevent motion of the tank
                                truck.
                     16.4.2.    No smoking or any other sources of spark or flame will be allowed in the vicinity of the
                                unloading operation.
                     16.4.3.    Unless the engine of the tank truck is to be used for the operation of a pump, no product
                                shall be unloaded while the engine is running.
                     16.4.4.    No product shall be unloaded until all bonding and grounding requirements have been
                                met.
                     16.4.5.    A minimum of two (2) people will be present during unloading to visually observe
                                transfer operations. At a minimum this will include the delivery driver and a responsible
                                designated person from the contracting company purchasing the fuel.
                     16.4.6.    Drip pans, catchment basins, or absorbent materials will be used where small drips and
                                spills occur. Spill kits are commonly carried on the delivery truck. Spill kits are available
                                at several locations on the site.
                     16.4.7.    Each tank truck will be visually inspected prior to departure to prevent
                                accidental/incidental disconnection of flexible transfer lines.
                     16.4.8.    Significant spillage will be handled by outside contract assistance as needed.
                     16.4.9.    All vehicles entering the facility shall be warned not to endanger aboveground piping or
                                other oil transfer operations.
            16.5. Maintenance Procedures
                     Vehicle and equipment maintenance on the construction site can easily pose environmental risks
                     if adequate precautions are not taken. Maintenance on vehicles and equipment shall only be
                     conducted by qualified, designated persons to minimize the potential for error, injury, and spills.


                                                                                                                49IPagc
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 169 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 187
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                    PageID.196           Page 189
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                   WHITING-TURNER SITE SPECIFIC SAFETY PLAN



                     contractor/subcontractor s are responsible for service trucks and maintenance conducted to ensure
                     work is conducted with controls in place to capture or minimize spills.


                     When performing work on fuel or hydraulic systems, changing fuel/oil filters, radiators, and other
                     components that have the potential to leak or bleed during maintenance procedures, the following
                     controls shall be in place.
                     16.5.1.    Notification of service work is to be given before work commences to responsible trade
                     16.5.2.    Personnel performing maintenance have emergency contact information in the event of
                                a spill or work is supervised by the contractor/subcontractor /subcontractor
                     16.5.3.    Maintenance personnel are to be instructed on the requirements of this program and their
                                associated duties/responsibilities
                     16.5.4.    Designated maintenance areas do not currently exist at the Fashion Valley Mall
                                Redevelopment Project, but maintenance is NEVER to be conducted adjacent to any
                                creek, stream, ditch, or other waterway
                     16.5.5.    Plastic sheeting or catch pans properly positioned under equipment
                     16.5.6.    Spill kit materials in service truck or within a short distance of the area in which work is
                                being performed\
                     16.5.7.    Any spilled material onto sheeting or into secondary containment shall be immediately
                                cleaned up with absorbent material and properly disposed of by the service
                                contractor/subcontractor or taken to the Fashion Valley Mall Redevelopment Site waste
                                collection point
            16.6. Spills
                     Each contractor/subcontractor on the Fashion Valley Mall Redevelopment Project is responsible
                     for any spills as a result of their work operations, vehicles, equipment, or fuels/chemicals brought
                     on site or otherwise responsible for. Any spill of petroleum product or chemical requires
                     notification to 'Whiting-Turner Superintendent and EH&S Manager immediately after spill is
                     abated, and sooner if assistance is required.


                     Spill Response Procedures from Fashion Valley Mall Redevelopment SPCP Plan
                     16.6.1.    Secure the area and identify the spilled material using the container label and/or the SDS.
                     16.6.2.    If material is flammable, bring an appropriate fire extinguisher into the area.
                     16.6.3.    Turn off any operating equipment in the area.
                     16.6.4.    Notify Whiting-Turner Superintendent and EH&S Manager who will help determine the
                                appropriate course of action.



                                                                                                               50IPage
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 170 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 188
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                  PageID.197            Page 190
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                   WHITING-TURNER SITE SPECIFIC SAFETY PLAN'



                     16.6.5.    If a fire or other serious emergency occurs, follow the emergency response procedures
                                for fire and evacuation.
                     16.6.6.    Responders should use gloves, boots, safety/goggles and other personal protective
                                equipment as necessary. Do not work alone.
                     16.6.7.    Spills of hydraulic fluid, oil and other petroleum products should always be cleaned up
                                immediately to prevent discharge of these fluids with storm water runoff. Use booms,
                                pads, pillows, rags or other absorbent material contained in the spill kit.
                     16.6.8.    Spill kits are available on the site. Spill kits shall be provided by each
                                contractor/subcontractor on the Fashion Valley Mall Redevelopment Project.
                     16.6.9.    Soil or other media that has been contaminated with petroleum or other pollutants should
                                be excavated or removed to prevent contaminated discharges from reaching a property
                                boundary or creek. Petroleum contaminated soil should be cleaned up and disposed of
                                properly. Scoop up the material with appropriate equipment into a compatible leak-proof
                                container or drum. Storage containers should be kept closed, clean, and free of oily
                                residue.
                     16.6.10. Initially label the container with a general description' of the contents. Contact the
                              Emergency Coordinator responsible for the tank for proper EPA and DOT Labels and
                              disposition.
                     16.6.11. Any reusable equipment used with flammable material should be cleaned and allowed
                              to dry in a well-ventilated area away from heat, flame or spark.
                     16.6.12. Replenish all spill response equipment used during the event.
                     16.6.13. Complete a Spill Report Form and submit to Whiting-Turner Safety.
            16.7. Spills to Waterways
                     Spills to creeks, streams, bar ditches, surface water, or other waterway are generally considered
                     the most severe type of spill situation, and all personnel must understand the importance of
                     planning and response to avoid a catastrophic environmental situation. Oil-only/floating booms
                     shall be placed and secured on the water, downstream, to prevent migration off site. Whiting-
                     Turner EH&S Manager must be contacted immediately after spill is abated, or sooner if assistance
                     is required. Spills to waterways can be disastrous and cleanup for the affected contractor(s) can
                     be incredibly difficult and expensive.


                     16.7.1.    Develop of list of onsite contractors or personnel who may be able to assist.
                     16.7.2.    Fashion Valley Mall Redevelopment Spill Response Contractor Contacts
                     16.7.3.    The services of a spill response contractor/subcontractor should be retained, or service
                                agreement planned and developed to expedite spill cleanup response.



                                                                                                                51 1Page
                                                               © Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 171 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 189
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25                   PageID.198         Page 191
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                   WHITING-TURNER SITE SPECIFIC SAFETY KAN:,



                                16.7.3.1.       Harmony Environmental Services, Inc.
                                                    • 1(888)623-4191
                                                    • info@sdhazmat.com
            16.8. Cleanup
                     16.8.1.    The abatement of the spill, including removal of contaminated soil, and confirmation of
                                cleanup soil samples shall be taken for any spills not on a paved surface. Whiting-Turner
                                requires over-excavation of the spilled area to ensure all contaminated soil/screenings
                                are fully removed. Soil samples are to be taken after excavation of the area has been
                                completed. Plastic sheeting may be placed over the excavated area to prevent runoff,
                                contamination of adjacent areas, and to ensure accurate results are obtained. Proper
                                disposal of the soil/screenings is to be completed by a certified waste hauler.
                     16.8.2.    Disposal of small quantities of labeled & bagged sorbents or small quantities of bagged
                                contaminated soil may be taken to the on-site collection area at the fenced in Whiting-
                                Turner trailer compound. Antifreeze, petroleum, and battery acid contaminated material
                                will be accepted.
            16.9. Training
                     16.9.1.    All employees at the Fashion Valley Mall Redevelopment Project will receive
                                awareness-level instruction on the importance of spill prevention and reporting. Spill
                                procedures will be covered periodically in site safety focus meetings by Whiting-Turner.
                                It is however the responsibility of the contractor/subcontractor to train-to-competency
                                competent persons for spill response, and all employees on the following:
                                16.9.1.1.       The importance of spill prevention and protection of the environment
                                16.9.1.2.       Spill reporting procedures for their company and emergency contacts
                                16.9.1.3.       Where spill kits are located and what the contents are
                               16.9.1.4.        Spill response procedures, what types and quantities of spills employees
                                                may abate and the safety procedures to do so




                                                                                                            52IPage
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              All Rights Reserved
                                                             Page 172 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 190
Case 3:25-cv-00020-LL-SBC                      Document 1-2 Filed 01/06/25               PageID.199     Page 192
                                                       of 213


DocuSign Envelope ID: 1738A269-C865-466F-A93C-574C6FE7D8A3




                                                                  WHITING-TURNER SITE SPECIFIC SAFETY PLAN



    17.     Emergency Action Plan




                                                                                                      53IPage
                                                               0 Copyright 2020
                                                    The Whiting-Turner Contracting Company
                                                              A ll Rights Reserved
                                                             Page 173 of 174




                                              NOTICE OF REMOVAL EXHIBIT 1 p. 191
                               Case 3:25-cv-00020-LL-SBC     Document 1-2 Filed 01/06/25           PageID.200   Page 193
                                                                     of 213




DocuSign Envelope ID: 1738A265-C865-466F-A93C-574C6FE708A3




             Emergency Evacuation Plan




                                                                                                  Emergency
                                                                                                  Evacuation
                                                                                                    Route




             Nearest Hospital: UC San Diego Hillcrest
             Phone Number:(619) 534-6222

             Emergency Whiting-Turner Contact: Paul Perry
             Phone Number:(619) 571-0367
                                                                           Page 17401174




                                                             NOTICE OF REMOVAL EXHIBIT 1 p. 192
Case 3:25-cv-00020-LL-SBC   Document 1-2 Filed 01/06/25          PageID.201   Page 194
                                    of 213




                                EXHIBIT 03




                            NOTICE OF REMOVAL EXHIBIT 1 p. 193
                   Case 3:25-cv-00020-LL-SBC                                Document 1-2 Filed 01/06/25                                     PageID.202          Page 195
                                                                                    of 213


                           Precision Electric Company                                                                                                 Project: 22024 - Fashion Valley Mall - Phase 4
                           8137 Winter Gardens Blvd.                                                                                                                               7007 Friars Road
PRECISION ELECTRIC COMPANY Lakeside, California 92040                                                                                                                    San Diego, California 92108
                           P: +16193902991


CHANGE EVENT #088 - PC0#88 - PEC Cardinal Change Supplement
Origin:
Date Created:            4/24/2024                                                                   Created By:                     Adam Cox
Status:                  Open                                                                        Scope:                          Out of Scope
Type:                    Owner Change                                                                Change Reason:                  Client Request
Description:             PC0#88 - PEC Cardinal Change Supplement w/ 6-1-1-31 Job Status Report Backup.

                         Cardinal Change "Change Order"

                         This "change order request"("COR")is being submitted to facilitate a resolution to disputed issues between the
                          parties related to the costs incurred by Precision as a result of the quantity, magnitude, and scope of the
                         changes on the Project. The approved change orders issued to Precision are currently more than 59% of the
                         original contract value, not including Precision's change order requests still pending. These changes have
                         materially altered the nature of the original subcontract, not only in terms of the scope of work but in the
                         resulting demand upon Precision's operations during the contract performance period. Had these changes
                         been incorporated into the original subcontract scope of work at the time of bid, Precision's proposed price
                         would have been substantially larger than the total of the original subcontract price plus Precision's change
                         order requests to date. The scale of the Project drastically changed and as a result, this caused significant
                         disruption and damage to Precision's work and operations. These changes accumulated over time and the
                         impact of the changes could not be fully known at the time each of the change order requests was submitted.

                         Without addressing or waiving any disputes or rights Precision may have related to the cardinal change to the
                         Subcontract Agreement, Precision is submitting this "COR" to resolve all outstanding disputes regarding
                         additional work, additional costs, delays, inefficiencies, and damages Precision incurred as a result of the
                         changes to the Project. This "COR" is based on Precision's analysis of total costs incurred by Precision for its
                         performance on the Project to date minus the current revised subcontract price of $4,798,110.00 (i.e. the
                         original subcontract price of $2,927,990.00 plus all approved change orders to date of $1,870,120.00).
                         Precision's "COR" calculation methodology is designed to most accurately capture the costs incurred by
                         Precision as a result of the changes on the Project. Precision's costs to date are $4,995,339.13. A 15% markup
                          for overhead and profit ($749,300.87) would yield a value of work completed of $5,620,128.03. Removing the
                         revised subcontract price would yield a "COR" value of $946,530.00.



                         We reserve the right to correct this quote for errors and omissions.

                         This quote covers direct costs only and we reserve the right to claim for impact and consequential costs.
                         This price is good for acceptance within 10 days from the date of receipt.
                         We request a time extension of TBD days. •


Precision Electric Company                                                                      Page 1 of 2                                                     Printed on: 5/3/2024 at 04:37PM PDT




                                                                          NOTICE OF REMOVAL EXHIBIT 1 p. 194
                   Case 3:25-cv-00020-LL-SBC                                Document 1-2 Filed 01/06/25                                    PageID.203                  Page 196
                                                                                    of 213


                         We will supply and install all materials, labor, and equipment as per your instruction

Attachments:
                         g 6-1-1-31-Job Status Report-2024-5-3 16 33 16.PDF g 22024- PC0#88.pdf


CHANGE EVENT LINE ITEMS

                                                                                                Revenue                                                      Cost

                                                                                                                          Latest                                                                 Over/ Budget
Budget Code               Vendor/Contract                      UOM       QTY     Unit Cost         ROM Prime CCO                     QTY   Unit Cost         ROM    RFQ Commit. Latest Cost I
                                                                                                                           Price                                                                Under    Mod.

                                                                          1.0 $946,530.00 $946,530.00               1$946530.00      1.0 $946,530.00 $946,530.00                 S946,530.001 50.00

Description:
PC0#88 - PEC Cardinal Change Supplement

Grand Totals                                                                                 $946,530.00       $0.001 5946,530.001                     $946,530.00 $0.00   $0.00 5946,530.001 50.001    $0.00




Precision Electric Company                                                                       Page 2 of 2                                                            Printed on: 5/3/2024 at 04:37PM PDT




                                                                           NOTICE OF REMOVAL EXHIBIT 1 p. 195
Case 3:25-cv-00020-LL-SBC   Document 1-2 Filed 01/06/25          PageID.204   Page 197
                                    of 213




                                EXHIBIT 04



                            NOTICE OF REMOVAL EXHIBIT 1 p. 196
Case 3:25-cv-00020-LL-SBC              Document 1-2 Filed 01/06/25                  PageID.205       Page 198
                                               of 213




                             Thompson Law & Consultation
                                          Luke Thompson,Esq.
                                                             ••

VIA USPS CERTIFIED MAIL AND EMAIL
Art Rodriguez (Art.Rodriguezwhiting-turnercom); Meredith Phillips (meredith.phillips@whiting-turnercom).
CC: Will Turner(WTurner@pecsd.com); Adam Cox (acox@pecsd.com)

Date:          September 6, 2024

From:         Luke Thompson, Esq. SBN 282762
              Thompson Law & Consultation
              Attorney for G.A. Abell, Inc. dba Precision Electric Company
              9757 MariIla Drive, #248
              Lakeside, CA 92040
              619.987.3231

To:           Whiting-Turner Contracting -
              Attn: Art Rodriguez - Vice President
              3911 Sorrento Valley Blvd Suite 100
              San Diego, CA 92121



PROJECT:       Fashion Valley Mall Redevelopment Phase 3 Project(Phase 4 Electrical)

Owner:         Simon Property Group, Lp - 60 Columbia Road Building B, 3rd Floor Morristown, NJ 07960

RE:            DEMAND FOR COMPENSATION FOR CARDINAL CHANGE



Our offices represent G.A. Abell, Inc. dba Precision Electric Company ("Precision"). We have been asked by
Precision to assist them in developing and advancing their claims regarding the size, frequency, quantity, and
scope of the changes on the Fashion Valley Mall Redevelopment Phase 3 Project (Phase 4 Electrical),
hereinafter referred to as the "Project". We believe there is ample evidence that the excessive Project changes
produced a cardinal change to the nature and scope of Precision's original subcontract agreement with
Whiting-Turner Contracting ("Whiting-Turner"). Precision, at Whiting Turner's direction, built a fundamentally
different project than what they had bid and contracted for originally. As a consequence, Precision experienced
significant cost overruns for which Whiting-Turner and the Owner are responsible.

As you know, Precision has presented its documentation and initial claims regarding these costs to you on
several occasions. To date, all offers made by Whiting-Turner have fallen well short of any reasonable
compensation for Precision's damages. Given the size and impact of the changes, Precision feels it has no


                                   Ithompsontenhompsordawconsalialion.com
                                      -ww.ThompsonLawandColISIlia1i(111.00111
                                        619-663-4486 0 - 619-987-3231 C
                                   9757 Marina Drive :'fr248, Lakeside. Cik 92040



                                      NOTICE OF REMOVAL EXHIBIT 1 p. 197
Case 3:25-cv-00020-LL-SBC                Document 1-2 Filed 01/06/25                  PageID.206          Page 199
                                                 of 213




                              Thompson Law & Consultation
                                           Luke Thompson,Esq.

                                                              ••

other option but to diligently seek recovery for its costs. This letter is intended to provide a more robust, though
by no means exhaustive, presentation of Precision's demand.

Project Summary
 Precision entered into a subcontract agreement (the "Agreement") with Whiting-Turner Contracting
("Whiting-Turner") on October 13, 2022, for certain electrical work (the "Work") to be performed on the Project
 located at 7007 Friars Road, San Diego, CA 92108 (the "Property").(EXHIBIT 1 - Subcontract Agreement).
 The original subcontract price, $2,927,990, was increased to an agreed upon revised contract value of
$4,798,110.00 over the course of the Project through various Subcontract Supplements (i.e. change orders)
 totaling $1,870,120, or 64.64% of the original subcontract price.(EXHIBIT 2 - Subcontract Supplements).

According to the original Project preliminary schedule, dated July 28, 2022, Precision's Work began on July 11,
2022, and was to be completed by October 4, 2023.(EXHIBIT 3 - Schedules; see 07-28-2022 Schedule).
Precision began its work on the original scope of work on October 13, 2022, when the Project was ready for
the start of the electrical scope.(EXHIBIT 4 - Labor Report). Precision was not able to complete its work until
March 27, 2024, due primarily to the size and frequency of unanticipated changes to its scope of work.

Precision incurred substantial additional costs as a direct result of the changes Whiting-Turner and the
Project's owner, Simon Property Group, LP (the "Owner"), required Precision to perform. The quantity, size,
and frequency of the changes, along with Whiting-Turner and/or the Owner's failure to properly plan for these
changes added significant labor and overhead costs. At the time of Precision's bid, the signing of the contract,
and even during Precision's performance, Precision could not have reasonably anticipated or accounted for the
magnitude and impact of these changes. The effect of these changes is difficult to overstate but, in short, they
amount to a substantive change to the very nature of the Agreement that, along with Whiting-Turner's handling
of Precision's change order requests, cardinally changed the nature of the contract and reflect Whiting-Turner's
breach of the Subcontract Agreement.

Initial Damages Estimates
To calculate the estimated value of Precision's claim, we rely on the actual costs incurred, including Precision's
actual overhead rate of 12% and a reasonable profit rate of 10%, based on industry standards. The following is
a summary of Precision's current project estimates to date, though it is subject to change should any additional
work be required.




                                    Ithompsor01.hompsonlasvconsiill a tion.com
                                     ‘vww.ThompsonLawandConsillation.com
                                        619-663-4486 0 - 619-987-3231 C
                                    9757 Marilla Drive -71.248, Lakeside, CA 92040



                                       NOTICE OF REMOVAL EXHIBIT 1 p. 198
Case 3:25-cv-00020-LL-SBC                             Document 1-2 Filed 01/06/25                           PageID.207   Page 200
                                                              of 213




                                        Thompson Law 4? Consultation
                                                         Luke Thompson,Esq.
                                                                    T L&C ••

Table 1 - Accounting Summary
lCurrent Approved Contract
r-
lOriginal Contract                                                                     $ 2,927,990.00'
[Approved CO                                                                           $ 1,892,696.00
 Revised Contract Total                                                                $ 4,820,686.00


 Cardinal Change
1 Costs to Date                                                                        $ 4,932,579.55
 Actual Overhead (12%)                                                                    $ 591,909.55
 Market Rate(10%)                                                                         $ 552,448.91
Subtotal                                                                               $ 6,076,938.01
 Credit for Full Contract Value Payments                                             $(4,820,686.00)
!Cardinal Change Claim Total                                                       $ 1,256,252.01


 All Calculations are based on current or actual material and labor costs plus overhead plus profit minus
 the current approved contract value. This assumes the contract balance will be paid in full.

 Paid to Date                                                                              $ 4,761,607.45



Contract Changes
The Project is a sub-phase ("Phase 4 Electrical") of the third phase of a larger project for improvements of the
Fashion Valley Mall ("FMV"). Precision was asked to provide a bid on the Phase 4 Electrical portion after the
previous electrical contractors on the earlier phases refused to perform additional work on FMV for
Whiting-Turner. Precision is unaware of the totality of the circumstances that led to the former electrical
contractors' decisions, but based on Precision's experience on the Project, it appears those contractors
suffered a similar fate—being bled out by excessive change orders.

The Project started out promising. The plans had been completed at the time of the bid and the scope of work
appeared to be well-defined. Precision, with years of experience on similar projects as well as work at the FMV,
submitted a fixed-price bid proposal based on the plans and specifications supplied by Whiting-Turner. A fixed
amount of work for a fixed duration for a fixed price. Precision's pricing was based on their material and labor
estimates. At the time of bid, Precision's overhead was approximately 12% and they anticipated profits on the
project approaching 10%.




                                                IthompsonAlhompsimlaweonsidlation.com
                                                 www.ThompsonLawandCo11S111 a Ii011.00111
                                                    619-663-4486 0 - 619-987-3231 C
                                                9757 Marina Drive .r 248, Lakeside. CA 92040



                                                    NOTICE OF REMOVAL EXHIBIT 1 p. 199
Case 3:25-cv-00020-LL-SBC                 Document 1-2 Filed 01/06/25                    PageID.208          Page 201
                                                  of 213




                               Thompson Law & Consultation
                                             Luke Thompson,Esq.
                                                            c ••

In February of 2023, at the beginning of Precision's performance, some immediate issues arose. Precision had
issued Proposed Change Orders("PCO")           1-131.(EXHIBIT 5 - Precision PCOs). As a result,
Whiting-Turner issued Subcontract Supplements Ws 001-004, the total for all changes at this point was
$66,168.(EXHIBIT 2 - Subcontract Supplements). These changes involved what appeared at the time to be
some relatively minor issues involving mostly just fixture changes, some time & material work, and relocation of
signage. Precision was forced to price this addition with only a 10% markup for overhead and profit, pursuant
to the Subcontract's extra work provision.(EXHIBIT 1 - Subcontract Agreement, Art. 10).

 By the end of March 2023, Precision had billed out already 33.47% of the then-total Subcontract value. This
 included $37,625 of the Subcontract Supplements work and $964,390.00 of the original Subcontract Value
(EXHIBIT 6 - Precision Billing). Precision was well over a third of the way through the Subcontract scope of
 work and the modifications were well below 10% of the original subcontract value. Things would begin to take
a radical turn shortly thereafter. During the next two months alone, Precision issued PCOs Ws 14-32,
 representing $1,299,483.00 in additional work.(EXHIBIT 2 - Subcontract Supplements).

Whiting-Turner issued its Subcontract Supplement #005("SS #005")for $723,646 on April 10, 2023, which
covered a number of Precision's PCOs during this period and also included a revised construction schedule
dated March 29, 2023, for the remaining activities. (Id., SS#05). The largest portion of SS #005 ($671,000) was
for "Phase 4h" which was based on a separate bid proposal offered by Precision over four months earlier on
January 6, 2023—which at the time of bid Precision expected to be handled separately from the original
Project.(EXHIBIT 5 - Precision PCOs,#28). That proposal was priced and offered on the basis of what was
considered at the time of the proposal as a separate project. Instead, the change was incorporated into the
Phase 4 Project as a part of Subcontract Supplement #05.(EXHIBIT 2 - Subcontract Supplements).

On May 10, 2023, Whiting-Turner issued a no-cost Subcontract Supplement with its May 9, 2023, revised
construction schedule reflecting considerable changes to the original Project construction schedule at the time
of contracting, but adding very little additional time to Precision's durations or time for the additional scope.
(EXHIBIT 2 - Subcontract Supplements, SS #006). The schedule showed a completion date change for
Precision's activities close to the revised construction schedule issued January 3, 2023, with Precision's
activities completing mid-November of 2023 rather than late October 2023. (Id.). The next revised construction
schedule would not be issued until December 13, 2023, well after the SS #06 revised completion date of
 November 21, 2023, for the Project. (Id.).

Clearly, Whiting-Turner was well aware by May 10, 2024, when Subcontract Supplement #06—a schedule
change order— was issued, that the Subcontract Supplements were beginning to have a serious impact on the
construction schedule. Instead of a simple construction schedule update, Whiting-Turner felt the need, and


  PCOs #'s 1, 3, 5, 7,9, and 10 were ultimately rendered void. The total ultimately approved PCO's through
 Whiting-Turner's Subcontract Supplements Ws 001-004 was $66,168.
                                      Illiompsoivaihompsoillawconsidtalion.colii
                                        www.ThompsonLawandConsulation.tom
                                          619-663-4486 0 - 619-987-3231 C
                                      9757 iNlarilla Drive "248, Lakeside. C.1.920.4o



                                         NOTICE OF REMOVAL EXHIBIT 1 p. 200
Case 3:25-cv-00020-LL-SBC              Document 1-2 Filed 01/06/25                PageID.209         Page 202
                                               of 213




                             Thompson Law & Consultation
                                           Luke Thompson,Esq.
                                                   T L-St C ••

appropriately so, to properly address the serious impact of the previous Subcontract Supplements, in particular
Supplement #05 which had a massive impact on the volume of work required in the ever-changing Project.
Even while Supplement #06 was being produced and processed, new batches of PCOs from Precision had to
be issued to keep pace with the changes. Whiting-Turner was obviously aware of the problem of the frequency
and size of these changes to Project's schedule and planned completion dates, but no new Supplement(s)
were issued to resolve the schedule problems arising over the next eight months. Precision was never afforded
another opportunity to deal with the schedule and cost impact these changes were having on the Project as a
whole.

 Whiting-Turner's Subcontract Supplement #007 to Precision for $490,394, which captured the balance of
 Precision's March and April 2023 PCOs, was not issued until June 23, 2023. (Id., SS#007). During the course
 of May and June, another $120,339 in PCOs would be issued by Precision.(EXHIBIT 5 - Precision PCOs;
see, PCO Log). Whiting-Turner's next issued Subcontract Supplement #008 took until September 13, 2023.
(EXHIBIT 2 - Subcontract Supplements, SS#008). It captured some of the PCOs issued by Precision in May,
 June, July, and a few in August of 2023. (Id.). Whiting-Turner's SS #'s 009 and 010 were not issued until
 October 9 & 10, respectively, captured the remaining PCO's issued during those months. (Id., SS#s 009 &
010). The vast majority of these changes were already performed by this time because Whiting-Turner had
 directed Precision to perform the work while still expecting Precision to meet the May 10, 2023 construction
schedule demands.

It would take another three months until Whiting-Turner issued SS#012 on December 15, 2023(SS #011 was
not issued until January 14, 2024). (Id., SS #'s 011, 012). The next Subcontract Supplements were issued on
February 13 & 21, 2024(SS #'s 014 & 013, respectively); with the last two, SS#'s 015 & 016 issued on May 3,
2024. (Id., SS #'s 013 - 016).

Table 2 - Subcontract Supplement Summary
                                                                  -
 Whiting-Turner Issued Supplements


 No.                 Date                 Amount
 001                          2/17/2023                  $ 4,733.00
 002
 003                         2/17/2023                  $ 54,585.00
 004                          3/24/2024                  $ 6,850.00
 005                                                   $ 723,646.00
 006                         5/10/2023                           $-
 007                         6/23/2023                 $ 490,394.00°

                                  ithompsomiyihompswilaweonsultation.com
                                   www.ThompsonLawandConsiilation.com
                                      619-663-4486 0 - 6w-987-3231 C
                                  9757 Marilla Drive !- 248, Lakeside. CA 92040



                                      NOTICE OF REMOVAL EXHIBIT 1 p. 201
Case 3:25-cv-00020-LL-SBC                  Document 1-2 Filed 01/06/25                      PageID.210           Page 203
                                                   of 213




                                Thompson Law C? Consultation
                                                  Luke Thompson,Esq.
                                                       TL      C ••

008                              9/13/2023 h                  $ 75,720.00
009                              10/9/2023                    $ 26,013.00
010                             10/10/2023                    $ 90,778.00
0, 011                           1/15/2024                      $ 7,065.00
                                             hk
  012                           12/14/2023                   $ 108,504.00
013                              2/21/20241                   $ 19,529.00
014                              2/13/2024 0                 $ 126,821.00
015                               5/3/2024'                  $ 135,482.00
016                                                           $ 22,576.00
TOTAL                                                      $ 1,892,696.00

From May through December of 2023, even after the massive changes under SS#'s 005 and 007 were issued,
Precision was inundated with scores of changes on nearly all phases and aspects of the Project. Delays,
design changes, resequencing of activities, and poor coordination plagued Precision's ability to timely complete
its original scope of work, not to mention all the new change orders Precision was thrown into.

On December 19, 2023, nearly a month later than the Project's completion date of November 21, 2023,
Whiting-Turner issued a new updated fragnet schedule with a new completion date of March 14, 2024.
According to that new schedule, Precision's activities had drastically expanded even though the original
d urations went unchanged or were even condensed.2 By this point in time, the Project was a fundamentally
different project and one that was still changing on almost a daily basis.

Nearly all the changes were changes that Precision was directed to proceed with prior to the execution of a
Subcontract Supplement. In other words, Precision was forced to bear the costs for these changes, often for
months, before Whiting-Turner would allow Precision to bill for the work.3 Not only was Precision's overhead
and profit limited to 10%, well below its actual overhead rate, it was forced to finance these changes until the
Owner and Whiting-Turner could resolve the changes.

The problems related to these changes began to increase over time. As the Project progressed, the delays and
changes began to take a significant toll on Precision's manpower and ability to efficiently perform its work.
Whiting-Turner was well aware of the struggle Precision was under. On January 3 of 2024, prior to


2 It is outside the scope of this initial demand letter to complete a thorough schedule analysis, however even a preliminary
review reveals massive disruptions to the original schedule as a result of the quantity and scope of the change directives
demanded by Whiting-Turner.
3 The Subcontract prohibits billing against unapproved change orders/subcontract supplements. (Exhibit 1 - Subcontract
Agreement, Art. V).
                                        Ithompsonfr thompsonlawconsullation.com
                                         Nalvw.Th ompsonLa wan d Con su lation.com
                                            619-663-4486 0 - 619-987-321i C
                                       9757 i)kirilla Drive     Lakeside, C.1 92.04o



                                          NOTICE OF REMOVAL EXHIBIT 1 p. 202
Case 3:25-cv-00020-LL-SBC               Document 1-2 Filed 01/06/25                   PageID.211          Page 204
                                                of 213




                             Thompson Law & Consultation
                                          Luke Thompson,Esq.
                                                             ••

Whiting-Turner issuing SS #'s 011, 012, 013 & 014 which captured work for August through December of 2023,
Whiting-Turner assistant project manager sent out a letter stating:

       As mentioned via letter on 09/13/2023 and on this morning's coordination call, Precision Electric has
       failed to meet the previously agreed upon substantial completion date of 11/10/2023 on the Fashion
        Valley Mall Redevelopment Phase 4 project. While Whiting-Turner understands that Precision Electric
       has been given additional scope of work throughout the project and some schedule dates.have pushed
       due to reasons beyond their control, there are still numerous activities that are currently behind
       schedule.

"Additional scope of work throughout" is an understatement. By the time of this letter there was a total of at
least $1,811,950 in changes, 61.88% of the original subcontract value.(EXHIBIT 5 - Precision PC0s, PCO
Log). Even from just the time of the new schedule being issued over half a million dollars of additional work
was loaded on Precision's back. It would not be able to bill, let alone see payment, for this work for many
months later when Whiting-Turner finally got around to issuing the much-needed Subcontract Supplements. By
this time, Precision was forced to agree to these supplements or risk defaulting on its obligations.

Conveniently, Whiting-Turner attached its December 19, 2024 Fragnet Schedule to its January 3, 2024 notice
along with the following warning:

       The project schedule dated 12/19/2023(attached in this email) is the final fragnet for the project and
       governs Precision Electric's new substantial completion date. Please see below summary of updated
       activity completion and substantial completion dates for the Fashion Valley Mall Redevelopment Phase
       4 project. This list only includes activities that were officially delayed by Whiting-Turner/Simon, all other
       unfinished activities previously mentioned in the letter sent on 09/13/2023 are officially delayed as of
       11/10/2023 and must be completed as soon as possible, no later than the substantial completion date.


               - Bloomingdale's Valet Canopy Lighting - 01/10/2024

               - Café Court Terrace Lighting - 02/27/2024

               - Nordstrom Court Lighting - 03/07/2024

               - FVM 4 Electrical Substantial Completion - 03/07/2024

The letter was a not-so-subtle attempt to cover Whiting-Turner's failures to update and organize the Project,
and, more importantly Whiting-Turner's failure to properly coordinate the work. The dates had been moved, as
Whiting-Turner was well aware, because the vast number of changes to the Project dictated a very different

                                   IthompsonCir)thompsonlaweonsullation.com
                                     Nvww.ThompsonLawandConsiitation.corn
                                        619-663-4486 0 - 6w-987-323i C
                                   9757 Marilla Drive i248, Lakeside. CA 92040



                                       NOTICE OF REMOVAL EXHIBIT 1 p. 203
Case 3:25-cv-00020-LL-SBC              Document 1-2 Filed 01/06/25                 PageID.212         Page 205
                                               of 213




                             Thompson Law & Consultation
                                          Luke Thompson,Esq.
                                                  T—L--(SL C
                                                             ••

schedule and sequence than its subcontractors had signed up for. The attempt was to shirk its responsibility for
the schedule and design failures by Whiting-Turner and the Owner and improperly blame Precision for the
delays. The fragnet-focused schedule reveals Whiting-Turner made little effort to properly account for the
"additional scope of work" that was "given" to Precision, ignoring the fact that Precision's manpower was
completely co-opted by the Owner's and Whiting-Turner's directed changes.

The changes involved in this Project were massive. And, by and large, were not come to by mutually
positioned parties with the ability to negotiate the price, time needed, or impact on the original scope of work.
Changes that easily could have and should have either been planned out well in advance of the start of work or
incorporated into a separate phase of the Project. By directing Precision to proceed with the work and forcing
them into an extra work pricing structure, Whiting-Turner and the Owner were able to add massive amounts of
additional work to the Project while preventing Precision from securing its actual overhead costs, not to
mention a reasonable profit rate. On top of that, by not properly sequencing the work and updating the
schedule, Whiting-Turner forced Precision into expending massive amounts of inefficient labor to jump on any
new change that the Owner or Whiting-Turner needed. Whiting-Turner and the Owner's conduct effectively
changed the original subcontract agreement from a fixed price and fixed scope project to a cost plus (with only
10% for overhead and profit).

Based on the changes subsequently demanded by Whiting-Turner and Owner over the course of the Project,
Precision believes that both the Owner and Whiting-Turner were well aware that significant additional scope
would be added to the Project. These anticipated changes should have been disclosed prior to the start of
work or packaged separately for bidding.

Conclusion
Whiting-Turner has breached its subcontract agreement with Precision by, at a minimum,(a)failing to properly
present the proper scope of work for the Project;(b) timely completing the Project's design in coordination with
the Owner in order to provide a complete construction project for a firm fixed price bid;(c) manage the quantity
and changes directed by the Owner to keep the total change impact on Precision to a reasonable rate in
accordance with industry standards; and (d)failing to timely secure the necessary additional time for the
changes directed by Whiting-Turner in order to allow Precision to perform its scope of work efficiently.

Accordingly, Precision demands that Whiting-Turner consider the original subcontract agreement as having
been abandoned and compensate Precision for its actual costs, including overhead (12%)and profit (10%), to
complete the work Whiting-Turner directed it to perform on the Project minus the revised subcontract value
paid to Precision. The current projected cardinal change value is $1,256,252.01 (see Table 1 above).




                                   Ithonipsoujilhompsordavvennsullation.rom
                                    ‘vvtrw.ThompsonLawandConsulation.com
                                       619-663-4486 0 - 619-987-3231 C
                                   9757 Marina Drive i'248, Lakeside. CA 92040




                                      NOTICE OF REMOVAL EXHIBIT 1 p. 204
Case 3:25-cv-00020-LL-SBC               Document 1-2 Filed 01/06/25             PageID.213   Page 206
                                                of 213




                             Thompson Law & Consultation
                                          Luke Thompson,Esq.
                                                               •
                                                               •

Sincerely,




Luke Thompson, Esq.
Attorney for G.A. Abell, Inc. dba Precision Electric Company




                                   Ithompsou,O,thornpsonlawconsultalion.com
                                     w ww.ThompsontawandConstt tal ion.com
                                        619-665-4486 0 - 619-987- 323t (:
                                   9757 Mari Drive 2.0. Lakeside. CA 92.0.4.o




                                       NOTICE OF REMOVAL EXHIBIT 1 p. 205
Case 3:25-cv-00020-LL-SBC                                 Document 1-2 Filed 01/06/25                                         PageID.214                       Page 207
                                                                  of 213



                                                                                                                                                                    CM-010
ATTORNEY OR PARTY VVITHOUT ATTORNEY(Name, State Bar number, and address):
                                                                                                                                    FOR COURT USE ONLY
Luke e. Thompson(SBN 282762)
9757 MariIla Dr. #248, Lakeside, CA 92040
                                                                                                                          ELECTRONICALLY FILED
TELEPHONE NO.: (619)987-3231                             FAX NO.:
                                                                                                                          Superior Court of California,
EMAIL ADDRESS: Ithompson@thompsonlawconsultation.com                                                                      County of San Diego
ATTORNEY FOR (Nams): G.A. Abell, Inc.
                                                                                                                               11/14/2024 10:16:58 AM
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
                                                                                                                           Clerk of the Superior Court
 STREET ADDRESS: 330 West Broadway
                                                                                                                           By Y. Modica          ,Deputy Clerk
 MAILING ADDRESS: 330 West Broadway
CITY AND ZIP CODE: San Diego 92101
    BRANCH NAME: Central Division

CASE NAME:
 G.A. Abell, Inc. vs. The Whiting-Turner Contracting Company
       CIVIL CASE COVER SHEET                                                                                      CASE NUMBER:
                                                               Complex Case Designation
        Unlimited                 -
                                  1 1 Limited                         Counter                       Joinder                       24CU022713C
       (Amount              (Amount
                                               Filed with first appearance by defendant
        demanded            demanded is                                                   J UDGE Gregory W. Pollack
                                                  (Cal. Rules of Court, rule 3.402)        DEPT.
       exceeds $35,000)     $35,000 or less)
                               Items 1-6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
   Auto Tort                                   Contract                                Provisionally Complex Civil Litigation
          Auto (22)                                                 Breach of contract/warranty (06)            (Cal. Rules of Court, rules 3.400-3.403)
          Uninsured motorist (46)                                   ORtu,
                                                                        hle loo4lnie0trcactcoiotInl:0:97 (09)
                                                                                                                       Antitrust/Trade regulation (03)
    Other PI/PD/WD (Personal Injury/Property                        Otherr3cc                                          Construction defect (10)
    Damage/Wrongful Death)Tort                                                                                         Mass tort (40)
                                                                    Insurance coverage (18)
             Asbestos (04)                                                                                             Securities litigation (28)
             Product liability (24)                                                                                   Environmental/Toxic tort (30)
                                                           Real Property
             Medical malpractice(45)                                                                                  Insurance coverage claims arising from the
                                                          [---1 Eminent domain/Inverse                               above listed provisionally complex case
            Other PUPD/WD (23)                               condemnation (14)
                                                                                                                     types(41)
     Non-PI/PD/WD (Other)Tort                                 Wrongful eviction (33)                            Enforcement of Judgment
            Business tort/unfair business practice (07) TT Other real property (26)                             ET Enforcement of judgment(20)
            Civil rights (08)                           Unlawful Detainer
                                                                                                                Miscellaneous Civil Complaint
             Defamation (13)                                        Commercial(31)
                                                                                                                       RICO (27)
            Fraud (16)                                     F-1 Residential (32)
                                                                                                                       Other complaint (not specified above)(42)
            Intellectual property (19)                           Drugs(38)
                                                                                                                 Miscellaneous Civil Petition
            Professional negligence (25)                   Judicial Review
                                                           T-1 Asset forfeiture (05)                            -
                                                                                                                1 1 Partnership and corporate governance (21)
               trhoenrgnfuolnt-e:m
                                 l/ nDa/tWD
                                          n (3611
                                             to ) (35)
    F
    Employment
      7vvO                                                Fi Petition re: arbitration award (11)                       Other petition (not specified above)(43)
                                                                    Writ of mandate (02)
             Other employment(15)                          r 1 Other judicial review (39)
2. This case I—I is         -1 7 is not     complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
   a. = Large number of separately represented parties           d.         Large number of witnesses
   b. F-1 Extensive motion practice raising difficult or novel e.           Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
                                                                            court
   c. = Substantial amount of documentary evidence
                                                                 f.         Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply):a. s monetary b.                nonmonetary; declaratory or injunctive relief c.          punitive
4. Number of causes of action (specify): 1. Breach of Contract and Abandonment 2. Reasonable Value 3. Breach of Covenant
5. This case I—I is         E---1 is not    a class action suit.
6. If there are any known related cases, file and serve a notice of related case.(You may use form CM-0
Date: October 30, 2024
Luke E. Thompson, Esq.
                             (TYPE OR PRINT NAME)                                                                 ATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                           NOTICE
• Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result in sanctions.
• File this cover sheet in addition to any cover sheet required by local court rule.
. If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all other parties to
  the action or proceeding.
• Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.              Page 1 of 2
Form Adopted for Mandatory Use                                                                                           Cal. Rules of Court, rules 2.30. 3.220. 3.400-1403. 1740:
Judicial Council of California                               CIVIL CASE COVER SHEET                                              Cal Standards of Judicial Administration ski 3.10




                                                         NOTICE OF REMOVAL EXHIBIT 1 p. 206
Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                            PageID.215                Page 208
                                                          of 213



                             INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                            CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
damages,(2) punitive damages,(3) recovery of real property,(4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                     CASE TYPES AND EXAMPLES
 Auto Tort                                    Contract
                                              Con                                                Provisionally Complex Civil Litigation (Cal.
     Auto (22)—Personal Injury/Property           Breach of C Contract/Warranty
                                                                   t tNVarranty (06)             Rules of Court Rules 3.400-3.403)
            Damage/Wrongful Death                     Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
        Uninsured Motorist(46)(if the                      Contract (not unlawful detainer             Construction Defect (10)
       case involves an uninsured                                or wrongful eviction)
                                                                                  i ti                 Claims Involving Mass Tort (40)
       motorist claim subject to                      Contract/Warranty Breach—Seller                  Securities Litigation (28)
       arbitration, check this item                        Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
       instead of Auto)                               Negligent Breach of Contract/                    Insurance Coverage Claims
 Other Pl/PD/WD (Personal Injury/                          Warranty                                         (arising from provisionally complex
 Property Damage/Wrongful Death) Tort                 Other Breach of ContractNVarranty                      case type listed above)(41)
     Asbestos (04)                                Collections (e.g., money owed, open            Enforcement of Judgment
        Asbestos Property Damage                      book accounts)  t (09)                        Enforcement of Judgment (20)
        Asbestos Personal Injury/                     Collection Case—Seller Plaintiff                  Abstract of Judgment(Out of County)
              Wrongful Death                          Other Promissory Note/Collections Case        Confession of Judgment (non-domestic
     Product Liability (not asbestos or           Insurance Coverage (not provisionally                  relations)
         toxic/environmental)(24)                     complex)(18)                                  Sister State Judgment
     Medical Malpractice (45)                         Auto
                                                      Au S  Subrogation
                                                                 b     ti                           Administrative Agency Award
          Medical Malpractice—                        Other Coverage                                    (not unpaid taxes)
               Physicians & Surgeons              Other Contract(37)                                 Petition/Certification of Entry of
     Other Professional Health Care                   Contracua t lF  Fraudd                             Judgment on Unpaid Taxes
            Malpractice                               Other Contract Dispute                         Other Enforcement of Judgment Case
    Other PI/PD/WD (23)                       Real Property                                      Miscellaneous Civil Complaint
          Premises Liability (e.g., slip          Em
                                                  Eminentt DDomain/Inverse
                                                                    i /I                             RICO (27)
               and fall)                              Condemnation (14)                              Other Complaint (not specified above)(42)
          Intentional Bodily lnjury/PD/WD         Wrongful Eviction(33)                                   Declaratory Relief Only
               (e.g., assault, vandalism)         Other Real Property (e.g., quiet title)(26)             Injunctive Relief Only (non-
          Intentional Infliction of                   Writ of Possession of Real Property                      harassment)
               Emotional Distress                     Mortgage Foreclosure                                Mechanics Lien
          Negligent Infliction of                     Quiet Title                                         Other Commercial Complaint
               Emotional Distress                     Other Real Property (not eminent                         Case (non-tort/non-complex)
          Other PUPD/VVD                              domain, landlord/tenant, or                         Other Civil Complaint
 Non-PUPD/WD (Other) Tort                             foreclosure)                                             (non-tort/non-complex)
     Business Tort/Unfair Business            U nlawful Detaneri                                 Miscellaneous Civil Petition
         Practice (07)                            Commercial (31)                                    Partnership and Corporate
    Civil Rights (e.g., discrimination,           Residena ti l(32)                                      Governance (21)
          false arrest)(not civil                 Drugs (38)(if the case involves illegal            Other Petition (not specified above)(43)
           harassment)(08)                        drugs, check this item; otherwise,                     Civil Harassment
     Defamation (e.g., slander, libel)(13)        report as CCommercial          Residential)
                                                                          i l or R    id ti l            Workplace Violence
     Fraud (16)                               Judicial Review                                            Elder/Dependent Adult Abuse
     Intellectual Property (19)                   Asset Forfeiture(05)
                                                  As                                                     Election Contest
    Professional Negligence (25)                  Petition Re: Arbitration Award (11)                    Petition for Name Change
         Legal Malpractice                        Writ of Mandate (02)                                   Petition for Relief From Late Claim
         Other Professional Malpractice               Writ—Administrative Mandamus
                                                                                Ma                       Other Civil Petition
            (not medical or legal)                    Writ—Mandamus on Limited Court
    Other Non-PI/PD/WD Tort(35)                          Case Matter
 Employment                                           Writ—Other Limited Court Case Review
    Wrongful Termination (36)                     Other Judicial Review (39)
    Other Employment(15)                              Review of Health Officer Order
                                                      Notice of Appeal—Labor Commissioner
                                                          AppPals
CM-010(Rev. January 1, 2024)                                                                                                           Page 2 of 2
                                                          CIVIL CASE COVER SHEET
For your prote7tion and privacy, please 1     the Clear




                                                NOTICE OF REMOVAL EXHIBIT 1 p. 207
  Case 3:25-cv-00020-LL-SBC                         Document 1-2 Filed 01/06/25                            PageID.216              Page 209
                                                            of 213


  SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
  STREET ADDRESS:      330W. Broadway
  MAILING ADDRESS:     330W. Broadway
  CITY AND ZIP CODE:   San Diego, 92101
  BRANCH NAME:         Central
  TELEPHONE NUMBER:619-450-7071

 PLAINTIFF(S)/ PETITIONER(S): G A Abell Inc

  DEFENDANT(S)/ RESPONDENT(S): Whiting-Turner Contracting Company


  GA ABELL INC VS THE WHITING TURNER CONTRACTING COMPANY

            NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT                                        CASE NUMBER:
                              CONFERENCE                                                         24CU022713C
                                 (CIVIL)


 CASE ASSIGNED FOR ALL PURPOSES TO:
  J udge: GREGORY W. POLLACK                                                                          Department: C-71

 COMPLAINT/PETITION FILED: 11/14/2024

 TYPE OF HEARING SCHEDULED                      DATE                     TIME                           DEPT

 Case Management Conference                      05/09/2025              1:30 PM                        C-71


Case Management Conferences(CMCs) may be conducted virtually or in person. Anyone wishing to appear remotely should visit
the "Appearing for Hearings" page for the most current instructions on how to appear for the applicable case-type/department on the
court's website at www.sdcourt.ca.qov.
A Case Management Statement(JC Form #CM-110) must be completed by counsel for all parties and by all self-represented litigants
and timely filed with the court at least 15 days prior to the initial CMC. (San Diego Superior Court(SDSC)Local Rules, rule 2.1.9; Cal.
Rules of Court, rule 3.725).
All counsel of record and self-represented litigants must appear at the CMC, be familiar with the case, and be fully prepared to
participate effectively in the hearing, including discussions of Alternative Dispute Resolution (ADR)options.
It is the duty of each plaintiff(and cross-complainant) to serve a copy of this Notice of Case Assignment and Case Management
Conference(SDSC Form #CIV-721) with the complaint (and cross-complaint), the Alternative Dispute Resolution (ADR) Information
Form (SDSC Form # CIV-730), a Stipulation to Use Alternative Dispute Resolution (ADR)(SDSC Form # CIV-359), and other
documents on all parties to the action as set out in SDSC Local Rules, rule 2.1.5.
TIME FOR SERVICE AND RESPONSE:. The following rules apply to civil cases except for collections cases under California Rules of Court,
rule 3.740(a), unlawful detainer actions, proceedings under the Family Code, and other proceedings for which different service requirements
are prescribed by law (Cal. Rules of Court, rule 3.110; SDSC Local Rules, rule 2.1.5):
     • Service: The complaint must be served on all named defendants, and proof of service filed with the court within 60 days after
        filing the complaint. An amended complaint adding a defendant must be served on the added defendant and proof of service
        filed within 30 days after filing of the amended complaint. A cross-complaint against a party who has appeared in the action
        must be accompanied by proof of service on that party at the time it is filed. If it adds a new party, the cross-complaint must be
        served on all parties and proof of service on the new party must be filed within 30 days of the filing of the cross-complaint.
     • Defendant's appearance: Unless a special appearance is made, each defendant served must generally appear (as defined in
        Code of Civ. Proc. § 1014) within 30 days of service of the complaint/cross-complaint.
     • Extensions: The parties may stipulate without leave of court to one 15-day extension beyond the 30-day time period prescribed
        for the response after service of the initial complaint(SDSC Local Rules, rule 2.1.6). If a party fails to serve and file pleadings
        as required under this rule, and has not obtained an order extending time to serve its pleadings, the court may issue an order to
        show cause why sanctions shall not be imposed.
JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in the
amount of one hundred fifty dollars ($150)on or before the date scheduled for the initial case management conference in the action.
COURT REPORTERS: Official Court Reporters are not normally available in civil matters, but may be requested in certain situations no later
than 10 days before the hearing date. See SDSC Local Rules, rule 1.2.3 and Policy Regarding Normal Availability and Unavailability of Official
Court Reporters(SDSC Form #ADM-317)for further information.
ALTERNATIVE DISPUTE RESOLUTION (ADR): The court discourages any unnecessary delay in civil actions; therefore, continuances are
discouraged and timely resolution of all actions, including submitting to any form of ADR is encouraged. The court encourages and expects the
parties to consider using ADR options prior to the CMC. The use of ADR will be discussed at the CMC. Prior to the CMC, parties stipulating to
the ADR process may file the Stipulation to Use Alternative Dispute Resolution (SDSC Form #CIV-359).

 SDSC (Rev. 04-211                                                                                                                     Page 1
                     NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE (CIVIL)




                                                   NOTICE OF REMOVAL EXHIBIT 1 p. 208
  Case 3:25-cv-00020-LL-SBC                           Document 1-2 Filed 01/06/25                              PageID.217              Page 210
                                                              of 213




                                               NOTICE OF E-FILING REQUIREMENTS
                                                   AND IMAGED DOCUMENTS


Effective April 15, 2021, e-filing is required for attorneys in represented cases in all limited and unlimited civil cases, pursuant to the San Diego
Superior Court General Order: In Re Procedures Regarding Electronically Imaged Court Records, Electronic Filing and Access to Electronic
Court Records in Civil and Probate Cases. Additionally, you are encouraged to review CIV-409 for a listing of documents that are not eligible
for e-filing. E-filing is also encouraged, but not mandated, for self-represented litigants, unless otherwise ordered by the court. All e-filers are
required to comply with the e-filing requirements set forth in Electronic Filing Requirements (Civil)(SDSC Form #CIV-409) and Cal. Rules of
Court, rules 2.250-2.261.

All Civil cases are assigned to departments that are part of the court's "Imaging Program." This means that original documents filed with the
court will be imaged, held for 30 days, and then destroyed, with the exception of those original documents the court is statutorily required to
maintain. The electronic copy of the filed document(s) will be the official court record, pursuant to Government Code § 68150. Thus, original
documents should not be attached to pleadings filed with the San Diego Superior Court, unless it is a document for which the law requires an
original be filed. Any original documents necessary for a motion hearing or trial shall be lodged in advance of the hearing pursuant to California
Rules of Court, rule 3.1302(b).

It is the duty of each plaintiff, cross-complainant, or petitioner to serve a copy of this Notice of Case Assignment and Case Management
Conference (Civil)(SDSC Form #CIV-721) with the complaint, cross-complaint, or petition on all parties to the action.

On all pleadings filed after the initial case originating filing, all parties must, to the extent it is feasible to do so, place the words "IMAGED FILE"
in all caps immediately under the title of the pleading on all subsequent pleadings filed in the action.

The official court file will be electronic and accessible at one of the kiosks located in the Civil Business Office and may be found on the court's
website at www.sdcourt.ca.qov.




                                                     NOTICE OF REMOVAL EXHIBIT 1 p. 209
Case 3:25-cv-00020-LL-SBC                    Document 1-2 Filed 01/06/25                         PageID.218            Page 211
                                                     of 213




                               SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
                                       ALTERNATIVE DISPUTE RESOLUTION (ADR)INFORMATION




                                                                        CASE TITLE: GA Abell Inc vs The Whiting Turner
 CASE NUMBER: 24CU022713C
                                                                        Contracting Company


NOTICE: All plaintiffs/cross-complainants in a general civil case are required to serve a copy of the following
three forms on each defendant/cross-defendant, together with the complaint/cross-complaint:
              (1) this Alternative Dispute Resolution (ADR)Information form (SDSC form #CIV-730),
              (2)the Stipulation to Use Alternative Dispute Resolution (ADR)form (SDSC form #CIV-359), and
              (3)the Notice of Case Assignment form (SDSC form #CIV-721).

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial. The courts,
community organizations, and private providers offer a variety of Alternative Dispute Resolution (ADR) processes to help
people resolve disputes without a trial. The San Diego Superior Court expects that litigants will utilize some form of ADR
as a mechanism for case settlement before trial, and it may be beneficial to do this early in the case.

Below is some information about the potential advantages and disadvantages of ADR, the most common types of ADR,
and how to find a local ADR program or neutral. A form for agreeing to use ADR is attached (SDSC form #CIV-359).

Potential Advantages and Disadvantages of ADR
ADR may have a variety of advantages or disadvantages over a trial, depending on the type of ADR process used and the
particular case:

          Potential Advantages                               Potential Disadvantages
          • Saves time                                       • May take more time and money if ADR does not
          • Saves money                                        resolve the dispute
          • Gives parties more control over the dispute      • Procedures to learn about the other side's case (discovery),
            resolution process and outcome                     jury trial, appeal, and other court protections may be limited
          • Preserves or improves relationships                or unavailable


Most Common Types of ADR
You can read more information about these ADR processes and watch videos that demonstrate them on the court's ADR
webpage at http://www.sdcourt.ca.00v/adr.

Mediation: A neutral person called a "mediator" helps the parties communicate in an effective and constructive manner
so they can try to settle their dispute. The mediator does not decide the outcome, but helps the parties to do so.
Mediation is usually confidential, and may be particularly useful when parties want or need to have an ongoing
relationship, such as in disputes between family members, neighbors, co-workers, or business partners, or when parties
want to discuss non-legal concerns or creative resolutions that could not be ordered at a trial.

Settlement Conference: A judge or another neutral person called a "settlement officer" helps the parties to understand
the strengths and weaknesses of their case and to discuss settlement. The judge or settlement officer does not make a
decision in the case but helps the parties to negotiate a settlement. Settlement conferences may be particularly helpful
when the parties have very different ideas about the likely outcome of a trial and would like an experienced neutral to help
guide them toward a resolution.

Arbitration: A neutral person called an "arbitrator" considers arguments and evidence presented by each side and then
decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules of evidence are usually relaxed. If
the parties agree to binding arbitration, they waive their right to a trial and agree to accept the arbitrator's decision as final.
With nonbinding arbitration, any party may reject the arbitrator's decision and request a trial. Arbitration may be
appropriate when the parties want another person to decide the outcome of their dispute but would like to avoid the
formality, time, and expense of a trial.


 SDSC CIV-730(Rev. 12-10)                                                                                                      Page 1
                                    ALTERNATIVE DISPUTE RESOLUTION (ADR)INFORMATION



                                            NOTICE OF REMOVAL EXHIBIT 1 p. 210
Case 3:25-cv-00020-LL-SBC                    Document 1-2 Filed 01/06/25                       PageID.219           Page 212
                                                     of 213



Other ADR Processes: There are several other types of ADR which are not offered through the court but which may be
obtained privately, including neutral evaluation, conciliation, fact finding, mini-trials, and summary jury trials. Sometimes
parties will try a combination of ADR processes. The important thing is to try to find the type or types of ADR that are most
likely to resolve your dispute. Be sure to learn about the rules of any ADR program and the qualifications of any neutral
you are considering, and about their fees.

Local ADR Programs for Civil Cases

Mediation: The San Diego Superior Court maintains a Civil Mediation Panel of approved mediators who have met
certain minimum qualifications and have agreed to charge $150 per hour for each of the first two (2) hours of mediation
and their regular hourly rate thereafter in court-referred mediations.

On-line mediator search and selection: Go to the court's ADR webpage at www.sdcourt.ca.qov/adr and click on the
"Mediator Search" to review individual mediator profiles containing detailed information about each mediator including
their dispute resolution training, relevant experience, ADR specialty, education and employment history, mediation style,
and fees and to submit an on-line Mediator Selection Form (SDSC form #CIV-005). The Civil Mediation Panel List, the
Available Mediator List, individual Mediator Profiles, and Mediator Selection Form (CIV-005) can also be printed from the
court's ADR webpage and are available at the Mediation Program Office or Civil Business Office at each court location.

Settlement Conference: The judge may order your case to a mandatory settlement conference, or voluntary settlement
conferences may be requested from the court if the parties certify that:(1) settlement negotiations between the parties
have been pursued, demands and offers have been tendered in good faith, and resolution has failed;(2) a judicially
supervised settlement conference presents a substantial opportunity for settlement; and (3) the case has developed to a
point where all parties are legally and factually prepared to present the issues for settlement consideration and further
discovery for settlement purposes is not required. Refer to SDSC Local Rule 2.2.1 for more information. To schedule a
settlement conference, contact the department to which your case is assigned.

Arbitration: The San Diego Superior Court maintains a panel of approved judicial arbitrators who have practiced law for
a minimum of five years and who have a certain amount of trial and/or arbitration experience. Refer to SDSC Local Rules
Division II, Chapter III and Code Civ. Proc. § 1141.10 et seq or contact the Arbitration Program Office at (619)450-7300
for more information.

More information about court-connected ADR: Visit the court's ADR webpage at www.sdcourt.ca.qov/adr or contact the
court's Mediation/Arbitration Office at(619)450-7300.

Dispute Resolution Programs Act(DRPA)funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (Bus. and Prof. Code §§ 465 et seq.):
       • In Central, East, and South San Diego County, contact the National Conflict Resolution Center(NCRC)at
           www.ncrconline.com or (619) 238-2400.
       • In North San Diego County, contact North County Lifeline, Inc. at www.nclifeline.orq or (760)726-4900.

Private ADR: To find a private ADR program or neutral, search the Internet, your local telephone or business directory,
or legal newspaper for dispute resolution, mediation, settlement, or arbitration services.

Legal Representation and Advice

To participate effectively in ADR, it is generally important to understand your legal rights and responsibilities and the likely
outcomes if you went to trial. ADR neutrals are not allowed to represent or to give legal advice to the participants in the
ADR process. If you do not already have an attorney, the California State Bar or your local County Bar Association can
assist you in finding an attorney. Information about obtaining free and low cost legal assistance is also available on the
California courts website at www.courtinfo.ca.goviselfhelp/lowcost.




 SDSC CIV-730(Rev. 12-10)           ALTERNATIVE DISPUTE RESOLUTION (ADR)INFORMATION                                          Page 2.




                                           NOTICE OF REMOVAL EXHIBIT 1 p. 211
Case 3:25-cv-00020-LL-SBC                              Document 1-2 Filed 01/06/25                                    PageID.220                 Page 213
                                                               of 213



                                                                                                                            FOR COURT USE ONLY
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET ADDRESS: 330W. Broadway

  MAILING ADDRESS:          330W. Broadway

 CITY AND ZIP CODE:         San Diego, 92101

  BRANCH NAME:              Central

 PLAINTIFF(S): G A Abell Inc

 DEFENDANT(S): Whiting-Turner Contracting Company

  SHORT TITLE: GA ABELL INC VS THE WHITING TURNER CONTRACTING COMPANY

                             STIPULATION TO USE ALTERNATIVE                                                    CASE NUMBER:
                                DISPUTE RESOLUTION (ADR)                                                       24CU022713C

 Judge: GREGORY W. POLLACK                                                                    Department: C-71


 The parties and their attorneys stipulate that the matter is at issue and the claims in this action shall be submitted to the following
 alternative dispute resolution (ADR) process. Selection of any of these options will not delay any case management timelines.
  0 Mediation (court-connected)                               0 Non-binding private arbitration

  0      Mediation (private)                                          o Binding private arbitration
  0      Voluntary settlement conference (private)                   0      Non-binding judicial arbitration (discovery until 15 days before trial)

  0      Neutral evaluation (private)                                0      Non-binding judicial arbitration (discovery until 30 days before trial)

  0 Other (specify e.g., private mini-trial, private judge, etc.):




 It is also stipulated that the following shall serve as arbitrator, mediator or other neutral:(Name'




 Alternate neutral (for court Civil Mediation Program and arbitration only):


 Date:                                                                                                    Date:




 Name of Plaintiff                                                                                                 Name of Defendant



 Signature                                                                                                         Signature



 Name of Plaintiff's Attorney                                                                                      Name of Defendant's Attorney



 Signature                                                                                                         Signature
 If there are more parties and/or attorneys, please attach additional completed and fully executed sheets.

 It is the duty of the parties to notify the court of any settlement pursuant to Cal. Rules of Court, rule 3.1385. Upon notification of the settlement,
 the court will place this matter on a 45-day dismissal calendar.

 No new parties may be added without leave of court.

 IT IS SO ORDERED.

 Dated: 11/15/2024                                                                                                JUDGE OF THE SUPERIOR COURT


 SDSC CIV-359(Rev. 12-10)                                                                                                                                 Page 1
                                        STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION




                                                      NOTICE OF REMOVAL EXHIBIT 1 p. 212
